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K.RH
09/12/2024
Item o. 6




                                           ORDINANCE         20 2 4-0 9 - 1 2 - 0 6 8 1
AUTHORIZING THE CITY MANAGER TO EXECUTE AN AIRLINE OPERA TING
AGREEMENT AND TERMINAL BUILDING LEASE, KNOWN AS THE AIRLINE USE
AND LEASE AGREEMENT (AULA), FOR THE SAN ANTONIO INTERNATIONAL
AIRPORT AND ALSO AUTHORIZING REVISIONS TO THE AIRPORT OPERA TING
PERMIT.

                               *       *      *      *       *

WHEREAS, airports and airlines typically enter into an airline use and lease agreement, which
governs the airport/airline business relationship (rates and charges) and specifies the terms and
conditions for use of airfield and terminal facilities; and

WHEREAS, representatives from the airlines and Aviation Department have been in negotiation
on a new agreement since April 2022 to go into effect upon expiration of the current agreement
on September 30, 2024; and

WHEREAS, air carriers that do not wish to commit to the terms of the AULA can operate at the
airport by executing the revised Operating Permit which aligns the permit with the new AULA;
and

WHEREAS, this ordinance approves, and authorizes the City Manager or designee to execute,
the Airline Operating Agreement and Terminal Building Lease for San Antonio International
Airport and the revised Non-Signatory Operating Permit; NOW THEREFORE:

BE IT ORDAINED BY THE CITY COUNCIL OF THE CITY OF SAN ANTONIO:

SECTION 1. The City Manager or designee is authorized to execute an Airline Operating
Agreement and Terminal Building Lease for San Antonio International Airport in a form
substantially similar to that set out in EXHIBIT 1 and the Non-Signatory Airport Operating
Permit, a copy of which is set out in EXHIBIT 2.

SECTION 2. Funds generated by this ordinance will be deposited in fund 51001000 with
Internal Orders and General Ledgers specific for the rents of terminal space, passenger loading
bridges, apron fees and baggage handling.

SECTION 3. The financial allocations in this Ordinance are subject to approval by the Deputy
Chief Financial Officer, City of San Antonio. The Deputy Chief Financial Officer may, subject
to concurrence by the City Manager or the City Manager's designee, correct allocations to
specific Cost Centers, WBS Elements, Internal Orders, General Ledger Accounts, and Fund
Numbers as necessary to carry out the purpose of this Ordinance.
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SECTION 4. This Ordinance is effective immediately upon the receipt of eight affirmative
votes; otherwise, it is effective ten days after passage.

PASSED andAPPROVEfJ thisl2th day of September 2024.




ATTEST:                                         APPROVED AS TO FORM:



Debbie Racca-Sittre, City Clerk                 Andrew Segovia, City Art ~ y
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                                      City of San Antonio
                                      City Council Meeting
                                          September 12, 2024

                                               2024-09-12-0681
6. Ordinance authorizing the City Manager to execute an Airline Operating Agreement and
   Terminal Building Leases, also known as the Airline se and Lease Agreements (AULA), for
   the San Antonio International Airport. The AULA governs the airport/airline business and
   operational terms for use of the airfield and the terminal fac ilities, including a new terminal. The
   AULA has an initial ten-year term with the option to extend for one additional five-year period
   for a potential total term of 15 years and is anticipated to generate annual revenue of
   $76,158,598 for the Airport Operating and Maintenance Fund. This ordinance al o authorize
   revisions to the Airport Operating Pem1it. [Jeff Coyle, Assistant City Manager; Jesus Saenz,
   Director, Aviation]

    Councilmember Courage moved to Approve on the Con ent Agenda. Councilmember Viagran
    seconded the motion The motion prevailed by the following vote:

    Aye:            Nirenberg, Kaur, McKee-Rodriguez, Viagran, Rocha Garcia, Castillo,
                    Cabello Havrda, Alderete Gavito, Pelaez, Courage, Whyte
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                              EXHIBIT 1
      AIRLINE OPERA TING AGREEMENT AND TERMINAL BUILD I G LEASE
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            AIRLINE OPERATING AGREEMENT

                                   AND

                 TERMINAL BUILDING LEASE


                               by and between

                   THE CITY OF SAN ANTONIO, TEXAS

                                    and
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                                            PREAMBLE

                         AIRLINE OPERATING AGREEMENT AND

                                TERMINAL BUILDING LEASE


THE STATE OF TEXAS              )(



COUNTY OF BEXAR                 )(

        This AIRLINE OPERA TING AGREEMENT AND TERMINAL BUILDING LEASE
(this "Agreement") is made and entered into by and between the City of San Antonio, Texas, a
municipal corporation and home-rule city principally situated in Bexar County (hereinafter defined
and referred to as the "City") and _ _ _ _ _ _ _ _ _ _ _ , a corporation doing business in the
State of Texas (hereinafter defined and referred to as "Airline") (the City and Airline each, a
"Party" and collectively, the "Parties").

                                              WITNESSETH:

       WHEREAS, the City is the owner of San Antonio International Airport (hereinafter defined
and referred to as "Airport" and more completely identified on Exhibit A attached hereto and
made a part hereof), which is located in the City of San Antonio, Bexar County, Texas; and

       WHEREAS , Airline is engaged in the business of commercial air transportation of persons,
property, cargo, or mail as a scheduled Air Carrier and is certificated or otherwise authorized by
the United States Government to engage in such business; and

        WHEREAS , Airline has requested that the City grant it certain rights, privileges, and
services in connection with the use of said Airport and its facilities in the conduct of Airline's
business as a scheduled Air Carrier; and

        WHEREAS, the City is willing to grant Airline such rights, privileges, and services upon
the terms and conditions and for the consideration hereinafter stated; and

         WHEREAS , the City and Airline deem it desirable to enter into a written agreement setting
forth the respective rights, privileges, obligations, and duties of the parties hereto and defining the
rights, services, and privileges granted and the terms, conditions, and consideration on which they
are granted;

        NOW, THEREFORE, for and in consideration of Airline ' s use of the Airport and the
Airline Premises and the mutual covenants herein contained and the rentals, fees, and charges to
be paid by Airline, it is agreed and understood by and between the City and Airline as follows.




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                                       ARTICLE 1
                              DEFINITIONS; INTERPRETATION

        Section 1.1    Definitions.

      "Activity Report" means the reporting form required to be submitted by Airline to the City
each month pursuant to ARTICLE 7 and attached hereto as Exhibit B.

        "Affiliate" means any Air Carrier that (i) is operating at the Airport for the benefit of
Airline, under the same or substantially similar livery as Airline, and (A) is owned by Airline, or
(B) is a subsidiary of, or under common control with the same corporate parent of, Airline, or (C)
is under contract to Airline in respect of such operation; or (ii) if operating under its own livery, is
not selling any seats on an aircraft in its own name and all seats on such aircraft are being sold in
the name of Airline, subject to Section 4.5. For purposes of this Agreement, an Air Carrier shall
only be deemed an Affiliate of Airline while operating at the Airport on behalf of that Airline.

       "Air Carrier" means any air carrier or foreign air carrier, as defined in 49 U.S.C. § 40 l 02,
as amended, operating an Air Transportation Business from time to time at the Airport.

       "Air Transportation Business" means the business operated by an Air Carrier to and from
the Airport for the commercial transportation by air of persons, property, cargo, mail, or any
combination thereof, as a common carrier for compensation or hire, in commerce, as defined in 49
U.S.C. § 40102, as amended.

        "Airline Premises" means those areas in the Terminal Building leased and/or assigned to
Airline as Exclusive Use Premises, Preferential Use Premises, and Joint Use Space, and City Gates
assigned to Airline, in accordance with this Agreement, and as shown on Exhibit C, Exhibit D-1
and Exhibit D-2 , attached hereto; provided, however, that, in the case of City Gates and Joint Use
Space, such areas will only constitute "Airline Premises" during the period of time for which
Airline has the right to use such areas .

       "Airline" means the Air Carrier identified in the preamble of this Agreement.

       "Airline Parties" has the meaning given to it in Section 13.2.

        "Airport" means San Antonio International Airport as it now exists, as shown on Exhibit
A, attached hereto, or as it may be modified in the future .

       "Airport Budget" means the Airport capital and operating budgets and allocated
administrative costs as adopted by and periodically revised and updated by the City prior to
commencement of the Fiscal Year in which such Airport Budget is to apply.

       "Airport Cost Centers" means the direct cost centers to be used in accounting for Airport
revenues and expenses and for calculating and adjusting certain rentals, fees , and other charges
associated with various Airport areas or facilities as they now exist or as they may hereafter be
reconstructed, modified, changed, or developed. The Airport Cost Centers include the following
and are further defined in the Rates and Fees Schedule: Airfield Area Cost Center, Apron Area
Cost Center, Baggage Handling System/Security Checkpoint Cost Center, Loading Bridge Cost
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Center, Other Building and Areas Cost Center, Parking Cost Center, Stinson Cost Center, and
Terminal Building Cost Center.

       "Airport Revenue" means all income and revenue derived by the City in connection with
the operation of the Airport System, as the term "Revenue" is further defined, limited, and
determined in accordance with the Bond Ordinance. The term "Airport Revenue" shall not include
PFCs, Customer Facility Charges ("CFCs"), in urance proceeds, restricted land sale proceeds or
any local, state, or federal assistance, or any interest earned thereon.

        "Airport Terminal Spend'' means the total amount owed to the City by all Air Carriers for
the use of the Terminal Building in a given Fiscal Year pursuant to ARTICLE 5.

        "Airport System" means all airport and aviation facilities , or any interest therein, now or
from time to time hereafter owned, operated or controlled in whole or in part by the City, together
with all properties, facilities and services thereof, and all additions, extensions, replacements and
improvements thereto, and all services provided or to be provided by the City in connection
therewith, but expressly excluding Special Facilities. The Airport System currently includes San
Antonio International Airport and Stinson Municipal Airport.

        "Amortized Equipment and Capital Outlay" means any Equipment and Capital Outlay
with a net cost to the City in excess of Four Hundred Fifty Thousand Dollars ($450,000) net of
grants-in-aid and/or PFC revenues.

         "Amortization" means the amount to recover an Amortized Equipment and Capital Outlay
that is funded from the Capital Improvement Fund. Such amounts shall be calculated based upon
the useful life of the subject Equipment and Capital Outlay using the applicable amortization
discount rate.

        "Applicable Laws" means all laws, statutes, ordinances, rules, and regulations (including
without limitation Environmental Laws) lawfully issued or promulgated by any Governmental
Authority governing or otherwise applicable to Airline or the Airport, as any of the same may now
exist or may hereafter be adopted or amended, modified, extended, re-enacted, re-designated, or
replaced from time to time and judicial interpretations thereof.

        "Best Management Practices" or "BMPs" means, for purposes of ARTICLE 15, the
schedules of activities, prohibitions of practices, maintenance procedures, and other techniques to
control, prevent or reduce the discharge of pollutants. BMPs shall include those environmental or
operational standards or guidelines specifying common and accepted practices appropriate for
Airline 's and its representatives ' use of the Airport, and such standards or guidelines as have been
articulated by pertinent professional associations, or regulatory agencies, that Airline should be
reasonably aware of or that the City has provided to Airline.

       "BBS/Security Checkpoint Fee" has the meaning given to it in Section 5.4.

       "Bond Ordinance" means the Master Ordinances and any Supplemental Ordinances,
heretofore or hereafter adopted, amendatory, or supplemental thereto, authorizing the issuance of
Bonds and Obligations that are payable from or secured by all or any part of the gross revenues of
the Airport, grant funds, CFCs, or PFCs.


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       "Bond Rate Covenant" means the agreement of the City with holders of Bonds regarding
generating a specified amount of Gross Revenues in each Fiscal Year.

      "Bonds" means any bonds or certificates of obligation issued in accordance with a Master
Ordinance or any Supplemental Ordinance.

       "Capital Improvement Fund'' means the fund by that name established by the City for the
Airport System. Amounts on deposit in the Capital Improvement Fund may be used for any legally
permissible purpose, including, without limitation, to pay the costs of constructing, equipping, or
otherwise acquiring any enlargements, extensions of, or any other improvements to the Airport
System, or to provide for the early retirement of Bonds.

        "Capital Improvement" means any expenditure made to acquire, purchase, or construct a
single item or project to improve, maintain , preserve, enhance, or develop the Airport.

      "City Gate" means a Gate in the Terminal Building that is not preferentially assigned and
which may be assigned for use on a common use basis by the City in accordance with this
Agreement and the Gate Use Procedures.

        "Common Use Passenger Processing System" or "CUPPS'' means City-owned systems
and equipment provided, operated, or maintained by the City for use by Airline in common with
other Air Carriers, including but not limited to systems and equipment for passenger processing,
flight and baggage information display, and baggage handling.

       "Competitive Credit" has the meaning given to it in Section 6.4.

        "Consumer Price Index" or "CPI" means the consumer price index for all urban consumers
(or "CPI-U') published by the U.S . Bureau of Labor Statistics for the most current 12-month period
such data is available at the time of the applicable measurement or adjustment under this Agreement.
If CPI is no longer calculated by the U.S. Bureau of Labor Statistics, the Director shall, in his or
her reasonable judgement, select such other index as may be generally published that measures the
increase in consumer costs, which index shall be substituted for CPI. Specific dollar amounts
referenced in this Agreement as being increased by CPI shall be adjusted by multiplying such
amounts by a factor of one ( 1) plus the percentage increase (but not decrease), if any, in CPI during
the most recently ended twelve-month period for which such CPI is available.

         "Date of Beneficial Occupancy" or "DBO" means the date when a project or a pha ed
element of a project has been substantially completed, a certificate of occupancy has been received,
if required, and the Director reasonably determines that it is available for use. For the sake of
clarity, for purposes of Section 3.15, DBO shall specifically mean the date when all or a portion
of the expanded Terminal Building facilities depicted in Exhibit G, including Gates, are
substantially complete and available for Airline's use, as reasonably determined by the Director,
and Airline has been given notice that it must relocate pursuant to the provisions of Section 3.15,
if applicable.

        "Debt Service Coverage" means twenty five percent (25%) of Debt Service in a Rate
Setting Period.



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       "Debt Service Reserve Requirement" has the meaning set forth in the Bond Ordinance.

       "Debt Service" means with respect to any outstanding or contemplated Obligations, the
amount of principal and interest on such Obligations accrued and expected to accrue during the
Fiscal Year, excluding interest payable from capitalized interest.

        "Deplaned Passenger" shall mean any revenue passenger disembarking an aircraft at the
Terminal Building, including any such passenger that shall subsequently board another aircraft of
the same or a different Air Carrier or the same aircraft, if previously operating under a different
flight number.

       "Director" means the person holding the position of Director of Airports of the City or any
duly authorized designee.

       "Effective Date" has the meaning given to it in Section 2.1 .

        "Enplaned Passenger" means any revenue passenger boarding an aircraft at the Terminal
Building, including any such passenger that previously disembarked from another aircraft of the
same or a different Air Carrier or from the same aircraft, if previously operating under a different
flight number.

       "Environmental Audit" means a systematic voluntary evaluation, review, or assessment
of compliance with Environmental Laws, with any permit issued under an Environmental Law,
and with the requirements of ARTICLE 15, conducted under ASTM Standard E2107-00 (Standard
Practice for Environmental Regulatory Compliance Audits) or other standard relevant and
appropriate to Airline ' s use of the Airport.

        "Environmental Costs" means damages, fines , costs and fees arising from any violation
of or noncompliance in any material respect with : (a) any applicable Environmental Laws; or (b)
any of the environmental provisions of this Agreement, including but not limited to costs incurred
in connection with immediate response, remediation, and restoration actions, natural resources
damage, Self Help (defined in ARTI CLE 15), oversight and participation costs of governmental
agencies, including natural resource trustees; reasonable and documented fees and costs of project
managers, attorneys, legal assistants, engineers, consultants, accountants, and experts, whether or
not employees of the damaged party and whether or not taxable as costs, incurred prior to, at or
after any administrative or judicial proceeding, including appeals and other forms of judicial
review; and diminution in value, loss or restriction on use of the Airport.

        "Environmental Laws" means all applicable federal , State of Texas, regional and local
laws, regulations, rules, permit terms, codes, ordinances, and legally enforceable guidance
documents, now or hereafter in effect, as the same may be amended from time to time, and
applicable decisional law, which govern materials, substances, regulated wastes, emissions,
pollutants, water, storm water, ground water, wellfield and wellhead protection, cultural resources
protection, animals or plants, noise, or products and relate to the protection of health, safety or the
environment and natural resources, including land, sediments, water, groundwater, and
stormwater, and shall include, but not be limited to : the Federal Insecticide, Fungicide, and
Rodenticide Act, 7 U.S.C. Section 136 et seq.; the Safe Drinking Water Act, 42 U.S.C. Section
300(f) et seq. ; the Oil Pollution Control Act of 1990, 33 U.S .C. Section 2701 et seq .; the


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Comprehensive Environmental Response, Compensation and Liability Act of 1980, as amended,
42 U.S.C., Section 9601 et seq .; and as amended by the Superfund Amendments and
Reauthorization Act of 1986, Pub. Law o. 99-499, 100 Stat. 1613; the Toxic Substances Control
Act, 15 U.S.C., Section 2601 et seq.; the Clean Air Act as amended, 42 U.S.C., Section 7401 et
seq.; the Clean Water Act, 33 U.S.C. , Section 1251, et seq.; the Hazardous Materials
Transportation Act, 49 U.S.C., Section 510 l et seq .; the Occupational Safety and Health Act of
1970, as amended, 29 U.S.C., Section 651-678; the Resource Conservation and Recovery Act,
42 U.S .C., Section 6901 et seq.; and their State counterparts.

        "Equipment and Capital Outlays" means equipment purchases and capital outlays to
maintain or rehabilitate the Airport. Any Equipment and Capital Outlays with a net cost to the City
not in excess of Four Hundred Fifty Thousand Dollars ($450,000) net of grants-in-aid and/or PFC
revenues shall be expensed in the Fiscal Year acquired or expended; provided, that the $450,000
amount shall be adjusted annually beginning the first day of the Fiscal Year after the Effective Date
for the next succeeding Fiscal Year by multiplying the amount for the prior Fiscal Year by a factor
of one (1) plus the percentage increase, if any, in the CPI during the most recently ended twelve
month period for which CPI is available.

       "Estimated Date of DBO" has the meaning given to it in Section 3 .15(c)(i).

       "Exclusive Use Premises" means the space in the Terminal Building assigned by the
Director to Airline for its use and occupancy to the exclusion of all others, as further depicted in
Exhibit C. Airline's Exclusive Use Premises may include ticket offices, operations space, baggage
services offices, or passenger clubs or lounges.

       "Extended Term" has the meaning given to it in Section 2.2.

       "Extended Term CIP'' has the meaning given to it in Section 2.2.

       "FAA" means the Federal Aviation Administration of the United States Government or
any successor federal agency or agencies.

       "Final Recapture Notice" has the meaning given to it in Section 3.10.

         "FIS'' means the Federal Inspection Services facilities and spaces within the Terminal
Building which are dedicated to processing arriving international passengers. FIS space includes
sterile connectors from the aircraft to passport control, baggage control, and other federal agencies.

       "FIS Fee" has the meaning given to it in Section 5.7.

        "Fiscal Year" means the twelve- (12) month period beginning October 1 of any year and
ending September 30 of the following year, or any other twelve- (12) month period adopted by the
City for its financial affairs.

       "Gate" means those portions of the Terminal Building consisting of an aircraft parking
position and associated holdroom, apron area, Loading Bridge (if any), and other appurtenant
space. Gates include City Gates and preferentially assigned Gates.



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        "Gate Use Procedures" means the City ' s Gate Use Procedures that establish rules and
regulations for the assignment and use of all Gates, including the assignment and use of City Gates
and the accommodation of Air Carriers at another Air Carrier's preferentially assigned Gates and
the use of the City 's Common Use Passenger Processing System, as such may be amended from
time to time, in each case provided that they do not contravene the terms of this Agreement.

       "Governmental Authority" means any Federal, state, county, municipal, or other
governmental entity (including the City in its governmental capacity), or any subdivision thereof,
with authority over, as applicable, the Airport, Air Carriers, or Airline.

       "Grant Assurances" has the meaning given to it in Section 18.24.

        "Hazardous Substances" means any and all substances, materials, pollutants, oils,
contaminants, materials or products defined, designated, or regulated as hazardous, toxic,
radioactive, dangerous or regulated wastes or materials or any other similar term in or under any
applicable Environmental Laws. Examples of Hazardous Materials include but are not limited to,
asbestos and asbestos containing materials, petroleum products including crude oil or any fraction
thereof, gasoline, aviation fuel, diesel fuel, lubricating oils and solvents, urea formaldehyde,
flammable explosives, PCBs, radioactive materials or waste.

       "Hazardous Substance Release" shall include the spilling, discharge, deposit, injection,
dumping, emitting, releasing, placing, leaking, migrating, leaching, and seeping of any Hazardous
Substance into the air or into or on any land, sediment or waters, except any release in compliance
with Environmental Laws or specifically authorized by a current and valid permit issued under
Environmental Laws with which Airline is in compliance at the time of such release, but not
including within the exception any such release in respect of which the State of Texas has
determined that application of the State of Texas ' Hazardous Substance removal and remedial
action rules might be necessary in order to protect public health, safety or welfare, or the
environment.

       "Initial Recapture Notice" has the meaning given to it in Section 3.10.

        "Joint Use Space" means space managed by the City that may be made available to Airline
from time to time for use in common with other Air Carriers, as assigned by the Director and as
further depicted on Exhibit D-1 and Exhibit D-2. Joint Use Space includes baggage claim areas,
passenger screening areas, baggage makeup, tug lanes, and baggage handling systems.

       "Landing Fee" has the meaning given to it in Section 5.6.

        "Landed Weight' means the maximum gross certificated landed weight, in thousand (1 ,000)
pound units, that an aircraft operated by an Air Carrier is authorized by the FAA to land at the Airport,
as recited in each Air Carrier' s flight manual governing that aircraft type. For all landing fee
computations, said sum shall be rounded up to the nearest thousand (1 ,000) pound units .

       "Loading Bridge" means an enclosed passenger loading bridge and any preconditioned air
system(s), ground power supply unit(s) and other related equipment attached to the bridge or a
concourse at a Gate.



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       "Loading Bridge Fee" has the meaning given to it in Section 5.3 .

        "Maintenance and Operating Expenses" or "O&M Expenses" means the City' s costs for
the operation, maintenance and repair of the Airport System and shall include, but shall not be
limited to, salaries and employee benefits, utility costs, ordinary maintenance, administrative and
general expenses, security, and all such other expenses as defined and determined in accordance
with the Bond Ordinance. Direct and indirect O&M Expenses shall be allocated by the City from
time to time to the Airport Cost Center(s) to which those expenses relate.

        "Maintenance and Operating Reserve" means an amount equal to twenty-five percent
(25 %) of the amount included in the annual Airport Budget for Maintenance and Operating
Expenses that is required to be maintained in the Maintenance and Operating Reserve Account
under the Bond Ordinance. The Maintenance and Operating Reserve is to be used to prevent
deficiencies in the payment of Maintenance and Operation Expenses.

        "Majority-in-Interest of Airlines" or "MII" means (1) for the Terminal Building Cost
Center, more than fifty percent (50%) in number of the Signatory Airlines who together had greater
than sixty percent (60%) of total Airport Terminal Spend, including that of the Signatory Airlines'
Affiliates, during the immediately preceding Fiscal Year; and (2) for the Airfield Area Cost Center,
more than fifty percent (50%) in number of the Signatory Airlines who together had greater than
sixty percent (60%) of the total Airport Landed Weight, including the Landed Weight of the
Signatory Airlines' Affiliates, during the immediately preceding Fiscal Year.

       "Net Project Costs" means the total costs of a Capital Improvement minus any costs that
do not directly impact the Airfield Area Cost Center or Terminal Building Cost Center including
any costs expected to be paid for by any federal and state assistance, grants, PFCs, and donations
from third parties.

      "Net Revenues" means, for any period, Airport Revenues during such period less
Maintenance and Operating Expenses during such period.

       "Non-Airline Revenues" means any Airport Revenue except Apron Area Fees, Terminal
Building Rentals, Per Use Fees - Gates, Per Use Fees - Ticket Counters, BHS/Security Checkpoint
Fees, Loading Bridge Fees, Landing Fees, RO Parking Fees, FIS Fees and any other Airport
Revenue derived from an Air Carrier.

       "Non-Signatory Airline" means any Air Carrier providing service at the Airport that is not
a Signatory Airline. Non-Signatory Airlines shall pay the Non-Signatory Airline rates, fees and
charges presented in the Rates and Fees Schedule, which will include a fifteen percent (15 %)
premium over the rentals , fees , and charges charged to Signatory Airlines.

       "Obligations" means any obligation of the Airport System, including any Bonds issued
pursuant to the Bond Ordinance or other issuing instrument, as applicable.

       "Other Debt" means any debt other than Bonds incurred by the City for Airport purposes
including but not limited to Interim Financing.




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        "Passenger Facility Charges" or "PFCs" means charges collected by Airline and other
Air Carriers on behalf of the City in accordance with Section 5.17 and pursuant to the authority
granted by 49 U.S .C. § 40117 and 14 CFR Part 158, as may be amended from time to time, in
respect of any component of the Airport and interest earnings thereon, net of amounts that
collecting Air Carriers are authorized to retain for collecting, handling, and remitting such PFC
Revenues .

       "Performance Guarantee" has the meaning given to it in Section 5.13.

       "Per Use Fees - Gates" has the meaning given to it in Section 5.6.

       "Per Use Fees - Ticket Counters" has the meaning given to it in Section 5.6.

        "Preferential Use Premises" means those portions of the Terminal Building assigned to
Airline, as shown in Exhibit C, attached hereto, to which Airline shall have priority over other
users, subject to the terms and conditions of thi Agreement. Airline 's Preferential Use Premises
may include Gates, ticketing space/counters, curbside baggage check-in, apron area, or Loading
Bridges.

       "Prior Use and Lease Agreement" means any agreement between the City and an Air
Carrier under which the Air Carrier operated at the Airport and which governed the terms and
conditions of such Air Carrier's air transportation operations at the Airport prior to the Effective
Date.

       "Rates and Fees Schedule" means the Rates and Fees Schedule attached hereto as Exhibit
F.

       "Revenue Landing" means any aircraft landing by Airline at the Airport for which Airline
receives revenue and those non-revenue landings whenever the same aircraft subsequently departs
the Airport as a revenue flight.

       "RON Parking Fee" has the meaning given to it in Section 5.8.

       "Rules and Regulations" means the lawful rules and regulations governing the conduct
and operation of the Airport promulgated from time to time by the City or the Director, including
without limitation the City 's duly adopted and generally applicable policies, operating directives,
standard procedures, and the Airport Security Plan, in each case as such may be in force and
amended from time to time.

       "SAAC' has the meaning given to it in ARTICLE 11.

       "Scheduled Expiration Date" has the meaning given to it in Section 2. 1.

        "Signatory Airline" means either: ( l) an Air Carrier that has the right to operate at the
Airport pursuant to an agreement with the City substantially similar to this Agreement (a
"Signatory Airline Use and Lease Agreement") and is obligated to pay the City a minimum of at
least Seven Hundred Fifty Thousand Dollars ( 750,000) per year; or (2) an all-cargo Air Carrier
that has the right to operate at the Airport pursuant to a Signatory Airline Use and Lease Agreement


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with the City and has been granted leased premises by the City consisting of an air cargo building
and apron and whose Landing Fees together with its rentals, fees, and charges under such air cargo
building and apron lease amount to at least Seven Hundred Fifty Thousand Dollars ($750,000) per
year; provided further that following DBO of the expanded Terminal Building facilities depicted
in Exhibit G, the minimum commitment required of Air Carriers qualifying under section (1) of
this provision shall be raised to One Million Five Hundred Thousand Dollars ($1 ,500,000) per
year.

       "Special Facilities" means any property, real or personal, incident or related to the Airport,
which is financed by the issuance of Obligations that are not directly or indirectly secured or
payable from Net Revenues .

       "TCEQ" means the Texas Commission on Environmental Quality or any successor agency
or agencies thereto .

       "TDP Airline Rate Base Elements" means the Capital Improvements identified in Exhibit


      "TDP Non-Airline Rate Base Elements" means the Capital Improvements identified in
Exhibit G-1.2 .

        "TDP Airline Rate Base Cap" means the total amount of Net Project Costs associated with
the TDP Airline Rate Base Elements, or, as of the Effective Date, $1 ,267,100,000. The TOP
Airline Rate Base Cap is further described in Exhibit G and may be adjusted pursuant to Section
8.1.

        "TDP GARB Financing Cap" means the total amount of the costs of the Terminal
Development Program (including costs associated with the Capital Improvements identified in
Exhibit G-1.1 and Exhibit G-1.2) to be financed through GARBs, as capped pursuant to the terms
hereof and which, as of the Effective Date, is $1 ,404,000,000. The TDP GARB Financing Cap is
further described in Exhibit G and may be adjusted pursuant to Section 8.1.

       "Term" has the meaning given to it in Section 2.1.

       "Terminal Building" means the terminal building and connected concourses, as may be
expanded from time to time, which serve Air Carriers and other terminal tenants and activities, all
as currently indicated on Exhibit A, Exhibit D-1 and Exhibit D-2 as such exhibits may be
amended from time to time.

       "Terminal Building Rentals" has the meaning given to it in Section 5.1.

        "Terminal Development Program" or "TDP" means the City ' s planned capital program
for the expansion of the Terminal Building and certain other Capital Improvements, as further
described in Exhibit G, and pre-approved by Airline by the execution of this Agreement, as further
described in Section 8.1.

       "Ticket Counter" means each two (2)-position ticket counter within the Terminal that may
be assigned to Airline or another Air Carrier for its use for the processing of passengers and


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baggage for a departing flight, including the ticket counter itself, kiosks, queuing space, and space
behind the ticket counter positions .

       "TSA " means the Transportation Security Administration of the United States Government
or any successor federal agency or agencies.

       Section 1.2     Interpretation.

        The terms used in this Agreement shall have the meanings indicated in this ARTI CLE 1
unless expressly defined elsewhere in the Agreement or where the context clearly indicates
otherwise. Words used in this Agreement in the present tense include the future as well as the
present. Words used in the masculine gender include the feminine and neuter. The singular number
includes the plural and the plural includes the singular. The word "person" means a business or
corporation as well as a natural person. All references in the text of this Agreement to articles,
sections, and exhibits pertain to articles, sections, and exhibits of this Agreement, unless otherwise
specified.

       Section 1.3     Exhibits.

       The following exhibits are incorporated herein and a made a part of this Agreement:

       Exhibit A       Airport Map
       Exhibit B       Airline Activity Report
       Exhibit C       Airline Premises
       Exhibit D-1     Terminal Building Space Exhibit
       Exhibit D-2     Joint Use Space
       Exhibit E-1     Springing Provisions Related to the Extended Term CIP
       Exhibit E-2     Extended Term CIP
       Exhibit F       Rates and Fees Schedule
       Exhibit G       Terminal Development Program
       Exhibit H       Future Premises Commitment
       Exhibit I       Affiliate Designation Form
       Exhibit J       Affiliate Operating Agreement
       Exhibit K       Maintenance Schedule
       Exhibit L       Required Federal Provisions
       Exhibit M       Terminal NB Renovations
       Exhibit N       Conditional Cargo Taxiway Construction

        Any changes to the exhibits that occur from time to time consistent with and pursuant to
the terms of this Agreement shall be reflected in revised exhibits provided by the City to Airline.
Such revised exhibits shall be deemed to be effective without requiring a formal amendment to
this Agreement or City Council action.




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                                            ARTICLE 2
                                              TERM

       Section 2.1     Term; Effective Date.

       The term ("Term") of this Agreement shall commence on October 1, 2024 (the "Effective
Date") and shall end on September 30, 2034 (the "Scheduled Expiration Date"), unless extended
or sooner terminated as hereinafter provided.

       Section 2.2     Extended Term.

       (a)    This Agreement shall be automatically extended for one (1) additional five- (5) year
period beginning October 1, 2034 and ending September 30, 2039, provided that:

             (i)    Airline is not then in default of any of the terms and conditions of this
       Agreement beyond the expiration of any applicable notice and cure period;

               (ii)   The City has, no later than October 1, 2033 , provided and consulted with
       Signatory Airlines on a revised six- (6) year Capital Improvement Program ("Extended
       Term CIP") that covers the extended Term of the Agreement and which City expects may
       total approximately Three Hundred Fifty Million Dollars ($350,000,000) in Net Project
       Costs;

               (iii)   More than fifty percent (50%) in number of the Signatory Airlines operating
       at the Airport who together had greater than sixty percent (60%) of total Airport Terminal
       Spend, including that of the Signatory Airlines ' Affiliates, during the immediately
       preceding Fiscal Year have not provided written notice to the City on or before March 1,
       2034 of their intent to terminate their individual Signatory Airline Use and Lease
       Agreements with City; and

               (iv)    The City has not provided written notice to all Signatory Airlines by January
        1, 2034 of the City 's intent to terminate this Agreement.

         (b)    The automatic extension of the Term pursuant to this Section 2.2 shall constitute
Airline 's pre-approval of the Extended Term CIP on the terms and conditions set forth in Exhibit
E-1 , which shall become effective and incorporated herein as a new Section 8.9 upon such
automatic extension and for the duration of the extended Term, and such Extended Term CIP shall
be incorporated into Exhibit E-2, with no need for formal amendment to this Agreement.

        (c)    If the Term is automatically extended pursuant to Section 2.2, and Airline provided
notice to the City that it wishes to terminate its individual Signatory Airline Use and Lease
Agreement with the City prior to March 1, 2034, this Agreement shall terminate with respect to
Airline, and Airline shall be considered a Non-Signatory Airline for the remainder of the Term.

       Section 2.3     Holding Over.

       (a)    If Airline, at the request of or without objection by the City, shall continue to occupy
the Airline Premises and conduct its Air Transportation Business beyond the Term of this


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Agreement, such holding over shall not constitute a renewal of this Agreement, but shall be
considered a month-to-month tenancy only, with or without the consent of the City. The month-
to-month tenancy shall be subject to all terms and conditions of this Agreement. No such holding
over shall be deemed to operate as a renewal or extension of the Term. Such month-to-month
tenancy may be terminated by the City or Airline by giving thirty (30) days prior written notice of
said termination to the other Party at any time.

        (b)     If Air I ine shall hold over in any portion of the Airline Premises after the termination
of this Agreement and the City objects or does not consent to such holdover, Airline shall occupy
such portion of the Airline Premises as a tenant at will. The City may relocate Airline in such case
without compliance with the provisions of ARTICLE 3 hereof. During such tenancy, Airline shall
pay to the City Non-Signatory Airline rates for Airline rentals, fees, and charges. If Airline fails to
vacate the Airline Premises within sixty (60) days after written notice of termination from the City,
Airline shall pay the City one hundred twenty-five percent (125%) of Airline rentals, fees, and
charges for each period beginning more than sixty (60) days after such notice, and the City reserves
the right to determine Airline rentals, fees, and charges according to any methodology permitted
under Applicable Law.

        Section 2.4     Surrender.

        Upon expiration or early termination of this Agreement, Airline shall surrender the
Premises to the City in substantially the same condition as such Airline Premises were in at the
time of the original occupancy by Airline, or, if improved, in substantially the same condition as
of the completion date of the last improvement authorized by the City pursuant to this Agreement
and made by Airline or the City to the Airline Premises, in each case excepting reasonable wear
and tear (subject to, as applicable, ARTICLE 12). Airline shall provide the environmental
demonstrations concerning the Airline Premises set out in ARTICLE 15 below.

        Section 2.5     Airline Removal of Property.

         (a)    Except as otherwise provided in this Article, all equipment, trade fixtures , and other
personal property installed or placed by Airline in the Airline Premises or on or about the Airport
and which can be removed without structural damage to the Airline Premises or any other City-
owned property shall remain the property of Airline unless otherwise provided in subsequent
written agreements between Airline and the City, and Airline shall have the right at any time during
the Term and prior to its expiration or early termination to remove any and all of said property
from the Airport provided Airline is not in default in its payments hereunder (beyond all applicable
notices and opportunity to cure periods). Airline agrees to repair or pay for all damages, if any,
resulting from such removal. All City property damaged by or as a result of the removal of
Airline's property shall be restored at Airline's expense to the same condition as or better condition
than, it was prior to such damage.

        (b)     Any and all property not removed by Airline within thirty (30) days after the
expiration or earlier termination of this Agreement and the cessation of operations from all or a
portion of the Airline Premises is deemed to be abandoned property. Airline hereby authorizes the
City to remove and dispose of its abandoned property. Airline agrees to reimburse the City for the
cost of removing and disposing of its abandoned property.



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       Section 2.6     Prior Agreement.

        On the Effective Date, any Prior Use and Lease Agreement between the City and Airline
shall terminate without further action required by either the City or Airline, provided that the
termination of such prior agreement shall not be construed as a waiver, relinquishment, or release
of any claims, damages, liability, rights of action, or causes of action that either of the parties
hereto may have against the other under such prior agreement and that have accrued before the
Effective Date of this Agreement. Airline ' s liability that survives the termination of the prior
agreement shall not be terminated by the execution of this Agreement. It is understood that for the
purposes of this Agreement, Airline's cargo facility lease with the City, if any exists at the
Effective Date, shall not be considered a Prior Use and Lease Agreement.

                                         ARTICLE 3
                                      AIRLINE PREMISES

       Section 3.1     Exclusive Use Premises.

       The City grants to Airline, subject to the terms and conditions of this Agreement, the
exclusive right to use the Exclusive Use Premises (if any) identified in Exhibit C. Exhibit C may
be updated and amended from time to time by the Director in accordance with the terms of this
Agreement without need for formal amendment thereto .

       Section 3.2     Preferential Use Premises.

        The City grants to Airline, subject to the terms and conditions of this Agreement, the right
to use, on a preferential basis, the Preferential Use Premises (if any) identified in Exhibit C. The
preferential rights of Airline and other Air Carriers to use Gates shall be governed by the provisions
hereof and in accordance with the Rules and Regulations, which includes the City' s Gate Use
Procedures .

       Section 3.3     Joint Use Space.

        The City grants to Airline, subject to the terms and conditions of this Agreement, the right
to use, on a shared basis, the Joint Use Space identified in Exhibit D-1 and Exhibit D-2 .

       Section 3.4     Gate Use Procedures.

        Airline 's use of Gates shall be subject to the City' s Gate Use Procedures, as amended from
time to time. The City shall provide at least thirty (30) days' notice to Airline of any proposed
amendments to the Gate Use Procedures prior to implementation, unless the Director determines,
in his or her discretion, that implementation of such proposed amendment is necessary in a shorter
period of time in which case the City shall provide notice to Airline as soon as practicable. For the
sake of clarity, in the event a conflict between the Gate Use Procedures and this Agreement, this
Agreement shall control.




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       Section 3.5     Transition Space.

         Airline acknowledges and agrees that at various times during the Term, Airline may be
required, upon no less than thirty (30) days ' written notice from the Director, to temporarily
relocate to and operate out of space different from that shown in Exhibit C to facilitate the
construction of projects or installation of fixtures and equipment. Except as provided in Section
3.15(a), such temporary relocation shall be at the cost of the requesting party or, if applicable and
as determined by the Director, a project cost. If Airline is required to temporarily relocate to and
operate out of different space, Airline 's Exhibit C will be temporarily modified to reflect such
transition change in square footage and space location in writing. All commercially reasonable
efforts will be made to relocate Airline in such case to space of a comparable size and finish . If
Airline did not request the transition move, Airl ine shall not pay for more square footage than what
Airline has leased under this Agreement during the transition period.

       Section 3.6     "As-ls" Condition of Airline Premises.

      WITH THE EXCEPTION OF THOSE FACILITIES AND FIXTURES THAT THE CITY
IS REQUIRED TO MAINTAIN AND REPAIR HEREUNDER AND A Y OTHER
REPRESENTATIONS, COVENANTS, OR OBLIGATIONS OF THE CITY EXPRESSLY SET
FORTH HEREIN AND ANY RELEASES OF AIRLINE HEREIN, AIRLINE EXPRESSLY
ACKNOWLEDGES THAT IT HAS INSPECTED OR HAD THE OPPORTUNITY TO
INSPECT THE AIRLINE PREMISES, INCLUDING, BUT NOT LIMITED TO, ALL
FINISHES, FURNITURE, FIXTURES, AND EQUIPMENT AND ENVIRONMENTAL
CONDITIONS THEREIN AND ACCEPTS THE SAME "AS-IS" IN THE CONDITION
EXISTING AS OF THE EFFECTIVE DATE (OR, IF AIRLINE IS ASSIGNED ADDITIONAL
PREMISES DURING THE TERM PURSUANT TO THIS AGREEME T, AS OF THE DATE
AIRLINE ACCEPTS SUCH AIRLINE PREMlSES). AIRLINE FURTHER ACKNOWLEDGES
THAT, EXCEPT AS EXPRESSLY SET FORTH HEREIN, THE CITY HAS MADE NO
REPRESENTATIONS OR WARRANTIES OF ANY NATURE WHATSOEVER, EITHER
EXPRESS OR IMPLIED, REGARDING THE AIRPORT OR THE AIRLINE PREMISES
INCLUDING, BUT NOT LIMITED TO, THE PHYSICAL AND/OR ENVIRONME TAL
CONDITION OF THE AIRLINE PREMISES, OR ANY IMPROVEMENTS LOCATED
THEREON, OR THE VALUE OF THE AIRLINE PREMISES OR IMPROVEME TS
THERETO, THEIR ZONING, OR THE SUIT ABILITY OF THE AIRLINE PREMISES FOR
AIRLINE ' S NEEDS, OR ANY IMPROVEMENTS THERETO, OR AIRLINE ' S LEGAL
ABILITY TO USE THE AIRLINE PREMISES OR AIRPORT FOR AIRLINE ' S INTE DED
USE. THE CITY SHALL NOT BE RESPONSIBLE FOR ANY PATENT OR LATENT DEFECT
(EXCEPT TO THE EXTENT AND AS EXPRESSLY SET FORTH IN Section 15.9) AND
AIRLINE SHALL NOT, UNDER ANY CIRCUMSTANCES, WITHHOLD ANY AIRLINE
RENTALS , FEES, AND CHARGES OR OTHER AMOUNTS PAY ABLE TO THE CITY
HEREUNDER O ACCOUNT OF ANY DEFECT IN THE AIRLINE PREMISES . BY ITS
ENTRY ONTO THE AIRLINE PREMISES, AIRLINE ACCEPTS THE AIRLINE PREMISES
IN THEIR "AS IS" CONDITION AND HEREBY WAIVES ALL CLAIMS ARISING O OR
AFTER THE EFFECTIVE DATE RELATING TO THE CONDITION OF THE AIRLINE
PREMISES .




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       Section 3.7     Reassignment of Airline Premises.

        (a)     Airline and the City recognize that, from time to time during the Term of this
Agreement, it may become necessary to reassign, reallocate, or relocate part or all of the Airline
Premises . Except as provided in Section 3 .15 , the City may only make such reassignment,
reallocation, or relocation for the following reasons:

             (i)    To comply with a rule, regulation, or order of any federal , State, or other
       Governmental Authority (other than the City) that has jurisdiction over the Airport.

               (ii)   To implement a Capital Improvement at the Airport that the City has been
       authorized to proceed with pursuant to the terms of this Agreement that is a part of the
       City's formal Airport Capital Improvement Program.

               (iii)  To meet what the Director has determined to be a compelling necessity to
       resolve unforeseen and unforeseeable situations.

        (b)     If it becomes necessary to adjust Airline 's Airline Premises, the Director shall
arrange for all parties holding affected Airline Premises to discuss reassignment, reallocation, or
relocation of their space among themselves . If the parties do not reach agreement within thirty (30)
days from the time the Director requests such discussions , the Director is authorized to make such
decisions regarding reassignment, reallocation, or relocation for each of the parties (including
Airline) in accordance with the procedures of this Section 3.7.

       (c)     If, at the expiration of the thirty (30) day negotiating period, the Director makes
decisions regarding reassignment, reallocation, or relocation of Airline 's Airline Premises, the
Director shall give Airline notice of the City 's intent to modify all or portions of the Airline
Premises. Within thirty (30) days of receipt of said notice, Airline may submit to the City a written
request summarizing its concerns, and Airline shall be given an opportunity to meet with the
Director to show cause why the reassignment, reallocation, or relocation should not be made.

         (d)   In any reassignment, reallocation, or relocation pursuant to this Section 3.7 and not
requested by Airline, Airline shall not be required to accept premises not reasonably adequate for
its intended operations.

       (e)    In any reassignment, reallocation, or relocation pursuant to this Section 3.7 and not
requested by Airline, the City shall :

               (i)    Give Airline sixty (60) days ' notice of the reassignment, reallocation, or
       relocation unless otherwise agreed to by the affected parties.

                (ii)   Reimburse Airline the undepreciated capital cost on a straight-line basis of
       Airline 's improvements (excluding trade fixtures , furnishings , and other personal property)
       in the space vacated, provided that such improvements were authorized by the City
       pursuant to this Agreement; or

               (iii)   Make improvements and alterations necessitated by the reassignment,
       reallocation, or relocation, as mutually agreed upon by the City and Airline, the cost of


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        which shall not be the responsibility of Airline, including to ensure space to be reassigned
        to and occupied by Airline is in reasonably the same condition as any comparable space
        that Airline is vacating.

               (iv)    Relocate Airline not at Airline's expense.

        (t)    Relocation costs pursuant to th is Section 3.7, if any, shall be borne by the requesting
party, provided that, if reassignment of all or any portion of the Airline Premises is necessary, in
the reasonable discretion of the City, in order to effectuate or enable Capital Improvements that
benefit the Airport as a whole or are necessary for the proper functioning of the Airport, the cost
of relocating Airline shall be a project cost of such Capital Improvement to be recovered
accordingly.

        (g)    In any reassignment, reallocation, or relocation pursuant to this Section 3. 7 and not
requested by Airline which results in a reduction of Airline's Airline Premises, the rentals, fees,
and charges owed by Airline pursuant to this Agreement shall be reduced proportionately to the
reduction in square footage to the Airline Premises.

       (h)    Upon completion of reassignment, Exhibit C will be updated to reflect the final
reassignment and relocation.

        Section 3.8    Minimum Activity Level.

         The average minimum level of use required for Airline's preferentially assigned Gate(s)
(the "Preferential Gate Minimum Activity Levef') shall be five (5) Flights per Gate per day or
700 seat departures per Gate per day during a twelve (12) month period (365 days) as measured
on a rolling basis, provided that, upon the date which is six (6) months after DBO of the new
Terminal Building facilities constructed as part of TOP, the Preferential Gate Minimum Activity
Level shall be increased to five and one-half (5 .5) Flights per Gate per day or 750 seat departures
per Gate per day. For the purpose of this Section 3.6, a "Flight" is defined as two (2) scheduled
flight segments (one arrival and one departure) . After consultation with the Signatory Airlines and
reasonably considering the Signatory Airlines ' comments, if any, the City may adjust such
Preferential Gate Minimum Activity Level with no less than sixty (60) calendar days ' notice to
reflect then-current operations, Gate utilization, and availability of Gates at the Airport.

        Section 3.9    Preferential Gate Utilization.

        (a)     On or before October 1 of each year of this Agreement, the City will provide Airline
a Gate use analysis for the immediately preceding twelve- (12) month, 365-day period. Airline's
average Gate use will be calculated by dividing the total number of Airline's Flights at its
preferentially assigned Gate(s) during a twelve- (12) month, 365-day period by the total number
of preferentially assigned Gate(s) assigned to Airline. Airline's average seats per Gate will be
calculated by dividing the total number of daily seats per Flight at Airline's preferentially assigned
Gate(s) by the total number of preferentially assigned Gate(s) assigned to Airline. Charter(s) or
other non-Airline operations will not be counted in this calculation.




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       Section 3.10    Recapture of Preferentially Assigned Gate(s).

        (a)     Should the City at any time determine that Airline has not met the Preferential Gate
Minimum Activity Level as described herein, the City may, in its sole discretion and without any
obligation to do so, issue written notice to Airline that it has not met the Preferential Gate Minimum
Activity Level ("Initial Recapture Notice").

        (b)     Upon delivery of such Recapture Notice to Airline, Airline shall be granted a cure
period of six (6) months by the City. Should Airline fail to meet the applicable Preferential Use
Gate Minimum Activity Level during, at minimum, the final four (4) months of such six (6) month
cure period, the City may, at its sole option and in order to accommodate the needs of other Air
Carriers at the Airport, by written notice to Airline ("Final Recapture Notice") , require that Airline
for the remainder of the Term: (a) relinquish a proportionate number of its preferentially assigned
Gate(s) such that, on a proforma basis, excluding such relinquished Gate(s), the remaining Gates
preferentially assigned to Airline demonstrate that Airline meets the applicable Preferential Use
Gate Minimum Activity Level during the six (6) month cure period; and (b) relinquish a
proportionate amount of holdroom, Ticket Counter, ticket office, and other related terminal space
to the extent necessary to support an Air Carrier's operations at the reassigned Gate(s).

        (c)    The effective date of Airline's re linquishment of preferentially assigned Gate(s),
and other portions of the Airline Premises, shall not be less than sixty (60) days following the date
of the City's Final Recapture Notice. At such time, Airline shall vacate the relinquished Airline
Premises in accordance with the City's requirements and the Airport Rules and Regulations.
During the course of vacating the relinquished Airline Premises, Airline shall minimize disruptions
to other Air Carriers' operations and preserve the operational integrity of the relinquished Airline
Premises.

        (d)       If Airline is directed by the City, but does not itself request, to relocate all or a
portion of its remaining Airline Premises as a result of the recapture of one or more of its
preferentially assigned Gate(s) pursuant to this Section 3.10, the costs of such relocation shall be
(i) borne by the Signatory Airline who has been assigned the preferential use of Airline's
relinquished Gate(s), if any; or (ii) if the Director determines, in his or her sole discretion, that
such relocation of Airline's remaining Airline Premises is necessary for the proper functioning of
the Airport, a cost of the Airport recovered from all Signatory Airlines as part of Terminal Building
rentals, fees , and charges.

       Section 3.11    City Gates.

       (a)      The City shall retain under its control and possession the City Gates. The City
reserves the right during the Term of this Agreement to maintain no fewer than ten (10) Gates as
City Gates.

      (b)   City Gates shall be assigned by the City, and the City shall handle requests for
accommodation by an Air Carrier, in accordance with the City's Gate Use Procedures .

        (c)    Notwithstanding anything to the contrary in the City 's Gate Use Procedures as of
the Effective Date, Airline acknowledges that the City will assign international arrivals the highest



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priority of use on international capable Gates in the event of a scheduling conflict between Air
Carriers.

        Section 3.12    City Right of Entry.

         Authorized representative(s) of the City shall have the right to enter the Airline Premises,
including the non-public areas of the Preferential Use Premises and Exclusive Use Premises, at
any and all reasonable times for the purpose of inspection, including inspecting compliance with
applicable Environmental Laws as provided in ARTICLE 15 and inspection of all City-owned
equipment for compliance with manufacturer's specifications regarding servicing and preventive
maintenance, or for any other purpose incident to the performance of the City ' s obligations
hereunder or in the exercise of any of its governmental functions. The City shall use good faith
efforts to avoid disruption of Airline ' s operations and, except in the event of an emergency, shall
provide Airline reasonable notice prior to entering the non-public areas of the Preferential Use
Premises or Exclusive Use Premises (or, if the City ' s entry onto public areas of the Preferential
Use Premises or Exclusive Use Premises could reasonably adversely impact Airline ' s operations,
prior to entering those such areas) and Airline shall have the right to have an Airline employee
accompany the City's representative(s) when entering the non-public areas of the Preferential Use
Premises or Exclusive Use Premises.

        Section 3.13    Addition and Deletion of Space, Rights, Licenses, or Privileges.

         (a)     The City and Airline may, from time to time, by mutual agreement, add additional
space or spaces to or delete space or spaces from the various Airline Premises of Airline or may,
subject to the provisions of this ARTICLE 3, add rights, licenses or privileges, or delete rights ,
licenses, or privileges, granted to Airline hereunder, or any two Air Carriers may exchange space,
in the following manner: Airline shall submit to the Director a written request for the addition or
deletion of rights, licenses, privileges, or space, which shall describe with particularity (i) the
rights, licenses, privileges, or space which Airline wishes to add or delete; (ii) the Terminal
Building Rentals, if applicable; and (iii) the date on which Airline wishes such addition or deletion
to be effective. If the Director approves such addition or deletion in his or her reasonable discretion,
she or he shall so notify Airline in writing, and the addition or deletion shall be effective on the
date specified in the Director's written approval. Exhibit C shall be revised accordingly to reflect
any such addition or deletion. Notwithstanding the foregoing, the Director shall not be required to
approve the deletion of any space from any Signatory Airline's Airline Premises unless and until
another Air Carrier has consented to lease such space on substantially the same terms and
conditions as such Signatory Airline. All space added to the Airline Premises or rights, licenses, or
privileges added pursuant to this Section shall be subject to all the terms, conditions, and other
provisions of this Agreement and Airline shall pay to the City all sums, fees, and charges applicable
to such additional space, rights, licenses, or privileges in accordance with the provisions of this
Agreement.

        Section 3.14    Future Premises Commitment.

       Airline acknowledges and agrees that the location and amount of its Exclusive Use
Premises and Preferential Use Premises is expected to be adjusted during the Term in connection
with TDP. A summary of Airline ' s commitments to lease Exclusive Use Premises and Preferential



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Use Premises, if any, and any applicable conditions are shown in Exhibit H ("Future Premises
Commitment'). Airline acknowledges that the plans for future facilities are conceptual in nature
and therefore specific locations and quantities of future Airline Premises have not been
determined. Airline agrees that, as elements of TOP are completed, it will relocate within the
Terminal Building as directed by the City to the extent that it is consistent with the Future Premises
Commitment and Exhibit G-1.3. Subject to Section 3. l 5(c), Airline agrees to lease, at a minimum,
the amounts of Exclusive Use Premises and Preferential Use Premises stated in the Future
Premises Commitment in the locations specified by the City. The City agrees, subject to ARTICLE
3 and to the extent adequate space is constructed as part of TOP, to provide Airline the amounts
of Exclusive Use Premises and Preferential Use Premises identified in Exhibit H. The City shall
timely notify Airline ifthere are circumstances reasonably known to the City that may result in the
City not constructing, as part of TDP, substantially the amounts of Exclusive Use Premises and
Preferential Use Premises that Airline has committed to lease pursuant to Exhibit H.

       Section 3.15    TDP Specific Provisions.

       (a)     Temporary Relocation During TDP.

        Airline acknowledges that, during construction of TOP, in order to facilitate the continued
operations of all Air Carriers at the Airport and to serve the traveling public, it will be necessary
for the City, from time to time, to reallocate and reassign space under Section 3.5 on an interim,
transitional basis pending completion of all or a portion of TOP. Notwithstanding anything herein
to the contrary, relocation costs for such interim reallocations and reassignments shall be project
costs of TDP and not borne by Airline or the City individually.

       (b)     Relocation and Reassignment ofAirline Premises at DBO.

               (i)    The City agrees to assign Airline and other Signatory Airlines the
       Preferential Use Premises, including Gates, and Exclusive Use Premises, at DBO of such
       new Terminal facilities completed as part of TDP, as such facilities are constructed and
       become available, at the locations and in the amounts shown in Exhibit G-1.3 , provided,
       however, that if all or a portion of the anticipated new Terminal Building facilities are not
       constructed for any reason, the City will assign Preferential Use Premises and Exclusive
       Use Premises in accordance with this ARTICLE 3. If Airline 's preferentially assigned
       Gates are reassigned pursuant to this Section, Airline shall not be subject to the provisions
       of Section 3.10 for the initial six- (6) month period during which Airline occupies such
       reassigned preferentially assigned Gates. Relocation costs for the reassignment of Airline
       Premises pursuant to this Section shall be project costs of TOP and not borne by Airline or
       the City individually.

               (ii)   The City agrees that it shall use commercially reasonable efforts to assign
       Airline contiguous space with respect to temporary relocations of the Airline Premises
       during construction of TDP, or upon DBO of new Terminal Building facilities , unless
       otherwise agreed to by Airline and the City.

             (iii)   The City shall develop a standard set of design and finishes for new
       Terminal Building facilities constructed as part of TDP. The City shall construct new



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       Terminal Building facilities to be assigned to Airline in accordance with this standard set
       of design and finishes, with related costs to be project costs ofTDP, unless, at least one (1)
       year prior to DBO of such Terminal Building facilities, Airline requests deviations from or
       additions to such standard set of design and finishes and agrees to pay any additional costs
       as a result thereof, if such deviations or additions are approved by the City.

       (c)    Rightsizing ofAirline Premises at DBO.

               (i)     In anticipation of the completion of new Terminal Building facilities to be
       constructed as part of TOP that the City makes available to Airline, Airline may request
       and the City shall grant, effective as of DBO of such new facilities, a reduction in the size
       of the Airline Premises or, to the extent there is available space, an increase in the size of
       the Airline Premises, provided that:

                      (A)     Airline may only request, and the City shall only grant, such
       reductions in the size of the Airline Premises of no greater than ten percent ( 10%) of the
       Exclusive Use Premises that Airline has committed to lease pursuant to Section 3.14 and
       as depicted on Exhibit H;

                       (B)    Airline must make such requests by written notice to the City no
      later than one (1) year before the Estimated Date of DBO of such new facilities. For
      purposes of this Section 3. l 5(c), the "Estimated Date of DBO" shall refer to the Estimated
      Date of DBO established by the City 's Construction Manager at Risk ("CMAR") pursuant
      to the CMAR Agreement at the time that the Guaranteed Maximum Price ("GMP") in the
      CMAR Contract is established and agreed upon between the City and the CMAR; provided
      that if the City has knowledge that the estimated date of DBO is later than reflected in the
      critical path schedule under the CMAR Agreement as referenced in this Section
      3.15(c)(i)(B), the City shall notify Airline of the new estimated date of DBO, which upon
      such notice shall be considered the Estimated Date of DBO under this provision. As of the
      Effective Date, the City's CMAR engaged to construct the new Terminal Building facilities
      in connection with TDP is Hensel Phelps Construction Co. The "CMARAgreement" refers
      to the agreement between the City and Hensel Phelps Construction Co titled City of San
      Antonio, Texas Construction Manager at Risk Contract - New Terminal Facility.

                      (C)     Airline may not request, and the City shall not grant, reductions in
      the size of any Exclusive Use Premises designed for and anticipated to be leased to Airline
      for the purposes of operating a passenger lounge, unless the City determines as part of the
      design process that a reduction requested by Airline of up to ten percent (10%) of the space
      designated for the passenger lounge will not cause there to be unusable or not functional
      space nor will the reduction materially affect Air Carrier rentals, fees and charges;

                      (D)     For the sake of clarity, Airline may not request, and the City shall
      not grant, reductions in the size of any Preferential Use Premises that Airline has committed
      to lease pursuant to Section 3 .14 and as depicted on Exhibit H;

                       (E)     For the sake of clarity, the City may assign to Airline, and Airline
       shall accept, space in new Terminal Building facilities in different square footage amounts



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       than shown on Exhibit H if the variance is the result of de minimis reductions (or, if
       requested by or otherwise agreed to by Airline, increases) to square footage recommended
       and approved by applicable TOP Governance Committees for operational reasons or
       functional design purposes.

                                          ARTICLE 4
                                     USE OF THE AIRPORT

        Section 4.1     Permissible Uses.

        Subject to the terms and provisions of this Agreement, Airline shall be entitled to the use,
in common with other duly authorized users, of the Airport for the following purposes, provided
that nothing herein shall be construed as authorizing the conduct of a separate business by Airline,
but as permitting Airline to perform only such functions as are incidental to the operation of its
Air Transportation Business:

       (a)    The operation of Airline 's Air Transportation Business, including all activities
reasonably necessary to such operation.

        (b)     The landing, taking off, flying over, taxiing, pushing, towing, loading, unloading,
delivering fuel to aircraft, repairing, maintaining (provided that Airline shall not perform major
maintenance or repairs of aircraft or equipment on the ramp unless specifically authorized by the
City), conditioning, servicing, parking, storing, and testing of aircraft or other equipment of or
operated by Airline or others, including the right to provide or handle all or part of the operations
or services of such others. For operations handled by Airline on behalf of other Air Carriers (other
than to Airline's Affiliates), Airline shall pay the City a nondiscriminatory fee as established by
the Director based on the gross revenues derived by Airline from such handling services. Handling
services provided by third-party contractors will be subject to the nondiscriminatory fee, subject
to the exception described in Section 4.6(b ).

       (c)      The sale of tickets, documentation of shipments, handling of reservations, and
loading and unloading of persons, property, cargo, baggage, express packages, and mail at the
Airport in the operation of Airline 's Air Transportation Business .

         (d)    The hiring, employment, and training at the Airport of personnel in the current or
future employ of Airline, and training of Airline 's authorized contractors. Training is to be limited
to that incidental to Airline 's Air Transportation Business at the Airport. Flight training and testing
of aircraft and other equipment shall be undertaken by Airline only with the prior written approval
of the Director, and to the extent permitted by, and subject to, the Rules and Regulations.

       (e)     The purchase of Airline 's requirements of fuel, lubricants, propellants, personal
property, services, food, beverage, catering services, other passenger supplies, and any other
materials and supplies used by Airline that are incidental to the operation of Airline's Air
Transportation Business. Nothing herein shall restrict the City from requiring a permit and levying
a charge on any person or company for conducting such commercial operations (e.g., the sale of
food, beverage, or commissary supplies, or providing of services, including to Airline) at the
Airport.



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       (f)     The ale, disposal, and exchange of Airline 's aircraft, engines, accessories and other
equipment, and materials or supplies, provided that such right shall not be construed as authorizing
the conduct of a separate regular business by Airline, but as permitting Airline to perform only
such functions as are incidental to the operation of its Air Transportation Business at the Airport.

        (g)     The servicing by Airline, or by its suppliers of materials or furnishers of services,
of aircraft and other equipment operated by Airline, including the provision of line maintenance
or other materials or supplies, on Exclusive U e Premises or Preferential Use Premises or at
assigned Gates or other locations designated by the Director.

        (h)    The installation and operation of static or digital identifying signs, posters, and
graphics and directional signs guiding passengers as needed in Airline 's Exclusive Use Premises
and Preferential Use Premises, subject to the prior written approval of the Director. Such signs
shall be substantially uniform in size, type, and location with those of other airlines, consistent
with the City 's graphic standards and the Rules and Regulations, and in compliance with all
Applicable Laws.

        (i)     The installation, maintenance, and operation of such electronic or electrical devices ,
radio, communication, meteorological, and aerial navigation equipment and facilities at suitable
locations on the Airport as may be necessary or convenient in the opinion of Airline for its
operations; provided that: (i) the location and number of such equipment and facilities shall be
subject to the prior written approval of the Director; (ii) the use and location of such equipment
and facilities shall not conflict with other similar equipment and facilities at the Airport; and (iii)
the use and location of such equipment and facilities on the Airport shall be subject to the payment
of standard rental rates established for such use.

        (j)    The installation, maintenance, and operation of Airline passenger clubs or lounges
in Airline's Exclusive Use Premises assigned for uch purpose.

        (k)     The installation, maintenance, and operation of computer data lines, non-revenue
generating wi-fi networks, telephone communications equipment, radio antennas and equipment,
associated cables, associated conduits, and telephone communications switchgear and support
computers at suitable locations on the Airport as may be necessary or convenient in the opinion of
Airline for its operations; provided that: (i) all such equipment (except for the associated cables
and conduits) be clearly tagged as belonging to Airline, to include a contact telephone number; (ii)
the location of such equipment shall be subject to the prior written approval of the Director; (iii)
the use and location of such equipment shall not interfere with the use of other similar equipment
on the Airport; (iv) the use and location of such equipment, except for cables, on the Airport shall
be only in Exclusive Use Premises, Preferential Use Premises, or Joint Use Premises assigned to
Airline, and for which rentals, fees , and charges are being timely paid by Airline pursuant to this
Agreement; (v) all cables are installed in conduits, and when such cables are no longer needed,
they are promptly removed by Airline without damage to the space and the conduits are also
promptly removed by Airline if so required by the Director; and (vi) all installation or removal is
performed in accordance with the City 's Cabling tandards policy, as such policy may be amended
from time to time, and any applicable permitting requirements .




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        (1)     The storage and parking of equipment, cargo, and vehicles in connection with
Airline 's Air Transportation Business, but only at such locations as specifically designated by the
Director.

       (m)     The maintenance and repair of equipment and vehicles in connection with Airline 's
Air Transportation Business, but only at such locations as specifically designated by the Director.

        (n)    The operation of break rooms for Airline's employees (and no other persons), and,
to the extent permitted by law and not otherwise restricted by Section 4.3(a)(vi), the serving of
food and beverages in such employee break rooms if provided to such employees for free or if
pursuant to the limited exception in Section 4.3(a)(vi) for vending machines.

       Section 4.2     Ingress and Egress.

        (a)    Subject to the terms and provisions of this Agreement, the following privileges of
ingress and egress with respect to the Airport are hereby granted:

               (i)     For Airline, its agents, employees, contractors, subcontractors, and
       permitted sub lessees and assigns, access to the public areas of the Airport and the Airline
       Premises. This right shall extend to Airline's aircraft, vehicles, machinery, and equipment
       used in its Air Transportation Business.

              (ii)    For Airline's passengers, guests, and invitees, access to areas leased
       exclusively or preferentially to Airline and to areas provided for the use of Airline 's
       passengers, guests, and invitees in common with those of other Air Carriers and to public
       areas and public facilities . This right shall extend to vehicles of such passengers, guests,
       and invitees.

               (iii)   For Airline's suppliers of materials and furnishers of service, access to the
       public areas of the Airport and to areas and facilities leased exclusively or preferentially to
       Airline and to areas and facilities provided for the joint use by Airline or its suppliers of
       materials and furnishers of services. This right shall extend to vehicles, machinery, or
       equipment of such suppliers and furnishers used in their business of furnishing such
       supplies and services to Airline.

        (b)    The ingress and egress provided for above shall not be used, enjoyed, or extended
to any person, Air Carrier, or vehicle engaging in any activity or performing any act or furnishing
any service for or on behalf of Airline that Airline is not authorized to engage in or perform under
the provisions of this Agreement unless expressly authorized by the Director.

       Section 4.3     Restrictions.

        (a)     Airline or any of its agents, employees, directors, officers, contractors, invitees,
licensees, or representatives shall not do any of the following:

              (i)    Do anything that may interfere with the effectiveness or accessibility of the
       drainage and sewage system, electrical system, air conditioning system, fire protection



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       system, sprinkler system, alarm system, fire hydrants, and hoses, if any, installed or located
       on or within the premises of the Airport.

              (ii)     Do anything that may invalidate or conflict with any fire or other casualty
       insurance po licies covering the Airport or any part thereof.

               (iii)    Keep or store, at any time, flammab le or combustible liquids except in
       storage facilities especially constructed for such purposes in accordance with all Applicable
       Laws , including the Uniform Fire Code and the Uniform Building Code.

               (iv)     Do anything that may be in conflict with the provisions of 14 CFR Part 139,
       Airport Certification, as may be amended from time to time, or jeopardize the operating
       certificate of the Airport.

               (v)     Do anything that may be in conflict with the provisions of 49 CFR Part
       1542, Airport Security, as may be amended from time to time, or the TSA-approved
       security plan for the Airport.

               (vi)   Permit any amusement machine, vending machine, public pay telephone,
       facsimile machine, copy machine, or other machine operated by coins, tokens, or credit
       cards to be installed or maintained in any publicly accessible area without the express
       written determination of the Director. Airline or its nominee may, however, install,
       maintain, and operate vending machines in Airline's Exclusive Use Premises not accessible
       to the public for the purpose of providing and making available foods , beverages, and
       sundry food items to Airl ine 's employees only.

               (vii) Provide commercial ground transportation services to any person upon
       payment of any fee or charge. Airline shall not be in violation of this Section 4.3(a)(vii) if
       providing limited ground transportation free of any fee or charge to any passenger as a
       result of irregular operations or to Airline 's employees.

              (viii) Perform aircraft engine run-ups, except at locations and during time periods
       approved in writing in advance by the Director or in accordance with Airport established
       processes and procedures .

                (ix)   Enter into activities at the Airport that compete with the City in the City 's
       development of any on-Airline Revenue from Airport passengers, tenants, and other
       users . Should Airline engage in non-airline business activities not specifically permitted in
       this Agreement, the City may levy a non-discriminatory fee on uch activities.

       Section 4.4     Concession Services Right Reserved by City.

        (a)    Except as otherwise provided herein, the City reserves the exclusive right to itself,
its agents, and its franchisees to operate all concession services (including, but not limited to,
food/beverage and news/gift concessions, specialty retail shops and carts, vending machines, pay
telephones, facsimile machines, and other voice and data telecommunications systems, adverti sing
displays, baggage lockers, and baggage carts) in the Terminal Building and the FIS, including the
Airline Premises, such as holdrooms and loading bridge exterior areas, and to retain the revenue


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therefrom; provided, however, that: (i) the City agrees that no concession services shall be located
or operated by the City or its nominees in Airline's Exclusive Use Premises or on Airline-owned
equipment without Airline's prior consent; (ii) the City shall not exercise such right in a manner
that will materially impede passenger ingress or egress or Airline 's business operations; and (iii)
with respect to Airline 's Preferential Use Premises, the City shall not allow the placement of
advertising of competing transportation services or of consumer products or services that are sold
in competition with providers with which Airline has an affinity marketing program.

        (b)     The City shall operate all concessions and provide such other services (with
reasonable due consideration to requests made by Airline) for scheduled airline passenger
operations at the Airport as it deems necessary or appropriate. Nothing herein shall limit or
preclude the City from operating whatever concessions or providing whatever services it may
desire at any and all airports and other facilities owned by the City.

        (c)    The distribution, serving or sale of food and/or beverages (including alcoholic
beverages) meant to be consumed aboard Airline 's aircraft by Airline or its in-flight catering
provider shall be limited to Airline's passengers while on Airline 's aircraft, unless otherwise set
forth in this Agreement or agreed in writing by the Director. The provisions of this section
notwithstanding, all distribution of alcoholic beverages shall comply with all Applicable Laws.

        (d)     Airline shall be allowed to provide water and typical on-board snacks (such as
peanuts, pretzels, etc.) in passenger holdrooms at no cost to Airline's passengers in the event of
originating flights with delays greater than two (2) hours, diverted flights , or originating flights
that have returned to the Gate. All such food and/or beverages shall be on-board snacks brought
from an aircraft or otherwise shall be purchased only from the City's food and beverage
concessionaires operating at the Airport or others that pay permit fees to the City or used from
Airline 's provisional flight supplies, provided, however, that in the event the City's food and
beverage concessionaires have closed for the day or are closed due to some other circumstance
and Airline is experiencing delays, diversions or originating flights returning to Gates, Airline may
seek delivery of food and non-alcoholic beverages from non-City sources. Otherwise, distribution
of food and/or beverages at no cost to Airline 's passengers by Airline shall be permitted only with
advance written approval of the Director.

        (e)     Airline shall have the right to utilize the Airline Premises assigned for such
purposes for the purpose of maintaining and operating Airline passenger clubs or lounges for its
guests, invitees, and passengers and may serve beverages, including alcoholic beverages, and food
therein with or without charge and subject to all Applicable Laws.

        (f)     Except as allowed herein or approved in writing by the Director, all other serving,
distribution, or sale of food or beverages by Airline at the Airport is prohibited.

       Section 4.5     Designation and Use of Affiliates.

        (a)    For so long as Airline conducts an Air Transportation Business at the Airport,
subject to the City's prior written confirmation that any such Affiliate meets the requirements of
this Agreement, Airline may utilize one or more Affiliates and allow such Affiliates to conduct its
Air Transportation Business at the Airport; to use, in common with others so authorized, the



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common and public areas of the Airport (including the airfield), in addition to the Airline Premises;
and to perform all operations and functions as are connected, incidental, or necessary to Airline's
Air Transportation Business at the Airport; subject to the following:

               (i)     Airline shall provide the City with a completed Exhibit I upon execution
       of this Agreement and, if designating an Affiliate thereafter, an updated Exhibit I and
       Airline or the Affiliate shall provide the City with a certificate of insurance demonstrating
       that such Affiliate carries insurance coverage naming the City as an additional insured in
       accordance with Section 13.1 of this Agreement thirty (30) days prior to the Airline
       designating a new Affiliate, which designation is subj ect to the City's confirmation that any
       such Affiliate meets the requirements of this Agreement. As a precondition of being
       approved by the City, each Affiliate shall (a) be independently li able for all charges incurred
       related to its operation at the Airport (in addition to Airline 's li ability stated below), (b)
       maintain certain minimum levels of insurance coverage, (c) indemnify and hold the City
       Indemnified Parties harmless of any and all damages incurred as a result of its operations
       at the Airport as set forth in Section 13 .1 hereof and agreeing to abide by all City rules,
       regulations, operating directives and/or policies as they may be in effect from time-to-time.
       The Affiliate of Airline wi ll be required to execute an Affiliate Operating Agreement in
       substantially the same form as Exhibit J memorializing the above .

                (ii)   Airline shall be unconditionally responsible for the payment of all rentals,
       fees , and charges, including Passenger Facility Charges, due under this Agreement by its
       Affiliate. Except as expressly provided herein, the privileges granted hereunder to Airline
       shall also apply to any Affiliate of Airline.

               (iii)   An Affiliate of Airline, which is not otherwise a Signatory Airline, shall be
       entitled to the Signatory Airline rates for rentals, fees , and charges applicable to Airline
       under this Agreement.

              (iv)   In addition, Airline shall fully indemnify the City for all conduct and
       omissions of its Affiliates to the fullest extent as is provided in Section 13 .2 of this
       Agreement.

               (v)      Except as may be otherwise specificall y provided by the terms of this
       Agreement, to the extent that an Affiliate operates on behalf of Airline, Airline and its
       Affiliates shall be treated as a single entity for purposes of the Agreement and the
       application of the terms of the Agreement, except the calculation and payment of Airline
       rentals, fees, and charges, unless otherwise requested by Airline.

       (b)     Airline's designation of an Affiliate under this Agreement for purposes of receiving
Signatory Airline rates shall not be effective unless and until approved in writing by the Director
(such approval being limited to the confirmation that such Affiliate meets the requirements of this
Agreement) .

        (c)     As of the execution date of this Agreement, the Air Carriers listed on Exhibit I to
this Agreement have been designated by Airline, and approved by the City and the Director, as
Affiliates of Airline under this Agreement.



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       Section 4.6     Ground Handling Services by Airline or Others.

        (a)       Airline may contract with, or receive from, other Air Carriers serving the Airport
or other third-party companies, ground handling services (both above and below the wing services)
for Airline 's aircraft, provided that:

               (i)    Airline shall give the Airport Director written notice of any such proposed
        handling agreement at least ten (10) business days prior to the effective date thereof;

               (ii)    Airline shall obtain any permit, license, or other authorization required by
       the City to perform such duties at the Airport;

               (iii)   Airline shall ensure that its third-party service provider(s) obtains any
        permit, license, or other authorization required by the City to perform such duties at the
        Airport; and

               (iv)   Nothing in this Section shall be construed to relieve Airline or any such
        handled Air Carrier from its ob ligations hereunder.

        (b)     Nothing herein shall restrict the City from levying a nondiscriminatory concession
fee for ground handling services on any person or company (including Airline when Airline is
providing these services to other Air Carriers except for its Affiliates when operating on behalf of
Airline). For the avoidance of doubt, if providing these services only to Airline or its Affiliates
when operating on behalf of Airline, Airline, its Affiliate, or a wholly-owned subsidiary of Airline
will not be charged such fee but shall still be subject to the provisions of this Section.

       (c)    Airline 's insurance, as required in this Agreement, shall provide insurance coverage
for such ground handling services to the extent it is not covered by a ground handling services
company 's own insurance.

       Section 4.7     Airport Security.

         Airline understands and agrees that it shall fully indemnify, defend, and hold harmless the
City, and the City Indemnified Parties (as defined in Section 13 .2) from and against all penalties,
fines , or demands of any kind (including, but not limited to, costs of investigation, attorney fees ,
court costs, and expert fees) to the extent arising out of Airline ' s acts or omissions resulting in
alleged violations of 49 CFR Part 1542, Airport Security, as may be amended from time to time,
or any successor regulations related to airport security. If Airline, its officers, employees, agents,
or those persons under Airline's control (not including Airline ' s passengers) shall fail or refuse to
comply with the aforementioned security requirements and such non-compliance results in a
monetary penalty being assessed against the City, Airline shall be responsible for the costs thereof
and shall reimburse the City in the full amount of any such monetary penalty; provided, however,
that Airline shall the right, but without withholding timely payment or reimbursement to the City
thereof, to contest the validity or amount of any such monetary penalty in accordance with Section
13 .2(b).




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        Section 4.8     Removal of Disabled Aircraft.

        Upon release of Airline's disabled aircraft by the proper authorities , Airline shall promptly
remove any such disabled aircraft from any part of the Airport (including, without limitation,
runways, taxiways, aprons, and Gate positions) and place any such disabled aircraft in such storage
area as may be designated by the Director. Airline may store such disabled aircraft only for such
length of time and on such terms and conditions as may be established by the City. If Airline fails
to remove any of its disabled aircraft promptly in accordance with this paragraph, the Director
may, but shall not be obligated to, after delivering reasonable advance notice to Airline, cause the
removal of such disabled aircraft, such removal and associated storage consistent with Applicable
Laws. Airline agrees to reimburse the City for all costs of such removal and storage.

        Section 4.9     Employee Parking Fac iliti es.

        Airline and its Airport employees shall have the right to use the vehicular parking facilities
at the Airport, in common with employees of other airlines, tenants, and Airport-related services.
Use of the employee parking facilities is subject to the payment of such employee parking fees as
established from time to time by the City. Such facilities shall be located in an area designated by
the Director. Airline shall, on request of the Director, provide verification that it is only authorizing
and paying for parking for its on-Airport and/or Airport-based employees in City-designated
employee parking spaces.

        Section 4.10    Restrictions and Reservations .

        Unless explicitly provided otherwise herein, the City specifically reserves and retains all
rights not specifically granted herein, including but not limited to those with respect to licensing
or contracting for concessions, general consumer services, fixed base operators, or other
commercial aeronautical services, and related aviation services at the Airport, including, but not
limited to food, beverage, retail, advertising, and vending, within the Terminal Building, whether
in Airline Premises or public areas of the Airport, and nothing herein shall restrict the City from
requiring a permit and levying a charge on any person or company for conducting business at the
Airport.

                                     ARTICLE 5
                         AIRLINE RENTALS, FEES, A D CHARGES

       In consideration for use of the Airline Premises, facilities , rights, and privileges granted
hereunder and for the undertakings of the City, Airline agrees to pay the City during the Term of
this Agreement, without deduction or set-off, certain rentals, fees , and other charges as set forth in
this ARTICLE 5 and as calculated according to ARTICLE 6 and the Rates and Fees Schedule.

        Section 5.1     Terminal Building Rentals .

        Airline shall pay the City, for its assigned Exclu ive Use Premises and Preferential Use
Premises in the Terminal Building, rent ("Terminal Building Rentals") based on the annual rental
rates for areas calculated each Fiscal Year in accordance with the Rate and Fees Schedule.




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        Section 5.2     Joint Use Charges .

         Airline shall pay the City, for its shared use of Joint Use Space in the Terminal Building,
joint use charges ("Joint Use Charges") which shall be calculated each Fiscal Year in accordance
with the Rates and Fees Schedule. As illustrated in the Rates and Fees Schedule, Joint Use Charges
shall be calculated and charged as follows: first, a total Joint Use Space Requirement shall be
calculated in accordance with the Rates and Fees Schedule to establish Non-Signatory rates for
Joint Use Charges, and the total amount of Non-Signatory Joint Use Charges shall be subtracted
from the Joint Use Space Requirement; then , ten percent (l 0%) of the remaining total Joint Use
Space Requirement shall be charged on an equal basis among all Signatory Airlines and the
remaining ninety percent (90%) of the total Joint Use Space Requirement shall be charged on a
pro rata basis to all Signatory Airlines according to the ratio of the number of a Signatory Airline ' s
Enplaned Passengers at the Airport (including those of their Affiliates ') to the total number of
Enplaned Passengers of all Signatory Airlines (including those of their Affiliates ') using such
facilities , service, or space.

        Section 5.3     Loading Bridge Fees.

        Airline shall pay the City a fee ("Loading Bridge Fee") for its preferentially assigned,
City-owned passenger Loading Bridges at the Terminal Building. Such fee shall be calculated each
Fiscal Year in accordance with the Rates and Fees Schedule.

        Section 5.4     Apron Area Fees.

        Airline shall pay the City a fee ("Apron Area Fee") on a linear foot basis for its
preferentially assigned apron areas at the Terminal Building. Such fee shall be calculated each
Fiscal Year in accordance with the Rates and Fees Schedule.

        Section 5.5     Baggage Handling System/Security Checkpoint Fees.

        Airline shall pay the City a fee ("Baggage Handling System/Security Checkpoint Fee" or
"BBS/Security Checkpoint Fee") for its use, in common with other airlines, of the baggage
handling system and security checkpoint in the Terminal Building. Such charges shall be
calculated each Fiscal Year in accordance with the Rates and Fees Schedule. As illustrated in the
Rates and Fees Schedule, BHS/Security Checkpoint Fees shall be calculated and charged as
follows: first, a total BHS/Security Checkpoint Requirement shall be calculated in accordance with
this Rates and Fees Schedule to establish Non-Signatory rates for BHS/Security Checkpoint Fees,
and the total amount of Non-Signatory BHS/Security Checkpoint Fees shall be subtracted from
the total BHS/Security Checkpoint Requirement; then, one hundred percent (l 00%) of the
remaining total BHS/Security Checkpoint Requirement shall be charged on a pro rata basis to all
Signatory Airlines according to the ratio of the number of a Signatory Airline ' s Enplaned
Passengers at the Airport to the total number of Enplaned Passengers of all Signatory Airlines
using such facilities , service, or space.

        Section 5.6     Landing Fees.

        Airline shall pay the City landing fees ("Landing Fees") based on the annual Landing Fee
rate calculated each Fiscal Year in accordance with the Rates and Fees Schedule.


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       Section 5.7     Per Use Fees .

        Airline shall pay the City per use fees ("Per Use Fees") for its use of the City Gates and
non-preferential use of another Signatory Airline ' s preferentially assigned Gates ("Per Use Fees
- Gates"), as well as City Ticket Counters or non-preferential use of another Signatory Airline ' s
preferentially assigned Ticket Counters ("Per Use Fees - Ticket Counters"), based on the annual
per use charges calculated each Fiscal Year in accordance with the Rates and Fees Schedule.

       Section 5.8     FIS Fees.

        Airline shall pay the City FIS fee ("FIS Fees") on a per Deplaned Passenger basis for its
use of the City FIS as such fees are established from time to time by the City in accordance with
the Rates and Fees Schedule.

       Section 5.9     RON Parking Fees.

        Airline shall pay the City fees for RON parking ("RON Parking Fees") as such fees are
established from time to time by the City in accordance with the Rates and Fees Schedule. A
Signatory Airline shall not be charged RO Parking Fees for the RO parking of its aircraft at its
preferentially assigned Gate. All Air Carriers shall be charged RON Parking Fees for the use of
RO parking in non-Terminal Building locations designated by the Director. If an Air Carrier is
authorized to use a City Gate for RON parking, such Air Carrier will be charged a RON Parking
Fee for such use.

       Section 5.10    Other Charges.

        The City reserves the right to assess, and Airline agrees to pay, reasonable charges for the
use of City-provided services, facilitie , and equipment, including, but not limited to,
telecommunications trunk equipment, employee parking facilities , the issuance of security
identification badges, and fees to reimburse the City for the fully allocated cost of time and
materials pertaining to any reimbursable work performed on behalf of Airline by the City plus a
fifteen percent (15 %) administrative fee.

       Section 5.11    Limited Terminal Condition Adjustment.

        (a)     There shall be an adjustment in the rentals fees , and charges paid hereunder by Air
Carriers utilizing Terminal A and/or Terminal B for a limited time. Such adjustment shall be equal
to Fifteen Dollars and Zero Cents ($15.00) per square foot as shown in Exhibit F. Such
adjustments shall be made to the rentals, fees , and charges paid by such Air Carriers for use of
holdrooms as Terminal Building Rentals and Per Use Fees - Gates, for the following period:

               (i)     Beginning upon the start of the first full Fiscal Year following DBO of the
       expanded Terminal Building facilities constructed as part of TOP, for three (3) Fiscal Years
       total of the subject adjustments .




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       Section 5.12     Terminal C Fuel Hydrant "Stub Out" Costs.

        (a)    As reflected in Exhibit G, and as part of TDP, certain elements of a hydrant fuel
system will be constructed. Costs of such elements, up to Twenty Million Dollars ($20 ,000,000),
will be included in the Terminal Building Cost Center as an Equipment and Capital Outlay, and
amortized over twenty (20) years utilizing a three percent (3%) discount rate.

        Section 5 .13   Time of Payment.

       (a)    Airline shall make timely payments to the City of Airline rentals, fees , and charges
in accordance with the following:

                (i)      Terminal Building Rentals, Apron Area Fees, and Loading Bridge Fees shall
        be due and payable, without deduction or setoff, in monthly installments in advance on or
        before the first day of each month.

                (ii)    Landing Fees, Joint Use Charges, Baggage Handling System Fees, Per Use
        Fees - Gates, Per Use Fees - Ticket Counters, FIS Charges, and RON Parking Fees for
        each month of operations shall be due and payable without deduction or setoff within
        fifteen (15) days after transmittal of an invoice, given that Airline 's monthly statistical
        report as required in Section 7.1 shall be received by the City within ten (10) days after the
        last day of the month after such month of operations.

               (iii)   Airline shall faithfully collect and promptly remit to the City (without notice
        or demand by the City and in accordance with 14 CFR 158, Passenger Facility Charges, as
        may be amended from time to time) the proceeds of the City 's Passenger Facility Charge
        so long as the City has an approved Passenger Facility Charge in effect.

                (iv)    Rentals, fees, and charges not described above shall be due and payable
        within thirty (30) days after transmittal of invoice by the City. The City will provide such
        invoice within thirty (30) days of activity for which charge is generated.

        (b)    The acceptance of any payment made by Airline shall not preclude the City from
verifying the accuracy of Airline 's reporting and computations or from recovering any additional
payment actually due from Airline or preclude Airline from later demonstrating that Airline 's
report was inaccurate and that a lesser amount was properly owed (and to recover any such
overpayment).

        (c)     In establishing the rentals, fees , and charges set forth in this Agreement, the City is
anticipating timely payment of such rentals, fees , and charges. Untimely payment of these rentals,
fees, and charges jeopardizes the operation of the Airport. Therefore, in the event that rentals, fees ,
and charges are not paid timely by Airline, the Director is authorized and directed to seek any
necessary legal and administrative remedy to obtain collection of the unpaid rentals, fees, and
charges and to assure timely payment of future rentals, fees , and charges. These remedies shall be
in addition to late fees required herein and may include any of the following:

               (i)     Seeking administrative relief through appropriate federal              agencies ,
        including the FAA.


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               (ii)     Equitable and judicial remedies .

               (iii)    Such other legal and administrative remedies as permitted by law.

      (d)      Failure to send a timely invoice does not relieve Airline from any obligation of
payment.

       Section 5 .14    Method of Payment.

        Rentals , fees , and charges shall be paid in United States Dollars by wire, electronic funds
transfer, or check payable to San Antonio International Airport, the City of San Antonio, which
shall be delivered or mailed, postage prepaid, to City of San Antonio, Aviation Department,
Accounting Section, 457 Sandau Road, San Antonio, TX 78216 or which may be paid by wire
transfers to accounts of the Airport designated in writing by the Director. To arrange payment by
wire or electronic funds transfer, Airline shall contact the Aviation Department's Accounting
Section at (210) 207-7242 for further information.

       Section 5.15     Late Fees on Overdue Payments.

        Without waiving any other right available to the City, in the event of a default in Airline ' s
payment of any rentals, fees , and charges under this Agreement, including Passenger Facility
Charge proceeds, in the event that Airline is delinquent for a period of thirty (30) calendar days or
more from the date when such payment is due to the City, Airline shall pay the City late fees
thereon, from the date such rentals, fees, or charges become payable to the date of payment at the
rate of one and one-half percent (1 .5%) per month ; provided, however, that if the maximum rate
then provided by law is less than 1.5% per month, then the rate shall be such maximum legal rate.
The City may, but is not obligated to, provide Airline with a written reminder when invoiced
rentals, fees , or charges have not been received within thirty (30) calendar days of transmittal of
the invoice therefore and prior to assessing late fees in accordance with this Section 5.12 .

        Section 5 .16   Performance Guarantee.

        (a)     To guarantee Airline 's faithful performance of all terms and conditions contained
herein, including but not limited to the timely payment of all rentals, fees , and charges, Airline
shall remit to the City, prior to the Effective Date, a performance guarantee ("Performance
Guarantee") in an amount totaling: three (3) months ' of Airline 's estimated Terminal Building
Rentals, Loading Bridge Fees, Joint Use Charges (as determined using activity data for the most
recent six (6) calendar months to determine Airline's obligation using the Joint Use Charges
formula), and Landing Fees (as determined on the basis of Airline 's estimated Landed Weight each
year times three-twelfths (3/12) at the actual Landing Fee rate effective for the Fiscal Year) . Either
Airline or its Affiliate will also provide a Performance Guarantee in an amount based on Affiliate 's
activity pursuant to the same calculations for the Affiliate.

        (b)      The Performance Guarantee may be adjusted by the City annually, or more
frequently, if there is a material change to the amount required in this Section 5.13 from Airline.
Such Performance Guarantee shall be in the form of a letter of credit, bond, or other instrument
satisfactory to the City, in a form acceptable to the Director. The Performance Guarantee must
provide that it shall remain in full force and effect for a period extending three (3) months following


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           termination of this Agreement (and for a period of three (3) months following any holding over by
           Airline pursuant to Section 2.3), provided that the City shall release or return the Performance
           Guarantee to Airline at the conclusion of such 3-month period (less any amounts it is entitled to
           retain hereunder), which obligation shall survive the expiration or termination of this Agreement.

                  (c)     In the event the City is required to draw down or collect against Airline 's
           Performance Guarantee for any reason, Airline shall , within ten ( l 0) business days after the City 's
           written demand, take such action as may be necessary to replenish the existing Performance
           Guarantee to its original value or to provide a replacement Performance Guarantee from another
           source so that the aggregate of the Performance Guarantee(s) is equal to three (3) months '
           estimated rents and landing fees payable by Airline as described above.

                   (d)    Upon Airline's election to assume this Agreement under Federal Bankruptcy Rules
           and Regulations and the Federal Judgeship Act of 1984 or any successor statute, as such may be
           amended, supplemented, or replaced, the City, by written notice to Airline given at any time within
           ninety (90) days of the date such event becomes known to the City, may impose or re-impose the
           Performance Guarantee requirements on Airline. In such event, Airline shall provide the City with
           the required Performance Guarantee within ten (10) days from its receipt of such written notice
           and shall thereafter maintain such bond in effect until the expiration or termination of this
           Agreement.

                   (e)    If Airline shall fail to obtain or keep in force such Performance Guarantee required
           hereunder, such failure shall be grounds for immediate termination of this Agreement. The City's
           rights under this Article shall be in addition to all other rights and remedies provided to the City
           under this Agreement.

                   (f)      Airline and the City agree that if Airline provides a Performance Guarantee in the
           form of a contract bond or irrevocable letter of credit, such Performance Guarantee provided by
           Airline is not ' property of the estate ' for purposes of Section 541 of the United States Bankruptcy
           Code (Title 11 U.S .C.), it being understood that any Performance Guarantee is the property of the
           third party providing it (subject to the City's ability to draw against the Performance Guarantee).

                   Section 5.17   Passenger Facility Charges.

                   (a)     The City reserves the right to assess and collect PFCs subject to the terms and
           conditions set forth in 49 U.S .C. § 40117 (the "PFC Act") and the rules and regulations thereunder,
           14 C.F.R. Part 158 (the "PFC Regulations"), as may be amended from time to time. Airline will
           collect FAA-approved PFCs imposed by the City from all eligible Enplaned Passengers. On or
           before the last day of each month, Airline will remit to the City all PFC revenue collected for the
           previous month, less any compensation provided for under 14 CFR § l 58 .53(a), as may be amended
           from time to time, together with all reports required under §158 .65 .

                   (b)    If Airline transports passengers from the Airport on Airline 's aircraft chartered by
           a charter Air Carrier or tour operator issuing passenger tickets other than Airline 's, Airline will
           provide the City with a schedule detailing the date and time of the flight and the number of
           Enplaned Passengers . Airline agrees to pay the required PFC amount due the City in a timely




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manner and to seek reimbursement from the charter Air Carrier or tour operator with no liability
to the City.

         (c)     Airline shall hold the net principal amount of all PFCs that are collected by Airline
or its agents on behalf of the City pursuant to the PFC Act and the PFC Regulations in trust for the
City. For purposes of this Section, net principal amount shall mean the total principal amount of
all PFCs that are collected by Airline or its agents on behalf of the City, reduced by all amounts
that Airline is permitted to retain pursuant to§ 158.53(a) of the PFC Regulations (such net principal
amount known as "PFC Revenue") . Airline acknowledges that all PFC Revenue collected for the
City neither belongs to nor is owned by Airline except to the extent set forth in applicable Federal
law and, unless the status of PFC Revenue in the possession of Airline is characterized in a separate
manner under FAA regulations (in which case such characterization shall prevail), that such PFC
Revenue is held in trust by Airline for the exclusive use and benefit of the City. Airline shall not
make any claim in any document or proceeding that, for PFC Revenue collected by Airline on
behalf of the City, the Airline has any legal or equitable interest in such PFC Revenue, except to
the extent Airline is specifically granted such interest by Federal statute or regulation, including
the right of reimbursement from such PFC funds for the Airline 's costs of collection.

       (d)    Any late payment of the PFC may be subject to late fees computed at the rate of
one and one-half percent (1.5%) per month or, if less, the highest rate permitted by Applicable
Law, from the due date until paid, to the extent allowed by Applicable Law.

        (e)     Airline acknowledges that the City has given to the United States of America, acting
by and through the FAA, certain assurances under the PFC Act and the PFC Regulations, including
Appendix A thereto (the "PFC Assurances"), and Airline agrees that this Agreement shall be
subordinate and subject to all PFC Assurances. In the event the FAA requires any modification of
this Agreement as a condition precedent to the City 's collection of PFCs or as a means to effect
the City's compliance with the PFC Act, the PFC Regulations, or the PFC Assurances, Airline shall
not withhold its consent to any modification of this Agreement as may reasonably be required for
the City to collect PFCs or to comply with the PFC Act, PFC Regulations, and/or PFC Assurances.

                                        ARTICLE 6
            CALCULATIO          OF AIRLINE RE TALS, FEES, AND CHARGES

       Section 6.1     Annual Calcu lations.

        (a)      Each Fiscal Year during the Term, the Director will calculate Terminal Building
Rental rates, the Loading Bridge Fee, the Baggage Handling System Use Fee, Per Use Fees, and
the Landing Fee rate for the succeeding Fiscal Year as provided in the Rates and Fees Schedule.
Any such calculation of rentals, fees , and other charges will be effective on the first day of the
applicable Fiscal Year. the Director will use the following process for the annual calculation of
rentals, fees, and charges:

               (i)    By July 1 of each year, but no later than August 1, the Director will provide
       Airline with a complete copy of the proposed Airport Budget, capital improvement plan
       and exhibits showing proposed rentals, fees , and charges, calculated in accordance with the
       Rates and Fees Schedule, for the succeeding Fiscal Year.



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              (ii)    By July 31 of each year, but no later than August 15 , the Director will
       consult with the Signatory Airlines, including Airline, concerning the proposed Airport
       Budget and the proposed rentals, fees , and charges.

                (iii)  By September 1 of each year, but no later than September 30, the Director
        will make any revisions to the proposed rentals, fees , and charges as the Director
        determines to be warranted as a result of consultation with the Signatory Airlines or
        otherwise, and will provide written notice to each Air Carrier at the Airport of new rentals,
        fees, and charges to be effective as of October 1 of that year.

        Section 6.2     Midyear Adjustment.

         If it appears to the City, during the course of any Fiscal Year, that the budgeted expenses
or projected levels of airline activity the City used to calculate the rentals, fees , and charges set
forth in the Rates and Fees Schedule are likely to vary by more than ten percent (10%) from actual
results , the City may make adjustments to such rentals , fees , and charges at midyear. The City
shall provide Airline with at least thirty (30) days ' advance written notice of any adjustments to
be made under this Section, which shall include accompanying budget variances and calculations
to demonstrate the need for adjustment and resulting change in rates, fees , and charges. Any such
mid-year adjustment will be effective on the first day of the month following the notification
period.

        Section 6.3     Year-End Adjustment to Actual and Settlement.

        (a)      As soon as possible following the completion of the audit for each Fiscal Year, the
City shall furnish Airline with an accounting of the costs and expenses actually incurred, actual
allocations for direct and indirect expenses, revenues and other credits actually realized (reconciled
to the audited financial statements of the Airport System), and actual Enplaned Passengers and
Landed Weight during such Fiscal Year with respect to each of the components of the calculation
of the various rates, fees and charges identified in the Rates and Fees Schedule and shall recalculate
the rates, fees, and charges required for the Fiscal Year based on those actual costs and revenues .

        (b)     In the event that Airline's rentals, fees , and charges billed and paid during the prior
Fiscal Year were more than the amount of Airline 's rentals, fees, and charges required (as
recalculated based on actual costs and revenues), such excess amount shall be paid in a lump sum
or issued as a credit to Airline within sixty (60) days of the calculation of such final settlement.

        (c)    In the event that Airline 's rentals, fees , and charges billed and paid during the prior
Fiscal Year were less than the amount of Airline 's rentals, fees, and charges required (as
recalculated based on actual costs and revenues), such deficiency shall be billed to Airline and
payable by Airline within sixty (60) days of the date of invoice. However, in the event that the
amount of the Airline deficiency is more than ten percent ( l 0%) of total rentals, fees , and charges
billed and paid by the Airline during the prior Fiscal Year (which deficiency must be at least
$50,000), Airline may pay the deficiency to the City in equal monthly installments without interest
over the remaining months of the current Fiscal Year.

      (d)      In the event that in any given Fiscal Year, the City does not satisfy the Bond Rate
Covenant, Airline agrees that the amount needed to comply with such Bond Rate Covenant shall


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be allocated between the Terminal Building Cost Center and Airfield Area Cost Center in the fina l
year-end accounting referenced herein. Such allocation shall be based upon the allocation of debt
to each such Cost Center, provided, however, that such allocation hall not impact the Airline
rentals, fees , and charges paid by Non-Signatory Airlines; provided further that any debt included
in such allocation that was allocable to Cost Centers other than the Terminal Building Cost Center
and Airfield Area Cost Center shall be split fifty/fifty (50/50) among the Terminal Building Cost
Center and Airfield Area Cost Center.

        Section 6.4    Competitive Credit.

        The Competitive Credit will be calculated and credited as shown and set forth in the Rates
and Fees Schedule. The purpose of the Competitive Credit is to keep the cost per Enplaned
Passenger competitive with that of other airports similarly situated for the development and
retention of air service. The City's intent is to use the Competitive Credit to reduce, to the extent
prudent, the cost per Enplaned Passenger.

        Section 6.5    Extraordinary Adjustments of Rentals, Fees, and Charges.

        (a)      otwithstanding any other provisions hereof, if, at any time during the Term,
Airport Revenue (and the reserves designated for such purposes) is not sufficient to pay when due
Airport obligations, including, without limitation, emergency repairs or expenses that relate to the
Airport or any aspect thereof, the City may, with thirty (30) days ' notice to and in consultation
with Airline and other Signatory Airlines, and considering their comments and feedback, if any,
recalculate the rentals, fees , and charges in accordance with the Rates and Fees Schedule using
revised Airport operating costs, expenses and projected Airport activity.

        (b)      If such an extraordinary adjustment of rentals, fees, and charges is necessary, the
City will review operating costs and as a prudent airport operator make appropriate adjustments,
if possible, to Airport operating expenses, in comp li ance with all Applicable Laws. Any adjustment
to operating expenses would be reflected in the adjustment of rentals, fees , and charges.

        (c)      In addition, in the event that in any given Fiscal Year, the City does not satisfy the
Bond Rate Covenant, Airline agrees that the amount needed to comply with such Bond Rate
Covenant shall be allocated between the Terminal Building Cost Center and Airfield Area Cost
Center, prospectively at the beginning of the Fiscal Year and/or at the end of a given Fiscal Year
as a part of the year-end adjustment described in Section 6.3 . Such allocation shall be based upon
the allocation of debt to each such Cost Center, provided, however, that such allocation shall not
impact the Airline rentals, fees , and charges paid by Non-Signatory Airlines; provided further that
any debt included in such allocation that was all ocable to Cost Centers other than the Terminal
Building Cost Center and Airfield Area Cost Center shall be split fifty/fifty (50/50) among the
Terminal Building Cost Center and Airfield Area Cost Center.

        (d)     If the requirement for Airline to provide extraordinary coverage pursuant to Section
6.3(d) or Section 6.5(c) is triggered in two consecutive or any two out of three consecutive Fiscal
Years, the City agrees to consult in good faith with Airline and other Signatory Airlines regarding
potential options for the City to reduce and/or review O&M Expenses for subsequent Fiscal Year(s)
during the Term.



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                                       ARTICLE 7
                               AIRLINE ACTIVITY REPORTS

       Section 7.1     Required Monthly Activity Reports.

       Airline shall furnish to the Director, on or before the tenth (10th) day of each month, an
accurate verified report detailing its operations for the previous month in substantially the same
form as Exhibit B or in such other format as prescribed or approved by the Director. The City
reserves the right to periodically audit these reports to verify the accuracy of the information.

       Section 7.2     Failure to Furnish Report.

        If Airline fails to furnish the City with the report described above, the City reserves the
right to calculate Airline ' s Landing Fee by assuming that the total Landed Weight for Airline
during the preceding month was one hundred twenty-five percent (125%) of the total Landed
Weight for the most recent month for which such figure is available or other available data. Any
necessary adjustment in such Landing Fee shall be calculated after an accurate report is delivered
to the Director by Airline for the month in question, and resulting surpluses or deficits shall be
applied to Airline's Landing Fee for the next succeeding month . An accounting fee of $100 for
each failure to furnish such report by Airline may be charged to Airline and shall be payable by
Airline for the additional services required by the City pursuant to this paragraph in addition to
any late fees charged pursuant to Section 5.12.

                                       ARTICLE 8
                                 CAPITAL IMPROVEMENTS

       Section 8.1     Approval of the Terminal Development Program.

        (a)    The Parties each hereby approve the cost and scope of the Terminal Development
Program as set forth in Exhibit G, including without limitation the TDP Airline Rate Base Cap
and the TOP GARB Financing Cap. Such approval constitutes Airline 's MII approval of the
Terminal Development Program for the purposes of this ARTICLE 8 and the City may proceed
with the planning, design and construction for the Terminal Development Program without further
MII consideration, and include such costs in the calculation of Airline rentals, fees and charges,
provided that:

               (i)     If the City reasonably anticipates, at the time the City receives bids for
       construction, new or revised independent fee estimates, or other pertinent information, a
       Capital Improvement that is part of the Terminal Development Program is projected to
       cause the City's estimated total cost of completion for the TOP Airline Rate Base Elements
       to exceed the TOP Airline Rate Base Cap by more than five percent (5 %), the City may not
       include such costs in the calculation of Airline rentals, fees and charges unless :

                      (A)    an MII approves such Capital Improvement pursuant to the
       procedures in Section 8.6, in which case the TDP Airline Rate Base Cap shall be raised
       accordingly; or




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                      (B)    the City, after consultation with the app licable TDP Governance
        Committees, revises other elements of the Terminal Development Program so that such
        Capital Improvement no longer would cause the City to exceed the TOP Airline Rate Base
        Cap.

        (b)      The City acknowledges that the planning, design and construction for the Terminal
Development Program shall require close coordination between the City, Airline and other Air
Carriers. In addition to the MII rights provided herein , Airline shall be provided opportunities to
participate in the governance of the City 's Terminal Development Program, as described further in
Exhibit G.

        (c)    In addition, if the City believes that it is reasonably necessary for the City to pursue
additional financing through GARBs for the Terminal Development Program in an amount that
would exceed the TDP GARB Financing Cap by more than five percent (5%), the City may not
proceed unless an MII approves such additional financing pursuant to the procedures in Section
8.6, in which case the TDP GARB Financing Cap shall be raised accordingly.

        Section 8.2    Approval of Terminal A Renovation and Terminal B Renovation.

       (a)     Terminal A Renovation. The Parties each hereby approve the cost and scope of the
Terminal A Renovation as set forth in Exhibit M, including the total projected Net Project Costs
of Two Hundred Mi llion Dollars ($200,000,000), and which is separate and apart from and is not
included in the TDP. Such approval constitutes Airline's MII approval of the Terminal A
Renovation for the purposes of this ARTICLE 8 and the City shall proceed with the planning,
design and construction for the Terminal A Renovation without further MII consideration, and
include such costs in the calculation of Airline rentals, fees , and charge , provided that:

               (i)     If the City reasonably anticipates, at the time the City receives bids for
       construction, the estimated budget for the Terminal A Renovation has increased or wi ll
       increase by more than ten percent (10%) (as calculated based on adjusting the original
       estimate for any increase in the CPI during the time between notifying Airline of such
       estimate and receiving bids), the City may not include such costs in the calculation of
       Airline rentals, fees and charges unless an MII approves the adjusted estimate pursuant to
       the procedures in Section 8.6.

       (b)     Terminal B Renovation . The Parties each hereby approve the cost and scope of the
Terminal B Renovation as set forth in Exhibit M, including the total projected et Project Costs
of One Hundred Mi llion Dollars ($100,000,000), and which is separate and apart from and is not
included in the TDP. Such approval constitutes Airline 's MII approval of the Terminal B
Renovation for the purposes of this ARTICLE 8 and the City shall proceed with the planning,
design and construction for the Terminal B Renovation without further MII consideration, and
include such costs in the calculation of Airline rentals, fees , and charges, provided that:

               (i)     If the City reasonably anticipates, at the time the City receives bids for
        construction, the estimated budget for the Terminal B Renovation has increased or will
        increase by more than ten percent (I 0%) (as calculated based on adjusting the original
        estimate for any increase in the CPI during the time between notifying Airline of such



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       estimate and receiving bids), the City may not include such costs in the calculation of
       Airline rentals, fees and charges unless an Mll approves the adjusted estimate pursuant to
       the procedures in Section 8.6.

        (c)    As described further in Exhibit M, the City acknowledges that the planning of the
Terminal A Renovation and the Terminal B Renovation will require close coordination between
Airline, other Air Carriers, and the City, including, in particular, Signatory Airlines assigned to
Terminal A and/or Terminal B following 080 of expanded Terminal Building facilities .

       Section 8.3     Conditional Approval of Cargo Taxiway Construction.

        (a)    The Parties each hereby approve the expenditure of up to Twenty-Two Million
Dollars ($22,000,000), to be included in the calculation of Airline rentals, fees , and charges, for
the construction of a taxiway extension (the "Cargo Taxiway Extension") that would serve the to
be constructed east cargo apron (the "East Cargo Apron"), and which is separate and apart from
and is not included in the TDP. The Cargo Taxiway Extension and the East Cargo Apron are
depicted on Exhibit N. Such approval constitutes Airline's MII approval of the Cargo Taxiway
Extension for the purposes of this ARTICLE 8, provided that such approval is conditional as
follows :

               (i)     A prerequisite for the initiation of the Cargo Taxiway Extension project is
       that:

                       (A)    A definitive design, construction, and plan of finance exists related
       to the future East Cargo Apron; and

                       (B)    An entity has committed to a long-term agreement with the City to
       lease and occupy a to be constructed cargo facility to be located on the East Cargo Apron
       and to pay for the use of the apron area appurtenant to such cargo facility.

               (ii)   In addition, the City agrees to use best efforts to design both the Cargo
       Taxiway Extension and the East Cargo Apron such that it will maximize the eligibility for
       federal and/or state grant funding .

       Section 8.4     Additional Capital Improvements .

        (a)    The Parties hereto recognize that Capital Improvements other than the Terminal
Development Program and the Terminal A Renovation may be required to preserve, protect,
enhance, expand, or otherwise improve the Airport System, or part hereof, during the Term. Any
such Capital Improvements to be paid for or financed with Airport Revenue shall be subject to the
provisions of this ARTICLE 8 including without limitation the procedures in Section 8.6.

        (b)     The City acknowledges that the planning of proj ects to construct new terminals or
concourses will require close coordination between Airline, other Air Carriers, and the City. The
City will include Airline in the planning process. Airline will be provided opportunities to present
planning input to City planners to ensure that any new terminal or concourse project is properly
scoped, necessary, operationally efficient, cost effective, and will meet the needs of the traveling
public.


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       Section 8.5     Annual Consultation on CIP.

        On or about July 1, or approximately ninety (90) days prior to the end of the then-current
Fiscal Year, the City shall notify Airline in writing of its proposed Aviation Department Capital
Improvement Program for the subsequent Fiscal Year, as contained in the City ' s proposed
Aviation Department Capital Improvement Budget for such Fiscal Year. The City further reserves
the right to notify Airline in writing at any other time of proposed Capital Improvements.

       Section 8.6     Capital Improvements Not Subject to MII.

        (a)     Notwithstanding the foregoing, in addition to the Terminal Development Program
and the Terminal A Renovation, the following Capital Improvements shall be permitted by the City
at any time and shall not be subject to MII consideration, and the City may include such costs in
the calculation of Airline 's rentals, fees and charges:

              (i)    Capital Improvements that are underway as of the Effective Date and/or that
       were previously approved by an MII pursuant to a Prior Use and Lease Agreement.

             (ii)   From the Effective Date through the end of Fiscal Year 2031 , Capital
       Improvements that do not exceed Ten Million Dollars ($10,000,000) in Net Project Costs.

               (iii)   Beginning in Fiscal Year 2032 and for the remainder of the Term, Capital
       Improvements that do not exceed Twenty Million Dollars ($20,000,000) in Net Project
       Costs. The Parties acknowledge their intent that a single project not be spread across
       multiple Fiscal Years so lely to escape the provisions of Section 8.6(a)(ii) and Section
       8.6(a)(iii), provided, however, that this intent shall not act to preclude the City from
       completing separate projects that are reasonably part of a multi year program, and the City
       will advise Airline of the general scope of such program encompassing such individual
       project elements.

               (iv)    Capital Improvements that involve the acquisition of land necessary for the
       Airport, provided that the costs of such acquisition are not projected to trigger Airline 's
       requirement to provide extraordinary coverage pursuant to Section 6.5(c) at the time of
       acquisition or the subsequent Fiscal Year.

             (v)     Capital Improvements necessary to settle claims or lawsuits, satisfy
       judgments or comply with judicial or administrative orders arising from or related to the
       ownership, operation, maintenance or use of the Airport.

               (vi)    Capital Improvements that are special facilities for which, in all cases, the
       tenant(s) or other user(s) thereof shall be required to pay directly or reimburse the City for
       all costs, including financing costs, associated with such facilities during the Term of this
       Agreement.

              (vii) Capital Improvements that are special facility projects or similar projects to
       construct new or enlarge or improve existing premises of an Air Carrier, provided that such
       Air Carrier fully and directly funds the project costs and any associated O&M Expenses.



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               (viii) Capital Improvements to be financed in whole by PFCs or PFC-backed
       bonds, or, if financed in part by PFCs or PFC-backed bonds, only the portion of such
       Capital Improvements to be financed by PFCs or PFC-backed bonds.

              (ix)   Capital Improvements of an emergency nature, which, if not undertaken,
       would substantially impair the current operation of the Airport.

               (x)     Capital Improvements necessary for public or employee safety or security.

               (xi)    Capital Improvements necessary to comply with the requirements of
       federal, state and local agencies, including compliance with any applicable statutes,
       regulations, orders, certification requirements and FAA Advisory Circulars, building codes
       and local regulations .

              (xii) Capital Improvements to repair or replace Airport property damaged or
       destroyed by fire, weather or other casualty to the extent that such damage is not covered
       by casualty insurance.

       Section 8. 7    MII Approval and Deferral Process.

       (a)     City Proposal. Whenever the City shall be required to submit a Capital
Improvement for MII consideration pursuant to this ARTICLE 8, the City shall submit a written
proposal to Airline and each other Signatory Airline that includes the following:

              (i)     The current purpose, scope and definition for the project, including any
       modifications if the project was previously approved by an MII;

               (ii)    A list of changes in scope requiring MII review, if applicable;

               (iii)   The currently anticipated schedule;

               (iv)   The current funding plan, cost center(s) to which project costs will be
       allocated, and estimated total project costs and Net Project Costs; and

               (v)    The currently anticipated projected impact on Airline rentals, fees and
       charges, including the currently anticipated projected impact on the Airport's aggregate
       cost per Enplaned Passenger.

        (b)     Consideration by MII. A Capital Improvement shall be deemed approved if (i) an
MII approves it; or (ii) the City is not notified in writing by the chair of the AAAC within thirty
(30) days of delivery of the City's written proposal that an MII has disapproved of the City 's
proposal (or, for City proposals pursuant to Section 8. l(a)(i)(A), within five (5) business days).
Such written notification to the City shall include the written disapproval of each Signatory Airline
that has disapproved the proposal.

       (c)     Deferral by MII.




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               (i)     Except as provided in Section 8.6( d), in the event of a Capital Improvement
       disapproval by an MII, the Capital Improvement will be deferred for the applicable time
       period described in Section 8.6(c)(ii) following the notification to the City of such
       disapproval unless the City decides to proceed with such Capital Improvement and does
       not include such costs in the calculation of Airline rentals, fees and charges upon the Capital
       Improvement's completion. Following such deferral period, the City may proceed with
       such Capital Improvement and such costs will be included in the calculation of Airline
       rentals, fees and charges upon the Capital Improvement 's completion.

               (ii)    Deferral by an MII pursuant to this Section 8.6(c) will be:

                     (A)     For Capital Improvements that do not exceed Fifty Million Dollars
       ($50,000,000) in Net Project Costs, twenty-four (24) months;

                     (B)    For Capital Improvements that are more than Fifty Million Dollars
       ($50,000,000) in et Project Costs, the remainder of the Term.

               (iii) Notwithstanding anything else herein to the contrary, any such deferral will
       not extend beyond the expiration of the Term.

         (d)    Reconsideration by MII. For any Capital Improvement that is disapproved by an
MII, the City may bring such Capital Improvement for an additional vote by the MII, no less than
thirty (30) days after the original disapproval by the MII. If such additional vote results again in a
disapproval by the MII, the City may bring such Capital Improvement for additional votes, no less
than thirty (30) days after the date of the MII's decision in its most recent additional vote . If the
MII disapproves such Capital Improvement in any additional vote the City shall not proceed with
such Capital Improvement until an MII has approved such Capital Improvement, the deferral
period described in Section 8.6(c) has expired, or after the expiration of the Term, unless the City
decides to proceed with such Capital Improvement and does not include such costs in the
calculation of Airline rentals, fees and charges upon the Capital Improvement's completion.

       Section 8.8     MII Triggered by Budget Increase.

        For Capital Improvements subject to MH and not initially disapproved by an MII pursuant
to Section 8.6, such Capital Improvements shall be subject to additional Mil consideration if, at
the time the City receives bids for construction, the estimated budget approved by the original MIi
has or will increase by more than ten percent (10%) (as calculated based on adjusting the original
estimate for any increase in the CPI during the time between notifying Airline of such estimate
and receiving bids).

                                     ARTICLE 9
                           BOND ORDI ANCE SUBORDINATION

       Section 9.1     Subordination to Bond Ordinance.

        (a)     This Agreement and all rights of Airline hereunder are express ly subordinated and
subject to the lien and provi sions of any pledge, transfer, hypothecation, or assignment made (at
any time) by the City to secure Airport Bond financing. This Agreement is subject and subordinate


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to the terms, covenants, and conditions of the Bond Ordinance authorizing the issuance of Airport
Bonds by the City of San Antonio. The City may amend or modify the Bond Ordinance or make
any change thereto that does not materially adversely affect Airline rights under this Agreement.
Conflicts between this Agreement and the Bond Ordinance shall be resolved in favor of the Bond
Ordinance.

      (b)      All definitional terms that are not specifically defined herein are to have the
meanings set forth in the Bond Ordinance.

                               ARTICLE 10
                MAINTENANCE AND OPERATING RESPONSIBILITIES

       Section 10.1    Designation of Terminal Building Maintenance Responsibilities.

        (a)     In addition to the obligations of Airline and the City set forth in this ARTICLE 10,
the Parties' responsibilities for maintenance, cleaning, and operation of the Airline Premises and
certain other portions of the Airport are set forth in the Maintenance Schedule presented in Exhibit
K. Airline agrees to perform the obligations set forth in the Maintenance Schedule, which are
assigned to Airline, and the City agrees to perform the obligations set forth in the Maintenance
Schedule, which are assigned to the City.

        (b)    Exhibit K may only be amended by written agreement of the Parties, except that
the City and Airline agree and anticipate that Exhibit K will be amended during the Term to reflect
then-existing premises post-DBO of new Terminal Building facilities in the following manner:

               (i)     No less than one hundred twenty (120) days prior to DBO of such facilities ,
       the City shall provide Airline with a revised Exhibit K reflecting the post-DBO premises;

               (ii)    Such revised Exhibit K will designate Terminal Building maintenance
       responsibilities as between the City and Airline in the same manner as the previous Exhibit
       K allocated such responsibilities (e.g. , if the City was previously responsible for
       maintaining a certain category of Joint Use Space, and additional space was added to that
       category, the City would continue to be responsible, but now including the additional space
       in that category);

               (iii)   If Airline does not (nor does any other Signatory Airline) provide notice of
       its objection to the revised Exhibit K as provided in Section 10.l(b)(iii) below, such
       revised Exhibit K will be deemed to supersede and replace the previous Exhibit K without
       need for written amendment to this Agreement, and the Parties shall comply post-DBO
       with such revised Exhibit K;

               (iv)    If Airline objects to the designation of additional responsibility to Airline
       (or to the Signatory Airlines collectively) as provided in the revised Exhibit K, Airline
       shall provide written notice to the City and to the Chair of the AAAC of such objection no
       later than ten (10) days after receipt of the revised Exhibit K, and the City, acting through
       the Airport Director or his or her designee, Airline, and the Chair of the AAAC shall meet
       within thirty (30) days to negotiate in good faith to resolve Airline's objections to the
       revised Exhibit K;


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               (v)     If the City and Airline cannot agree on a revised Exhibit K prior to DBO,
       the Parties agree that each Party will comply with the responsibilities allocated to such
       Party in the Exhibit K provided by the City pursuant to Section 10. l(b)(i) post-DBO until
       and unless a revised Exhibit K is reissued by the City to Airline (and other Signatory
       Airlines) that was agreed to in writing by the Airport Director and the Chair of the AAAC
       (on behalf of all Signatory Airlines).

       Section l 0.2   Maintenance Responsibilities at Airline Premises .

         (a)     Airline shall perform ordinary preventive maintenance and upkeep and repair of all
facilities located in its Exclusive Use Premises and Preferential Use Premises at Airline's sole cost
and expense in accordance with Exhibit K. Airline shall, at all times, preserve and keep the
Airport, Airport facilities , and Airline Premises in an orderly, clean, neat, and sanitary condition,
free from trash and debris resulting from Airline's operation.

        (b)     Airline shall keep, at its own expense, its Terminal Building and/or cargo aircraft
aprons free of fuel, oil, and other foreign objects and debris resulting from Airline 's operations.
Airline shall operate and maintain, at its own expense, any improvements and/or equipment
installed by Airline for the exclusive use of Airline.

       Section 10.3    Airline-Constructed Improvements.

       (a)      Airline shall make no alterations, additions, improvements, or installations on the
Airline Premises or the Airport without prior written approval from the Director and without
obtaining all applicable permits and in compliance with all Rules and Regulations and Applicable
Laws.

        (b)     Airline shall cause all improvements and facilities , and additions thereto,
constructed or installed by Airline, either alone or in conjunction with others, and all vehicles and
equipment operated by Airline on the Airport, to be kept and maintained in a safe condition and in
good repair in accordance with uniform standards applicable to all similarly situated Airport
tenants as established from time to time by the Director. Airline shall keep the Exclusive Use
Premises and Preferential Use Premises and improvements thereon in a safe, sanitary, and neat
condition.

         (c)    Airline covenants and agrees to pay all costs necessary to complete approved
alterations or improvements. The City will not be responsible for any costs relating to such
alterations or improvements whether such alterations or improvements were requested by Airline
or were required by the City in accordance with this Agreement or any other Governmental
Authority or pursuant to Applicable Laws.

        Section 10.4   Additional Requirements for Construction Contracts.

       (a)      In accordance with Section 2252.909 of the Texas Government Code, Airline shall
include the following requirements in all Construction Contracts :

              (i)      a requirement that the Contractor execute a payment bond that conforms to
        Subchapter I, Chapter 53 , of the Texas Property Code;


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               (ii)    a requirement that the Contractor execute a performance bond in an amount
       equal to the amount of the Construction Contract for the protection of the City and
       conditioned on the faithful performance of the Contractor's work in accordance with the
       plans, specifications, and contract documents ; and

               (iii)   a requirement that the Contractor provide to the City a notice of
       commencement ("Notice of Commencement") consistent with said Section 2252.909 at
       least ninety (90) days before the date construction, alteration, or repair of any Improvement
       or Alteration to the Premises begins. The Notice of Commencement must:

                       (A)     identify the public property where the work will be performed;

                       (B)     describe the work to be performed;

                       (C)     state the total cost of the work to be performed;

                       (D)     include copies of the performance and payment bonds required by
       this Section; and

                      (E)     include a written acknowledgement signed by the Contractor stating
       that copies of the required performance and payment bonds will be provided to all
       subcontractors no later than the fifth day after the date a subcontract is executed.

       (b)     On or before the l 0th day after the date the City receives a Notice of
Commencement, the City may, in its sole discretion , notify Airline that the construction, alteration,
or repair of the Improvement or Alteration may not proceed. A material misrepresentation of
information in a Notice of Commencement is a Class A misdemeanor.

        Section 10.5   Visual Artists Rights Act.

        Airline shall not install any object in the Terminal Building or commence construction of
any alterations, additions, or improvements that constitutes a work of visual art under the Visual
Artists Rights Act of 1990, as amended ("VARA") unless and until Airline has provided the City
with either (i) written notification satisfactory to the City that VARA does not apply; or (ii) a
written waiver from the author of a work of visual art, in form and substance reasonably
satisfactory to the City, which identifies specifically the work of visual art and the uses of that
work to which the waiver applies in accordance with 17 U.S.C. § 106A(e)(l).

        Section 10.6   Performance by City Upon Failure of Airline to Maintain.

        In the event Airline fails within thirty (30) days after receipt of written notice from the City
to perform any of its obligations required hereunder, the City may enter the Airline Premises
involved, without such entering causing or constituting a termination of this Agreement or an
interference with the possession of said Airline Premises by Airline, and do all things reasonably
necessary to perform such obligation. Director may charge Airline the City ' s cost of performing
such maintenance or repair plus fifteen percent (15 %) for administration. Airline agrees to pay to
the City upon demand such charges in addition to any other amounts payable by Airline hereunder;
provided, however, that if Airline ' s failure to perform any such obligation endangers the safety of


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the public, the employees or property of the City, or other tenants of the Airport and Director so
states in its written notice to Airline, the City may perform such obligation of Airline at any time
after the giving of such notice and charge to Airline the reasonable cost and expense of such
performance including any administrative fees which Airline shall pay as aforesaid.

                                    ARTICLE 11
                          SAN ANTONIO AIRLINE CONSORTIUM

        Section 11 .1 Airline and other Air Carriers operating at the Airport have formed San
Antonio Airline Consortium, Incorporated ("SAAC'), a Texas not-for-profit limited liability
corporation, to provide certain maintenance, janitorial, and passenger services within the Airline
Premises and certain other areas of the Terminal Building assigned to Air Carriers and to operate
and maintain certain systems, equipment, and facilities in and about the Terminal Building, on
behalf of SAAC member and nonmember Air Carriers and the City, which services, operation, and
maintenance are the responsibility of Airline and other Air Carriers under the terms of this
Agreement. The City and SAAC will enter into or have entered into an agreement pursuant to
which SAAC may perform such services on behalf of Airline and other Air Carriers. If SAAC is
disbanded and/or such agreement between the City and SAAC is terminated, Airline agrees to
work diligently with the other Signatory Airlines to ensure the provision of the services designated
as the responsibility of SAAC in Exhibit K, in a manner reasonably satisfactory to the City.

                                      ARTICLE 12
                                 DAMAGE OR DESTRUCTION

        Section 12.1   Partial Damage.

        If any of the Airline Premises shall be partially damaged by fire or other casualty, but such
Airline Premises remain inhabitable, same will be repaired with due diligence by the City to the
condition existing just prior to such casualty, but the City ' s responsibility in this regard shall be
limited to the extent of the proceeds of insurance received with respect to such premises and to the
extent funds are appropriated for such repair by the City 's governing body.

       Section 12.2    Extensive Damage.

         (a)     If any of the Airline Premises shall be completely destroyed or partially damaged
by fire or other casualty rendering all or a substantial portion of the Airline Premises uninhabitable
and it is reasonably estimated by the Director that it will take more than one hundred eighty (180)
days to repair, the Director will notify Airline in writing within ninety (90) days of such casualty
whether the damaged or destroyed Airline Premises will be repaired. If any or all of the Airline
Premises is to be repaired, it will be repaired with due diligence by the City, and the rent allocable
to the damaged or destroyed Airline Premises will be abated for the period from the occurrence of
the damage to the substantial completion of the repairs. If the repair period is estimated to exceed
180 days, the City will make good faith efforts to provide Airline with temporary substitute space,
if available, during such period of repair, at a rental rate for comparable space based on the rentals,
fees , and charges principles set forth in this Agreement. If the Airline Premises have been reduced
due to the City's election not to repair extensively damaged premises, Airline shall be entitled to
either (i) request, and the City shall duly consider, further proportionate reductions in the Airline



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Premises so that Airline has use of an operative remainder or (ii) terminate this Agreement with
respect to the damaged Airline Premises.

         (b)     If the City shall fail to notify Airline of its decision as set forth in the above
paragraph (or gives written notice of its intent not to repair), the City will be deemed to have
elected to not repair the damaged premises, and the damaged premises shall be automatically
deleted from the Airline Premises as of the date of the damage or destruction, with no further
liability therefore by either the City or Airline except those liabilities that accrued, including
rentals, fees, and charges, prior to such damage or destruction, unless, within ten (10) days of the
date upon which the City does provide or would have been required to provide the notice in Section
12.2(a), Airline provides notice to the City that it will reconstruct all its improvements in the
damaged or destroyed Airline Premises necessary for the conduct of Airline's business operations
at its own cost in the manner existing just prior to the casualty, consistent with the City's
obligations set forth in the paragraphs above.

        Section 12.3    Limits of City's Obligations Defined.

        Redecoration, replacement, and refurbishment of Airline-owned furniture, fixtures ,
equipment, and supplies will be the responsibility of and paid for by Airline, and any such
redecoration and refurbishing or re-equipping will be of substantially equivalent quality to that
originally installed hereunder. The City will not be responsible to Airline for any claims related
to loss of use, loss of profits, or loss of business resulting from any partial, extensive, or complete
destruction of the Airline Premises regardless of cause of damage.

        Section 12.4    Waiver of Subrogation.

       To the extent such insurance permits, and then only to the extent collected or collectable
by Airline under its property insurance coverage, Airline waives any and all claims against the
City and the City Indemnified Parties for loss or damage to Airline 's property.

                                     ARTICLE 13
                           INSURANCE AND INDEMNIFICATION

        Section 13 .1   Insurance.

         (a)      By use and occupancy of Airport premises, Airline understands and agrees that it
shall, at its sole expense and in a manner acceptable to the City, purchase and maintain or cause to
be maintained in force the following insurance coverage for itself and its officers, agents,
employees, passengers, guests, patrons, contractors, subcontractors, licensees, subtenants,
invitees, and suppliers. Airline shall maintain in full force and effect the forms of insurance
specified in this Article 13 . All such insurance hereunder shall be maintained with msurance
underwriters with an AM Best rating of A- or better, or its international equivalent.

       (b)     All liability insurance policies shall provide coverage that includes, or has the same
substantive effect as, the following wording:

               (i)     "The City of San Antonio and its officers, directors, employees, volunteers,
        representatives, agents, and elected and appointed representatives are listed as additional


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        insured parties (except with respect to workers ' compensation/employer's liability
        insurance)."

              (ii)   "Airline 's insurance shall be primary insurance and non-contributory
       including a waiver of subrogation with respect to all other available sources."

              (iii)   "This insurance shall not be materially changed, altered, canceled, or non-
       renewed until after thirty (30) days ' advance written notice has been given to the City of
       San Antonio except that only ten (10) days ' notice shall be required in the event of
       cancellation due to non-payment of premium."

        (c)     At least ten (10) calendar days prior to the Effective Date of this Agreement, Airline
shall furnish the City with evidence of all insurance policies required hereunder. Prior to the
expiration of any then-current policy of insurance, Airline shall deliver to the City evidence
showing that such insurance coverage has been renewed. At least five (5) calendar days prior to
the date of cancellation or reduction of coverage, as received in the written notice from the insurer,
Airline shall deliver to the Director evidence showing reinstatement or other provision for the
required insurance.

        (d)     All such evidence shall be in the form of certificates of insurance reasonably
satisfactory to the Director.

      (e)      The following types and minimum amounts of coverage are required under this
Agreement:

                (i)   Aviation liability insurance, covering bodily injury, personal injury,
       property damage, products/completed operations liability, premise liability, and contractual
       liability, with a liability limit of not less than Five Hundred Million Dollars
       ($500,000,000.00) combined single limit per occurrence, on occurrence form policy. Said
       limit shall be reduced to Two Hundred Fifty Million Dollars ($250,000,000.00) where
       Airline 's maximum seating capacity on the largest aircraft operated at the Airport by Airline
       is thirty (30) or less. With respect to coverage for products/completed operations and
       personal injury, except with respect to passengers, a sub limit of not less than Twenty-Five
       Million Dollars ($25 ,000,000.00) per occurrence, and in the annual aggregate, shall be
       permitted with the approval of the Director. Said aircraft liability shall be applicable to
       owned, non-owned, and hired aircraft.

              (ii)    Automobile liability insurance with a liability limit of not less than Ten
       Million Dollars ($10,000,000.00) for all owned, non-owned, and hired vehicles operated
       by or on behalf of Airline at the Airport, including any additional or replacement vehicles.

             (iii)   Liquor liability insurance for Airline if serving alcoholic beverages in an
       amount not less than Ten Million Dollars ($10,000,000.00) per occurrence.

              (iv)     Employer 's liability insurance in an amount not less than One Million
       Dollars ($1 ,000,000.00) per occurrence.




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                 (v)    Environmental impairment liability insurance in an amount not less than
        Two Million Dollars ($2,000,000.00) per occurrence. In lieu of environmental impairment
        liability insurance, Airline may submit proof of self-insurance by submitting a letter to the
        City attesting to the limit and extent of coverage.

                (vi)   Airline shall likewise maintain workers ' compensation insurance or
        evidence of self-insurance, in accordance with the laws of the State of Texas, covering all
        of its employees who may from time to time be at the Airport in such capacity. Airline shall
        require each of its agents, licensees, contractors, subcontractors, and suppliers of the
        Airline Premises to maintain such workers' compensation insurance covering their
        employees coming on Airport premises in connection with Airline 's operations hereunder.
        The workers' compensation policy(s) required hereunder shall be endorsed to state that the
        workers ' compensation carrier waives its right of subrogation against the City and the City
        Indemnified Parties. Upon request by the Director, Airline shall furnish the Director with
        evidence of such workers' compensation insurance in a form acceptable to the City.

       (f)     The minimum limits of the insurance herein required may become inadequate
during the Term of this Agreement. The City hereby reserves the right to review all coverages and
amounts and request adjustments as necessary in the City 's reasonable discretion .

         (g)     If, at any time, Airline fails to obtain or maintain in force the insurance required
herein, such failure, if not cured within forty-eight (48) hours, shall constitute a default permitting
the City, upon prior reasonable written notice to Airline, to (1) terminate Airline 's use of the space
or Airline 's operations or activities in regard to the Airport; and/or (2) with prior written notice and
at its option, in addition to all its other remedies, procure insurance coverage at Airline 's expense
whereupon Airline promptly shall reimburse the City for such expense.

        (h)      If any claim for damages is filed with Airline or if any lawsuit is instituted against
Airline, Airline shall give prompt and timely notice thereof to the Director, provided that claims
and lawsuits subject to such notice are only those that arise out of or are in any way connected
with Airline 's or its officers ', representatives ', agents' , employees ', passengers' , guests ', patrons ',
contractors' , subcontractors' , licensees' , subtenants ', invitees ', or suppliers' use of the Airline
Premises or Airline 's operations or activities in regard to the Airport and that, in any way, directly
or indirectly, contingently or otherwise, affect or might reasonably affect the City, including
without limitation Claims as defined in Section 13.2(a). Notice shall be deemed prompt and timely
if given within thirty (30) calendar days following the date ofreceipt of a claim or ten (10) calendar
days following the date of service of process of a lawsuit. Accident or property damage claims
against Airline in an amount less than Fifty Thousand Dollars ($50,000.00) shall be excluded from
the requirements of this paragraph unless such claim is also made against the City or a City
Indemnified Party.

        (i)     If any claim for damages is filed with the City or if any lawsuit is instituted against
the City, the City shall give prompt and timely notice thereof to Airline, provided that claims and
lawsuits subject to such notice are only those that arise out of or are in any way connected with
the operation of the Airport by the City and that the City reasonably believes materially affects or
might reasonably materially affect Airline, including without limitation Claims as defined in
Section 13.2(a). Notice shall be deemed prompt and timely if given within thirty (30) calendar


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days following the date ofreceipt of a claim or ten (10) calendar days following the date of service
of process of a lawsuit. Accident or property damage claims in an amount less than Fifty Thousand
Dollars ($50,000.00) shall be excluded from the requirements of this paragraph unless such claim
is also made against Airline or the City is seeking indemnification and/or defense from Airline
pursuant to Section 13.2.

        (j)     The time limitations set forth above are directory. If the notice required to be given
by these paragraphs is not given within the time limitations set forth herein, then the party giving
the notice shall not be precluded from establishing that the notice actually given was timely under
the circumstances of the particular claim or lawsuit, unless by the failure to give such notice within
the applicable time period, the other party has been prejudiced in its ability to consider such claim
or to respond to, or properly defend, such lawsuit. If the other party is so prejudiced by a late
notice, then the late notice shall not be deemed to be prompt and timely.

        Section 13 .2   Indemnification.

         (a)     Airline covenants and agrees to fully indemnify, defend, and hold harmless, the
City and its officers, directors, employees, City-sanctioned volunteers, representatives, agents,
elected and appointed representatives, and subdivisions (the "City Indemnified Parties") ,
individually and collectively, from and against any and all costs, claims, liens, damages, losses,
expenses, fees , fines , penalties, proceedings, actions, demands, causes of action, liability and suits
of any kind and nature, including but not limited to, personal or bodily injury, death and property
damage, directly or indirectly arising out of, resulting from or related to Airline 's activities under
this Agreement or its use of the Airport, including any acts or omissions of Airline, any of its
Affiliates (to the extent operating at the Airport on behalf of Airline) , and their officers, volunteers,
representatives, agents, employees, contractors, subcontractors, licensees, subtenants, invitees
(excluding Airline 's passengers), or suppliers (the "Airline Parties") while in the exercise of the
rights or performance of the duties under this Agreement ("Claims"). The indemnity provided for
in this paragraph shall not apply to any Claims resulting from the negligence of the City, or a City
Indemnified Party, to the extent of and in instances where such negligence causes personal injury,
death , or property damage. IN THE EVENT AIRLINE AND THE CITY ARE FOUND JOINTLY
LIABLE BY A COURT OF COMPETENT JURISDICTION, LIABILITY SHALL BE
APPORTIONED COMPARATIVELY IN ACCORDANCE WITH THE LAWS FOR THE STATE
OF TEXAS , WITHOUT, HOWEVER, WAIVING ANY GOVERNMENTAL IMMUNITY
AVAILABLE TO THE CITY UNDER TEXAS LAW AND WITHOUT WAIVING ANY
DEFENSES OF THE PARTIES UNDER TEXAS LAW.

        (b)     The provisions of this Section 13 .2 are solely for the benefit of the Parties hereto
and not intended to create or grant any rights, contractual or otherwise, to any other person or
entity except the City Indemnified Parties as described herein. Airline shall promptly advise the
City in writing of any Claim against the City or a City Indemnified Party or Airline known to
Airline and shall see to the investigation and defense of such Claim at Airline's cost, provided,
however, Airline shall not settle any such Claim without obtaining express advance permission
from the City unless such settlement provides for an unconditional release of liability for the City
or any such City Indemnified Party. In defending any such Claim, Airline shall not, without
obtaining express advance permission from the City, raise any defense involving in any way the
jurisdiction of the tribunal over the City; the immunity of the City or a City Indemnified Party; the


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governmental nature of the City; or the provision of any statutes relating to suits against the City.
The City shall have the right, at its option and at its own expense, to participate in such defense
without relieving Airline of any of its obligations under this Article.

                                      ARTICLE 14
                                 COMPLIANCE WITH LAWS

       Section 14.1    Generally.

        (a)     Airline shall, in connection with its rights and obligations hereunder, observe and
comply with and shall cause its employees, officers, agents, subtenants, contractors, and licensees
to observe and comply with, and pay all taxes and obtain all licenses, permits, certificates, and
other authorizations required by, all Applicable Laws. Airline shall use commercially reasonable
efforts to cause its invitees to comply with and pay all taxes and obtain all licenses, permits,
certificates, and other authorizations required by, all Applicable Laws; provided that Airline does
not waive its right to contest in good faith the validity or application to Airline of any Applicable
Law or Airport Rule and Regulation, including on the basis of federal preemption.

        (b)    Airline shall make, at its own expense, all non-structural improvements, repairs,
and alterations to its Exclusive Use Premises, equipment, and personal property located on the
Airport that are required in order to comply with or conform to Applicable Laws. Airline shall
secure the written approval of the Director before proceeding under this Section 14. l(b), which
approval shall not be unreasonably withheld, conditioned, or delayed.

        (c)     Airline shall not use the Airport or any part thereof, or knowingly permit the same
to be used by any of its employees, officers, agents, subtenants, contractors, invitees, or licensees
for any illegal purposes.

       Section 14.2    Airport Rules and Regulations .

        (a)    Without limiting the foregoing, Airline shall specifically observe and comply and
cause its employees, officers, agents, subtenants, contractors, invitees, and licensees to observe
and comply with all Rules and Regulations, which include without limitation the rules and
regulations adopted in the City 's Code of Ordinances, Chapter 3, Airports.

        (b)     The Director is authorized to enforce the Rules and Regulations and promulgate
other rules, regulations, and policies, from time to time, in furtherance of said purposes and/or that
the Director deems are necessary to implement the intent and express terms of this Agreement,
provided, however, that such Rules and Regulations shall (a) not be inconsistent or interfere with
the reasonable exercise by Airline of any right or privilege expressly granted hereunder or under
any other agreement between Airline and the City relating to the Airport or any part thereof, nor
be inconsistent with the rules and regulations of any Federal agency having jurisdiction with
respect to Airline or its operations, (b) not materially increase Airline's obligations hereunder, and
(c) be applied by the City in a not unjustly discriminatory manner. With respect to this Agreement,
the obligation of Airline to use its diligent efforts to require such observance and obedience on the
part of its passengers, guests, invitees, and business visitors shall apply only while such persons
are in the Terminal Area and any of Airline 's non-Terminal Area leaseholds. In the event of any
conflict between requirements of Applicable Law and the Rules and Regulations, the more


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restnct1ve requirement shall apply, as long as compliance with a more restrictive Rule or
Regulation does not violate a requirement of any Applicable Law.

        Section 14.3   Americans with Disabilities Act.

       Airline shall comply with all applicable provisions of the Americans with Disabilities Act
of 1990 (42 U.S.C. § 12101), as may be amended from time to time, and federal regulations
promulgated thereunder that may be made applicable as a result of construction activities
conducted by Airline.

       Section 14.4    Ethics.

        (a)      The Charter of the City of San Antonio and the City of San Antonio Code of Ethics
("Code of Ethics") prohibit a City officer or employee, as those terms are defined in Section 2-52
of the Code of Ethics, from having a direct or indirect financial interest in any contract with the
City. An officer or employee has a "prohibited financial interest" in a contract with the City or in
the sale to the City of land, materials, supplies or service, if any of the following individual(s) or
entities is a party to the contract or sale:

              (i)   a City officer or employee; his or her spouse, sibling, parent, child, or other
       family member within the first degree of consanguinity or affinity;

               (ii)     an entity in which the officer or employee, or his or her parent, child or
       spouse directly or indirectly owns (i) ten (10) percent or more of the voting stock or shares
       of the entity, or (ii) ten (10) percent or more of the fair market value of the entity; or

              (iii)   an entity in which any individual or entity listed above is (i) a subcontractor
       on a City contract, (ii) a partner or (iii) a parent or subsidiary entity.

        (b)      Pursuant to the subsection above, Airline warrants and certifies, and this Agreement
is made in reliance thereon, that by contracting with the City, Airline does not cause a City
employee or officer to have a prohibited financial interest in the Contract. Airline further warrants
and certifies that it has tendered to the City a Contracts Disclosure Statement in compliance with
the City 's Ethics Code.

        Section 14.5   Furnishing of Services.

       As a condition of the use of Airport services and facilities, Airline shall furnish its services
on a reasonable, and not unjustly discriminatory basis to all users thereof, and it shall charge
reasonable and not unjustly discriminatory prices for each unit or service, provided that Airline
may make reasonable and nondiscriminatory discounts, rebates, or other similar types of price
reductions to volume purchasers.

        Section 14.6   Affirmative Action.

       As a condition of the use of Airport services and facilities, Airline shall undertake an
affirmative action program to the extent required by FAA regulations, Title 14, Code of Federal
Regulations, Part 152, Subpart E, entitled "Nondiscrimination in Airport Aid Program," or as


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otherwise approved by the FAA, to ensure that no person shall on the grounds of race, creed, color,
national origin, sex, or handicap be excluded from participation in any employment activities
covered in such Subpart E. Airline shall not exclude any person on such grounds from participating
in or receiving the services or benefits of any program or activity covered by such Subpart E.
Airline shall require that its covered suborganizations provide assurances to Airline that they
similarly will undertake affirmative action programs and that they will require assurances from
their suborganizations, to the extent required by Title 14, Code of Federal Regulations, Part 152,
Subpart E, to the same effect.

       Section 14. 7   Disadvantaged Business Enterprises.

        As a condition of its use of Airport services and facilities , Airline shall comply with the
applicable requirements of Title 49 of the Code of Federal Regulations, Part 26, and entitled
"Participation by Disadvantaged Business Enterprises in Department of Transportation Financial
Assistance Programs" as this Part may be amended from time to time.

       Section 14.8    Federally Required Provisions.

       Airline acknowledges that the City is required by the FAA under the terms of its Grant
Assurances to include in this Agreement certain required contract provisions, included as Exhibit
L hereto ("Required Federal Provisions"). Airline agrees to comply with the Required Federal
Provisions and, where applicable, include the Required Federal Provisions in each of its
subcontracts without limitation or alteration. Airline acknowledges that a failure to comply with
the Required Federal Provisions constitutes an Event of Default (subject to any applicable notice
and cure periods described herein). Airline further acknowledges that the FAA may from time to
time amend such required contract provisions and agrees that the City may unilaterally modify the
Required Federal Provisions solely to the extent such modification is necessary to comply with its
Grant Assurances by providing Airline with prompt notification of such modification.

                                     ARTICLE 15
                              ENVIRONMENTAL PROVISIONS

        Section 15 .1 Condition of Airline Premises and General Environmental Obligations of
Airline.

       (a)      At its option, prior to occupying the Airline Premises, Airline may conduct an
environmental audit for the purposes described in Section 15 .15 below. Airline shall manage and
conduct all of its activities on or relating to the Airline Premises:

              (i)      in compliance with applicable Environmental Laws and the environmental
       provisions of thi s Agreement;

              (ii)   in cooperation with the Airport in the Airport's efforts to comply with
       applicable Environmental Laws; and

               (iii)  in adherence with Best Management Practices applicable to Airline 's use of
       the Airline Premises.



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        (b)    Airline shall promptly correct any non-compliance by Airline with applicable
Environmental Laws or the environmental provisions of this Agreement, except in the event of an
emergency, in which case, Airline shall take immediate steps to correct any such non-compliance.
Airline shall manage and, to the extent within the contro l of Airline, secure the Airline Premises
and its occupation or use of the Airline Premises so as to prevent any violation of applicable
Environmental Laws by any person on the Airline Premises in connection with Airline's use of the
Airline Premises hereunder.

       Section 15.2    Compliance with Environmental Laws.

        Airline shall not cause or allow a Hazardous Substance Release into or onto the Airline
Premises or any other location upon or above the Airport, and shall not allow any such release by
its employees, agents, permittees, contractors, subcontractors, sublessees, or others in Airline ' s
control, supervision, or employment.

       Section 15.3    Hazardous Substance Use on Airline Premises.

        (a)     Airline may store and use Hazardous Substances that are associated with Airline 's
Air Transportation Business on the Airline Premises. Airline shall use reasonable efforts to
minimize Hazardous Substance use on the Airline Premises and identify and use non-hazardous
alternatives in Airline 's operations .

       Section 15 .4   Safety Data Sheets for Hazardous Substances.

        Airline shall maintain Safety Data Sheets ("SDSs") for all Hazardous Substances used on
the Airline Premises by Airline or by its agents, employees, contractors, licensees, invitees, or
sublessees, to the extent required by Environmental Laws. In order to ensure that the SDSs are
available to the City in the event of a Hazardous Substances Release or other emergency, the SDSs
shall be kept current at all times and a copy of the SDSs shall be kept in a place known to and
easily accessible to the City.

       Section 15.5    Storm Water Management System and Wash Water Discharges.

        (a)     Airline must at its sole cost manage storm water associated with the Airline
Premises ("Airline's Storm Water") prior to its discharge into any storm sewer system. Airline
shall not discharge storm water to any storm sewer system without complying with applicable laws
and regulations, including any applicable Environmental Laws and with the City's or Airline 's
stormwater permit issued under the Texas Pollution Discharge Elimination System ("TPDES'') .

              (i)     Airline acknowledges that the City's TPDES municipal separate storm
       sewer system (MS4) permit and its TPDES industrial multi sector stormwater discharge
       general permit ("Industrial Stormwater Permit") , and any subsequent amendments ,
       extensions, or renewals thereto, to the extent affecting Airline's operations at the Airport,
       are incorporated by reference into this Agreement. The City shall provide Airline with
       written notice of the City's MS4 and Industrial Stormwater Permit discharge permit
       requirements (including any modifications thereto) that are applicable to Airline 's
       operations and that Airline shall be obligated to perform from time to time at the Airport
       including, but not limited to: certification of non-stormwater discharges ; implementation


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       of "good housekeeping" measures or Best Management Practices; and maintenance of
       necessary records.

              (ii)   Airline must maintain its own Industrial Stormwater Permit, and may
       prepare its own Storm Water Pollution Prevention Plan ("SWPPP") or subscribe to the
       SWPPP of the City.

              (iii)  Within sixty (60) days of the Effective Date and then annually thereafter as
       provided in Section 15.20, Airline shall provide information to the City demonstrating
       compliance of Airline's Storm Water management with Environmental Laws.

              (iv)    Airline agrees to participate, to the extent reasonably practical, in any
       reasonable manner requested by the City in any City organized task force or other work
       group established to coordinate storrnwater activities at the Airport.

       Section 15.6    Discharge and Treatment oflndustrial Wastewater.

        No industrial wastewater discharge shall be made by Airline onto or into the ground, the
groundwater, surface water, or any City owned conveyance or storage system unless such
discharge meets the requirements of all applicable laws and regulations, including Environmental
Laws. The City shall have the right, but not the duty, in its sole discretion, to review and approve
or disapprove any industrial wastewater management, treatment or discharge system constructed
or modified on the Airline Premises during the term of the Agreement.

       Section 15. 7   Wetlands Prevention.

        Airline shall not create any wetlands under any federal, state, regional or local jurisdiction
on the Airline Premises or the Airport during the term of this Agreement or extension thereof, or
on any adjacent City-owned or non-City owned property. Airline shall also manage the Airline
Premises so that no wetlands are allowed to form on the Airline Premises, or on the Airport as a
result of Airline' s acts or omissions, and so that Airline 's development and use of the Airline
Premises or the Airport does not cause the formation of wetlands on any adjacent City-owned or
non-City owned property. If the City believes that wetlands are likely to form on the Airline
Premises, or on the Airport as a result of Airline ' s acts or omissions, and Airline has not taken
corrective action to prevent the formation of such wetlands resulting from Airline ' s acts or
omissions, the City shall have the right, but not the obligation, to exercise Self Help as provided
in Section 15.19.

       Section 15 .8   Hazardous Substances Releases.

        Airline shall be responsible for all response, remediation and restoration of any Hazardous
Substance Release and associated Environmental Costs on or from the Airline Premises, on other
properties, in the air or surface waters and ground water in violation of Environmental Laws, that
results from or occurs in connection with Airline's occupancy, possession, or use of the Airline
Premises or the Airport occurring during or continuing after the termination of the Agreement. If
the City has reason to suspect that there has been such a Hazardous Substance Release, there is an
imminent threat of a Hazardous Substance Release, or that Hazardous Substances are being stored,
handled, disposed of or otherwise managed onsite in violation of Environmental Law or the


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requirements of this Agreement, then at the City ' s request Airline shall , at its expense, demonstrate
(through such tests, professional inspections, samplings, or other methods as may be reasonably
required) that Airline has not caused or permitted any such release of Hazardous Substances in
excess of quantities or volumes permitted by Environmental Laws. Airline shall provide copies
of reports from any such testing or assessments to the City. Should Airline not provide the
requested demonstration to the City, the City may conduct, or cause to be conducted, such tests,
inspections, samplings and assessments, and Airline shall reimburse the City for all costs of such
actions, no later than forty-five (45) days following demand for reimbursement.

        Section 15.9    Limitation of Airline's Liability.

         As between the City and Airline, Airline shall have no responsibility for Hazardous
Substance Releases or associated Environmental Costs that are not caused by the Airline or its
employees, agents, permittees, contractors, subcontractors, sublessees, or others in Airline's
control, supervision, or employment, provided, however: If the City cannot identify with
commercially reasonable effort any of the parties causing, unlawfully allowing, contributing to or
responsible for a Hazardous Substance Release at or from the Airport requiring the completion of
appropriate response actions as provided herein, then the City shall provide reasonable advance
written notice to Airline of its intention to take actions to report, repair, contain, investigate,
remove, correct or remediate such Hazardous Substance Release consistent with the requirements
this Article and Environmental Law. Airline shall thereafter be afforded a reasonable opportunity
to commence such actions itself or provide the City with information on the identity of the party
or parties causing, contributing to, or responsible for such Hazardous Substance Release (except
in emergency circumstances in which such advance notice is not possible), which information shall
be considered in good faith by the City and, as appropriate, shall provide a basis for the City ' s
pursuit of any responsible parties consistent with the provisions of this Article. 1n addition to the
above written notice, the City shall provide Airline with its plan to perform such actions for
Airline ' s review and comment at least seven (7) business days before the commencement of any
work (except in emergency circumstances in which such advance notice is not possible), which
comments shall be reasonably considered by the City, after which the costs of such actions, if
implemented by the City, shall be allocated by the City in its reasonable discretion among
appropriate Cost Centers.

        Section 15.10 Previously Leased Premises.

          otwithstanding the above Section 15 .9, in the event of a Hazardous Substance Release in
violation of Environmental Law which occurred prior to the Effective Date is encountered on any
portion of the Airline Premises that Airline also leased as the equivalent of Exclusive Use Premises
or Preferential Use Premises under its prior agreement with the City, Airline shall be deemed to
be responsible for all costs incurred in connection with such contamination, including
investigation, removal , remediation, or other required plan, report, or response action, unless
Airline provides clear evidence demonstrating that another party is fully responsible.

        Section 15 . 11 Immediate Response.

      1n the event of a Hazardous Substance Release, or a threat of or reasonable suspicion of a
Hazardous Substance Release for which Airline is responsible under this Agreement, Airline shall



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immediately undertake and diligently pursue, at Airline's sole expense, all action necessary and
appropriate to investigate, contain, stop, accomplish source control, remove and perform interim
remediation regarding the Hazardous Substance Release, in each case pursuant to and as required
by Environmental Laws.

       Section 15 .12 Corrective Action and Remediation.

        Airline shall promptly undertake, at Airline's sole expense, all actions nece sary to ensure
that any violation of Environmental Law, any violation of ARTICLE 15 of this Agreement, or any
Hazardous Substance Release by Airline, its officers, directors, employees, agents, contractors,
invitees, and licensees in any way associated with the Airline Premises is completely remediated
to such a condition that a "No Further Action" or "Completion of Cleanup" determination, or an
equivalent determination, not conditioned upon facility or use restrictions is obtained from the
government agency with jurisdiction over the Hazardous Substance Release. In the alternative,
Airline may seek the City's prior written approval ofremediation to risk-based levels conditioned
upon governmental agency approval and maintenance of facility and use restrictions. The City
may approve such an alternative approach on the condition that the Airline assumes responsibility
for any liability under Environmental Law and any Environmental Costs of the City resulting from
such alternative approach .

       Section 15.13 Natural Resources Damages Assessment and Restoration.

        Airline shall promptly undertake, at Airline's sole expense, all actions necessary to ensure
that any natural resources damage associated with Airline's use of the Airline Premises or the
Airport and the violation of Environmental Laws, the environmental provisions of this Agreement
or any Hazardous Substance Release by Airline or persons under Airline's control, supervision, or
employment is investigated, determined, quantified, assessed, and permanently restored and
compensated for, to the extent legally required by any natural resource trustee with jurisdiction
over the matter.

       Section 15.14 Allocation of Costs.

        Any Environmental Costs incurred by the City for Airline's failure to comply with
Environmental Laws as required herein shall be reimbursed to the City by Airline. Unless
prohibited by law, regulation or judicial/governmental/law enforcement verbal or written order,
the City shall promptly notify Airline of any TCEQ or other governmental proceedings or
investigations reasonably believed by the City to be applicable or potentially applicable to Airline
or the Airline Premises so that Airline has the opportunity to defend against such fines or penalties
as appropriate.

       Section 15 .15 Environmental Audits and Environmental Walkthroughs.

       During the term of the Agreement, Airline or the City may decide jointly or unilaterally to
conduct Environmental Audits or Environmental Walkthroughs, as described below, to determine
whether the Airline Premises have been or are currently being operated in compliance with the
Agreement and Environmental Laws. Both the City and Airline shall reasonably conduct such
Environmental Audits or Environmental Walkthroughs in a manner that minimizes operational



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disruptions to Airline's operations. The types and purposes of Environmental Audits and
Environmental Walkthroughs are:

        (a)    Initial.

        Prior to occupying the Airline Premises, Airline and the City shall jointly determine and
agree whether to conduct an Environmental Audit or Environmental Walkthrough to determine if
the Airline Premises are currently in compliance with the Agreement and Environmental Laws. If
the parties cannot agree, then either the Airline or the City may unilaterally determine that an Initial
Environmental Audit or Environmental Walkthrough is necessary, subject to the cost allocation in
Section 15.16 or Section 15 .17, as applicable.

        (b)     Transition.

        If Airline is required to occupy a transition space under Section 3.4, or the Airline Premises
is reassigned under Section 3.9, Airline or the City may conduct an Environmental Audit or
Environmental Walkthrough to establish the environmental condition of the Airline Premises, the
temporary transition space, and/or the new Airline Premises space.

        (c)    Special.

        If the City has reason to suspect that there has been a Hazardous Substance Release, there
is an imminent threat of a Hazardous Substance Release, or that Hazardous Substances are being
stored, handled, disposed of or otherwise managed onsite in violation of Environmental Law or
the requirements of this Agreement, the City may, after written notice outlining those reasons to
Airline, conduct an Environmental Audit or Environmental Walkthrough.

        (d)    Exit.

        At the termination or upon a transfer of this Agreement, the City and Airline shall jointly
determine and agree whether an Environmental Audit or Environmental Walkthrough is necessary
to establish whether the Airline Premises have been operated in compliance with the Agreement
and Environmental Laws. If the parties cannot agree, then either the Airline or the City may
unilaterally decide that an Exit Environmental Audit or Environmental Walkthrough is necessary,
subject to the cost allocation in Section 15 .16 or Section 15 .17, as applicable. An Exit Audit, if
undertaken, shall be conducted not more than one hundred and twenty (120) days, but not less than
sixty (60) days, prior to the actual termination or transfer date of this Agreement.

        Section 15.16 Environmental Audits .

        (a)     When Airline and the City decide to conduct a joint Environmental Audit pursuant
to this Agreement, then the time and scope of the audit shall be determined together, a mutually
acceptable environmental consultant shall be agreed upon to conduct the Environmental Audit,
and the consultant shall timely provide a complete copy of the results of the Environmental Audit
to Airline and the City.

        (b)    If an Environmental Audit is conducted unilaterally by the City it shall: provide
Airline with reasonable advance written notice of the commencement date; allow Airline to have


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a representative present; provide Airline the opportunity to review the findings ; and shall not
unreasonably disrupt Airline 's operations .

       (c)     The City and Airline shall share equally in the cost of a joint Environmental Audit.
The cost of a unilateral Environmental Audit by either Party shall be borne by the Party electing
to perform the work; provided, however, if a Special Environmental Audit or an Exit
Environmental Audit reveals the presence of a substantial violation of Environmental Laws,
defined to mean any violation that would have resulted in mandatory enforcement under the
enforcement policies of the TCEQ or other applicable governmental entity, or a not previously
discovered Hazardous Substance Release caused by the Airline or its employees, agents,
permittees, contractors, subcontractors, sublessees, or others in Airline's control, supervision, or
employment, then Airline shall pay for the cost of such Environmental Audit.

       Section 15 .17 Environmental Walkthrough.

         (a)    When Airline and the City decide to conduct a joint Environmental Walkthrough
pursuant to this Agreement, then it shall be conducted by one or more representatives of the Airline
and the City. The Environmental Walkthrough shall be for the purpose of determining by visual
observation, which may include reviewing non-confidential and non-privileged environmental
records, whether the Airline Premises are in compliance with the Agreement and Environmental
Laws. At least one representative of Airline and one representative of the City that participates in
an Environmental Walkthrough shall be knowledgeable of Environmental Laws. Airline and the
City shall each prepare a separate list of observations believed to show where the Airline Premises
is not in compliance with the Agreement or Environmental Laws. Within ten days after the
completion of the Environmental Walkthrough, the Airline and the City shall exchange copies of
the lists.

       (b)     If an Environmental Walkthrough is conducted unilaterally by the City it shall:
provide Airline with reasonable advance written notice of the commencement date; allow Airline
to have a representative present; provide Airline the opportunity to review the findings ; and shall
not unreasonably disrupt Airline 's operations.

      (c)    Airline and the City shall each bear its own cost in conducting an Environmental
Walkthrough.

       Section 15 .18 Environmental Access.

        The City reserves the right from time to time, after reasonable notice to Airline (except in
cases of emergencies when notice shall not be required), to inspect, in a manner that minimizes
operational disruptions to Airline ' s operations, the Airline Premises and Airline ' s operations on
and use of the Airline Premises to : (a) evaluate Airline's management of Hazardous Substances;
(b) conduct subsurface or stormwater sampling; (c) evaluate compliance with Environmental
Laws; (d) review compliance documentation to facilitate the City ' s compliance with
Environmental Laws or implementation of its environmental management system; and (e) perform
Environmental Audits or Environmental Walkthroughs. At the City ' s request Airline shall make
available for inspection and copying any or all of the non-privileged documents and materials
prepared by or for Airline pursuant to any Environmental Law. The documents may be retained



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by the City or submitted to any governmental regulatory agency; provided, such documents and
materials relate to environmental regulatory compliance and pertain to the Airport or the Airline
Premises.

        Section 15 .19 Notices, Review & Approval, and Self-Help.

        (a)     Generally.

        Airline shall promptly notify the City in writing upon becoming aware of: (i) a violation or
alleged violation of any applicable Environmental Laws related to the Airline Premises or Airline ' s
use of the Airport or of this ARTI CLE 15 of the Agreement; and (ii) any Hazardous Substance
Release on, under, from or adjacent to the Airline Premises or the Airport or threat of or reasonable
suspicion of such. In addition, Airline shall notify the City of such (i) or (ii) by calling the Airport 's
twenty-four (24) hour/seven (7) days a week Airport Communication Center: (210) 207-3433 . If
Airline fails to notify the City of a matter as required in this Section, and if the City does not
otherwise acquire knowledge of the matter, Airline shall be liable for any exacerbation of such
Hazardous Substance Release that could reasonably have been avoided if such notification by
Airline had been provided.

        (b)     Regulatory Notice- Airline.

        If any Environmental Law requires Airline to file any notice or report of a release or
threatened release of Hazardous Substances on, under or about the Airline Premises or the Airport,
Airline shall promptly submit such notice or report to the appropriate governmental agency and
simultaneously provide a copy of such report or notice to the City. In the event that any written
allegation, claim, demand, action or notice is made against Airline regarding Airline's failure or
alleged failure to comply with any Environmental Law, Airline, as soon as practicable, shall notify
the City in writing and provide same with copies of any such written allegations, claims, demands,
notices or actions so made.

        (c)     Regulatory Notice - City.

      The City will promptly provide written notice to Airline of any notices received by the City
from TCEQ or other regulatory agency regarding Airline 's environmental compliance obligations.

        (d)     City s Rights ofApproval, Notice, Review and Comment.

        Except in the case of an emergency or a regulatory agency order requiring immediate
action, Airline shall give the City advance notice before beginning any response, remediation, or
restoration action required by this Agreement or applicable Environmental Laws. In the event that
the City disapproves the proposed work and/or the entities and individuals conducting such work,
the City shall notify Airline and provide a basis of such di sapproval. The City shall have the right
to approve or disapprove the proposed work and the entities and individuals conducting such work.
Airline shall copy the City, at no cost to the City, on all of such response, remediation, or
restoration action deliverables submitted to the regulatory agencies and shall allow the City a
reasonable period of time based upon the surrounding circumstances to submit comments thereon
to Airline. Within thirty (30) days following completion of any immediate response, remediation



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or restoration action required by this Agreement, Airline shall provide the City, at no cost to the
City, with a written report describing, in detail , the work performed.

       (e)     Airline's Split Sampling Notice.

        Airline shall notify the City at least forty-e ight (48) hours in advance of any proposed
sampling associated with a Hazardous Substance Release in order to allow the City to be present
or to collect split samples. Airline shall provide the City with copies, at no cost to the City, of any
sampling results and associated chain of custody and quality assurance and quality control
information within ten (10) days of receipt by Airline.

      (f)      City's Right to Advise and/or Direct the Immediate Cessation of Operations in an
Emergency.

        The City shall have the right to advise and/or direct Airline to cease all or part of its
operations immediately upon delivery of written notice if the City determines that the Airline ' s
operation: (i) is not being undertaken by Airline or Airline's Representatives in any material
respect in accordance with Environmental Laws; (ii) constitutes an emergency, meaning an
imminent endangerment to human health , safety, or welfare or the environment; or (iii) resulted in
a Hazardous Substance Release.

        (g)    City's Right of Self Help.

        Upon suspicion that Airline has failed to fulfill its obligations related to a Hazardous
Substance Release, the City shall have the right, upon giving Airline seven (7) days written notice,
stating the obligations in issue, to perform Airline ' s obligations arising under any Environmental
Laws and charge Airline the resulting Environmental Cost, plus any additionally incurred charges
from the date any funds were expended by the City ("Self Help"). Air! ine agrees to reimburse the
City, upon demand, any amounts the City may spend pursuant to this section on behalf of Airline.
The City may not commence performance on behalf of Airline under this section if, within such
notice period, Airline promptly notifies the City, begins, and continually thereafter diligently
pursues to completion the performance of the obligations stated in the City ' s notice. Advance
written notice by the City is not required in the event of an emergency or a governmental agency
order requiring immediate action by the City for which advance written cannot reasonably be
given, provided that the City shall provide written notice to Airline as soon as reasonably
practicable.

        (h)     City 's Right of Final Approval.

        The Director shall have authority to disapprove an activity of Airline and/or any sublessee,
on the basis of a risk assessment performed in accordance with Environmental Laws and through
which the City reasonably determines such activity may pose a danger to health , safety or welfare
or otherwise may violate Environmental Laws. The parties understand that Airport premises are
not intended for use involving refining, processing, manufacturing, overhaul , or similar heavy
industrial activities entailing the use, storage, manufacture, or transport of critical volumes of
Hazardous Substances, other than reasonable volumes of such Hazardous Substances as permitted
through this Agreement and reasonably needed to be used for approved fueling, maintenance, and
operations. For purposes of this Agreement, "critical volumes" are those which, in the discretion


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and sole judgment of the Director, pose or may pose an unreasonable risk to Airport property, its
occupants, employees or the traveling public.

       Section 15 .20 Additional Environmental Provisions.

       (a)     Generally.

        Airline shall be fully and primarily responsible to the City for any violation of any
Environmental Laws or non-performance of the duties stated in this Agreement by Airline or its
representatives and Airline shall be fully responsible for the same as if Airline had committed the
violation or breach itself.

       (b)     Annual Certification .

        If requested in writing by the City, Airline shall provide on or before each anniversary of
the Effective Date of this Agreement, a written statement, certified by Airline as true and complete
to the best of its actual knowledge, that during the preceding year with respect to the Airline
Premises and Airline's occupation and use of the Airline Premises and the Airport, Airline has
complied with applicable Environmental Laws. If Airline is unable to provide such certification at
the time requested by the City, then Airline shall provide the City with a written statement of the
steps Airline is taking to enable it to provide the City with a certification of compliance.

       (c)     Sustainability.

        The City and Airline shall become familiar with and comply with all Environmental Laws
regarding recycling, green building, water conservation, energy conservation, renewable energy,
and air quality applicable to their respective operations. Airline shall use commercially reasonable
efforts to comply with the City ' s policies and programs to the extent such policies and programs
are not inconsistent with the terms and conditions of this Agreement or Environmental Laws.
Airline shall have the opportunity to participate in the development of such policies and programs
and the City shall fully consider for incorporation Airline ' s comments.

       (d)     Noise.

        Airline shall comply with any formal noise abatement program or policy established by the
Airport in conformance with Applicable Laws and use commercially reasonable efforts to comply
with informal noise abatement programs established by the Airport. The Airline shall notify the
City promptly and may challenge such programs if the Airline believes such formal or informal
noise abatement programs may interfere with safe aircraft operation or if Airline believes such
programs are not in conformance with federal statues, laws, rules and regulations.

       (e)     Air Quality Improvements .

        Airline acknowledges that in order to protect existing Airport operations, to improve air
quality in the region, to meet requirements associated with the expansion of the Airport, and to
otherwise comply with federal and state air quality laws, the City and its tenants may be required
to implement certain changes to operating practices to address any newly regulated air pollutant,
emission or contaminant in accordance with applicable Environmental Laws, including without


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limitation such Environmental Laws related to climate change and indoor air quality. In addition,
the City may adopt new Best Management Practices that it will request Airline to voluntarily
comply with, such as Airline ' s conversion of ground service equipment and support vehicles to
alternative fuels and use of pre-conditioned air and 400 Hz gate power instead of auxiliary power
units ("APUs"). The City agrees to consult with Airline during the development of such Best
Management Practices to ensure that such efforts are reasonably achievable and cost effective.
Airline agrees to utilize the pre-conditioned air and 400 Hz gate power provided on the Loading
Bridges unless such equipment is inoperable. Airline will cooperate with the City to identify cost-
effective ways to minimize contributions to climate change.

       (t)     Cumulative Remedies.

        All such remedies of the City with regard to environmental requirements as set forth herein
shall be deemed cumulative in nature and shall survive termination of this Agreement.

       (g)     Survival of Environmental Provisions.

       Unless specifically stated elsewhere herein, the provisions of this Article, including the
representations, warranties, covenants, and indemnities of Airline, are intended to and shall survive
termination of this Agreement.

                                          ARTICLE 16
                                         TERMINATION

        Section 16.1   Termination by City.

        (a)    The City, in addition to any other right of cancellation herein given to it or any other
rights to which it may be entitled by law or equity or otherwise, may cancel this Agreement by
giving Airline written notice, to be served as hereinafter provided, upon or after the happening of
any one or more of the following events (each an "Airline Event of Default"):

               (i)     Failure by Airline to make timely payment of any Airline rentals, fees , and
       charges due the City under this Agreement, including remittance of Passenger Facility
       Charges in accordance with the PFC Regulations, within ten (10) days of the date such
       payment was due, except for Airline rentals , fees , and charges described in Section
       5.13(a)(iv) and not explicitly defined herein, failure by Airline to make timely payment
       within thirty (30) days of the date such payment was due; provided, however, that the first
       two (2) times any such failure occurs within a twelve (12) month period, the City shall
       provide Airline with written notice of such failure and ten (10) days to cure;

               (ii)   Failure to provide copies of insurance policies or maintain required
       insurance coverages as described in this Agreement, after ten ( 10) days ' written notice from
       the City of such failure ;

              (iii)    The filing by Airline of a voluntary petition in bankruptcy or any assignment
       for benefit of creditors of all or any part of Airline 's assets;




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               (iv)    Any institution of proceedings in bankruptcy against Airline and the
        adjudication of Airline as a bankrupt pursuant to such proceedings;

               (v)     The taking of jurisdiction by a court of competent jurisdiction of Airline or
        its assets pursuant to proceedings brought under the provisions of any federal
        reorganization act;

              (vi)     The appointment of a receiver or trustee of Airline's assets by a court of
        competent jurisdiction or by a voluntary agreement with Airline's creditors;

                (vii) The abandonment by Airline of its conduct of its Air Transportation
        Business at the Airport and in this connection, suspension of operations for a period of
        ninety (90) days will be considered abandonment in the absence of an explanation
        satisfactory to and accepted in writing by the Director;

               (viii) If Airline shall be prevented for a period of ninety (90) days, after
        exhausting or abandoning all appeals, by any action of any governmental authority, board,
        agency, or officer having jurisdiction thereof from conducting its Air Transportation
        business at the Airport; or

                (ix)   The default by Airline in the performance of any covenant, obligation, or
        condition herein required to be performed by Airline and the failure of Airline to remedy
        such default for a period of thirty (30) days after receipt from the City of written notice to
        remedy same (or such longer period specified in such written notice, if any, as may be
        required to remedy such default, provided that Airline shall still be required to commence
        such remedy within the initial 30-day period after receipt of such written notice and
        diligently pursue the same to completion).

provided, however, that no notice of cancellation as above provided shall be of any force or effect
if Airline shall have remedied the default prior to receipt of the City ' s notice of cancellation or if,
within the applicable period, Airline commences the process of remedying the default and
diligently prosecutes the same to completion.

         (b)   Failure by the City to take any authorized action upon an Airline Event of Default
shall not be construed to be or act as a waiver of said default or of any subsequent default of any
of the terms, covenants, and conditions herein contained to be performed, kept, and observed by
Airline.

        (c)     The acceptance of rentals, fees , and charges by the City from Airline for any period
or periods after an Airline Event of Default of any of the terms, covenants, and conditions herein
required to be performed, kept, and observed by Airline shall not be deemed a waiver or estoppel
of any right on the part of the City to cancel this Agreement for failure by Airline to so perform,
keep, or observe any of said terms, covenants, or conditions.

        Section 16.2    Termination by Airline.

        (a)    In addition to any other right of cancellation herein given to Airline or any other
rights to which Airline may be entitled by law, equity, or otherwise, so long as Airline is not in


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default in payment to the City of any amounts due the City under this Agreement or otherwise,
Airline may cancel this Agreement and thereby terminate all of its rights and unaccrued obligations
hereunder by giving the City sixty (60) days ' advance written notice, to be served as hereinafter
provided, upon or after the happening of any of the following events (each a "City Event of
Default"):

               (i)      Issuance by a court of competent jurisdiction of an injunction that in any
       way substantially prevents or restrains the use of the Airport or any part thereof necessary
       for Airline's scheduled flight operations and which injunction remains in force for a period
       of at least thirty (30) days after the City has exhausted or abandoned all appeals, if such
       injunction is not necessitated by or issued as the result of an act or omission of Airline;

                (ii)   If, at any time during the Term, because of the City 's failure to provide
       within a reasonable time safe aircraft operating facilities , the FAA fails or refuses to certify
       the Airport as adequate to accommodate aircraft that Airline is licensed to operate and is
       operating into and from all other airports of like size and character and with similar
       facilities and which aircraft are in general use on Airline 's scheduled transportation route
       system; and which Airline may reasonably desire to operate into or from the Airport;
       provided such refusal or failure is not due to any fault of Airline;

               (iii)   The assumption by the United States government or any authorized agency
       thereof of the operation, control, or use of the Airport and facilities , or any substantial part
       thereof, in such a manner as to substantially restrict Airline, for a continuous period of at
       least ninety (90) days, from operating its Air Transportation Business; or

               (iv)     The default by the City in the performance of any material covenant or
       condition within the control of the City and herein required to be performed by the City
       and failure of the City to use commercially reasonable efforts to remedy such default for a
       period of sixty (60) days after receipt from Airline of written notice to remedy the same;
       provided, however, that no notice of cancellation as above provided shall be of any force
       or effect if the City shall have remedied the default prior to receipt of Airline 's notice of
       cancellation or within the aforesaid sixty (60) day period or during said period commences
       the process of remedying the same and diligently prosecutes the same to completion.

        (b)     Airline's performance of all or any part of this Agreement for or during any period
or periods after a default of the terms, covenants, and conditions herein contained to be performed,
kept, and observed by the City shall not be deemed a waiver of any right on the part of Airline to
cancel this Agreement for failure by the City to perform, keep, or otherwise observe any of the
terms, covenants, or conditions hereof to be performed, kept, and observed by the City, or be
construed to be or act as a waiver by Airline of said default or of any subsequent default of any of
said terms, covenants, and conditions herein contained and to be performed, kept, and observed by
the City.




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                                       ARTICLE 17
                               ASSIGNMENT AND SUBLETTI G

        Section 17.1 Assignment and Subletting.

        (a)    Airline shall not, directly, or indirectly, assign, sell, sub lease, or otherwise transfer
this Agreement, or any portion of Airline Premises, without the prior written approval of the City.
The foregoing shall not prevent the assignment of this Agreement to any parent or subsidiary or
any corporation with which Airline may merge or consolidate, or which may succeed to the
business of Airline, provided such successor corporation no later than thirty (30) days after the
date of such merger, consolidation, or succession shall acknowledge by a writing satisfactory in
form and content to the City that it has assumed all obligations of Airline and will fully honor all
the terms and conditions set forth in this Agreement.

        (b)     Airline shall not sublease Airline Premises without the prior written consent of the
City, which consent may be withheld if the City has substantially similar unleased space available,
or if the City can make substantially similar space available for lease within a reasonable time.
Use of Airline 's Exclusive Use Premises or any part thereof by anyone other than Airline (or its
Affiliates or duly authorized service providers, in compliance with all other terms and conditions
of this Agreement, and upon written notice to the City of such arrangement) shall be deemed a
sublease. If a sublease is approved, Airline wi 11 be solely responsible for ensuring that its sub lessee
performs pursuant to and in compliance with the terms of this Agreement. If an Airline Event of
Default shall occur and be continuing under this Agreement, the City may collect rent from such
sublessee or occupant and apply the amount collected to the extent possible to satisfy the
obligations of Airline hereunder, but no such collection shall be deemed a waiver by the City of
the covenants contained herein or the acceptance by the City of such sub lessee or occupant as a
successor to Airline or a release of Airline by the City from its obligations hereunder.

        (c)      Airline shall include with its request for permission to assign or sublease, a copy of
the proposed assignment or sublease agreement. The proposed assignment or sublease agreement
submitted with Airline 's request shall include the following information: (i) the term (which shall
not extend longer than the Term of this Agreement); (ii) the area or space to be assigned or
subleased; (iii) the sublease rentals to be charged; (iv) the provision that assignee or sub lessee must
execute a separate agreement with the City for operating at the Airport; (v) the rent to be paid by
such sub lessee, which shall not be greater than 110% of the rents paid by Airline; and (vi) financial
information satisfactory to the City regarding such proposed subtenant or assignee. Any other
information reasonably requested by the City pertaining to said sublease or assignment shall be
promptly provided by Airline. A fully executed copy of such sublease or assignment shall be
submitted to the City for final approval within sixty (60) days of the occupancy of Airline Premises,
or any portion thereof, by the assignee or sublessee.

       (d)    In no event will any approved assignment or sublease diminish the City 's rights to
enforce any and all provisions of this Agreement.

      (e)    Before any assignment or sublease becomes effective, the assignee or sublessee will
assume and agree by written instruments to be bound by the terms and conditions of this
Agreement during the remainder of the Term of this Agreement.



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       (f)       othing in this Article shall be construed to release Airline from its obligation
under this Agreement, including but not limited to, the payment of rentals, fees, and charges
provided herein.

                                     ARTICLE 18
                              MISCELLANEOUS PROVISIO S

       Section 18.1    Acknowledgment.

        The Parties hereto acknowledge that they have thoroughly read this Agreement, including
any exhibits or attachments hereto, and have sought and received whatever competent advice and
counsel was necessary for them to form a full and complete understanding of all rights and
obligations hereunder. The Parties further acknowledge that this Agreement is the result of
extensive negotiations between the parties and shall not be construed against the City by reason of
the preparation of this Agreement by the City.

       Section 18.2    Authority of Director.

        The Director may exercise all rights and obligations of the City under this Agreement,
unless specifically provided otherwise or required by Applicable Law.

       Section 18.3    Capacity to Execute.

       Each of the Parties hereto warrants and represents that the execution and delivery of this
Agreement by its undersigned representative(s) has been duly authorized by all necessary
corporate or municipal action, as applicable.

       Section 18.4    Covenant Against Liens.

      Airline shall not cause nor permit any lien against the Airport, the Airline Premises or any
improvements thereto to arise out of or accrue from any action or use thereof by Airline; provided,
however, that Airline may, in good faith, contest the validity of any alleged lien.

       Section 18.5    Notices.

        Any notice required in this Agreement shall be in writing and served personally or sent by
registered or certified mail, postage prepaid, or by courier service such as OHL, FedEx, or UPS .
Any notice mailed pursuant to this paragraph shall be presumed to have been received by the
addressee five (5) business days after deposit of it in the mail, postage prepaid and properly
addressed, or, if sent by courier service, when delivered to or refused by the addressee. Notices
required to be given pursuant to this Agreement shall be addressed to:

       For City:       [Name]
                       [Title]
                       [Address]
                       [Email Address]

       For Airline:    [Name]


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                       [Title]
                       [Address]
                       [Emai I Address]

Either Party may change their designated contact for notices under this Agreement at any time
during the Term with written notice to the other Party in accordance with this Section 18.1.

       Section 18.6    Employees of Airline.

        Airline shall require all of its employees and subcontractors or independent contractors
hired by Airline working in view of the public and about the Terminal Building to display
appropriate identification. Airline employees shall obtain identification badges from the City.
Airline shall be responsible for paying the cost of TSA required employee background checks and
badging.

       Section 18.7    Entire Agreement.

        This Agreement, including all exhibits and attachments hereto, constitutes the entire
agreement between the Parties on the subject matter hereof and may not be changed, modified,
discharged, or extended except by written instrument duly executed by the City and Airline. This
Agreement supersedes all prior agreements and understandings, written and oral, expressed, or
implied, between the City and Airline related hereto. Airline agrees that no representations or grant
of rights or privileges shall be binding upon the City unless expressed in writing in this Agreement.

       Section 18.8    Amendment.

        No amendment, modification , or alteration of the terms of this Agreement shall be binding
unless the same be in writing, dated subsequent to the date hereof and duly executed by the Parties
hereto, except in accordance with the terms herein. The Director is authorized to execute
amendments which do not substantially alter the material terms of this Agreement, provided that
such amendments shall be approved in form and substance by the City Attorney or his or her
designee. All other amendments must be authorized in writing by City Council by passage of an
ordinance thereto .

       Section 18.9    Non-Exclusive Rights .

        Nothing in this Agreement shall be deemed to grant Airline any exclusive right or privilege
within the meaning of 49 U.S.C. § 40103(e) or 49 U.S.C. § 40103(a)(4) with respect to activities
on the Airport.

       Section 18.10 Most Favored Nations.

         Airline shall have the same rights and privileges and pay the same City-established fees
and charges, not to exceed those established under the provisions of this Agreement as periodically
revi sed under the terms hereof, with respect to the use of the Airport as are granted to or charged
any other airline executing a similar use and lease agreement with the City for use of the Airport.
The previous sentence notwithstanding, the City may waive or reduce any fees and charges set
under this Agreement pursuant to a City-approved Air Service Incentive Plan ("ASIP") for a


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period not to exceed two years. The City shall give Signatory Airlines an opportunity to review
and comment on any proposed updates and/or revisions to such ASIP. It is understood that rents
and fees are set as established in this Agreement and to the extent permitted under applicable
federal law therefore may vary among lessees on account of the different premises to be leased.
For the avoidance of doubt, the cost of the aforementioned waivers and reductions of fees and
charges shall not be included as a component of any of the Airline fees or charges that are presented
in the Rates and Fees Schedule.

       Section 18.11 Force Majeure.

        Except as provided herein, neither the City nor Airline shall be deemed in violation of this
Agreement if it is prevented from performing any of its obligations hereunder by reason of strikes,
boycotts, labor disputes, embargoes, shortages of material, acts of God, pandemic, epidemic, acts
of the public enemy, acts of superior governmental authority, weather conditions, tides, riots,
rebellion, sabotage, or any other circumstances for which it is not responsible or which is not in its
control; provided, however, that these provisions shall not excuse Airline from paying Airline
rentals, fees , and charges hereunder.

       Section 18.12 No Third-Party Beneficiaries.

       Each of the parties has entered into this Agreement solely for its own benefit. Except as
expressly provided herein, this Agreement does not grant to any third person the right to claim
damages or to bring any suit, action, or any other proceeding against either the City or Airline
because of any breach hereof.

       Section 18.13 Governing Law; Venue.

       The laws of the State of Texas shall govern this Agreement and all disputes ansmg
hereunder, with venue in Bexar County, Texas.

       Section 18.14 Headings.

        The headings of the Articles and paragraphs of this Agreement are inserted only as a matter
of convenience and for reference and do not define or limit the scope or intent of any provisions
of this Agreement and shall not be construed to affect in any manner the terms and provisions of
this Agreement or of its interpretation.

       Section 18.15 No Partnership or Agency.

        Nothing herein contained is intended or shall be construed to in any respect create or
establish any relationship other than that of licensor and licensee, and nothing herein shall be
construed to establish any partnership, joint venture, or association or to make Airline the general
representative or agent of the City for any purpose whatsoever.

       Section 18.16 Invalid Provisions.

        In the event any covenant, condition, or provision herein contained is held to be invalid by
a court of competent jurisdiction, the invalidity of any such covenant, condition, or provision shall


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in no way affect any other covenant, condition, or prov1s10n herein contained, provided the
invalidity of any such covenant, condition, or provision does not materially prejudice either the
City or Airline in its respective rights and obligations contained in the valid covenants, conditions,
and provisions of this Agreement.

        Section 18.17 Nonliability of Individuals.

       No director, officer, agent, elected official, or employee of either Party shall be charged
personally or held contractually liabl e by or to the other party under any term or provision of this
Agreement or because of any breach thereof or because of its or their execution or attempted
execution.

       Section 18.18 Noninterference with Airport Operations.

         Airline, by accepting this Agreement, expressly agrees for itself, its successors, and assigns
that it will not make use of its Airline Premises in any manner that might interfere with the landing
and taking off of aircraft at the Airport or otherwise constitute a hazard. In the event the aforesaid
covenant is breached, on reasonable notice to Airline and opportunity to cure, the City reserves
the right to enter the Airline Premises and cause the abatement of such interference at the expense
of Airline.

        Section 18 . 19 Avigation Rights.

        The City reserves unto itself, its successors, and assigns for the use and benefit of the
public, a right of flight for the passage of aircraft in the airspace above the surface of the Airport
for navigation or flight in the said airspace for landing on, taking off from, or operating at the
Airport.

        Section 18.20 Height Limitation.

         Airline expressly agrees for itself, its successors and assigns, to restrict the height of
structures, objects of natural growth and other obstructions on the Airline Premises to such a height
so as to comply with Federal Aviation Regulations, Part 77, as such may be amended or superseded
from time to time.

        Section 18.21 Remedies to Be Nonexclusive.

        All remedies provided in this Agreement shall be deemed cumulative and additional and
not in lieu of or exclusive of each other or of any other remedy available to the City or Airline at
law or in equity (to the extent not inconsistent with the express provisions hereof), and the exercise
of any remedy or the existence herein of other remedies or indemnities shall not prevent the
exercise of any other remedy.

        Section 18.22 Right to Audit Books and Records .

        Airline agrees to keep books and records on its operations at the Airport, for a period of at
least four (4) years following the expiration or earlier termination of this Agreement, and the
Director or any other authorized City representative, upon reasonable advance written notice to


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Airline, shall have the right to inspect and audit such books and records to ensure compliance with
the prevailing municipal bond disclosure requirements and to determine that the City has received
from Airline all moneys due the City under the terms hereof, including, but not limited to, rentals,
fees, and charges and PFCs (if applicable) payable to the City by Airline. Likewise, Airline shall
have the right to inspect the books and records of the City relating to the provisions hereof

        Section 18.23 Right to Lease to United States Government.

        During time of war or national emergency, the City shall have the right to lease the Airport
landing area or any part thereof to the United States government and, if any such lease is executed,
the provisions of this Agreement insofar as they are inconsistent with the provisions of the lease
to the Government shall be suspended; however, such suspension shall not extend the Term of this
Agreement. If, as a result of any such lease, the rights or duties of Airline hereunder are materially
affected, then Airline shall receive an equitable rental adjustment.

        Section 18.24 Subordination.

        (a)     Nothing contained herein shall unlawfully impair the right of the City to exercise
its governmental or legislative functions . This Agreement is made subject to the Constitution and
laws of the State of Texas and to the Charter of the City of San Antonio, Texas, and to the provisions
of the Airport Improvement Program Grant Agreements applicable to the Airport and its operation.

        (b)     Airline agrees that this Agreement shall be subject and subordinate to the provisions
of any existing or future agreements between the City and the United States of America, relative
to the operation and maintenance of the Airport, the terms and execution of which have been or
may be required as a condition precedent to the expenditure by or reimbursement to the City or
the County of Federal funds for the development of the Airport ("Grant Assurances"). In the
event that this Agreement, either on its own terms or by any other reason, conflicts with or violates
any such Grant Assurances, the City has the right to amend, alter, or otherwise modify the terms
of this Agreement in order to resolve such conflict or violation. Airline further agrees that it shall
not knowingly cause the City to violate any Grant Assurances made by the City to the Federal
Government in connection with the granting of such Federal funds .

       Section 18.25 Successors and Assigns.

       The provisions of this Agreement shall be binding upon and inure to the benefit of the
successors and assigns of the parties hereto.

       Section 18.26 Time of the Essence.

       Time is of the essence in this Agreement.

       Section 18.27 Quiet Enjoyment.

        Upon payment by Airline of the rentals, fees , and charges as herein required and subject to
performance and compliance by Airline of the covenants, conditions, and agreements on the part
of Airline to be performed and complied with hereunder, Airline shall peaceably have and enjoy
the rights, uses, and privileges granted to it herein of the Exclusive Use Premises during the Term,


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subject to the prov1s1ons hereof and m conformance with Applicable Laws and Rules and
Regulations .




                                [Signature Page(s) to Follow]




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        IN WITNESS WHEREOF, the parties hereto have subscribed their names the day
  and year first above written.




CITY OF SAN ANTONIO, TEXAS:


Erik Walsh
City Manager


Approved as to form:



City Attorney



AIRLINE:


By:

Title:

Notarv ofAirline Signature:



STATE OF _ _ _ _ _ _ _ _ COUNTY OF _ _ _ _ _ __


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                                                EXHIBIT A

                                              AIRPORT MAP




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                                                EXHIBIT B

                                         AIRLINE ACTIVITY REPORT




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                                                                       SAN ANTONIO INTERNATIONAL AIRPORT
                                                                            MONTHLY ACTIVITY REPORT

1. AIRLINE CODE.
Month, Year:                                                                    Ai rline Name: ~ - - - - - - - - - - - - ~ Hand ling Agent: ~ - - - - - - -- -~

2. LANDINGS:                               (Ptease copy and use th,s same form lo report landing 1nformat.on if additional space ,s required)

                                            Aircraft's          Landing                                   Number of Landings                             Total        Total         Total
                                             Total              Weight '                                                                               Landings     Available      Landing
       Type of                Aircraft        Seats             (Pounds)           Scheduled             Charter          Diversions/Unscheduled       (C+D+E)      Seating        Weight
       Aircraft               Series           (A)                 (B)                (C)                  (D)                      (E)                   (F)        (A ' F)        (B • F)
A. DOMESTIC




                                                     Total Domestic
B. INTERNATIONAL




                                                    Total International
• Certified Maximum Gross Landing Weight
  to t he nearest 1,000 pounds                               TOTAL DOMESTIC & INTERNATIONAL

FY_ Landing Fee                                           / 1,000 LBS                                                                                 TOTAL DUE TO THE CITY                $0.00!



3 PASSENGER COUNTS ·                             Domestic                                                 International                                                  Charter
                                           Enplaned    Deplaned                                       Enplaned                       Deplaned                      Enplaned        Deplaned
Reve nue
Non-revenue
                    Totals                      0                    0                                      0                                0                         0               0



4. BHS FEE (Per Enplaned Passenger).
BHS fee i s _ per enplaned passenger.
                                                                                                                                                      TOT AL DUE TO THE CITY



5 FIS FEE {Per Deplaned Passenger)
FIS fee is _    per deplaned passenger.
                                                                                                                                                      TOTAL DUE TO THE CITY



4. CARGO WEIGHTS ·                              Scheduled                       Please Report in Pounds                                     Charter                       Cargo Handler:
                                           Enplaned     Deplaned                                                                    Enplaned           Deplaned      Enter Cargo Handler Name
Domestic
Mail
Freight & Express
International
Mail
Freight & Express

                Total Mail                      0                                                                                        0
               Total Cargo                      0                    0                                                                   0


Perishables Cargo                          (please indicate the amount of perishable cargo included in the above cargo figures)
Domest ic
International



Prepa red by (signature):                                                                                   Date :                                       Phone#:
Print Name of Preparer:                                                                                Fax Number:
                                                                                                                        ----------------
                                                                   This form may be sent via fax or v,a email
                                             FAX: 210-207-3500, Phone: 210-207-3439, Email: a1rlinemonthlyreports@sanantomo.gov
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                                                       EXHIBIT C

                                                 AIRLINE PREMISES 1




          1
            Exhibit C in each Signatory Airline Agreement wi ll show that Airline' s specific Airline Premises as of
          the Effective Date.

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                                              EXHIBIT D-1

                                 TERMINAL BUILDING SPACE EXHIBIT




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                                            EXHIBIT D-2

                                         JOINT USE SPACE




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                                                        EXHIBIT E-1

                      SPRINGING PROVISIONS RELATED TO THE EXTENDED TERM CIP

                 If and upon the automatic extension of the Term of this Agreement pursuant to Section 2.2,
          "Extended Term," the following provisions shall be effective and incorporated in this Agreement
          as a new Section 8.9:

                              Section 8.9   Approval of the Extended Term CIP.

                             (a)    The Parties each hereby approve the cost and scope of the additional Capital
                     Improvements set forth in Exhibit E-2 (the "Extended Term CIP"), including the total
                     projected Net Project Costs of such Extended Term CIP set forth in Exhibit E-2 (the
                     "Extended Term CIP Cap") . Such approval constitutes Airline's MII approval of the
                     Extended Term CIP for the purposes of this Article 8 and the City may proceed with the
                     planning, design and construction for the Extended Term CIP without further MII
                     consideration, and include such costs in the calculation of Airline rentals, fees and charges,
                     provided that:

                              (i)      If, at the time the City receives bids for construction, a Capital Improvement
                     that is part of the Extended Term CIP will exceed the original estimate of Net Project Costs
                     provided on Exhibit E-2 for such Capital Improvement by more than ten percent (l 0%)
                     (as calculated based on adjusting the original estimate for any increase in the CPI during
                     the time between notifying Airline of such estimate and receiving bids), the City may not
                     proceed unless:

                              (A)    the Extended Term CIP Cap wi II not be exceeded by more than ten percent
                     (10%);

                            (B)    the City revises the Extended Term CIP such that the Extended Term CIP
                     Cap is not exceeded by more than ten percent (10%) and provides a copy of the revised
                     Extended Term CIP to Airline; or

                            (C)     an MII approves the adjusted estimate for such Capital Improvement
                     pursuant to the procedures in Section 8.7, "MII Approval and Deferral Process." If an MII
                     approves such Capital Improvement pursuant to this subsection, the adjusted estimate shall
                     be incorporated into the Extended Term CIP and the Extended Term CIP Cap shall be
                     adjusted accordingly.




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                                          Final Draft 9.6.2024EXHIBIT E-2

                                               EXTENDED TERM CIP

                 [To be inserted if and upon the automatic extension of the Term pursuant to Section 2.2,
                                           "Extended Term," of the Agreement]




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                                                  EXHIBIT "F"
                                       to Signatory Airline Agreement for
                                        San Antonio International Airport

                                          RATES AND FEES SCHEDULE

                                                   SECTION I - DEFINITIONS

The following words , terms and phrases used in this Exhibit "F" shall have the meanings set forth in th is
Section and the meanings shall apply to both the singular and plural forms of such words , terms and
phrases. Additional words, terms and phrases used in this Exhibit "F", but not defined in this Section , shall
have the meanings ascribed to them in the individual sections of this Exhibit "F", the Agreement or the Bond
Resolution . The specific methodologies for calculating the rates , fees and charges defined below can be
found in Section II of this Exhibit "F".

Sections I, II, Ill and IV of this Rates and Fees Schedule will not be revised during the Term of the
Agreement unless mutually agreed upon and amended by the Airline and City.

1.   "Additional Revenue Required - Coverage" means the amount calculated by dividing the Baseline Net
     Revenue by Debt Service that results in a minimum Debt Service Coverage of twenty five percent (25%).

2. "Adjusted Signatory Landing Fee" means the adjusted Landing Fee needed to meet a minimum Debt
   Service Coverage of twenty five percent (25%) of Debt Service in a rate setting period .

3.   "Adjusted Signatory Terminal Rental Rate" means the adjusted Terminal Building Rentals needed to meet
     a minimum Debt Service Coverage of twenty five percent (25%) of Debt Service in a rate setting period .

4.   "Airfield Area Cost Center" means the Airport Cost Center further described in Table F-8 of this Exhibit
     UF".

5.   "Apron Area Cost Center" means the Airport Cost Center further described in Table F-8 of this Exhibit
     "F".

6.   "Baggage Handling System/ Security Checkpoint (BHS) Cost Center" means the Airport Cost Center
     further described in Table F-8 of this Exhibit "F" .

7. "Baseline Net Revenues" means Airport Revenues minus Maintenance and Operating Expenses to
   calculate the Adjusted Signatory Terminal Rental Rate and Adjusted Signatory Landing Fee .

8.   "Bond Reserve Fund" means the fund(s) by that name established by City for the Airport to assure that
     there are sufficient funds to pay debt service on a timely basis.

9.   "Differential Rate Period" means the period beginning upon the start of the first full Fiscal Year following
     DBO of the expanded Terminal Building facilities constructed as part of TOP and continuing for three (3)
     Fiscal Years total of the subject adjustments , as set forth in Section 5.11 of the Agreement.

10. "Excess PFC Revenues" means PFC Revenues available to repay Debt Service that was issued to
    fund PFC-eligible Capital Improvements.

11 . "Fuel Flowage Revenues" means the fees collected by the City for each gallon of fuel and oil delivered
     to the Airports for use by private aircraft owners with City-approved self-fueling facilities or sold to the
     public by the fixed base operators .

12. "Leased Unenclosed Space" means space that is leased by an Air Carrier as Exclusive Use Premises
    that is classified as unenclosed space in the Terminal Building and charged at the Unenclosed Space
    Rate.
Exhibit "F" to Signatory Airline Agreement - SAT

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13. "Loading Bridge Cost Center" means the Direct Cost Center further described in Table F-8 of this Exhibit
    "F".

14. "Non-Rentable Space" means space in the Terminal Building that is non-rentable such as City Aviation
    Department, Art, Mechanical , Storage, Public Use, Stairs, Elevators and Escalators .

15. "Other Buildings and Areas Cost Center" means the Direct Cost Center further described in Table F-8 of
    this Exhibit "F".

16. "Parking Cost Center" means the Direct Cost Center further described in Table F-8 of this Exhibit "F".

17. "Rate Setting Period" means the Fiscal Year for which the rates, fees and charges are being calculated
    hereunder.

18. "Stinson Cost Center" means the Direct Cost Center further described in Table F-8 of this Exhibit "F".

19. "Terminal Building Cost Center" means the Direct Cost Center further described in Table F-8 of this
    Exhibit "F".

20. "Ticket Counter" means each two-position ticket counter within the Terminal rentable by an Air Carrier for
    the processing of passengers and baggage for a departing flight, including the ticket counter itself, kiosks ,
    queuing space, and space behind the ticket counter position .

21. "Total Rentable Space" means the total amount of space available for rent in the Terminal Building to Air
    Carriers (or available for use by an Air Carrier on a per-use fee basis), which includes Preferential Use
    Premises and Exclusive Use Premises assignable to Signatory Airlines and/or Non-Signatory Airlines,
    Joint Use Space (enclosed and unenclosed) , and City Gates ("Airline Rentable Space"), and to
    tena nts/users other than Air Carriers (e.g. , concessionaires) ("Non-Airline Rentable Space"), as may be
    adjusted and/or weighted during the course of any Fiscal Year for changes in space classifications after
    consu ltation with the airlines. If the City assigns Exclusive Use Premises (except for passenger clubs or
    lounges) to a Non-Signatory Airline on a month-to-month basis , such Non-Signatory Airline will be
    required to pay Terminal Building Rentals to the City for the use of such space at the same rate as
    Signatory Airlines would pay for such space, plus the Non-Signatory premium of fifteen percent (15%).
    Airline Rentable Space as of the Effective Date is shown on Exhibit D-1 to this Agreement, which may
    be changed from time to time due to a change in the purpose of the space or due to the construction or
    demolition of Terminal Build ing space.

22. 'Turn" means a single inbound and outbound flight operation , for which an Air Carrier uses a Gate,
    Loading Bridge, and Apron.

23. "Turns per Day" means the divisor for the Per Use Fee calculation with an average of four (4) Turns per
    day.

24. "Unenclosed Space Rate" means the discounted rate for Leased Unenclosed Space which is sixty percent
    (60%) of the Terminal Rental Rate as calculated in Section II of this Exhibit "F".




Exhibit "F" to Signatory Airline Agreement - SAT

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                                                        SECTION II - RATE CALCULATIONS

1.    Explanation of Rate Calculation Line Items. The following Line Items listed in Tables F-1.1 and F- 2 - F-
      5 are included in the calculation ofTerminal Rental Rate, Baggage Handling System/ Security Checkpoint
      Fee, Loading Bridge Fee, Apron Area Fee and Landing Fee for each Rate Setting Period. Each Line Item
      in Tables F-1.1 and F-2 - F-5 is identified by the corresponding letter set forth below.

      Line Item A.              Maintenance and Operating Expenses. This Line Item includes those expenses directly
                                assignable to the Terminal , Baggage Handling System/ Security Checkpoint, Loading
                                Bridge, Apron Area or Airfield Cost Centers ("Direct Maintenance and Operating
                                Expenses") and those expenses associated with Maintenance and Operating of the
                                Airport that are not directly assignable but are allocated to the Airport Cost Centers
                                ("Indirect Maintenance and Operating Expenses"). The sum of Direct Maintenance and
                                Operating Expenses and Indirect Maintenance and Operating Expenses are hereinafter
                                referred to as "Maintenance and Operating Expenses".

      Line Item B.              Maintenance and Operating Reserve. This Line Item includes the Maintenance and
                                Operating Reserve for the current Rate Setting Period less the Maintenance and
                                Operating Reserve for the prior Rate Setting Period allocated to the Terminal , Baggage
                                Handling System/ Security Checkpoint, Loading Bridge, Apron Area or Airfield Cost
                                Centers

      Line Item C.              Debt Service. This Line Item includes Debt Service directly assignable to the Terminal ,
                                Baggage Handling System/ Security Checkpoint, Loading Bridge , Apron Area or Airfield
                                Cost Centers ("Direct Debt Service") and Debt Service assignable to the Indirect Cost
                                Centers ("Indirect Debt Service"). Indirect Debt Service shall be allocated to the Direct
                                Cost Centers on the basis of the procedures set forth in Section V(3) below for the
                                distribution of Indirect Maintenance and Operating Expenses . The sum of Direct Debt
                                Service and Indirect Debt Service are hereinafter referred to as 'Total Debt Service".

      Line Item D.              Debt Service Coverage . This Line Item includes Debt Service Coverage attributable to
                                the Terminal, Baggage Handling System/ Security Checkpoint, Loading Bridge, Apron
                                Area or Airfield Cost Centers .

      Line Item E.              Other Debt. This Line Item includes Other Financing attributed to the Terminal , Baggage
                                Handling System/ Security Checkpoint, Loading Bridge, Apron Area or Airfield Cost
                                Centers.

      Line Item F.              Amortization. This Line Item includes Amortization attributable to the Terminal , Baggage
                                Handling System/ Security Checkpoint, Loading Bridge, Apron Area or Airfield Cost
                                Centers.

      Line Item G.              Non-Amortized Capital and Equipment Outlays. This Line Item includes Non-amortized
                                Capital and Equipment Outlays attributable to the Terminal , Baggage Handling System/
                                Security Checkpoint, Loading Bridge, Apron Area or Airfield Cost Centers.

      Line Item H.              Total Requirement. The Total Requirement is the sum of Line Items A through G. The
                                Total Requirement is applicable to Terminal , Baggage Handling System/ Security
                                Checkpoint, Loading Bridge, Apron Area or Airfield Cost Centers.

      Line Item I.              Credits. This Line Item identifies the Credits to the Total Requirement that may be
                                included in the Terminal , Baggage Handling System/ Security Checkpoint, Loading
                                Bridge, Apron Area or Airfield Cost Centers and as follows :

                 a.     Credits to the Terminal Total Requirement in Table F-1.1 includes Excess PFC Revenues .
                 b.     Credits to the Baggage Handling System Total Requirement in Table F-2 include Excess PFC
                        Revenues.

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              c.    Credits to the Loading Bridge Total Requirement in Table F-3 include Excess PFC Revenues.
              d.    No credits are included in the Apron Area Total Requirement in Table F-4 except in FY2025
                    pursuant to subsection (f) below.
              e.    Credits to the Airfield Total Requirement in Table F-5 include Excess PFC Revenue, Fuel
                    Flowage Revenue , and Non-Terminal RON Parking.
              f.    In FY2025, and in no other Rate Setting Period , credits to the above-referenced requirements
                    include the prior Rate Setting Period's Debt Service Coverage (if any).

     Line Item J.          Net Requirement. The Net Requirement equals Total Requ irement minus Credits.

     Line Item K.          Line Item K in Tables F-1.1 and F-2 - F-5 shall be defined as follows :

                          •     Table F-1.1: Leased Airline Preferential, Exclusive and Joint Use Space. The term
                                "Leased Airline Preferential , Exclusive and Joint Use Space" in Table F-1.1 means
                                the total amount of the Airline Rentable Space that is leased or assigned to an Air
                                Carrier in the Terminal Building .

                          •     Table F-2: Total Enplaned Passengers. The term "Total Enplaned Passengers" in
                                Table F-2 means the Enplaned Passengers for all commercial airl ines, including
                                Signatory and Non-Signatory Airlines .

                          •     Table F-3: Total Loading Bridges. The term "Total Loading Bridges" means the total
                                Loading Bridges at the Airport.

                          •     Table F-4: Total Apron Area. The term "Total Apron Area " means the total linear feet
                                of apron adjacent to Terminal Building .

                          •     Table F-5: Total Landed Weight. The term "Total Landed Weight" in Table F-5
                                means the Landed Weight for all commercial airlines, including Signatory and Non-
                                Signatory Airlines .

    Line Item L.           Line Item L in Tables F-1.1 and F-2 - F-5 shall be calculated as follows :

                           •    Table F-1.1 : Leased Unenclosed Space. The term "Leased Unenclosed Space" has
                                the meaning given to it in Section I of this Exhibit "F".

                           •    Table F-2 : BHS/ Security Checkpoint Fee. Calculated in Table F-2 as (J) Baggage
                                Handling System/ Security Checkpoint Net Requirement divided by (K) Total
                                Enplaned Passengers .

                           •    Table F-3: Loading Bridge Fee. Calculated in Table F-3 as (J) Loading Bridge Net
                                Requirement divided by (K) Total Loading Bridges .

                           •    Table F-4: Apron Area Fee. Calculated in Table F-4 as (J) Apron Area Net
                                Requirement divided by (K) Total Apron Area.

                          •     Table F-5: Landing Fee . Calculated in Table F-5 as (J) Airfield Net Requirement
                                divided by (K) Total Landing Weight.

    Line Item M.          Total Rentable Space . The term "Total Rentable Space" in Table F-1.1 means all
                          Airline Rentable Space and Non-Airl ine Rentable Space in the Terminal Build ing .

    Line Item N.          Airline Terminal Net Requirement. Calculated in Table F-1.1 as (1) (J) Terminal Net
                          Requirement multiplied by (2) (the sum of (K) Leased Airline Preferential Use Premises,
                          Exclusive Use Premises and Joint Use Space and (L) Leased Unenclosed Space)
                          divided by (M) Total Rentable Space.


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   Line Item 0.          Terminal Rental Rate for Preferential, Exclusive and Joint Use Space (per square foot).
                         Calculated in Table F-1.1 as (N) Airline Terminal Net Requirement divided by the sum
                         of (AA) Signatory Preferential Use Premises and Exclusive Use Premises (Weighted to
                         $15 during Differential Rate Period) , (BB) Joint Use Space , (CC) Terminal A+B
                         Holdroom Leased Space , (DD) Non-Signatory Airline Exclusive Leased Space
                         (Weighted for 115% Non-Signatory Premium), and (EE) Unenclosed Leased Space
                         (Weighted for 60% discount).




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2.   Calculation of Terminal Rental. Baggage Handling System/ Security Checkpoint Fee, Loading Bridge
     Fee, Apron Area Fee and Landing Fee. The Terminal Rental Rate, Baggage Handling System/ Security
     Checkpoint Fee, Loading Bridge Fee, Apron Area Fee and Landing Fee for each Rate Setting Period
     shall be calculated as set forth in this subsection .

          A.   Terminal Rental Rate. The methodology for calculating the Terminal Rental Rate is set forth in
               Table F-1.1 below. During the Differential Rate Period and as described in Section 5.11 of the
               Agreement, there will be a differential rate calculation . Such differential rate calculation is applied
               to Line Item O through Zin the following Table F-1 .1.

                                          Table F-1.1 Terminal Rental Rate Calculation
                                                                                           Line Item
                                                                                   (See Section II( 1) above for
                                                                                  corresponding descriptions)
           Maintenance and Operatinq Expenses                                                  A
           Maintenance and Ooeratinq Reserve                                                   B
           Debt Service                                                                        C
           Debt Service Coveraqe                                                               D
           Other Debt                                                                          E
           Amortization                                                                        F
           Non-Amortized Capital Improvements                                                  G

           Terminal Total Requirement                                                   H = SUM (A:G)

            Less: Credits to Terminal Total Requirement                                         I

           Terminal Net Requirement                                                        J=H+I

           Leased Airline Preferential Use Premises , Exclusive
           Use Premises, and Joint Use Space                                                   K
           Leased Unenclosed Space                                                             L
           Total Rentable Space                                                                M

           Airline Terminal Net Requirement                                          N = J * ((K + L) / M)

           Terminal Rental Rate for Preferential Use Premises, Exclusive Use Premises and Joint Use
           Space (per square foot)
                                                                       0 = N / (AA+ BB+ CC+ (115% *
           Siqnatorv Airline Terminal Rental Rate                              DD) + (60% * EE))
           Non-Siqnatorv Airline Terminal Rental Rate                            P = 0 * 115%

                                                                           02 = (N + $15 * CC)/ (AA+ BB+ CC
           Differential Siqnatorv Airline Terminal Rental Rate 1              + (115% * DD)+ (60% * EE))
           Differential Non-Siqnatory Airline Terminal Rental Rate                   P2 = 02 * 115%

           Terminal A+B Holdroom Rental Rate (per square foot)
           Siqnatorv Airline 1                                                          Q=O2 -$ 15
           Non-Siqnatory Airline                                                        R = Q * 115%

           Unenclosed Space Rate (per square foot)
           Siqnatorv Airline                                                             S = 0 * 60%
           Non-Siqnatorv Airline                                                         T=S *1 15%

           Baseline Net Revenues                                                               u
           Additional Terminal Revenue Required - 1.25X
           Coveraqe                                                                            V
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           Terminal Portion                                                           w
           Airfield Portion                                                         X
           Total Additional Revenue Required - Terminal                           Y=V * W
           Additional Signatory Terminal Rental Rate (per square
           foot)                                                              Z = Y / (AA + CC)
           Adjusted Siqnatorv Airline Terminal Rental Rate 2                     Z2 = Z + 0
           Adjusted Signatory Airline Terminal A+B Holdroom
           Rental Rate (per square foot)                                         Z3 = Z + Q

            Signatory Preferential Use Premises and Exclusive Use
            Premises                                                                 AA
            Joint Use Space                                                          BB
            Terminal A+B Holdroom Leased Space                                       cc
            Non-Signatory Exclusive Leased Space                                    DD
            Unenclosed Leased Space                                                 EE
            Total Airline Leased Space                                       FF = SUM (AA:EE)

     Note:
     1/ The Terminal Rental Rate calculation only includes the $15 differential rental rate adjustment
        during the Differential Rate Period. When not in the Differential Rate Period , the Terminal A+B
         Holdroom Rental Rate (per square foot) for Signatory and Non-Signatory does not apply and the
        calculation for the Signatory Terminal Rental Rate is O = N /(AA+ BB+ CC+ (115% * DD)+
        (60% * EE)) .
     2/ If extraordinary coverage pursuant to Section 6.3(d) or Section 6.5(c) of the Agreement is
        triggered during the Differential Rate Period , then the calculation for Z2 would be Z2 = Z + 02 .




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          B. Calculation of Joint Use Charges. The methodology for calculating Joint Use Charges, as
             defined in Section I to this Exhibit "F", is set forth in Table F-1.2 below.

                                    Table F-1.2 Joint Use CharQes Calculation
           Total Enclosed Joint Use Space (square feet)                            A
           Siqnatorv Airline Terminal Rental Rate (per square foot)                B
           Enclosed Joint Use Requ irement                                       C=A*B

           Total Unenclosed Joint Use Space (square feet)                          D
           Signatory Unenclosed Space Rate (per square foot)                       E
           Unenclosed Joint Use Requirement                                      F=D*E

           Total Joint Use Requirement                                           G=C+F

           Total Signatory Airline Enplaned Passengers                             H
           Total Non-Siqnatorv Airline Enplaned Passenqers                         I
           Total Enplaned Passenqers                                             K=H+I

           Averaqe Joint Use Charqe Per Enplaned Passenqer                       L=G/K
           Non-S ignatory Airline Joint Use Charge Per Enplaned
           Passenger                                                            M=L*115%
           Total Non-Siqnatorv Airline Joint Use Charqes                         N=l*M

            Net Signatory Airline Joint Use Requirement                          O=G-N

           Net Signatory Airline Joint Use Requirement Allocation
           - Enplaned Passenger Based                                           P=O*90%
           Net Signatory Airline Joint Use Requirement Allocation
           - Fixed Based                                                        Q=O*10%




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          C. Per Use Fee - Gate. The methodology for calculating Per Use Fee - Gate is set forth in Table
             F-1.3 below.

                                   Table F-1.3 Per Use Fee - Gate Calculation
           Terminal A Holdrooms (square feet)                                      A
           Ground Load Facility Holdrooms (square feet)                            B
           Terminal B Holdrooms (square feet)                                      C
           Terminal C Holdrooms (square feet)                                      D
           Total Holdroom Space (square feet)                                E = SUM (A:D)
           Total Number of Gates                                                   F
           Averaqe Space Per Holdroom (square feet)                              G=E/F

           Signatory Airline Terminal Rental Rate (per square
           foot) 1                                                                     H
           Average Cost Per Holdroom (All Terminal)                                  l=G*H

           Total Terminal A+B Holdroom Space (square feet)                       J=A+B+C
           Total Number of Gates (Terminal A, B, and Ground
           Load Facility)                                                             K
           Averaqe Space Per Holdroom (square feet)                                L =J I K
           Terminal A+B Holdroom Rental Rate (square feet)                            M
           Averaqe Cost Per Holdroom (Term inal A+B)                               N=L*M

           Total Terminal C Holdroom (square feet)                                    0
           Total Number of Gates (Terminal C)                                          p
           Averaqe Space Per Holdroom (square feet)                                Q = 0/ p
           Signatory Airline Terminal Rental Rate (per square foot)                    R
           Averaqe Cost Per Holdroom (Termi nal C)                                     s
           Total Apron Area (linear feet)                                              T
           Total Number of Gates                                                       u
           Average Space Per Apron Area (linear feet)                               V=T/U

           Apron Area Net Requirement (per linear foot)                                w
           Averaqe Cost Per Apron Area                                             X=V* W

            Loadinq Bridqe Fee                                                         y

           Total Cost Per Gate                                                     Z=l+X+Y
           Days in Year                                                              AA
           Turns per Day                                                              BB

           Siqnatory Airline Per Use Fee - Gate                                  CC=Z/AA/BB
           Non-Siqnatorv Airline Per Use Fee - Gate                             DD= CC * 115%

           Averaqe Cost Per Holdroom (Terminal A+B)                               EE= N
           Average Cost Per Apron                                                 FF = X
           Loadinq Bridqe Fee                                                    GG =Y
           Total Cost Per Gate (Terminal A+B)                               HH = EE + FF + GG
           Days in Year                                                              II
           Turns per Day                                                            JJ

           Siqnatorv Airline Per Use Fee - Gate (Terminal A+B) 2                KK = HH / II / JJ
           Non-Signatory Airline per Use Fee - Gate (Terminal
           A+B)                                                                 LL= KK * 115%

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           Average Cost Per Holdroom (Terminal C)                                 MM =S
           Averaqe Cost Per Apron                                                  NN = X
           Loading Bridge Fee                                                      OO=Y
           Total Cost Per Gate (Terminal C)                                   PP= MM + NN +00
           Days in Year                                                             QQ
           Turns per Day                                                            RR

           Signatory Per Use Fee - Gate (Terminal C) 2                         SS = PP / QQ / RR
           Non-Siqnatorv Per Use Fee - Gate (Terminal C)                        TT= SS * 115%

     Note:
     1/ The Terminal Rental Rate calculation only includes the $15 differential rental rate adjustment
         during the Differential Rate Period . During this time, Line Item H pulls Line Item 02 from Table
         F.1-1 . When not in the Differential Rate Period , the Terminal A+B Holdroom Rental Rate (per
         square foot) for Signatory Airlines and Non-Signatory Airlines does not apply and the calculation
         for the Signatory Terminal Rental Rate is O = N /(AA+ BB+ CC + (115% * DD) + (60% * EE)) as
         depicted in Table F.1-1 above.

    2/   There is only a separate calculation for a Per Use Fee - Gate (Terminal A+B ) and a Per Use Fee
         - Gate (Terminal C) during the Differential Rate Period . When not in the Differential Rate Period ,
         the Per Use Fee- Gate is calculated as shown on Line Item CC in this Table F.1-3.




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          D. Per Use Fee - Ticket Counter. The methodology for calculating Per Use Fee - Ticket Counter is
             set forth in Table F-1.4 below.

                                Table F-1.4 Per Use Fee - Ticket Counter Calculation
           Ticket Counter Space (square feet per position)                           A
           Siqnatorv Airline Terminal Rental Rate (per square foot)                  B
           Cost of Ticket Counter (Per Position)                                   C=A*B

           Days in Year                                                              D
           Turns per Dav                                                             E

           Siqnatorv Airline Per Use Fee - Ticket Counter                        F=C/D/E
           Non-Siqnatorv Airline Per Use Fee - Ticket Counter                  G = F * 115%




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          E.   Baggage Handling System/ Security Checkpoint Fee: The methodology for calculating the
               Baggage Handling System Fee is set forth in Table F-2 below.

                 Table F-2. Baaaaae Handling System/ Security Checkooint (BHS) Fee Calculation
                                                                            Line Item
                                                                                 (See Section 11(1) above for
                                                                                corresponding descriptions I
           Maintenance and Operatinq Expenses                                                A
           Maintenance and Operating Reserve                                                 B
           Debt Service                                                                      C
           Debt Service Coverage                                                             D
           Other Debt                                                                        E
           Amortization                                                                      F
           Non-Amortized Capital Improvements                                                G

           BHS/ Security Checkpoint Total Requirement                            H=A+B+C+D+E+F+G

           Less: Credits to BHS/ Security Checkpoint Total
           Requirement                                                                        I

           BHS/ Security Checkpoint Net Requirement                                        J=H-I

           Total Signatory Airline Enplaned Passenciers                                     K
           Total Non-Signatory Airline Enplaned Passengers                                  L
           Total Enplaned Passengers                                                      M=K+L

           Average BHS/Security Checkpoint Fee Per Enplaned
           Passenger                                                                      N=J/M
           Non-Signatory Airline BHS/ Security Checkpoint Fee
           Per Enplaned Passenger                                                      O=N*115%
           Total Non-Signatory Airline BHS/Security Checkpoint
           Charqes                                                                        P=O*L

            Net Signatory         Airl ine   BHS/   Security    Checkpoint
            Requ irement                                                                  Q=J-P

            Net Signatory Airline BHS/ Security Checkpoint
            Requirement Allocation - Enplaned Passenger Based                          R=Q*100%
            Net Signatory Airline BHS/ Security Checkpoint
            Requirement Fee - Signatory Enplaned Passenqer                                S=R/K




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          F. Loading Bridge Fee : The methodology for calculating the Loading Bridge Fee is set forth in Table
             F-3 below.

                                           Table F-3. Loadin<1 Bridc:1e Fee Calculation
                                                                                          Line Item
                                                                                  (See Section 11(1) above fOf"
                                                                                 corresoondina descriotions l
           Maintenance and Ooeratinq Exoenses                                                  A
           Maintenance and Operatinq Reserve                                                   B
           Debt Service                                                                        C
           Debt Service Coveraqe                                                               D
           Other Debt                                                                          E
           Amortization                                                                        F
           Non-Amortized Capital Improvements                                                  G

            Loadinq Bridqe Total Requirement                                      H=A+B+C+D+E+F+G

            Less : Credits to Loadinq Bridqe Total Requirement                                 I

            Loadinq Bridqe Net Requirement                                                  J=H-1

           Total Loading Bridges                                                               K

            Loading Bridge Fee                                                               L=J/K




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           G. Apron Area Fee : The methodology for calculating the Apron Area Fee is set forth in Table F-4
              below.

                                                Table F-4. Apron Area Fee Calculation
                                                                                         Line Item
                                                                                  (See Section 11(1) above for
                                                                                 corresoonding descriptions I
            Maintenance and Operatinq Expenses                                                A
            Maintenance and Operating Reserve                                                 B
            Debt Service                                                                      C
            Debt Service Coverage                                                             D
            Other Debt                                                                        E
            Amortization                                                                      F
            Non-Amortized Capital Improvements                                                G

            Apron Area Total Requirement                                          H=A+B+C+D+E+F+G

            Less: Credits to Apron Area Total Requirement                                      I

            Apron Area Net Requ irement                                                     J=H-I

            Total Apron Area (linear feet)                                                    K

            Apron Area Fee (per linear foot)                                                L=J/K




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          H. Landing Fee. The methodology for calculating the Landing Fee is set forth in Table F-5 below.

                                                   Table F-5. Landing Fee Calculation
                                                                                           Line Item
                                                                                    (See Section 11(1) above for
                                                                                   corresoondinQ descriotions)
           Maintenance and Operatinq Expenses                                                   A
           Maintenance and Operating Reserve                                                    B
           Debt Service                                                                         C
           Debt Service Coveraqe                                                                D
           Other Debt                                                                           E
           Amortization                                                                         F
           Non-Amortized Capital Improvements                                                   G

           Airfield Total Requirement                                                   H = SUM (A:G)

            Less : Credits to Airfield Total Requirement                                         I

           Airfield Net Requirement                                                         J = H-I

            Siqnatorv Airline Landinq Fee                                                   K= P / R
            Non-Signatory Airline Premium                                                       L
            Non-Signatory Airline Landing Fee                                               M = K* L

            Non-Signatory Airline Landed Weight (thousand pound
            units)                                                                             N
            Non-Siqnatorv Airline Landinq Fee Revenues                                      0 =M*N

           Net Siqnatory Airl ine Requirement                                               P=J- 0
           Additional Revenue Required - Coveraqe                                             Q
           Signatory Airline Landed Weight (thousand pound
           units)                                                                               R
           Adjusted Signatory Airline Landing Fee                                        S = (P + Q) / R




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3.   Miscellaneous Fees and Charges.

         A.    FIS Fee. The FIS Fee shall be a fee charged per deplaned international passenger as
               established by the City and presented in Attachment F-1 of this Exhibit "F".

          B.   Non-Terminal RON Parking Fee. Any Air Carrier parking an aircraft in a remote location overnight
               shall be charged a fee per overnight period as established by the City and presented in
               Attachment F-1 of this Exhibit "F".

         C. RON Parking Fees. A Signatory Airline shall not be charged RON Parking Fees for the RON
            parking of its aircraft at its preferentially assigned Gate. All Air Carriers shall be charged RON
            Parking Fees for the use of RON parking in non-Terminal Building locations designated by the
            Director. If an Air Carrier is authorized to use a City Gate for RON parking , such Air Carrier will
            be charged a RON Parking Fee for such use presented in Attachment F-1 of this Exhibit "F".




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                                           SECTION Ill - COMPETITIVE CREDIT


1.   Calculation of Tier 1 Competitive Credit. Tier 1 Competitive Credit shall be calculated by City in
     accordance with this Section . The following Line Items listed in Table F-6 are included in the calculation
     of Revenue Sharing. Each Line Item in Table F-6 is identified by the corresponding letter set forth below.

     Line Item A.         Competitive Credit per Enplaned Passenger. Line Item A will be $2 .00 prior to DBO of
                          the expanded Terminal Building facilities and $1.25 thereafter.

     Line Item 8.         Signatory Enplaned Passengers. Line Item B will be total Signatory Enplaned
                          Passengers for that Fiscal Year.

     Line Item C.         Total Activity-Based Competitive Credit. Line Item C will be Line Item A times Line Item
                          B.

     Line Item D.         Total Tier 1 Airline Share. Line Item D will be the calculated Total Amount for Signatory
                          Activity-Based Tier 1 Competitive Credit.

     Line Item E.         Signatory Air Carrier's Landed Weight Based Competitive Credit. Line Item E will be the
                          percentage share for Landed Weight Based Competitive Credit at twenty five percent
                          (25%).

     Line Item F.         Signatory Air Carrier's Passenger Based Competitive Credit. Line Item F will be the
                          percentage share for Passenger Based Competitive Credit at seventy five percent
                          (75%).


2. Table F-6. The methodology for calculating each Signatory Airline's (including Airline's) share of
   Revenue Sharing is set forth in Table F-6 below.

                                 Table F-6. Signatory Airline Competitive Credit Calculation
                                                                                        Line Item
                                                                                    (See Section 111(1) above for
                                                                                    correspondinQ descriptions)
            Competitive Credit per Enplaned Passenger                                          A
            Signatory Airline Enplaned Passenqers                                              B
            Tier 1 Competitive Credit                                                        C=A*B
            Total Activity-Based Tier 1 Competitive Credit                                    D=C

            Siqnatory Airlines ' Landed Weiqht Based Tier 1 Credit                         E = D * 25%
            Signatory Airlines ' Enplaned Passenger Based Tier 1 Cred it                   F = D * 75%




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3.   Calculation of Tier 2 Competitive Credit. Competitive Credit shall be calculated by City in accordance
     with this Section . Starting at DBO of the expanded Terminal Building facilities the following Line Items
     listed in Table F-7 are included in the calculation of the Tier 2 Competitive Credit. Each Line Item in
     Table F-7 is identified by the corresponding letter set forth below.

          Line_ltem A.        Total Airport Revenues (as defined in Article 1 of this Agreement). less, $25M in the
                              first year after DBO (and then escalated by 2% per year thereafter).

          Line Item B.        Total Debt Service. Line Item B includes total Debt Service, as defined in Article 1 of
                              th is Agreement, excluding any Debt Service funded with PFCs or CFCs.

          Line Item C.        Total Interim Financing . Line Item C includes any interest payments by the Airport
                              for outstanding principal on project costs funded through interim financing .

          Line Item D.        Total Maintenance and Operating Expenses. Line Item D means "Total Maintenance
                              and Operating Expenses" as defined in Article 1 of the Agreement.

          Line Item E.        Total Debt Service Coverage. Line Item E includes Debt Service Coverage
                              calculated using Total Debt Service defined in Line Item B.

          Line Item F.         Total Amortization of Capital Expenditures. Line Item F includes Amortization
                               attributable to the Airport Cost Centers but not including amortization attributable to
                               the Terminal C Fuel Hydrant "Stub Out" Costs as described in Section 5.12 of the
                               Agreement.

          Line Item G.         Tier 1 Competitive Credit. Line Item G includes the Tier 1 Competitive Credit as
                               calculated above in Table F-6 in this Exhibit "F".

          Line Item H.         Total Amount Available for Tier 2 Competitive Cred it. Line Item H includes Line Item
                               A less Line Items B, C, D, E, F, and G.

          Line Item I.         Airport Share Percentage. Line Item I denotes the percentage share for the Airport.

          Line Item J.         Airline Share Percentage. Line Item J denotes the percentage share for the
                               Signatory Air Carriers.

          Line Item K.         Total Tier 2 Airport Share. Line Item K will be the calculated Total Amount for Airport
                               Share at fifty percent (50%).

          Line Item L.         Total Tier 2 Airline Share. Line Item L will be the calculated Total Amount for
                               Signatory Airline Share at fifty percent (50%).

          Line Item M.         Signatory Airlines' Landed Weight Based Competitive Credit. Line Item M will be the
                               percentage share for Landed Weight Based Competitive Credit at twenty five
                               percent (25% ).

          Line Item N.         Signatory Airlines' Passenger Based Competitive Credit. Line Item N will be the
                               percentage share for Passenger Based Competitive Credit at seventy five percent
                               (75%).




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4. Table F-7. The methodology for calculating each Signatory Airline's (including Airline's) share of
   Revenue Sharing is set forth in Table F-7 below.

                                 Table F-7. Signatory Airtine Competitive Credit Calculation
                                                                                          Line Item
                                                                                  (See Section 111(1) above for
                                                                                  corresoondina descriDtions)
            Total Airport Revenues                                                             A
            Total Debt Service                                                                 B
            Total Interim FinancinQ                                                            C
            Total Maintenance and Operating Expenses                                           D
            Total Debt Service CoveraQe                                                        E
            Total Amortization                                                                 F
            Tier 1 Competitive Credit                                                          G

            Total Amount Available for Tier 2 Competitive Credit                     H =A-SUM (B :G)

            Airport Share - Percentage                                                     1-15%
            Airline Share - PercentaQe                                                     J-85%

            Total Tier 2 Airport Share                                                     K= H * I
            Total Tier 2 Airline Share                                                     L=H*J

            SiQnatorv Airlines' Landed WeiQht Based Tier 2 Credit                        M = L * 25%
            Signatory Airlines' Enplaned PassenQer Based Tier 2 Credit                   N = L *75%




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                                                   SECTION V - COST CENTERS

1.   Direct Cost Centers. The Direct Cost Centers are those Cost Centers listed in Table F-8 below.

                                            Table F-8. Direct Cost Centers
                           Cost Center                     Description of Area Included or Functional Activity
        Airfield Area                                 Those portions of the Airport including runways, taxiways,
                                                       taxilanes , and apron areas (other than the Apron Area , other
                                                       leased apron areas , and common use cargo aprons) ,
                                                       navigational aids , hazard designation and warning devices,
                                                       airfield security roads and fencing , blast fencing , lighting ,
                                                       runway protection zones and safety areas for landing , taking
                                                       off, and taxiing of aircraft, avigation easements, land used in
                                                       connection therewith or acquired for such purpose , and
                                                       facilities , the acquisition , construction , or installation cost of
                                                       which is wholly or partially paid by City.
        Apron Area                                     The areas at the Airport dedicated to the parking , servicing ,
                                                       and qround handlinq of aircraft at the Terminal Buildinq.
        Baggage Handling System/ Security Checkpoint The areas and non-TSA equipment at the Airport associated
                                                       with the consolidated baggage handling system (BHS),
                                                       security checkpoint in the Terminal Building , and related
                                                       areas designed to automatica lly transfer checked baggage
                                                       from airline-monitored inputs to a Transportation Security
                                                       Administration (TSA) operated inline checked baggage
                                                       inspection system with sortation capabilities to automatically
                                                       transfer checked baggage inspection system cleared bags to
                                                       designated baggage makeup carousels for pickup by Airline
                                                       and other airline personnel.
        Loading Bridges                                Any passenger loading bridges serving aircraft at the
                                                       Termi nal Buildinq .
        Other Buildings and Areas                      All other facili ties that are not included in the other direct cost
                                                       centers of the Airport, including air cargo buildings , areas
                                                       occupied by the Federal Aviation Administration (FAA), the
                                                       fuel storage facility, areas for the sale and servicing of aircraft,
                                                       and qeneral aviation hanqars, buildinqs, and aprons.
        Parking and Ground Transportation              Areas designated for employee and public automobile
                                                       parking , rental car operations , all Airport access roadways ,
                                                       and the public parking garage and associated access ramps,
                                                       surface lots (hourly, daily, and economy), and other
                                                       automobile parking areas; employee parking lots; and taxicab
                                                       service areas at the Airport.
        Stinson                                        Stinson Municipal Airport and any other aviation facility as
                                                       may be from time to time be owned or operated by City and
                                                       designated by City to be part of the Airport System .
        Terminal Building                              The portion of the Terminal Building and associated curbside
                                                       entrance areas, including, but not li mited to, passenger ticket
                                                       counters , TSA screening areas , baggage claim areas , non-
                                                       rentable space , FIS, Terminal A, Terminal B and Terminal C
                                                       which includes the secure area containing the holdrooms,
                                                       concession areas , and public circulation areas .




Exhibit "F" to Signatory Airline Agreement - SAT

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                                                            ATTACHMENT "F-1"
                                                              TO EXHIBIT "F"

                                                         STATEMENT OF RATES
                                                           FISCAL YEAR 2025
                                               (October 1, 2024 through September 30, 2025)

                                                      SECTION I - FY 2025 SUMMARY of RATES

              1.   Terminal Rental Rate.
                      a. Signatory Airline: $163.98 per square foot.
                      b. Non-signatory Airline: $188.57 per square foot. 1

              2.   Landing Fee Rate.
                      a. Signatory Airline: $3.50 per 1,000 pounds of Landed Weight.
                      b. Non-signatory Airline: $4.03 per 1,000 pounds of Landed Weight.

              3.   Baggage Handling System/ Security Checkpoint Fee:
                      a. Signatory Airline: $0.64 per Enplaned Passenger.
                      b. Non-signatory Airline: $0.74 per Enplaned Passenger

              4.   Loading Bridge Fee :
                      a. $29,962.00 per loading bridge attached to preferentially leased holdroom

              5.   Apron Area Fee:
                       a. $1 ,753.00 per linear foot adjacent to preferentially leased holdroom passenger.

              6.   Per Use Fee - Gate :

                        a.    Signatory Airline: $427 .10 per two (2) hour use, or any portion thereof.
                        b.    Non-Signatory Airline: $491 .17 per two (2) hour use, or any portion thereof.

              7.   Per Use - Fee Ticket Counter:
                       a. Signatory Airline: $30.21 per two (2) hour use, or portion thereof, of ticket counter area.
                       b. Non-Signatory Airline: $34.74 per two (2) hour use, or portion thereof, of ticket counter area.

              8.   Federal Inspection Services (FIS) Facility Fee Rate: $10.50 per international Deplaned Passenger
                   requiring FIS processing.

              9.   Non-Terminal RON Parking Fee: $150.00 for each Overnight use of Remote aircraft parking area .

              10. RON Parking Fee: $150.00 for each Overnight use of aircraft parking at a City Gate.




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           Non-Signatory Airline rates shall apply to Non-Signatory Airline terminal tenants/licensees if terminal rental rates apply to such
         tenants/licensees. Non-Signatory Joint Use charges wi ll include a fifteen percent su rcharge in addition to the rate cha rged to
         Signatory Airl ines.
         Exhibit "F" to Signatory Airline Agreement - SAT

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                                     SECTION II- FY 2025 RATE CALCULATIONS TABLE




Exhibit "F" to Signatory Airline Agreement - SAT

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                                             EXHIBITG
                       TERMINAL DEVELOPMENT PROGRAM
I.       Preamble.

        The Terminal Development Program is comprised of the Capital Improvements identified
in Exhibit G-1.1 and Exhibit G-1.2 . As of the Effective Date, the City anticipates that the total
cost of the Terminal Development Program will be approximately $1,603,000,000 1. However, the
City has committed to the Signatory Airlines that the Net Project Costs (i.e., the amount to be
included in the airline rate base) of the Terminal Development Program will be no more than
$1,267,100,000 (subject to increases by MII approval pursuant to Section 8.1 of the Agreement)
for costs associated with the Capital Improvements identified in Exhibit G-1.1. Capital
Improvements identified in Exhibit G-1.2 will have zero Net Project Costs unless submitted to
the Signatory Airlines for MII approval pursuant to Article 8 of the Agreement. Further, because
of the agreement by the Signatory Airlines to provide extraordinary coverage pursuant to Section
6.3(d) and Section 6.5(c) of the Agreement, the City has also committed to the Signatory Airlines
that the City will only finance up to $1 ,404,000,000 of the total cost of the Terminal Development
Program through GARBs (which includes costs associated with Capital Improvements identified
in either Exhibit G-1.1 or Exhibit G-1.2) . This cap on the City's GARB financing for the Terminal
Development Program may be increased pursuant to Section 8.1 of the Agreement. The City
anticipates that it will finance the remaining portion of the total cost of the Terminal Development
Program through a combination of grants, PFCs, and City or Airport non-airline funds . Consistent
with the foregoing, the City and Airline agree to and incorporate by reference into the Agreement
the provisions of this Exhibit G.

II.      Contents. This Exhibit G consists of the following:

         Exhibit G-1 Description of TDP
         Exhibit G-1.1 TDP Airline Rate Base Elements
         Exhibit G.1-2 TDP Non-Airline Rate Base Elements
         Exhibit G-1.3 Initial Post-DBO Gate Assignments
         Exhibit G-2 TDP Governance and Airline Participation
         Exhibit G-2.1 TDP Governance Committee Charters
         Exhibit G-2.2 TDP Governance Committee Descriptions




1 Per-project contingency estimates are included in the line item estimated costs for the TDP Airline Rate
Base Elements li ted in Exhibit G-1.1 and the TDP on-Airline Rate Base Elements listed in Exhibit G-
1.2. For the sake of clarity, the total estimated cost ofTDP of approximately $1 ,603,000,000 noted here is
exclusive of program-wide contingency amounts for which the City may need to seek additional
authorization from City Council. The City's spending of such additional program-wide contingency
amounts would still be subject to the provisions of this Exhibit G and Article 8 of the Agreement with
respect to the TDP Airline Rate Base Cap and the TDP GA.RB Financing Cap.
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                                            EXHIBIT G-1

                                      DESCRIPTION OF TDP

   I.      Generally.

           A.     By execution of this Agreement, Airline and the other Signatory Airlines have
                  authorized and approved the Terminal Development Program ("TDP"), subject to
                  the terms and conditions herein . The antic ipated elements of the TDP which are so
                  approved by the Signatory Airlines are listed in the attached Exhibit G-1.1 and
                  Exhibit G-1.2 , with estimated costs and descriptions of scope for each element.
                  Initial Gate assignments fo llowing the anticipated construction of new Gates as part
                  of TOP are depicted in Exhibit G-1.3 .

           a.     To the extent there is any conflict between the terms and conditions in this Exhibit
                  G and those of the Agreement, the Agreement shall control.




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                                           EXHIBIT G-1.1

                            TDP AIRLINE RATE BASE ELEMENTS

I.      List of TDP Airline Rate Base Elements.

        A.      The portion of TDP that has been pre-approved by Airline and the Signatory
                Airlines by execution of this Agreement to be included in the TDP Airline Rate
                Base Cap is comprised of the following projects ("TDP Airline Rate Base
                Elements") which, as of the Effective Date, are each projected to have the estimated
                costs and scope shown below.

       TDP Airline Rate Base Element Project Name Estimated Total Project Cost
       New Terminal                                             $1,236,600,000
       Terminal Apron                                           $111,900,000
       Terminal A Reconfiguration                               $6,800,000
       Terminal B Reconfiguration                               $8,300,000
       Central Utility Plant (CUP) Upgrades                     $19,000,000
       Terminal Triturator                                      $3,200,000
       South RON Aircraft Parking                               $29,200,000
       Utility Corridor - Landside/Offsite                      $14,700,000
       Terminal C Fuel Hydrant "Stub Out"                       $20,000,000
       Estimated Total Costs 2                                  $1,449,700,000

        B.      By execution of this Agreement, the Signatory Airlines have authorized the City to
                proceed with the design and construction of each of the TDP Airline Rate Base
                Elements without further MII consideration, subject to the provisions of Article 8,
                Capital Improvements.

        C.      Consistent with the provisions of Article 8, Capital Improvements, the City and the
                Signatory Airlines acknowledge that it is their intent that the TDP Airline Rate
                Base Cap is intended to be a programmatic cap on the total Net Project Costs to be
                included in the airline rate base for the TDP Airline Rate Base Elements, such that
                the City may, without further MII consideration, proceed with a TDP Airline Rate
                Base Element despite a revised estimate for the completion of such TDP Airline
                Rate Base Element, so long as such programmatic cap will not be exceeded by more
                than the five percent (5%). Notwithstanding the foregoing, however, the City agrees
                that the intent of the City and Airline is that the City will not eliminate one of the
                TDP Airline Rate Base Elements from the TDP altogether without following the


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   Pursuant to Section 8.1 of the Agreement, the City agrees that the estimated Net Project Costs of these
li sted TOP Airline Rate Base Elements will not exceed the TOP Airline Rate Base Cap.


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              process for MII review and approval in Section 8.7, "MIi Approval and Deferral
              Process."

       D.     With respect to the above-referenced Terminal C Fuel Hydrant "Stub Out," the
              subject Twenty Million Dollars ($20,000,000) will be included in the Terminal Cost
              Center as an Equipment and Capital Outlay, and amortized over twenty (20) years
              utilizing a three percent (3%) discount rate, pursuant to Section 5.12, "Terminal C
              Fuel Hydrant "Stub Out" Costs," of the Agreement.




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              TDP AIRLI E RATE BASE ELEME T PROJECT DESCRIPTIONS




                      New Terminal
                      The New Terminal project is an approximately 850,000 sf new gateway
                      terminal serving 17 narrowbody gates, 6 of which are international capable
                      swing gates designed to accommodate widebodies in a 2:1 MARS
                      configuration .

                      The building will serve as the central processor for the New Terminal and
                      the existing Terminal B, incorporating landside ticketing, concessions and
                      Security Screening Check Point. The airside concourse includes spacious
                      holdrooms, airline clubs, passenger amenities , and a robust concessions
                      program and a secure connector to Terminal B. A new immigration facility
                      supports international arrivals while a new domestic baggage claim serves
                      all other passengers. The new facil ity will incorporate a distinctive San
                      Antonio sense of place with a focus on sustainability.




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               TDP AIRLI E RATE BASE ELEMENT PROJECT DESCRIPTIONS



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                       Scope




                Terminal Apron
                To support the development of the New Terminal, the Terminal Apron will be
                reconstructed to accommodate the new aircraft parking layout The project
                includes demolition of the existing apron; regrading to meet new drainage
                criteria and NFPA requirements; new underground utilities to service the
                New Terminal; and new paving to align with the final grading requirements of
                the New Terminal.




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              TOP AIRLINE RATE BASE ELEMENT PROJECT DESCRIPTIONS




                   Departures Level                       Arrivals Level
                  i:':J Limits o·rop scope

                       Terminal A Reconfiguration
                      The Terminal A Reoonfiguration project will help relieve curbside congestion
                      and improve passenger processing through closure of the eastern most
                      curbside entrance doors; relocation of the SSCP (7 lanes); check-in counter
                      reconfigu ration/reduction; concession reassignments; and replacement of
                      baggage reclaim devices. Renovation of Terminal A is limited specifically to
                      the areas listed above.




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              TOP AIRLI E RATE BASE ELEME T PROJECT DESCRIPTIO S




                  Departures Level

                  [:J Limits ofTDP scope

                     Terminal B Reconfiguration
                     The Terminal 8 Reconfiguration project is limited to the replacement of the
                     existing Terminal B SSCP with landside and airside concessions space;
                     replacement of baggage recla im devices; and BHS requirements to connect
                     to the New Terminal CBIS.




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           TD P AIRLINE RA TE BASE ELEMENT PROJECT DESCRIPTIONS



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                       Central Utility Plant (CUP) Upgrades
                       The existing CUP requires upgrades and the installation of additional
                       equipment to support the heating and cooling needs of the New Terminal.
                       The upgrades include additional electrical equipment; new chillers and
                       pumps; cooling tower expansion ; and an approximate 1-million-gallon
                       thermal energy storage system (TES).




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           TOP AIRLI E RATE BASE ELEMENT PROJECT DESCRIPTIONS




                  Terminal Triturator
                  The new Trfturator building will accommodate disposal of aircraft lavatory
                  waste for the New Terminal proj ect. This new facility can support two
                  lavatory vehicles simultaneous and includes dual pits and grinders and
                  security and surveillance systems.
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           TOP AIRLINE RATE BASE ELEMENT PROJECT DESCRIPTIONS




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                 ::: :: Landsde Utility Conidor
                                                                    SOUTH MON




                    Landside Utilities
                    The Utility Corridor Relocation Project upgrades the size/capacity and
                    location of existing storm, sanitary, and waler utility infrastructure to
                    accommodate the increased demand of the New Terminal. II leverages the
                    location of the existing utility corridor along the terminal loop road and will
                    replace all existing landside storm, sanitary, and water infrastructure.




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              TOP AIRLI E RATE BASE ELEMENT PROJECT DESCRIPTIO S




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                    RON Parking
                    Construction of the future New Terminal will require existing RON positions on the future
                    New Terminal site to be relocated . The South RON requires up to 6 positions supporting
                    narrowbody traffic, which supplements capacity from the Ground Loading Facility.

                    Relocation of the RON parking positions to the south site will require a mixture of simple
                    re-striping and addition of full depth aircraft rated pavemenl The RON position
                    construction will be phased in tandem with the construction of the Ground Load Facility.




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               TOP AIRLI E RATE BASE ELEME T PROJECT DESCRIPTIO S


          Terminal C Fuel Hydrant "Stub Out"

          The new hydrant system will generally consist of new dual , 12" mains pressurized
          underground fuel transfer lines (with 6" laterals to fuel pits) to supply future fuel to the new
          aircraft gates. The design will incorporate intermediate aboveground isolation valve
          stations (IVS) to provide loop hydrant piping system isolation , redundant fuel supply
          connections and Emergency Fuel Shut Off (EFSO) capabilities. The piping will be provided
          with a new cathodic protection system. Hydrant fueling and high/low point pits will be
          prefabricated fiberglass construction installed within the concrete apron . The 12" fuel
          mains and laterals will be capped and hydrogen filled for future connection to hydrant fuel
          transmission lines from a TBD fuel farm.




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                                           EXHIBIT G-1.2

                         TDP NON-AIRLINE RATE BASE ELEMENTS

        List of TDP Non-Airline Rate Base Elements .

        A.      Consistent with the terms of the Agreement and thi s Exhibit G, the costs of the
                Capital Improvements identifi ed below as TOP on-Airline Rate Base Elements
                are not to be included in the calculation of the TOP Airline Rate Base Cap, and such
                Capital Improvements shall have zero et Project Costs unless the City has
                obtained MII approval pursuant to Section 8.6 or the Capital Improvement meets
                the requirements for an exemption fro m MII review and approval pursuant to
                Section 8.5.

                Notwithstanding the foregoing, the GARB-funded portions of the costs of the
                TDP Non-Airline Rate Base Elements are included in the TOP GARB
                Financing Cap.

    TDP Non-Airline Rate Base Element Project Name Estimated Total Project Cost
     Demo Hgr.4, P.S. & Badge/ID                                  $9,300,000
     Utility Corridor                                             $2,800,000
     P.S. Bldg.- Sandau Renovation                                $5 ,900,000
     Badging Bldg.- Hold Renovation                               $5,900,000
     Lynx Bldg. (Operations)                                      $ 1,200,000
     Airport Access Road                                          $58,300,000
     Permanent Employee Parking                                   $15,200,000
    Terminal Curbs ide Roadway                                    $5 1,700,000
    Central Utility Plant (CUP) Upgrades                          $3 ,600,000
    Estimated Total Costs 3                                       $153,900,000




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 Based upon e timates made in June 2023 . None of these costs wi ll be included in ai rl ine cost centers.
However, as indicated above, costs of the TDP No n-Airline Rate Base Elements are inc luded in the TOP
GARB Financing Cap.


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   Non- TDP Airline Rate Base Element            Project Description
   Project Name
                                              Construction of the future New Terminal necessitates the
                                              relocation o f RO parking and the addition of new Ground
 Demolition of Hangar 4, Public Safety, and
                                              Transportation Center. The existing Hangar 4, existing Publ ic
 Badge ID
                                              Safety Building, and existing Badge ID buildings require
                                              demolition and removal to accommodate RON parking and the new
                                              Ground Transportation Facility with connector to the new Terminal

                                              See description in previous section regarding TDP Rate-base
 Utility Corridor
                                              elements

                                              Construction of the future New Terminal necessitates demolition of
                                              ex isting Public Safety building and relocation of the Public Safety
 Public Safety      Building   -   Sandau
                                              TSA to the existing Sandau Building. Thi requires renovation
 Renovation
                                              existing Sandau Building and improvements to the site and parking
                                              to meet program parking requirements.

                                              Con truction of the future New Term inal necessitates demolition of
                                              existing Badge ID building and relocation of the Badge / ID Office
 Badge ID Building - Holt Renovation
                                              Airport Security to the existing Holt Building. This requires renovat
                                              of existing Holt Building and the addition of new surface parking
                                              adjacent to Holt Building to meet program parking requ irements.

                                              Construction of the future New Terminal requires the relocation
 Operations Building - Lynx Renovation        Airport Ops from the Sandau Building to the Lynx Building. 1
                                              requires renovation of existing Lynx Building to meet progi
                                              req uirements.

                                              Improvements to the Airport Access Roadway are an essenti al
                                              step to improving access to the airport and increasing the
                                              efficiency by altering the inbound/outbound flow of traffic at the
                                              airport. Improvements include reconfiguration of Airport
 Airport Access Roadways
                                              Boulevard, creation of Northern Boulevard Extension, Dee
                                              Howard Way reconfiguration , reconfigure access points into
                                              passenger parking lots, and removing traffic signals and
                                              intersections. Landscap ing will be added cons istent with the new
                                              Terminal's Sense of Place.

                                              Construction of the future New Terminal will require ex1stmg
                                              Employee Parking on the future New Terminal site to be relocated.
                                              The new location for Employee Parking consist of several different
 Permanent Employee Parking                   parking lots and other operations that are combined to create a
                                              single parking product. Existing operations and elements will be
                                              demolished and removed. A singular efficient parking lot wi ll be
                                              constructed at this location.


                                              See description m previous section regard ing TDP Rate Base
 Central Utility Plant Upgrades
                                              Elements.




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                                                              EXHIBIT G-1.3

                              INITIAL POST-DBO GATE ASSIGNMENTS

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Terminal A gate locations are meant to be representative of a 10-gate Southwest operation and are
      subject to further review and placement within Terminal A. Terminal B gate locations are
      meant to be representative of a 5-gate United Airlines operation and 1-gate Spirit operation
      within Terminal B and are subject to further review and placement by City in coordination
                                    with United Airlines and Spirit.



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                                               EXHIBIT G-2

                       TDP GOVERNANCE AND AIRLINE PARTICIPATION

   II.       TDP Governance.

             A.     The City has formed the TDP Governance Committees described in Exhibit G-2.1
                    ("TDP Governance Committee Charters") and Exhibit G-2.2 ("TDP Governance
                    Committee Descriptions") and has formed or intends to form associated TDP
                    Working Groups for purposes of planning, input, oversight and coordination of
                    stakeholder engagement related to the TDP. The TDP Governance Committee
                    Charters and the TDP Governance Committee Descriptions further describe the
                    function, process, and composition of each committee, and are subject to revision
                    and amendment by vote of the applicable committee; provided, however, that the
                    airline representation described in Section III herein may not be altered without
                    written agreement by all Signatory Airlines.

             B.     The City is committed to collaborating with the Signatory Airlines during the
                    design and construction process of the TDP. In addition to the formal committee
                    roles of airline representatives described below, the City anticipates regular
                    engagement with airline representatives, directly and through the Airport-Airline
                    Affairs Committee ("AAA C '), led by the AAAC Chair, throughout the duration of
                    the TDP to coordinate technical details, operating requirements, operational
                    impacts, and other items requiring airline input. Unless authorized in writing by
                    City staff, neither airline staff nor representatives may provide directives or make
                    requests directly to any City contractors or consultants, including but not limited
                    to, the Executive Program Manager ("EPM'') , the Master Architect, and the
                    Construction Manager At Risk ("CMAR"). All such airline requests or directives
                    must be provided to City staff or their designated representative for review and
                    dissemination to the appropriate party.

   III.      Airline Participation in TDP Governance.

             A.     Airline, together with other Signatory Airlines, may select, jointly, by written notice
                    to the City, one airline representative ("Signatory Airline Representative") to
                    participate in each of the following TDP Governance Committees on their behalf:
                    (1) Design Review Committee; (2) Construction Review Committee; and (3)
                    Budget Committee. If the Signatory Airlines have engaged an airline technical
                    representative ("ATR"), the ATR will be the Signatory Airline Representative on
                    such committees. As of the Effective Date, the Signatory Airlines have engaged an
                    ATR and said ATR will be the Signatory Airline Representative.

             B.     The City shall also provide the Signatory Airlines the opportunity to select, jointly
                    or individually, by written notice to the City, a subject matter expert or experts to
                    represent the Signatory Airline(s) on any TDP Working Group (each, a "Signatory
                    Airline Working Group Member"). Such written notice shall specify whether the
                    Signatory Airline Working Group Member will represent an individual Signatory
                    Airline or all Signatory Airlines jointly.




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       C.     By advance written notice to the City, a Signatory Airline may request (through the
              Signatory Airline Representative) that a Signatory Airline Working Group member
              attend a meeting of the Design Review Committee, Construction Review
              Committee, or Budget Committee where the committee is considering a
              recommendation from the applicable TDP Working Group . Such attendance shall
              be at the reasonable discretion of the applicable committee chair, and, if any such
              request is disapproved, such committee chair shall provide the reason(s) for such
              disapproval in writing to the Signatory Airline Representative prior to the start of
              the meeting for which attendance was requested.

       D.     The Signatory Airline Representative shall be a voting member of the Design
              Review Committee, Construction Review Committee, and Budget Committee.

       E.     Any Signatory Airline Working Group Members shall be non-voting members of
              the respective TDP Working Group.

       F.     The Signatory Airlines shall provide the name, phone number, and email address
              of the person and/or firm they have selected to serve as their Signatory Airline
              Representative by written notice to the City from the AAAC Chair on behalf of all
              Signatory Airlines. If, at any time during the Term, the Signatory Airlines no longer
              employ an ATR (or replace the ATR with a different firm) and wish to designate a
              different Signatory Airline Representative, the Signatory Airlines shall provide
              such written notice to the City from the AAAC Chair no later than three (3) business
              days prior to any previously scheduled committee meeting to be attended by such
              new designee. In the event of an unscheduled committee meeting or one that occurs
              with less than three (3) business days ' notice, the Signatory Airlines may designate
              a different person to serve as their Signatory Airline Representative by written
              notice to the City from the AAAC Chair on behalf of all Signatory Airlines up until
              the start time of such committee meeting.

       G.     If either of the Design Review Committee or the Construction Review Committee
              (i) does not reach a decision on a matter that may materially affect Airline's
              operations, and such decision will instead be made by the TDP Senior Leadership
              Committee, or (ii) makes a recommendation on a matter that may materially affect
              Airline's operations to the TOP Senior Leadership Committee to which the
              Signatory Airline Representative voted against at the committee level , Airline
              (through the Signatory Airline Representative) may request that Airline
              representatives be allowed to attend the TDP Senior Leadership Committee where
              such decision will be deliberated. The Signatory Airline Representative shall make
              such request by advance written notice to the City and specify, in such notice, what
              representatives Airline proposes to attend such meeting with the Signatory Airline
              Representative.

       H.     Airline shall comply and shall cause the Signatory Airline Representative and
              Signatory Airline Working Group Members to comply with any confidentiality
              requirements that the City may require of committee or working group participants.




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                          Construction Committee Charter - v2
                            Goals and Purpose                                                                                      High-Level Committee Engagement Process
                            Background/Purpose : The SAT Airport Team has established Governance requirements for the                     Regular                                                                                  Stakeholder
                            Terminal Development Program (TOP). TOP Governance wrll provide for streamlining of                                                    Decision Making                   Escalation
                                                                                                                                          Meetings                                                                                 Management
                            communication as well as making and enforcing decisions on design. budget and schedule.
                  (JJ
                  ~            Role :                                    Respons ibility:
                                                                                                                               !                            : t-.--R~,~ -;~-~;;;~~----:          Escalate lo ICP
                                                                                                                                                                                                                            '                             :
                  ~          The role of the Construction                  Support CM Team In evaluation of critical
                                                                                                                               ~                             !     information provided      '   (process issues)             Ensure appropnate
                                                                                                                                   Biweekly Meetings lo      :     by WGs                        Escalate to SLC              coordination bolwoon
                                                                           construction activities wrth regard to safety,
                  r-'        Commillee is to provide a forum to
                                                                           schedule, budget, permitting, and conformance
                                                                                                                                   discuss , coordmate align !     Mdavke dwec,Gs, ons and       issues unresotved by         CM Firm(s) and Cnbcal
                  ~          discuss, coordinate and advise on                                                                     and manage issues         !     8   150     5                 comm11tee                    SAAS stakeholders

                  <          TOP construction activities.                  with design and quality standards.                                                , ,   Engage dec1s1on                                            regarding conslrucllon


                  =
                  u         Goa ts:
                                   Mitigate / minimize negative
                                                                           Advise on management of construction activities
                                                                           on general public and Airport operations.
                                                                           Set and track KPls/KF ls leading Indicators, such
                                                                           as· safety, schedule of spend, % budget spent,
                                                                                                                                                             l;    authority as needed
                                                                                                                               L ______ _________________ : t _________________________ :
                                                                                                                                                                                                                            ; aclw1t1es
                                                                                                                                                                                                                            '-------   ----------------·
                                                                                                                                                                                                                                                          .




           -
                  ~                impacts from construction for


                                                                                                                               0
                                                                           response time to contractor, payments (create a
                  ~                public and Airport operations           dashboard)                                                                                                   Key Protocols
                                   Keep project on track towa rd
                  r-'                                                      Track schedule and budget against targets

           N
             I
                  ....
                  r-'              overall target budget
                                   Minimalize schedule impac1s and
                                                                           Support seamless coordination between TOP,
                                                                           AS EIP, and CI P Cons1ruction activities and be
                                                                                                                                         Conduct of Meetings & Information
                                                                                                                                         Management
                                                                                                                                                                                                 Escalation & Decision -Making
                                                                                                                                                                                                 11 is the 1nten1 rhat a matonty of decisions will be resotved by
           c.,    ~                dela ys                                 aware of potential delivery method implications.                                                                      the Consll1.lclion Comm illee or sent back 10 the Working


           ....
           r-'    ~       Construction Committee: High Level Roles & Responsibilities at a Glance
                                                                                                                                            Biweekly Meetings Urgent meetrngs as
                                                                                                                                                                                                 Groups.·

                  0                                                                                                                         necessary                                              Decisions which cannot be reached by the Construction
           ....
           ~
                  u         Committee Members            Lead     Dec ision Authority   Participant                                         Agenda and presentation materials                      Comrmllee as a whole will be escalated lo Cornm1tlee
                                                                                                                                                                                                   Decision Authonly for vote

           ~~
                                                                                                                                            provided 3 days in advance of meetings (24
                  ~                                                                                                                         hours in advance of unplanned urgent
                  u      PM /CM                             X             X                                                                 meetings)                                               Escalate process lssuos and roadblocks lo ICP (Chief

                  z      Construction PM                                                    X
                                                                                                                                            Produce minutes and distribute copies of
                                                                                                                                                                                                    lntograbon Offrcer).

                  <      CMAR / builder (s)                                                 X                                               meeting proceedings for review by voting                Decisions which cannot be reached by committee


                  ~
                         SAAS Finance                                                       X                                               members within 48 hours of meeting's                    decismn aulhonly w,1 1be escala ted to SLC.
                         SAASORAT                                                           X                                               conduct
                                                                                                                                                                                                    Decisions that algnific.anlly affect alr11nes or passengers ,
                  ~      SAAS OPS                                                           X
                                                                                                                                                                                                    bu t don't have airline support, can be brought lo lhe SLC
                  ;;,    SAAS Sa fely                                                       X                                                                                                       with written notice, where the ATR can present
                  0      TOP Development                                  X                 X                                                                                                       1ls position
                  c.,    COSA City Attorney Office                                          X
                                                                                                                                                                                                 •0etail&d dec,son tme wil be developed as the commtltee gels




                                                                                                                               e
                                                                                                                                                                                                 unde,way and a.sue.1 &urface.
                         SAAS Faclllties                                                    X
                  p,,.
                         SAAS IT                                                            X
                  ~                                                                                                                                                                    Working Groups
                  r-'    ATR                                              X
                                                                                                                                         .----------,
...,,,..                 EPM                                              X                                                                Soloty                       CIP / ASEIP                Security                        Group Name
f")                      SAAS Communications                                                X                                              Advice on Public and         Coordination
                                                                                                                                                                                                   Main ObjecUve                   Main Objective
a                                                                                                                                          Worker Safety                Main Object,ve
f")                      DRAT                                                               X                                                                                                      Leader                          Leader
                                                                                                                                           Leader                       Leader
\C)                      PMCM- Meeting
                                                                                             X

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  ~
                         Management


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        Design _Committee _Charter - _v2 _________ ___________________ _
                                                                                                               High -Level Committee Engagement Process
         Background : The SAT Airport Team has established Governance requirements for the Terminal
         Development Program (TOP). TOP Governance will provide for streamlining of communication as                   Regular                                                                                   Stakeholder
                                                                                                                                                    Decision Making                   Escalation
         well as making and enforcing decisions on design, budget and schedule .                                       Meetings                                                                                  Management
                                                                                                                    ----------- -- --------- : • Review and assess : ;
         Charter: The Design Review Committee has oversight for the Design Team and provides                   .---
                                                                                                                 '                          '                                                             :- -- -------- --- ---- -- - - - -:
         direction for the Terminal Development Program to achieve the vision , identity, budget, schedule,     ''                          '' : informalion       : : Escalate to ICP                    : Ensure appropriate              :
                                                                                                                , Biweekly meetings to !
                                                                                                               ! discuss, coordinate, I Make decisions and , Escalate SLC
         and operational requirements established by the City of San Antonio and the San Antonio Airport                                         provided by WGs   ~I  (process issues)                     coordlnallon between
         System Leadership. Input from stakeholders, the community, and the traveling public will be                                                                                       10               Design leam(s) and
                                                                                                                l align and manage
         evaluated to inform decisions and recommendations to the Senior Leadership Committee for major
         decisions.
                                                                                                                '.                          ! , ;:~~~/:~•ion , ! issues
                                                                                                                                                 advise WGs          I        unresolved
                                                                                                                                                                       by committee
                                                                                                                                                                                                            Critical SAAS
                                                                                                                                                                                                          , , ~~~:~o~:~~~u~•sgard,ng ,
                                                                                                               L::~~-- -- - --- -- _______   i   t____l'l~~~!L __ ______ ___ J L _______________________ ; L _______________________ :
               Keep project on track toward overall target budget
               Minimalize schedule impacts and delays                                                                                                                Key Protocols
         Responsibility:
          Identify key issues that need executive decision                                                         Conduct of Meetings & Information                             Escalation & Decision-Making
          Support Design Team(s) with timely decision making                                                       Management
          Support Design Team(s) in evaluation of critical design management activities.                                                                                         It is the intent that a majority of decisions will be
          Advise / ensure design coordination with critical Aviation and community stakeholders .                                                                                resolved by lhe Design Committee or sent back to the
                                                                                                                      Biweekly Meetings. Urgent meetings as                                                                                       0
          Advise I ensure design aligns with and enhances aviation department performance criteria for                                                                           Working Groups."
                                                                                                                      necessary                                                                                                                   N
          accessibility, sustainability, and design standards
          Track design schedule and budget against targets                                                            Agenda and presentation materials                             Decisions which cannot be reached by Design
          Design to budget, bring items to Budget Committee, as needed                                                provided 3 days in advance of meetings (24                    Committee as a whole will be escalated lo
          Ensure that facility works for us (sense of place , passenger flow, operational)                            hours in advance of unplanned urgent                          Committee De cision Authority for Vote.
                                                                                                                      meetings)
         Desi n Committee : High Level Roles & Responsibilities at a Glance
                                                                                                                      Produce minutes and distribute copies of                      Escalate process Issues and roadblocks lo ICP
          Committee Members             Decision                                                                                                                                    (Chief Integration Officer).
                               Lead                Participant                                                        meeting proceedings for review by voting
                                        Authority
                                                                                                                      members within 48 hours of meeting's
                                                                                                                      conduct                                                       Decisions which cannot be reached by committee
        EPM                              X             X                                                                                                                            decision authority will be escalated to SLC .
        Deputy Director TOP                            X
        SAAS IT                                                                                                                                                                     Decisions that significantly affect airlines or
                                                                      X
                                                                                                                                                                                    passengers , but don't have airline support, can be
        EPM                                                           X                                                                                                             brought to the SLC with written notice, where the
        SAAS Architect                                 X                                                                                                                            ATR can present its position




                                                                                                              eI~:;
        SAAS Customer Experience                                      X
        Master Architect                                              X
                                                                                                                                                                       Working Groups
        ?DP Development                                               X
        SAAS Facilities                                               X                                                                              r-------
                                                                                                                  r-----------------7                    lnctusiva Design
                                                                                                                                                                                  r-Design Options                   1 1-rilil-;ated Special

                                                                                                                                                                                  l
        SAAS Safely                                                   X
":I-                                                                                                                                                                                                                     Systems
f'-.1
c:,
        SAAS OPS                                                      X                                                    ORAT      __ _J                        rector TOP        SAAS Architect
                                                                                                                                                                                                                     l...SA8S,!L _ _ __
                                                                                                                  I
                                                                                                                                                     1
f'-.1   DRAT                                                          X
                                                                                                                    Faclllty Maintenance              j G;;;-up Name
\C)     SAAS DRAT                                                     X
o;      ATR                                            X
                                                                                                                    SAAS Maintenance                 I Group Lead
't-,    EPM- Meeting Management
         \IJ __ m,Tlilf - >,T r     p,.ms Gl.3nce ·•
                                                                      X
                                                                                                                                                                                                                               Rev. 2024 .03.07
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Budget Committee Charter - v2

!Goals and Purpose
jBackground/Purpose : The SAT Airport Team has established Governance
:requirements for the Terminal Development Program (TOP). TO P Governance will provide
l1or streamlining of communication as well as making and enforcing decisions on design ,
                                                                                                                                                Process

                                                                                                                                                           Regular
                                                                                                                                                           Meetings
                                                                                                                                                                                        Decision Making &
                                                                                                                                                                                         Problem Solving

                                                                                                                                                                               : i-- --~~~~:~~~-~:~~;~ ----:          !
                                                                                                                                                                                                                                   Escalation

                                                                                                                                                                                                                               Escalate lo /CP            :
                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                  Stakeholder
                                                                                                                                                                                                                                                                  Management
                                                                                                                                                                                                                                                                                          •:
                                                                                                                                                                                                                                                                                           '
ibudget and schedule.                                                                                                                                                          j        information provided    i              (process issues)
                                                                                                                                                    Regular Meetings lo        j,       byWGs                   J
                                                                                                                                                                                                                                                              Manage Communicalion
                                                                                                                                                                               I        Make decisions and      ,     i:,      Escalate to SLC
j Role: The role of the Budget Committee is to provide a forum to discuss, coordina te and
j::,   align program scope, schedule , and budget with program funding and financing plans                                                      !
                                                                                                                                                discuss, coordinate, align
                                                                                                                                                and manage issues              !
                                                                                                                                                                               :, j:,
                                                                                                                                                                                        advise WG s
                                                                                                                                                                                        Engage decision
                                                                                                                                                                                                                f
                                                                                                                                                                                                                i:,
                                                                                                                                                                                                                                                              with City Finance and
                                                                                                                                                                                                                                                              Budget Offices
                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                        authority, as needed
  Responsibility :                                                                                                                                                                                                                                        't ___ _______ __ _____________ :''
                                                                                                                                                                                                                      I __ -~ ~ ~ : : :.~ --
   Advise TOP team and TOP committees on Aviation & CoSA fiscal protocols. Ensure                                                           0                                  : :                              '
    understanding and accountability.                                                                                                                                                                       Protocols & Tools
'' Align the program & individual project scope(s) with funding. Allocate funding sources
    and add ress: fund ing overages and shortfalls                                                                                                     Conduct of Meetings & Information                                    Escalation & Decision -Making
 ' Track program / project budgets against fiscal targets.
                                                                                                                                                       Management                                                           It is the intent that a majority of decisions will be resolved by
   Align program/ project costs eligibility with funding sources and use plans                                                                                                                                              the Budget Committee or sent back to the Working Groups
    Tight coordination with / mutual accountability with Design and Construction Committee                                                               Recurring basis (Monthly or Biweekly) Urgent
                                                                                                                                                                                                                            (including cross-cutting committee working groups).·
    relative to managing scope and budget.                                                                                                               meetings as necessary
 '                                                                                                                                                                                                                                                                                                ..--<

 ',_ ---- - --- -- -- --- - - ----- -- --- -- -- -- -- - -- -- ---- -- -- -- --- - --- --- -- -- -- -- ---- -- ----- -- - ------- --- - -                Agenda provided one week In advance of                                Decisions which cannot be reached by Budget Committee will         N
                                                                                                                                                         meetings (48 hours in advance of unplanned                            be escalated to Commillee Decision Authonty for Vote.
        Budget Committee: High Level Roles & Responsib ilities at a Glance                                                                               urgent meetings)
                                                                                                                                                                                                                               Escalate process issues end roadblocks to ICP (C hief
                                                                                                                                                         Distribute meeting presentation materials at                          Integration Officer).
                                                             Decision                                                                                    least 72 hours in advance of recu rring
          Committee Members                    Lead                             Participant                                                              meetings (24 hours In advance of urgent
                                                             Authority                                                                                                                                                         Decisions which cannot be reached by committee decision
                                                                                                                                                         meetings)                                                             authori ty will be escalated lo SLC.
                                                                                                                                                         Produce minutes and distribute copies of
       SAAS Finance                               X                 X
                                                                                                                                                         meeting proceedings for review by voting
                                                                                                                                                                                                                               All decisions requiring Council vote wiH be managed by SAAS
                                                                                                                                                                                                                               Director and Deputy Director.
       SAAS Deputy Director - TOP                                   X                                                                                    members within 48 hours of meeting's
                                                                                                                                                         conduct                                                               Decisions tha t significantly affect airlines or passengers, but
       C?SA_Finance/Bu~g~t                                          X                                                                                                                                                          don't have airline support, can be brought lo the SLC wi th
                                                                                                                                                                                                                               written notice, where the ATR can present its position
       COSAOMB                                                                         X
                                                                                                                                                                                                                            "Detailed decision tree will be developed as the committee gets
       COSA Finance                                                                     X
                                                                                                                                                                                                                            underway . Cross cutting working groups with Design and Budget
       SAAS Properties                                                                  X                                                                                                                                   are likely.

       SAAS Budget                                                                     X
       EPM Finance Lead                                                                X                                                                                                                       Working Groups
  ATR                                                               X
                                                                                                                                                              Grants                              TSO                                       TBO
       SAAS TOP Development                                                             X
                                                                                                                                                              Main Objective                      Main Objective                            Main Objective
       EPM- Meeting Management                                                         X                                                                      Leader                               Leader                                   Leader
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     Senior Leadership Committee Charter
l Goals and Purpose                                                                                                 High-Level Committee Engagement Process

     Background : The SAT Airport Team has established Governance requirements for the                                     Regular                          Decision Making &                                                       Stakeholder
     Terminal Development Program (TOP). TOP Governance will provide for streamlining of                                  Meetings                           Problem Solving                 Escalatlon
                                                                                                                                                                                                                                   Communication
     communication as well as making and enforcing decisions on design, budget and schedule.
                                                                                                                       Bi-Monthly                  l    •   Removing             l ! • Collaborate with City     Manage Communication
                                                                                                                                                                                                                 l      l    •




      Ro le : The role of the Senior Leadership          Responsibility:                                               Meetings (Initially).       :        roadblocks.          l ! Departments to tackle ! ! with Executive Steering
      Committee is to provide consistent                   Set and support TOP culture throughout the                  SLC meetings            j   l    •   Ensuring awareness   ! ' challenges.             }-i Committee.
      strategic leadership to the Terminal                departments, city and community (Elevate)                    week following          l   !        and consistency      l Escalate/Engage SAAS : I • Manage Communlcallon
                                                                                                                                                                                  I •
      Development (TOP) tea m, ensuring                   Manage expectations with clear protocols and                                             !        across comm ittees. ! '    Oireclor as needed .  J ! with Airllnes, Partners .
      alignment throughout the SAT team
      including city staff, shared services staff,
      and Integrated consultant team members
                                                          leverage ICP
                                                          Set expectations with each Governance Committee
                                                          and provide support across committees
                                                          Communicate and coordinate program status and
                                                                                                                   . g::~E" i                      l:       ~;;;:,7.~~klng as    ,i:    ~=~~:~l;~~;~:e
                                                                                                                                                                                        Committee 85
                                                                                                                                                                                                                 :::!   !:       ;7:k~::e~=~via
                                                                                                                                                                                                                                 dedicated comms staff)

                                                          challenges with the Aviation Director.                   ,___ ___________________ , :-------·-----·------·--·; ~- .. ~~~~~-~~~~·............. : : _________________________ __
, Goa ls :
                                                          Ensure timely and efficient resolution of issues in
          Works towards mutual support of                 order to maintain the forward progress of the TDP.
                                                                                                                                                                                Key Protocols
          Airlines, City Management, and                  Condu~ to the Executive Steering Committee (ESC)
          Community of San Antonio as the                 to communicate vital information, program status,
          TDP progresses.                                 and challenges wh ich may require advising and                    Meeting Preparedness                                        Voting & Decision -Making Authority
'                                                         input from ESC .                                                                                                                                                                                N
          Facilitate decision making and                                                                                                                                                It Is the intent that this committee advises and few              N
          leadership to support delivery on               Decision making body for issues which require                        Biweekly Meetings. Urgent meetings
                                                          escalation beyond other oommittees and working                       as necessary                                             decisions will need to be made by the SLC. Process
          schedule and aligned with fiscal                                                                                                                                              Issues which get escalated to SLC should be handled
          plan.                                           groups.                                                              Agenda and presentation materials                        by ICPTeam.
                                                                                                                               provided 3 days in advance of
                                                                                                                               meetings (24 hours in advance of                           The few decisions which cannot be reached by
l--•••••-•••••••••••••••-•••••••••      •••••••••••••••••••••-••••••••••••••••••••••••••••••••••••••••••••••••••
                                                                                                                               unplanned urgent meetings)                                 Budget, Design, and Construction Committees will
    Committee Members and High-Level Roles at a Glance                                                                         Review, prepare, and engage in level                       be escalated to SLC.
                                                                                                                               of effort needed to be informed prior to
      Committee Members                         Decision                                                                       meetings and productive in meetings.                       If the SLC cannot come to an agreed upon
                                 Lead                                 Participant
                                                Authority                                                                                                                                 decision, the SAAS Airport Director will have final
                                                                                                                               Produce minutes and distribute copies
                                                                                                                                                                                          decision-making authority so long as there is no
    Deputy Director TOP            X                 X                     X
                                                                                                                               of meeting proceedings
                                                                                                                                                                                          increase in the approved budget.
    SAAS Properties                                  X                    X
                                                                                                                                                                                          Ali decisions requiring Council vote will be managed
    SAAS TOP Development                             X                     X
                                                                                                                                                                                          by SAAS Director and Deputy Director.
    SAAS Development                                                      X
                                                                                                                                                                                        'Detailed decision tree will be developed as the
    SAAS Finance                                     X                    X                                                                                                             committee gets underway and issues surface.
    SAAS OPS                                         X                    X
    SAAS Airlines                                                         X
    SAAS ICP                                                              X                                                                                                     Working Groups
    SAAS ORAT                                                             X
    SAAS Communications                                                                                                        Committee Name                        Committee Name                 Committee Name
                                                                          X
                                                                                                                               Main Objective                        Main ObjecUve                  Main Objective
    SAAS IT                                                               X
                                                                                                                               Leader                                Leader                         Leader
    EPM                                                                   X
    EPM- Meeting Mgmt                                                      X
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                                                                                                                                                                San Antonio
                                                                                                                                                                AIRPORT SYSTEM

                                                                                TDP Governance Committees
                     Senior Leadership Committee                    Design Review Committee                           Construction Review               Budget Review Committee
              (/)                                                                                                         Committee
              z
              -
              0
              E--
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                    SAAS -Deputy Director -TDP
                    SAAS -Deputy Director - Properties
                    SAAS -Fina nee
                    SAAS -OPS
                    SAAS -Properties
                                                              EPM - Design Manager
                                                              SAAS -Deputy Director -TOP
                                                              SAAS -IT
                                                              SAAS -Architect
                                                              Master Architect
                                                                                                             PM/ CM
                                                                                                             Construction PM
                                                                                                             Debbie Drew (SAAS- ICP)
                                                                                                             SAAS -Budget
                                                                                                             SAAS -ORAT
                                                                                                                                                     SAAS - FINANC E
                                                                                                                                                     SAAS -Deputy Director -TOP
                                                                                                                                                     SAAS -Prope rti es
                                                                                                                                                     SAAS -TOP-Development
                                                                                                                                                     COSA Finance/Budget
              u
              (/)
                    SAAS -ICP                                 SAAS -TOP-Development                          SAAS -OPS                               COSA Finance
                    SAAS -ORAT                                SAAS- Customer Experience                      SAAS -Safety                            EPM Finance Lead
              ~
              Q     SAAS -Communications                      SAAS -OPS                                      SAAS -TOP-Development                   SAAS -Budget
                    SAAS -Development                         SAAS -Safety                                   SAAS -Faci lities                       COSAOBM
              ~
                    SAAS -TOP-Development                     SAAS -ORAT                                     COSA City Attorney Office               ATR
        ~     ~



          -
        N     f-;   SAAS -IT                                  SAAS -Facilities                               SAAS -IT                                EPM
         I    f-;                                             ATR
        c.,         EPM                                                                                      EPM



        -
                                                              EPM                                            ATR
        E--   ~

        -
                                                              ORAT                                           ORAT
        ~     ~                                                                                              CMAR
              0     EPM - M eedng Management                  EPM -Meeting Management                        PM / CM- Meeting Management             EPM -M ee ting Management

        ~~    u
              ~
                    Role:
                    Provide day-to-day strategic
                                                              Role:
                                                              Provide a forum where the design team and
                                                                                                             Role :
                                                                                                             Provide a forum for d iscussion,
                                                                                                                                                     Role :
                                                                                                                                                     Provide a forum to discuss, coordinate,
              u     leadership to the TOP team, ensuring      key stakeholders can meet, discuss, deba te,   review, input, and concurrence of all   and align program scope, schedule, and

              ~     alignment throughout the SAT team
                    including City staff, shared services
                                                              and make appropriate recommendations
                                                              on the details of the designs within the TOP
                                                                                                             construction aspects of the TOP
                                                                                                             including contracts, scope changes,
                                                                                                                                                     budget with program funding and
                                                                                                                                                     financing plans.

              ~     staff, and integrated consu lta nt team
                    members.
                                                              project elements .                             change orders, and airport operations
                                                                                                             impacts.                                e.g., Project Boost
              ~
              >
              0
                    Responsibility :
                    Communicate and coordinate
                                                              Responsibility:
                                                              Make recommendations in alignment with
                                                                                                             Responsi bilit y:
                                                                                                             Ensure decisions are made in
                                                                                                                                                     Responsi bility :
                                                                                                                                                     -Align the program scope with program
              c.,   program status and challenges w ith       the scope, schedule, and budget of the         alignment w ith TOP scope, schedule     funding
              ~     the Aviation Director and the ESC to      program, and identify areas that               and budget parameters, funding          -Review program budgets and costs
              Q     ensure timely and efficient resolution    Management should consider for potential       plans, and procurement                  -Allocate fund ing sources and address
~
C"'-1         E--   of issues in order to maintain the        value-added changes.                           rules/regulations.                      funding overages and shortfalls
~                   forward progress of the TOP.                                                                                                     -Ensure program cost eligibil ity with
C"'-1
                                                                                                                                                     funding sources and use plans
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Q                                                                                                                                                                      Revised 07.1 7.2024
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                                                            EXHIBIT H

                                         FUTURE PREMISES COMMITMENT 1

          Pursuant to and subject to Section 3.14 of the Agreement, Airline 's Future Premises Commitment
          is as fo llows :

                              Type of space                          Number (for gates) or
                                                                     minimum square footage
                                                                     committed to by Airline
                                                                     (other types of space)
                              Gates (preferential use) 2
                              Ticket counters (preferential
                              use)
                              Passenger lounge/club
                              (exclusive use) 3
                              Airline ticket office (ATO)
                              space (exclusive use)
                              Airline operational space
                              (exclusive use)
                              Airline baggage services
                              office (BSO) space (exclusive
                              use)




          1
           Individual airline exhibits will be included in each Signatory Airline's Agreement.
         2
           To be located in Terminal LJ as shown on Exhibit G-1.3 .
         3
           To be located in Terminal LJ.


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                                              EXHIBIT I

                                  AFFILIATE DESIGNATIO         FORM




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                           SAN ANTONIO INTERNATIONAL AIRPORT

                                 AFFILIATE DESIGNATION FORM 1

                             ("Airline"), a Signatory Airline operating at the San Antonio
International Airport (the "Airport") under the San Antonio Airport Airline Operating Agreement
and Terminal Building Lease with the City of San Antonio (the "City") effective October 1, 2024
(the "Signatory Airline Agreement"), hereby designates the following Air Carrier(s) as its
Affiliate(s) at the Airport in accordance with and subject to Section 4.5, "Designation and Use of
Affiliates," of the Signatory Airline Agreement:

    1.
    2.
    3.
    4.
    5.

With respect to the above Affiliate(s), Airline agrees as follows :

    1. All capitalized terms not otherwise defined herein shall have the meanings specified in the
       Signatory Airline Agreement.

    2. This designation is effective as of _ _ _ _ _ _ _ _, 20_

    3. Airline hereby represents to the City that each Affiliate listed above meets the definition of
       Affiliate in Article 1, "Definitions," of the Signatory Airline Agreement.

    4. Does any Affiliate sell tickets to passengers under its own trade name and flight number at
       the Airport? [Circle one] Yes I o

                   If yes, state which Affiliate(s):

    5. Each Affiliate has complied with the requirements of Section 4.5 , "Designation and Use of
       Affiliates," of the Signatory Airline Agreement, including securing the required insurance
       and providing evidence of same to the City and executing an Affiliate Operating
       Agreement.

    6. Airline hereby confirms and agrees that [check one]:

           □       Airline
           ....J   Affiliate




1
 Thi s "Affiliate Designation Form" form will be attached as Attachment 1 to the Affiliate
Operating Agreement for each of Airline ' s designated Affiliates.
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       will pay to the City the Airline rentals, fees , and charges incurred by such Affiliate at the
       Airport while operating as Airline's des ignated Affiliate under the Signatory Airline
       Agreement, and will submit to the City the activity reports required by Article 7, "Airline
       Activity Reports," of the Signatory Airline Agreement.

               If different for any Affiliate(s), please specify: _ _ _ _ _ _ _ _ _ _ _ __

   7. Airline hereby confirms and agrees that [check one] :

           □   Airline
           □   Affiliate

       will pay to the City all PFCs collected for such Affiliate's enplaning passengers at the
       Airport.

               If different for any Affiliate(s), please specify:

   8. Airline hereby confirms and agrees that [check one]:

           □   Airline
           □   Affiliate

       will provide a Performance Guarantee in an amount based on Affiliate 's activity pursuant
       to the same calculations for Affiliate as provided for and pursuant to the provisions of
       Section 5 .16, "Performance Guarantee," of the Signatory Airline Agreement.

               If different for any Affiliate(s), please specify:
                                                                    -------------
   9. Airline confirms and agrees that it shall remain, with each such Affiliate, jointly and
      severally liable to the City for the payment of Airline rentals, fees , and charges, incurred
      by such Affiliate at the Airport while operating as Airline's designated Affiliate under the
      Signatory Airline Agreement (including PFCs), and the submission of all activity reports
      due to the City for such Affiliate's use of any Airport facilities or Airport services as an
      Affiliate of Airline.

                                     [Signature Page to Follow]




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                                   AIRLINE: - - - - - - - - - - -




                                   By: - - - - - - - - - - - - -
                                             Signature

                                   Printed Name: - - - - - - - - - -

                                   Title:




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                                              EXHIBIT J

                                  AFFILIATE OPERA TING AGREEMENT




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                                      SAN ANTONIO INTERNATIONAL AIRPORT

                                         AFFILIATE OPERA TING AGREEMENT

                                                          PREAMBLE

            This AFFILIATE OPERATING AGREEMENT ("Agreement") between the City of San Antonio
            (the "City") and _ _ _ _ _ _ _ _ _ ("Affiliate") grants to Affiliate certain rights to use
            facilities to conduct its Air Transportation Business at the San Antonio International Airport (the
            "Airport") as an Affiliate of _ _ _ _ _ _ _ _ _ ("Airline") , a Signatory Airline operating
            under the San Antonio Airport Airline Operating Agreement and Terminal Building Lease with
            the City effective October 1, 2024 (the "Signatory Airline Agreement").

            The Signatory Airline Agreement gives such Signatory Airline the opportunity to designate one or
            more Affiliates if certain conditions are met. The intent of this Agreement is to adopt by reference
            various specified provisions of the Signatory Airline Agreement, and make them applicable to
            Affiliate. If a provision of the Signatory Airline Agreement is not specified below, it shall not
            apply to Affiliate. In consideration of these benefits, Affiliate agrees to abide by all of the terms
            and conditions of this Agreement.

                                                     ARTICLE 1
                                            DEFINITIONS; INTERPRETATION

                        Section 1.1   Definitions.

                   All capitalized terms used in this Agreement, if not defined within this Agreement, shall
            have the meanings specified in Article 1, "Definitions; Interpretation," of the Signatory Airline
            Agreement or where the context clearly indicates otherwise.

                        Section 1.2   Cross-References.

                   All references to articles, sections, and exhibits in this Agreement pertain to material in
            this Agreement, unless specifical Ly noted otherwise.

                        Section 1.3   Interpretation.

                    Words used in this Agreement in the present tense include the future as well as the present.
            Words used in the masculine gender include the feminine and neuter. The singular number includes
            the plural and the plural includes the singular. The word "person" means a business or corporation
            as well as a natural person. All references in the text of this Agreement to articles, sections, and
            exhibits pertain to articles, sections, and exhibits of this Agreement, unless otherwise specified.




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                                                             ARTICLE 2
                                                               TERM

                           Section 2.1   Effective Date.

                    This Agreement shall take effect as of the date specified in the "Affiliate Designation
              Form" attached as Attachment 1 1 and made a part hereof ("Effective Date").

                           Section 2.2   Termination Date.

                      This Agreement shall terminate as of the earliest of: (i) the expiration or earlier termination
              of the Signatory Airline Agreement; (ii) the termination date of this Agreement due to default as
              provided in ARTICLE 16 herein; (iii) the effective date of Airline ' s termination of Affiliate ' s
              status as an Affiliate of Airline, provided that Airline has provided at least thirty (30) days' prior
              written notice to the City of such termination; or (iv) the date upon which Affiliate itself becomes
              a Signatory Airline by meeting the requirements of and executing the Signatory Airline Use and
              Lease Agreement.

                           Section 2.3   Prior Agreement.

                      On the Effective Date, any Prior Use and Lease Agreement between the City and Airline
              shall terminate without further action required by either the City or Affiliate, provided that the
              termination of such prior agreement shall not be construed as a waiver, relinquishment, or release
              of any claims, damages, liability, rights of action, or causes of action that either of the parties
              hereto may have against the other under such prior agreement and that have accrued before the
              Effective Date of this Agreement. Affiliate's liability that survives the termination of the prior
              agreement shall not be terminated by the execution of this Agreement.

                                                         ARTICLE 3
                                                  USE OF AIRLINE PREMISES

                      Affiliate shall have the same rights to use Airline' s Airline Premises, as designated and
              described in Article 3, "Airline Premises," of the Signatory Airline Agreement, subject to the
              requirements for Affiliates in Section 4.5, "Designation and Use of Affiliates," of the Signatory
              Airline Agreement, at times and locations within the Airline Premises specified by Airline, and
              shall be bound by and subject to the same accommodation, reassignment, and other provisions in
              Article 3, "Airline Premises," of the Signatory Airline Agreement that may affect Airline ' s rights
              to and use of the Airline Premises.

                                                           ARTICLE 4
                                                      USE OF THE AIRPORT

                      For the operation of Affiliate' s Air Transportation Business as an Affiliate of Airline,
              Affiliate shall have the same rights of use as Airline under Article 4, " Use of the Airport," of the


              1
               Attachment 1 shall be a copy of the "Affiliate Designation Form" provided to the City by Airline
              pursuant to Section 4.5, "Designation and Use of Affiliates," in the Signatory Airline Agreement.

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            Signatory Airline Agreement and shall be subject to the same exclusions and conditions applicable
            to Airline under such Article of the Signatory Airline Agreement.

                                                  ARTICLE 5
                                      AIRLINE RENTALS, FEES, AND CHARGES

                     Rentals, fees, and charges due to the City for Affiliate' s use of the Airline Premises,
            facilities , rights, and privileges granted hereunder as an Affiliate of Airline shall be calculated in
            accordance with Article 5, "Airline Rentals, Fees, and Charges," of the Signatory Airline
            Agreement and Article 6, "Calculation of Airline Rentals, Fees, and Charges," in the Signatory
            Airline Agreement; provided, however, that Affiliate' s activity as an Affiliate of Airline shall be
            treated as activity of Airline. Affiliate shall be subject to and bound by the PFC requirements in
            Section 5.17, "Passenger Facility Charges," of the Signatory Airline Agreement. Payment of such
            rentals, fees , and charges and collection and payment of PFCs to the City shall be submitted to the
            City by Affiliate or Airline, whichever is designated as responsible for such submission in
            Attachment 1 herein. Affiliate or Airline, whichever is designated accordingly in Attachment 1
            herein, shall be responsible for compliance with the provisions of Section 5.16, "Performance
            Guarantee," of the Signatory Airline Agreement.

                                                        ARTICLE 6
                                                       [RESERVED]

                                                    ARTICLE 7
                                            AIRLINE ACTIVITY REPORTS

                    Monthly activity reports detailing Affiliate 's use of any Airport facilities or services as an
            Affiliate of Airline shall be prepared by Affiliate or Airline and submitted to the City by Affiliate
            or Airline on behalf of Affiliate, whichever is designated as responsible for such submission in
            Attachment 1 herein, in accordance with Article 7, "Airline Activity Reports," of the Signatory
            Airline Agreement.

                                                    ARTICLE 8
                                              CAPITAL IMPROVEMENTS

                    Article 8, "Capital Improvements," of the Signatory Airline Agreement shall not apply to
            Affiliate.

                                                  ARTICLE 9
                                        BOND ORDINANCE SUBORDINATION

                       Section 9.1   Subordination to Bond Ordinance.

                     (a)     This Agreement and all rights of Affiliate hereunder are expressly subordinated and
            subj ect to the lien and provisions of any pledge, transfer, hypothecation, or assignment made (at
            any time) by the City to secure Airport Bond financing . This Agreement is subject and subordinate
            to the terms, covenants, and conditions of the Bond Ordinance authorizing the issuance of Airport
            Bonds by the City of San Antonio. The City may amend or modify the Bond Ordinance or make
            any change thereto that does not materially adversely affect Affiliate 's rights under this Agreement.


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             Conflicts between this Agreement and the Bond Ordinance shall be resolved in favor of the Bond
             Ordinance.

                    Section 9.2      All definitional terms that are not specifically defined herein are to have the
              meanings set forth in the Bond Ordinance.

                                              ARTICLE 10
                               MAINTENANCE AND OPERATING RESPONSBILITIES

                     Affiliate shall conduct its Air Transportation Business as an Affiliate of Airline in a manner
              consistent with Airline 's obligations under Article 10, "Maintenance and Operating
              Responsibilities," of the Signatory Airline Agreement.

                                                         ARTICLE 11
                                                         [RESERVED I

                                                         ARTICLE 12
                                                         [RESERVED]

                                                   ARTICLE 13
                                         INSURANCE AND INDEMNIFICATION

                    Affiliate shall be subject to and bound by Article 13, "Insurance and Indemnification," of
             the Signatory Airline Agreement.

                                                    ARTICLE 14
                                               COMPLIANCE WITH LAWS

                    Affiliate shall be subject to and bound by Article 14, "Compliance with Laws ," of the
             Signatory Airline Agreement.

                                                   ARTICLE 15
                                            ENVIRONMENTAL PROVISIONS

                     Affiliate shall be subject to and bound by Article 15, "Environmental Provisions," of the
             Signatory Airline Agreement, including without limitation the same obligation to indemnify the
             City as provided in Section 13 .2, "Indemnification," of the Signatory Airline Agreement.

                                                        ARTICLE 16
                                                       TERMINATION

                     Affiliate shall be subject to and bound by Article 16, "Termination," of the Signatory
             Airline Agreement.




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                                                ARTICLE 17
                                        ASSIGNMENT AND SUBLETTING

                  Article 17, "Assignment, Subletting, and Transfer," of the Signatory Airline Agreement
          shall not apply to Affiliate. Affiliate shall have no right to assign or transfer this Agreement or
          sublet the whole or any portion of the Airline Premises leased or assigned to Airline.

                                                ARTICLE 18
                                         MISCELLANEOUS PROVISIONS

                 Affiliate shall be subject to and bound by Article 18, "Miscellaneous Provisions," of the
          Signatory Airline Agreement, including without limitation the audit provisions in Section 18.22,
          "Right to Audit Books and Records," and Section 18.5, "Notices," of the Signatory Airline
          Agreement, for purposes of which the following contact information shall be used for Affiliate:

                            Name:
                            Title:
                            Address:

                            Email Address:


                                             [Signature Page(s) to Follow]




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                  IN WITNESS WHEREOF, the parties hereto have subscribed their names the day
            and year first above written.


         CITY OF SAN ANTONIO, TEXAS:


         Erik Walsh
         City Manager


         Approved as to form:



         City Attorney



         AFFILIATE:


         By:

         Title:

         Notary of Affiliate Signature:



         STATEOF _ _ _ _ _ _ _ _ COUNTYOF _ _ _ _ _ __


         SIGNED IN BEFORE ME TH I S _ _ DAY OF _ _ _ _ _ _ _ 2024




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                                             ATTACHMENT 1

                                    AFFILIATE DESIGNATION FORM




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                                             EXHIBIT K

                                       MAINTENANCE SCHEDULE




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                                                                                                                                                                     EXHIBIT E

                                                                                                                              RESPONSIBILITY OF CITY ANO AIRLINE FOR SERVICES, MAINTENANCE ANO OPERATIONS


                          Type of Mai nte nance                                            AJrt lne bdusl\l e / Preferential leased Premises                        Joint UM!!     Common Use Fadlltles                                        Ramp Area                       Other              City Occupled/Publlc Areas
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                                                                 EXHIBIT L

                                              REQUIRED FEDERAL PROVISIONS

                  A. Compliance with Nondiscrimination Provisions.             During the performance of this
                     Agreement, Airline, for itself, its assignees, and successors in interest (hereinafter
                     collectively referred to as "Airline") agrees as follows:

                              1. Compliance with Regulations: Airline will comply with the Title VI List of
                                 Pertinent Nondiscrimination Acts And Authorities, as they may be amended
                                 from time to time, which are herein incorporated by reference and made a part of
                                 this Agreement.

                              2. Non-discrimination: Airline, with regard to the work performed by it during
                                 the term of this Agreement, will not discriminate on the grounds of race, color, or
                                 national origin in the selection and retention of contractors, including
                                 procurements of materials and leases of equipment. Airline will not participate
                                 directly or indirectly in the discrimination prohibited by the ondiscrimination
                                 Acts and Authorities, including employment practices when the contract covers
                                 any activity, project, or program set forth in Appendix 8 of 49 CFR Part 21 .

                              3. Solicitations for Agreements, Including Procurements of Materials and
                                 Equipment: In all solicitations, either by competitive bidding, or negotiation
                                 made by Airline for work to be performed under a subcontract, including
                                 procurements of materials, or leases of equipment, each potential contractor or
                                 supplier will be notified by Airline of Airline ' s obligations under this Agreement
                                 and the ondiscrimination Acts And Authorities on the grounds of race, color, or
                                 national origin.

                              4. Information and Reports: Airline will provide all information and reports
                                 required by the Acts, the Regulations, and directives issued pursuant thereto and
                                 will permit access to its books , records, accounts, other sources of information,
                                 and its facilities as may be determined by the sponsor or the Federal Aviation
                                 Administration to be pertinent to ascertain compliance with such
                                   ondiscrimination Acts And Authorities and instructions. Where any
                                 information required of Airline is in the exclusive possession of another who
                                 fails or refuses to furnish the information, Airline will so certify to the City or the
                                 Federal Aviation Administration, as appropriate, and will et forth what efforts it
                                 has made to obtain the information.

                              5. Sanctions for Noncompliance: In the event of Airline's noncompliance with
                                 the Non-discrimination provi ions of this contract, the City will impose such
                                 sanctions as it or the Federal Aviation Administration may determine to be
                                 appropriate, including, but not limited to cancelling, terminating, or suspending
                                 the Agreement, in whole or in part.

                              6. Incorporation of Provisions: Airline will include the provisions of paragraphs
                                 one through six of this Attachment A, Section (A) in every contract, including


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                                    procurements of materials and leases of equipment, unless exempt by the Acts,
                                    the Regulations and directives issued pursuant thereto . Airline will take action
                                    with respect to any contract or procurement as the City or the Federal Aviation
                                    Administration may direct as a means of enforcing such provisions including
                                    sanctions for noncompliance. Provided, that if Airline becomes involved in, or is
                                    threatened with litigation by a contractor, or supplier because of such direction,
                                    Airline may request City to enter into any litigation to protect the interests of the
                                    City. In addition, Airline may request the United States to enter into the
                                    litigation to protect the interests of the United States.

                   8 . Real Property Acquired or Improved Under the Airport Improvement Program. Airline for
                       itself, its heirs, personal representatives, successors in interest, and assigns, as a part of the
                       consideration hereof, does hereby covenant and agree that in the event facilities are
                       constructed, maintained, or otherwise operated on the property described in this Agreement
                       for a purpose for which a Federal Aviation Administration activity, facility, or program is
                       extended or for another purpose involving the provision of similar services or benefits,
                       Airline will maintain and operate such facilities and services in compliance with all
                       requirements imposed by the Nondiscrimination Acts and Regulations listed in the
                       Pertinent List of Nondiscrimination Authorities (as may be amended) such that no person
                       on the grounds of race, color, or national origin, will be excluded from participation in,
                       denied the benefits of, or be otherwise subjected to discrimination in the use of said
                       facilities.

                   C. Construction/Use/Access to Real Property Acquired Under the Activity, Facility or
                      Program. Airline for itself, its heirs, personal representatives, successors in interest, and
                      assigns, as a part of the consideration hereof, does hereby covenant and agree that ( l) no
                      person on the ground of race, color, or national origin, will be excluded from participation
                      in, denied the benefits of, or be otherwise subjected to discrimination in the use of said
                      facilities , (2) that in the construction of any improvements on, over, or under such land,
                      and the furnishing of services thereon, no person on the ground of race, color, or national
                      origin, will be excluded from participation in, denied the benefits of, or otherwise be
                      subjected to discrimination, and (3) that Airline will furnish its services in compliance with
                      all other requirements imposed by or pursuant to the List of Nondiscrimination Acts And
                      Authorities.

                   0. Title VI List of Pertinent Nondiscrimination Acts and Authorities. During the performance
                      of this Agreement, Airline, for itself, its assignees, and successors in interest (hereinafter
                      referred to as the "contractor") agrees to comply with the following non-discrimination
                      statutes and authorities; including but not limited to:

                               I.      Title VI of the Civil Rights Act of 1964 (42 U.S.C. § 2000d et seq. , 78 stat.
                                       252), (prohibits discrimination on the basis of race, color, national origin);
                              11.      49 CFR Part 21 (Non-discrimination In Federally-Assisted Programs of The
                                       Department of Transportation- Effectuation of Title VI of The Civil Rights
                                       Act of 1964);




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                         111.   The Uniform Relocation Assistance and Real Property Acquisition Policies
                                Act of 1970, (42 U.S.C. § 4601), (prohibits unfair treatment of persons
                                displaced or whose property has been acquired because of Federal or Federal-
                                aid programs and projects);
                         1v.    Section 504 of the Rehabilitation Act of 1973 , (29 U.S .C. § 794 et seq.), as
                                amended, (prohibits discrimination on the basis of disability) ; and 49 CFR
                                Part 27;
                          v.    The Age Discrimination Act of 1975, as amended, (42 U.S.C. § 6101 et seq.),
                                (prohibits discrimination on the basis of age);
                         v1.    Airport and Airway Improvement Act of 1982, (49 USC § 4 71 , Section
                                47123), as amended, (prohibits discrimination based on race, creed, color,
                                national origin, or sex);
                        v11.    The Civil Rights Restoration Act of 1987, (PL 100-209), (Broadened the
                                scope, coverage and applicability of Title VI of the Civil Rights Act of 1964,
                                The Age Discrimination Act of 1975 and Section 504 of the Rehabilitation
                                Act of 1973, by expanding the definition of the terms " programs or activities"
                                to include all of the programs or activities of the Federal-aid recipients, sub-
                                recipients and contractors, whether such programs or activities are Federally
                                funded or not);
                        v111.   Titles II and III of the Americans with Disabilities Act of 1990, which prohibit
                                discrimination on the basis of disability in the operation of public entities,
                                public and private transportation systems, places of public accommodation,
                                and certain testing entities (42 U.S.C. §§ 12131 - 12189) as implemented by
                                Department of Transportation regulations at 49 CFR Parts 37 and 38;
                         1x.    The Federal Aviation Administration's on-discrimination statute (49 U.S.C .
                                § 47123) (prohibits discrimination on the basis of race, color, national origin,
                                and sex);
                          x.    Executive Order 12898, Federal Actions to Address Environmental Justice in
                                Minority Populations and Low-Income Populations, which ensures non-
                                discrimination against minority populations by discouraging programs,
                                policies, and activities with disproportionately high and adverse human health
                                or environmental effects on minority and low-income populations;
                         x1.    Executive Order 13166, Improving Access to Services for Persons with
                                Limited English Proficiency, and resulting agency guidance, national origin
                                discrimination includes discrimination because of limited English proficiency
                                (LEP). To ensure compliance with Title VI, you must take reasonable step to
                                ensure that LEP persons have meaningful access to your programs (70 Fed.
                                Reg. at 74087 to 74100); and
                        x11.    Title IX of the Education Amendments of 1972, as amended, which prohibits
                                you from discriminating because of sex in education programs or activities
                                (20 U.S .C. 1681 et seq).

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                E. General Civil Rights Provision. Airline agrees to comply with pertinent statutes, Executive
                   Orders and such rules as are promulgated to ensure that no person shall, on the grounds of
                   race, creed, color, national origin, sex (including gender identity), age, or disability be
                   excluded from participating in any activity conducted with or benefiting from Federal
                   assistance. If Airline transfers its obligation to another, the transferee is obligated in the
                   same manner as Airline. This provision obligates Airline for the period during which the
                   property is owned, used or possessed by Airline and the airport remains obligated to the
                   Federal Aviation Administration. This provision is in addition to that required by Title VI
                   of the Civil Rights Act of 1964.

                F. Right of Re-entry. In the event of breach of any of the above Nondiscrimination covenants,
                   the City will have the right to terminate the Agreement and to enter, re-enter, and repossess
                   said lands and facilities thereon, and hold the same as if the Agreement had never been
                   made or issued.

           Subcontracts. Airline agrees that it shall insert the above six provisions (Section (A) through
           Section (F)) in any agreement by which Airline grants a right or privilege to any person, firm, or
           corporation to render accommodations and/or services to the public under this Agreement.




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                                                                 EXHIBIT M

                                                   TERMINAL A/B RENOVA TIO NS

              I.             Generally.

                             A.     As part of this Agreement, the City and the Signatory Airlines intend that, after
                                    DBO of expanded Terminal Building facilities to be constructed as part of TDP
                                    (i.e., new Terminal C), certain upgrades be performed to Terminal A and Terminal
                                    B in light of the advancing age of these facilities.

                             B.     Accordingly, separate and apart from TDP, by execution of this Agreement, Airline
                                    and the other Signatory Airlines have authorized and approved, pursuant to Section
                                    8.2 of this Agreement and subject to the terms and conditions herein, the inclusion
                                    in airline rentals, fees , and charges of up to $300 million in Net Project Costs for
                                    the Terminal A Renovation and Terminal B Renovation projects described herein,
                                    provided that up to $200 million in Net Project Costs will be allocated to the
                                    Terminal A Renovation and up to$ l 00 million in Net Project Costs will be allocated
                                    to the Terminal B Renovation.

                             C.     Notwithstanding the foregoing, the City and the Signatory Airlines acknowledge
                                    that certain upgrades to Tem1inal A and/or Terminal B may be identified during the
                                    scope validation process described in Section II herein that can be initiated or
                                    completed prior to DBO of new Terminal C, and the City may apply the costs of
                                    such upgrades toward the amounts authorized and approved as described in Section
                                    I.B herein, in accordance with the provisions of this Exhibit M.

                             D.     To the extent there is any conflict between the terms and conditions in this Exhibit
                                    Mand those of the Agreement, the Agreement shall control.

                             E.     For the avoidance of doubt, if anything in this Exhibit M conflicts with applicable
                                    federal, state, or local procurement law, such law(s) shall control, and the City will
                                    consult with the Signatory Airlines on any required modifications to the processes
                                    in this Exhibit M.

              II.            Preliminary Scope and Validation.

                             A.     The preliminary anticipated scope for each of the Terminal A Renovation and the
                                    Terminal B Renovation are included below in Section V and Section VI of this
                                    Exhibit M. However, the City agrees to commence a comprehensive assessment
                                    during Fiscal Year 2025 to further refine and identify the desired and necessary
                                    upgrades and improvements to each of Terminal A and Terminal B, which may
                                    result in the expansion, contraction or other modification of these preliminary scope
                                    descriptions below in Section V and Section VI of this Exhibit M. Once such
                                    assessment is complete, the City will provide the Signatory Airlines with the
                                    conclusory report including findings and recommendations as well as concept
                                    drawings and preliminary cost estimates and consult with the Signatory Airlines



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                                 about such findings and recommendations. The City will use commercially
                                 reasonable efforts to ensure such assessment is complete no later than the end of
                                 Fiscal Year 2025 and that resulting plans for the Terminal A/B Renovations have
                                 progressed to at least ten percent (10%) conceptual design by the end of Fiscal Year
                                 2026.

               III.       Procurement and Construction.

                          A.     The Signatory Airlines acknowledge that, as of the Effective Date, the City has not
                                 determined what method(s) of procurement will be used for the design and
                                 construction of the Terminal A Renovation and/or the Terminal B Renovation
                                 (collectively, the "Terminal A/B Renovations"). The City reserves the right to
                                 select the method of procurement and the sequencing of the design and construction
                                 of such projects in its sole discretion. The City may not make a determination about
                                 procurement methods until a time closer to DBO of the expanded Terminal Building
                                 facilities constructed as part of TDP.

                          B.     Subject to Section III.A, as of the Effective Date, the Terminal A Renovation is
                                 expected to be undertaken and completed after such DBO of new Terminal C but
                                 prior to the commencement of the Terminal B Renovation. However, as stated in
                                 Section I.C herein, the City may determine that certain elements of the Terminal
                                 A/B Renovations may be initiated before such DBO of new Terminal C (or,
                                 similarly, that certain elements of the Terminal B Renovation may be initiated
                                 before the completion of the Terminal A Renovation) . In making such
                                 determinations, the City will consult with the Signatory Airlines consistent with the
                                 processes described in Section IV herein.

                          C.     The City may determine in its reasonable discretion that it is in the City 's best
                                 interest to procure the design and construction of each project separately, together,
                                 and/or in multiple delivery methods (e.g. , design-build vs . separate design and
                                 construction contracts).

           IV.            Signatory Airline Participation.

                          A.     Notwithstanding the foregoing, the City agrees that it will, subject to all Applicable
                                 Laws, include the Signatory Airlines in the process for assessing and refining the
                                 scope, costs, and timing of the Terminal A/B Renovations, including in the follow
                                 manner:

                                 1.      The City is committed to collaborating with the Signatory Airlines during
                                         the design and construction process of the Terminal A/B Renovations . The
                                         City anticipates regular engagement with airline representatives, directly
                                         and through the Airport-Airline Affairs Committee ("AAAC'), throughout
                                         the duration of the Terminal A/B Renovations to coordinate technical
                                         details, operating requirements, operational impacts, and other items
                                         requiring airline input. Unless authorized in writing by City staff, neither
                                         airline staff nor representatives may provide directives or make requests



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                                        directly to any City contractors or consultants. All such airline requests or
                                        directives must be provided to City staff or their designated representative
                                        for review and dissemination to the appropriate party.

                                2.      In the development of solicitation and contract documents and construction
                                        schedules, including fo refinement and prioritization of the scope described
                                        herein and allocation of funding, the City and its architects and engineers
                                        will consult with the ATR and give due consideration to the reasonable
                                        requests, suggestions, and recommendations of the Signatory Airlines, and
                                        in particular of the Signatory Airlines expected to occupy Preferential Use
                                        Premises and/or Exclusive Use Premises in Terminal A and/or Terminal B.
                                        The City agrees to establish a terminal renovation planning working group
                                        to solicit such reasonable requests, suggestions, and recommendations of
                                        the Signatory Airlines.

                                3.      The City will notify the ATR in advance of contract solicitations related to
                                        the Terminal A Renovation and/or Terminal B Renovation.

                                4.      The City will include the ATR 1 as a voting member on the selection
                                        committee for the design contract and on the selection committee for the
                                        construction contract (or, if procured together, on such single committee)
                                        for contract solicitations related to the Terminal A Renovation and/or
                                        Terminal B Renovation . Each Signatory Airline expected to occupy
                                        Preferential Use Premises and/or Exclusive Use Premises in the Terminal
                                        Building facilities that are the subject of such contract(s) shall also be
                                        permitted one (1) representative per Signatory Airline in addition to the ATR
                                        to serve as an advisory non-voting member of the applicable selection
                                        committee(s).

                                5.      If the City determines that any portion of the Terminal A/B Renovations will
                                        be performed as a discrete project that does not require the City to initiate a
                                        competitive solicitation process, the City will consult with the Signatory
                                        Airlines prior to initiating such project and consider their suggestions
                                        related to the scope and allocation of funding for such projects.

                                6.      The City will consult with the Signatory Airlines following the conclusion
                                        of the scope validation process described in Section II herein and at each of
                                        30, 60 and 90 percent design for each of the Terminal A Renovation and the
                                        Terminal B Renovation, if such milestones for design are applicable to the
                                        work being performed. After each such consultation, the Signatory Airlines
                                        may request that the City propose, subject to and in accordance with the MII
                                        process described in Article 8, Capital Improvements, of this Agreement,
                                        that additional funds in excess of the amounts authorized and approved as


                1 If the Signatory Airlines no longer retain an ATR during the Terminal A/8 Renovations, the AAAC may
                notify the City in writing of which Signatory Airline will serve as the voting representative for Signatory
                Airlines on applicable selection committee(s).


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                                       described above in Section LB be allocated for the Terminal A Renovation
                                       or Terminal B Renovation in order to improve overall operational
                                       efficiency, function , and/or customer experience in either of Terminal A or
                                       Terminal B.

                                 7.    The Signatory Airlines shall comply and shall cause the ATR and any other
                                       Signatory Airline representative(s) to comply with any confidentiality
                                       requirements that the City may require of committee or working group
                                       participants.

             V.           Terminal A Renovation.

                          A.    The following represents, as of the Effective Date, the anticipated scope of the
                                upgrades to Terminal A as part of the Terminal A Renovation. This scope, and the
                                associated $200 million in pre-approved funding for the Terminal A Renovation, is
                                in addition to, and not a replacement for, and is not intended to modify, the scope
                                of or funding for the TDP, including anticipated work on Terminal A that is in the
                                TDP scope.

                                 1.    Reconfiguration of Terminal A ticket lobby with respect to the existing
                                       ticketing counters and landside concessions to accommodate for the
                                       relocation of the Security Screening Check Point (SSCP) that is included in
                                       the scope for TOP. The expanded secure side square footage to be
                                       repurposed to increase post-security re-composure area, improved
                                       circulation, and expanded secure side concessions.

                                2.     Reconfiguration and expansion of the secure-side area adjacent to the SSCP
                                       and the concourse and holdroom areas in what are gates Al through A9 as
                                       of the Effective Date in an effort to improve concourse circulation
                                       throughout Terminal A to current standards.

                                3.     Specific items identified for upgrades include:

                                           Reconfiguration and expansion of SSCP - up to 8 lanes
                                           Check-in counter and queue area reconfiguration which may cause
                                           existing ATO space to also be reconfigured/repurposed
                                           Reduction of landside concessions by approximately 2, l 00 SF
                                           Expansion of airside concessions by approximately 3,000 SF
                                           Closure of eastern most set of doors on the curbside
                                           Renovation of bag claim area which may result in replacement of 3
                                           existing flat plate bag claim devices with sloped plate devices
                                           Evaluation of potential renovations to bag drop area on secure side
                                           Redesign of the baggage handling system that currently serves both
                                           Terminals A and B such that
                                                   ( 1) all five screening machines can be utilized efficiently by the
                                                        Terminal A ticket counter baggage induction points



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                                                     (2) the system can deliver bags to all Terminal A baggage make-
                                                         up devices
                                                     (3) queue belts are added to the alarm line to alleviate post-
                                                         screening congestion
                                                     (4) manual encode induction and exit lanes are optimized
                                             Gate reduction with commensurate holdroom expansion (targeting
                                             3,000 SF holdroom size on average)
                                             Restroom upgrades and expansion
                                             Concessions space optimization
                                             Infrastructure, technology, and signage upgrades
                                             Finishes throughout with focus on public access areas to include but not
                                             limited to carpet, paint, ceiling tiles, lighting, fixtures , seating, and
                                             power for seating

              VI.           Terminal B Renovation.

                            A.    The following represents, as of the Effective Date, the anticipated scope of the
                                  upgrades to Terminal B as part of the Terminal B Renovation. This scope, and the
                                  associated $100 million in pre-approved funding for the Terminal B Renovation, is
                                  in addition to, and not a replacement for, and is not intended to modify, the scope
                                  of or funding for the TDP, including anticipated work on Terminal B that is in the
                                  TDB scope.

                                   1.    Currently identified priorities for consideration for improvement options to
                                         the following area(s) of Terminal B for optimal operational efficiency,
                                         improved passenger experience include but are not limited to:

                                             Reconfiguration for holdroom expansion and optimization (including
                                             consideration of up to 3,000 SF holdroom size on average)
                                             Reduce walking distance from ticket lobby counters to Terminal B
                                             holdrooms following DBO of new Terminal C to improve passenger
                                             experience and increase accessibility for all passengers regardless of
                                             their age, size, or ability
                                             Check-in counter and queue area reconfiguration for lobby used by
                                             Terminal B airlines which may cause existing ATO space to also be
                                             reconfigured/repurposed
                                             Curbside check in and ticket lobby used by Terminal B airlines
                                             Bag claim area used by Terminal B airlines
                                             Restroom upgrades and expansion
                                             Concessions space optimization
                                             Reconfiguration of operational space
                                             Infrastructure, technology, lighting, and signage upgrades
                                             Assessment and repair/renovation of passenger loading bridges
                                             Finishes throughout with focus on public access areas to include but not
                                             limited to carpet, paint, ceiling tiles, lighting, fixtures , seating, and
                                             power for seating



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                                                   EXHIBITN

                              CONDITIONAL CARGO TAXIWAY CONSTRUCTION


                                           Cargo Taxiway Extension (b lue)
                                              East Cargo Apron (green)




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                                  EXHIBIT 2
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   NON-SIGNATORY AIRLINE OPERATING PERMIT

                                  AND

                TERMINAL BUILDING LEASE


                              by and between

                  THE CITY OF SAN ANTONIO , TEXAS

                                    and
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                                          PREAMBLE

                 NO -SIGNATORY AIRLINE OPERATING PERMIT AND

                               TERMI AL BUILDING LEASE


THE STATE OF TEXAS             )(



COUNTY OF BEXAR                )(

        This NON-SIGNATORY AIRLINE OPERATING PERMIT AND TERMINAL
BUILDING LEASE (this "Agreement') is made and entered into as of the _                     day of
_ _ _ _ _ _., 20_ (the "Effective Date") by and between the City of San Antonio, Texas, a
municipal corporation and home-rule city principally situated in Bexar County (hereinafter defined
and referred to as the "City") and _ _ _ _ _ _ _ _ _ _ _., a corporation doing business in the
State of Texas (hereinafter defined and referred to as "Airline") (the City and Airline each, a
"Party" and collectively, the "Parties").

                                             WITNESSETH:

       WHEREAS, the City is the owner of San Antonio International Airport (hereinafter defined
and referred to as "Airport' and more completely identified on Exhibit A attached hereto and
made a part hereof), which is located in the City of San Antonio, Bexar County, Texas; and

        WHEREAS, pursuant to Ordinance No. _ _ enacted September 12, 2024, the City has
entered into a Signatory Airline Operating Agreement and Terminal Building Lease ("Signatory
Airline Agreement") with certain Signatory Air! ines (defined below in Section 1.1) that establishes
the methodology for setting airline rates and charges at the Airport, among other terms and
conditions, as set forth therein during the term of such Signatory Airline Agreement; and

       WHEREAS, Airline is engaged in the business of commercial air transportation of persons,
property, cargo, or mail as a scheduled Air Carrier and is certificated or otherwise authorized by
the United States Government to engage in such business; and

        WHEREAS , Airline has requested that the City grant it certain rights, privileges, and
services in connection with the use of said Airport and its facilities in the conduct of Airline 's
business as a scheduled Air Carrier; and

        WHEREAS, Airline has not executed a Signatory Airline Agreement and intends to operate
at the Airport as a Non-Signatory Airline (defined below in Section 1. 1); and

        WHEREAS, the City is willing to grant Airline such rights, privileges, and services upon
the terms and conditions and for the consideration hereinafter stated; and




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         WHEREAS , the City and Airline deem it de irable to enter into a written agreement setting
forth the respective rights , privileges, obligations, and duties of the parties hereto and defining the
rights, services, and privileges granted and the terms, conditions, and consideration on which they
are granted;

        NOW, THEREFORE, for and in consideration of Airline ' s use of the Airport and the
Airline Premises and the mutual covenants herein contained and the rentals, fees, and charges to
be paid by Airline, it is agreed and understood by and between the City and Airline as follows .




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                                      ARTICLE 1
                             DEFINITIONS; INTERPRETATION

       Section 1.1     Definitions.

      "Activity Report" means the reporting form required to be submitted by Airline to the City
each month in accordance with Article 7 of the Signatory Airline Agreement.

        "Affiliate" has the meaning given to it in the Signatory Airline Agreement. For purposes
of this Agreement, an Air Carrier shall only be deemed an Affiliate of a Signatory Airline while
operating at the Airport on behalf of that Signatory Airline. Non-Signatory Airlines may not
designate Affiliates to operate on their behalf at the Airport.

       "Air Carrier" means any air carrier or foreign air carrier, as defined in 49 U.S.C. § 40102,
as amended, operating an Air Transportation Business from time to time at the Airport.

       "Air Transportation Business" means the business operated by an Air Carrier to and from
the Airport for the commercial transportation by air of persons, property, cargo, mail, or any
combination thereof, as a common carrier for compensation or hire, in commerce, as defined in 49
U.S.C. § 40102, as amended.

        "Airline Premises" means those areas in the Terminal Building leased to Airline as
Exclusive Use Premises (if any) and Joint Use Space and City Gates assigned to Airline, in
accordance with this Agreement, and as shown on Exhibit C, Exhibit D-1 and Exhibit D-2 ,
attached hereto; provided, however, that, in the case of City Gates and Joint Use Space, such areas
will only constitute "Airline Premises" during the period of time for which Airline has the right to
use such areas .

       "Airline" means the Air Carrier identified in the preamble of this Agreement.

       "Airline Parties" has the meaning given to it in Section 13.2.

        "Airport" means San Antonio International Airport as it now exists, as shown on Exhibit
A, attached hereto, or as it may be modified in the future .

        "Airport System" means all airport and aviation facilities, or any interest therein, now or
from time to time hereafter owned, operated or controlled in whole or in part by the City, together
with all properties, facilities and services thereof, and all additions, extensions, replacements and
improvements thereto, and all services provided or to be provided by the City in connection
therewith, but expressly excluding Special Facilities. The Airport System currently includes San
Antonio International Airport and Stinson Municipal Airport.

        "Applicable Laws" means all laws, statutes, ordinances, rules, and regulations (including
without limitation Environmental Laws) lawfully issued or promulgated by any Governmental
Authority governing or otherwise applicable to Airline or the Airport, a any of the same may now
exist or may hereafter be adopted or amended, modified, extended, re-enacted, re-designated, or
replaced from time to time and judicial interpretations thereof.
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        "Best Management Practices" or "BMPs" means, for purposes of ARTICLE 15, the
schedules of activities, prohibitions of practices, maintenance procedures, and other techniques to
control, prevent or reduce the discharge of pollutants. BMPs shall include those environmental or
operational standards or guidelines specifying common and accepted practices appropriate for
Airline's and its representatives' use of the Airport, and such standards or guidelines as have been
articulated by pertinent professional associations, or regulatory agencies, that Airline should be
reasonably aware of or that the City has provided to Airline.

       "Bond Ordinance" means the Master Ordinances and any Supplemental Ordinances,
heretofore or hereafter adopted, amendatory, or supplemental thereto, authorizing the issuance of
Bonds and Obligations that are payable from or secured by all or any part of the gross revenues of
the Airport, grant funds, CFCs, or PFCs.

      "Bonds" means any bonds or certificates of obligation issued in accordance with a Master
Ordinance or any Supplemental Ordinance.

       "City Gate" means a Gate in the Terminal Building that is not preferentially assigned to a
Signatory Airline and which may be assigned for use on a common use basis by the City in
accordance with the Signatory Airline Agreement.

        "Consumer Price Index" or "CPI" means the consumer price index for all urban consumers
(or "CPI-U'') published by the U.S. Bureau of Labor Statistics for the most current 12-month period
such data is available at the time of the applicable measurement or adjustment under this Agreement.
If CPI is no longer calculated by the U.S. Bureau of Labor Statistics, the Director shall, in his or
her reasonable judgement, select such other index as may be generally published that measures the
increase in consumer costs, which index shall be substituted for CPI. Specific dollar amounts
referenced in this Agreement as being increased by CPI shall be adjusted by multiplying such
amounts by a factor of one (1) plus the percentage increase (but not decrease), if any, in CPI during
the most recently ended twelve-month period for which such CPI is available.

        "Deplaned Passenger" shall mean any revenue passenger disembarking an aircraft at the
Terminal Building, including any such passenger that shall subsequently board another aircraft of
the same or a different Air Carrier or the same aircraft, if previously operating under a different
flight number.

       "Director" means the person holding the position of Director of Airports of the City or any
duly authorized designee .

       "Effective Date" has the meaning given to it in Section 2.1.

        "Enplaned Passenger" means any revenue passenger boarding an aircraft at the Terminal
Building, including any such passenger that previously disembarked from another aircraft of the
same or a different Air Carrier or from the same aircraft, if previously operating under a different
flight number.

       "Environmental Audit" means a systematic voluntary evaluation, review, or assessment
of compliance with Environmental Laws, with any permit issued under an Environmental Law,
and with the requirements of ARTICLE 15, conducted under ASTM Standard E2107-00 (Standard


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Practice for Environmental Regulatory Compliance Audits) or other standard relevant and
appropriate to Airline's use of the Airport.

        "Environmental Costs" means damages, fines, costs and fees arising from any violation
of or noncompliance in any material respect with : (a) any applicable Environmental Laws; or (b)
any of the environmental provisions of this Agreement, including but not limited to costs incurred
in connection with immediate response, remediation , and restoration actions, natural resources
damage, Self Help (defined in ARTICLE 15), oversight and participation costs of governmental
agencies, including natural resource trustees; reasonable and documented fees and costs of project
managers, attorneys, legal assistants, engineers, consultants, accountants, and experts, whether or
not employees of the damaged party and whether or not taxable as costs, incurred prior to, at or
after any administrative or judicial proceeding, including appeals and other forms of judicial
review; and diminution in value, loss or restriction on use of the Airport.

        "Environmental Laws" means all applicable federal , State of Texas, regional and local
laws, regulations, rules, permit terms, codes, ordinances, and legally enforceable guidance
documents, now or hereafter in effect, as the same may be amended from time to time, and
applicable decisional law, which govern materials, substances, regulated wastes, emissions,
pollutants, water, storm water, ground water, wellfield and wellhead protection, cultural resources
protection, animals or plants, noise, or products and relate to the protection of health, safety or the
environment and natural resources, including land, sediments, water, groundwater, and
stormwater, and shall include, but not be limited to: the Federal Insecticide, Fungicide, and
Rodenticide Act, 7 U.S.C. Section 136 et seq .; the Safe Drinking Water Act, 42 U.S .C. Section
300(t) et seq .; the Oil Pollution Control Act of 1990, 33 U.S .C. Section 2701 et seq.; the
Comprehensive Environmental Response, Compensation and Liability Act of 1980, as amended,
42 U.S.C ., Section 9601 et seq. ; and as amended by the Superfund Amendments and
Reauthorization Act of 1986, Pub. Law No . 99-499, 100 Stat. 1613; the Toxic Substances Control
Act, 15 U.S .C. , Section 2601 et seq.; the Clean Air Act as amended, 42 U.S.C., Section 7401 et
seq.; the Clean Water Act, 33 U.S .C. , Section 1251 , et seq. ; the Hazardous Materials
Transportation Act, 49 U.S.C., Section 5101 et seq.; the Occupational Safety and Health Act of
1970, as amended, 29 U .S.C., Section 651-678; the Resource Conservation and Recovery Act,
42 U.S .C., Section 6901 et seq. ; and their State counterparts.

        "Exclusive Use Premises" means the space in the Terminal Building assigned by the
Director to Airline (if any) for its use and occupancy to the exclusion of all others, as further
depicted in Exhibit C. Airline 's Exclusive Use Premises may include ticket offices, operations
space, or baggage services offices.

       "FAA" means the Federal Aviation Administration of the United States Government or
any successor federal agency or agencies.

         "FIS'' means the Federal Inspection Services facilities and spaces within the Terminal
Building which are dedicated to processing arriving international passengers. FIS space includes
sterile connectors from the aircraft to passport control, baggage control, and other federal agencies.




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        "Fiscal Year" means the twelve- (12) month period beginning October 1 of any year and
ending September 30 of the following year, or any other twelve- (12) month period adopted by the
City for its financial affairs .

        "Gate" means those portions of the Terminal Building consisting of an aircraft parking
position and associated holdroom, apron area, Loading Bridge (if any), and other appurtenant
space. Gates include City Gates and preferentially assigned Gates. Only Signatory Airlines may
be assigned Gates on a preferential use basis.

        "Gate Use Procedures" means the City' s Gate Use Procedures that establish rules and
regulations for the assignment and use of all Gates, including the assignment and use of City Gates
and the accommodation of Air Carriers at another Air Carrier' s preferentially assigned Gates and
the use of the City' s Common Use Passenger Processing System, as such may be amended from
time to time.

       "Governmental Authority" means any Federal, state, county, municipal, or other
governmental entity (including the City in its governmental capacity), or any subdivision thereof,
with authority over, as applicable, the Airport, Air Carriers, or Airline.

       "Grant Assurances" has the meaning given to it in Section 18.23 .

       "Hazardous Substances" means any and all substances, materials, pollutants, oils,
contaminants, materials or products defined, designated, or regulated as hazardous, toxic,
radioactive, dangerous or regulated wastes or materials or any other similar term in or under any
applicable Environmental Laws. Examples of Hazardous Materials include but are not limited to,
asbestos and asbestos containing materials, petroleum products including crude oil or any fraction
thereof, gasoline, aviation fuel, diesel fuel , lubricating oils and solvents, urea formaldehyde,
flammable explosives, PCBs, radioactive materials or waste.

       "Hazardous Substance Release" shall include the spilling, discharge, deposit, injection,
dumping, emitting, releasing, placing, leaking, migrating, leaching, and seeping of any Hazardous
Substance into the air or into or on any land, sediment or waters, except any release in compliance
with Environmental Laws or specifically authorized by a current and valid permit issued under
Environmental Laws with which Airline is in compliance at the time of such release, but not
including within the exception any such release in respect of which the State of Texas has
determined that application of the State of Texas ' Hazardous Substance removal and remedial
action rules might be necessary in order to protect public health, safety or welfare, or the
environment.

        "Joint Use Space" means space managed by the City that may be made available to Airline
from time to time for use in common with other Air Carriers, as assigned by the Director and as
further depicted on Exhibit D-1 and Exhibit D-2 . Joint Use Space includes baggage claim areas,
passenger screening areas, baggage makeup, tug lanes, and baggage handling systems.

        "Landed Weight" means the maximum gross certificated landed weight, in thousand (1 ,000)
pound units, that an aircraft operated by an Air Carrier is authorized by the FAA to land at the Airport,
as recited in each Air Carrier' s flight manual governing that aircraft type. For all landing fee
computations, said sum shall be rounded up to the nearest thousand (1 ,000) pound units .


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       "Loading Bridge" means an enclosed passenger loading bridge and any preconditioned air
system(s), ground power supply unit(s) and other related equipment attached to the bridge or a
concourse at a Gate.

        "Maintenance and Operating Expenses" or "O&M Expenses" means the City's costs for
the operation, maintenance and repair of the Airport System and shall include, but shall not be
limited to, salaries and employee benefits, utility costs, ordinary maintenance, administrative and
general expenses, security, and all such other expenses as defined and determined in accordance
with the Bond Ordinance. Direct and indirect O&M Expenses shall be allocated by the City from
time to time to the Airport Cost Center(s) to which those expenses relate.

        "Non-Signatory Airline" means any Air Carrier providing service at the Airport that is not
a Signatory Airline. Non-Signatory Airlines shall pay the Non-Signatory Airline rates, fees and
charges presented in the Rates and Fees Schedule in the Signatory Airline Agreement, which will
include a fifteen percent (15%) premium over the rentals, fees, and charges charged to Signatory
Airlines.

       "Obligations" means any obligation of the Airport System, including any Bonds issued
pursuant to the Bond Ordinance or other issuing instrument, as applicable.

       "Other Debt" means any debt other than Bonds incurred by the City for Airport purposes
including but not limited to Interim Financing.

         "Passenger Facility Charges" or "PFCs" means charges collected by Airline and other
Air Carriers on behalf of the City in accordance with Section 5.5 and pursuant to the authority
granted by 49 U.S.C. § 40117 and 14 CFR Part 158, as may be amended from time to time, in
respect of any component of the Airport and interest earnings thereon, net of amounts that
coll ecting Air Carrier are authorized to retain for collecting, handling, and remitting such PFC
Revenues .

       "Performance Guarantee" has the meaning given to it in Section 5.13.

        "Preferential Use Premises" means those portions of the Terminal Building assigned to a
Signatory Airline to which such Signatory Airline shall have priority over other users, subject to
the terms and conditions of the Signatory Airline Agreement. A Signatory Airline's Preferential
Use Premises may include Gates, ticketing space/counters, curbside baggage check-in, apron area,
or Loading Bridges.

       "Prior Use and Lease Agreement" means any agreement between the City and an Air
Carrier under which the Air Carrier operated at the Airport and which governed the terms and
conditions of such Air Carrier's air transportation operations at the Airport prior to the Effective
Date.

        "Rates and Fees Schedule" means the Rates and Fees Schedule attached to the Signatory
Airline Agreement a Exhibit F, a copy of which is attached to this Agreement as Exhibit F.




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       "Revenue Landing" means any aircraft landing by Airline at the Airport for which Airline
receives revenue and those non-revenue landings whenever the same aircraft subsequently departs
the Airport as a revenue flight.

       "Rules and Regulations" means the lawful rules and regulations governing the conduct
and operation of the Airport promulgated from time to time by the City or the Director, including
without limitation the City's duly adopted and generally applicable policies, operating directives,
standard procedures, and the Airport Security Plan, in each case as such may be in force and
amended from time to time.

       "Signatory Airline" means an Air Carrier that has the right to operate at the Airport
pursuant to a Signatory Airline Agreement with the City.

       "Special Facilities" means any property, real or personal, incident or related to the Airport,
which is financed by the issuance of Obligations that are not directly or indirectly secured or
payable from et Revenues.

       "TCEQ" means the Texas Commission on Environmental Quality or any successor agency
or agencies thereto.

       "Term" has the meaning given to it in Section 2.1.

       "Terminal Building" means the terminal building and connected concourses, as may be
expanded from time to time, which serve Air Carriers and other terminal tenants and activities, all
as currently indicated on Exhibit A, Exhibit D-1 and Exhibit D-2 as such exhibits may be
amended from time to time.

       "TSA" means the Transportation Security Administration of the United States Government
or any successor federal agency or agencies.

       Section 1.2     Interpretation.

        The terms used in this Agreement shall have the meanings indicated in this ARTICLE 1
unless expressly defined elsewhere in the Agreement or defined in the Signatory Airline
Agreement or where the context clearly indicates otherwise. Words used in this Agreement in the
present tense include the future as well as the present. Words used in the masculine gender include
the feminine and neuter. The singular number includes the plural and the plural includes the
singular. The word "per on" means a business or corporation as well as a natural person. All
references in the text of this Agreement to articles, sections, and exhibits pertain to articles,
sections, and exhibits of this Agreement, unless otherwise specified.

       Section 1.3     Exhibits.

       The following exhibits are incorporated herein and a made a part of this Agreement:

       Exhibit A       Airport Map
       Exhibit B       [ Reservec[J
       Exhibit C       Exclusive Use Premises


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        Exhibit D-1    Terminal Building Space Exhibit
        Exhibit D-2    Joint Use Space
        Exhibit E       [ReservedJ
        Exhibit F      Rates and Fees Schedule
        Exhibit G      [ReservedJ
        Exhibit H      [ReservedJ
        Exhibit I      [Reservec[J
        Exhibit J      [ReservedJ
        Exhibit K      Maintenance Schedule
        Exhibit L      Required Federal Provisions

        Any changes to the exhibits that occur from time to time consistent with and pursuant to
the terms of this Agreement shall be reflected in revised exhibits provided by the City to Airline.
Such revised exhibits shall be deemed to be effective without requiring a formal amendment to
this Agreement or City Council action.

                                            ARTICLE 2
                                              TERM

        Section 2.1    Term; Effective Date.

         The term ("Term") of this Agreement shall commence the Effective Date and shall
continue on a month to month basis until the earlier of (i) cancellation by either Party with at least
thirty (30) days ' written notice to the other Party, such cancellation to be effective at the end of
the thirty (30) day notice period; (ii) the date on which the Signatory Airline becomes an Affiliate
or a Signatory Airline at the Airport; (iii) termination by the City in accordance with ARTICLE
16; or (iv) the expiration or earlier termination of the Signatory Airline Agreements with all
Signatory Airlines.

        Section 2.2    Holding Over.

        (a)    If Airline, at the request of or without objection by the City, shall continue to occupy
the Airline Premises and conduct its Air Transportation Business beyond the Term of this
Agreement, such holding over shall not constitute a renewal of this Agreement, but shall be
considered a month-to-month tenancy only, with or without the consent of the City. The month-
to-month tenancy shall be subject to all terms and conditions of this Agreement. No such holding
over shall be deemed to operate as a renewal or extension of the Term. Such month-to-month
tenancy may be terminated by the City or Airline by giving thirty (30) days prior written notice of
said termination to the other Party at any time.

        (b)    If Airline shall hold over in any portion of the Airline Premises after the termination
of this Agreement and the City objects or does not consent to such holdover, Airline shall occupy
such portion of the Airline Premises as a tenant at will. The City may relocate Airline in such case
without compliance with the provisions of ARTICLE 3 hereof. If Airline fails to vacate the Airline
Premises within sixty (60) days after written notice of termination from the City, Airline shall pay
the City one hundred twenty-five percent (125 %) of Non-Signatory Airline rentals, fees , and
charges for each period beginning more than sixty (60) days after such notice, and the City reserves



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the right to determine Airline rentals, fees , and charges according to any methodology permitted
under Applicable Law.

       Section 2.3     Surrender.

        Upon expiration or early termination of this Agreement, Airline shall surrender the Airline
Premises to the City in substantially the same condition as such Airline Premises were in at the
time of the original occupancy by Airline, or, if improved, in substantially the same condition as
of the completion date of the last improvement authorized by the City pursuant to this Agreement
and made by Airline or the City to the Airline Premises, in each case excepting reasonable wear
and tear. Airline shall provide the environmental demonstrations concerning the Airline Premises
set out in ARTICLE 15 below.

       Section 2.4     Airline Removal of Property.

         (a)    Except as otherwise provided in this Article, all equipment, trade fixtures, and other
personal property installed or placed by Airline in the Airline Premises or on or about the Airport
and which can be removed without structural damage to the Airline Premises or any other City-
owned property shall remain the property of Airline unless otherwise provided in subsequent
written agreements between Airline and the City, and Airline shall have the right at any time during
the Term and prior to its expiration or early termination to remove any and all of said property
from the Airport provided Airline is not in default in its payments hereunder (beyond all applicable
notices and opportunity to cure periods). Airline agrees to repair or pay for all damages, if any,
resulting from such removal. All City property damaged by or as a result of the removal of
Airline 's property shall be restored at Airline's expense to the same condition as or better condition
than, it was prior to such damage.

        (b)     Any and all property not removed by Airline within thirty (30) days after the
expiration or earlier termination of this Agreement and the cessation of operations from all or a
portion of the Airline Premises is deemed to be abandoned property. Airline hereby authorizes the
City to remove and dispose of its abandoned property. Airline agrees to reimburse the City for the
cost of removing and disposing of its abandoned property.

        Section 2.5    Prior Agreement.

        On the Effective Date, any Prior Use and Lease Agreement between the City and Airline
shall terminate without further action required by either the City or Airline, provided that the
termination of such prior agreement shall not be construed as a waiver, relinquishment, or release
of any claims, damages, liability, rights of action, or causes of action that either of the parties
hereto may have against the other under such prior agreement and that have accrued before the
Effective Date of this Agreement. Airline ' s liability that survives the termination of the prior
agreement shall not be terminated by the execution of this Agreement. It is understood that for the
purposes of this Agreement, Airline' s cargo facility lease with the City, if any exists at the
Effective Date, shall not be considered a Prior Use and Lease Agreement.




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                                         ARTICLE 3
                                     AIRLINE PREMISES

       Section 3.1     Exclusive Use Premises.

       The City grants to Airline, subject to the terms and conditions of this Agreement, the
exclusive right to use the Exclusive Use Premises (if any) identified in Exhibit C. Exhibit C may
be updated and amended from time to time by the Director in accordance with the terms of this
Agreement without need for forma l amendment thereto.

       Section 3.2     Joint Use Space.

        The City grants to Airline, subject to the term and conditions of this Agreement, the right
to use, on a shared basis, the Joint Use Space identified in Exhibit D-1 and Ex hibit D-2.

       Section 3.3     Gate Use Procedures.

        Airline 's use of Gates shall be subject to the City' s Gate Use Procedures, as amended from
time to time ..

       Section 3.4     "As-Is" Condition of Airline Premises.

      WITH THE EXCEPTION OF THOSE FACILITIES AND FIXTURES THAT THE CITY
IS REQUIRED TO MAINTAIN AND REPAIR HEREUNDER A D ANY OTHER
REPRESE TA TIO S, CO VENA TS , OR OBLIGATIO S OF THE CITY EXP RES SLY SET
FORTH HEREIN AND ANY RELEASES OF AIRLINE HEREIN, AIRLINE EXPRESSLY
ACKNOWLEDGES THAT IT HAS INSPECTED OR HAD THE OPPORTUNITY TO
INSPECT THE AIRLINE PREMISES, INCLUDING, BUT NOT LIMITED TO, ALL
FINISHES, FURNITURE, FIXTURES, AND EQUIPMENT AND E VIRONMENT AL
CO DITIO S THEREIN A D ACCEPTS THE SAME "AS-IS" IN THE CONDITION
EXISTING AS OF THE EFFECTIVE DATE (OR, IF AIRLINE IS AS SIG ED ADDITIO AL
PREMISES DURING THE TERM PURSUANT TO THIS AGREEMENT, AS OF THE DATE
AIRLINE ACCEPTS SUCH AIRLINE PREMISES). AIRLINE FURTHER ACKNOWLEDGES
THAT, EXCEPT AS EXPRESSLY SET FORTH HEREIN, THE CITY HAS MADE NO
REPRESE TATIO S OR WARRA TIES OF A Y ATURE WHATSOEVER, EITHER
EXPRESS OR IMPLIED, REGARDING THE AIRPORT OR THE AIRLINE PREMISES
INCLUDING, BUT NOT LIMITED TO, THE PHYSICAL A DIOR ENVIRO ME TAL
CO DITION OF THE AIRLINE PREMISES, OR A Y IMPROVEME TS LOCATED
THEREO , OR THE VALUE OF THE AIRLINE PREMISES OR IMPROVEMENTS
THERETO, THEIR ZONING, OR THE SUITABILITY OF THE AIRLINE PREMISES FOR
AIRLINE ' S NEEDS , OR ANY IMPROVEMENTS THERETO, OR AIRLINE ' S LEGAL
ABILITY TO USE THE AIRLINE PREMISES OR AIRPORT FOR AIRLINE'S INTE DED
USE. THE CITY SHALL NOT BE RESPONSIBLE FOR ANY PATE TOR LATE T DEFECT
AND AIRLINE SHALL NOT, UNDER ANY CIRCUMSTANCES, WITHHOLD ANY
AIRLINE RENTALS , FEES, A D CHARGES OR OTHER AMOUNTS PAY ABLE TO THE
CITY HEREUNDER ON ACCOUNT OF ANY DEFECT IN THE AIRLINE PREMISES . BY
ITS E TRY O TO THE AIRLIN PREMISES, AIRLINE ACCEPTS THE AIRLINE
PREMISES IN THEIR "AS IS" CO DITIO AND HEREBY WAIVES ALL CLAIMS


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ARISING ON OR AFTER THE EFFECTIVE DA TE RELATING TO THE CONDITION OF
THE AIRLINE PREMISES.

       Section 3.5      City Gates.

       (a)       The City shall retain under its control and possession the City Gates.

      (b)     City Gates shall be assigned by the City, and the City shall handle requests for
accommodation by Airline, in accordance with the Signatory Airline Agreement and the City 's
Gate Use Procedures.

        (c)    Notwithstanding anything to the contrary in the City's Gate Use Procedures as of
the Effective Date, Airline acknowledges that the City will assign international arrivals the highest
priority of use on international capable Gates in the event of a scheduling conflict between Air
Carriers .

        Section 3.6     City Right of Entry.

         Authorized representative(s) of the City shall have the right to enter the Airline Premises,
including the non-public areas of the Exclusive Use Premises, at any and all reasonable times for
the purpose of inspection, including inspecting compliance with applicable Environmental Laws
as provided in ARTICLE 15 and inspection of all City-owned equipment for compliance with
manufacturer's specifications regarding servicing and preventive maintenance, or for any other
purpose incident to the performance of the City 's obligations hereunder or in the exercise of any
of its governmental functions. The City shall use good faith efforts to avoid disruption of Airline ' s
operations and, except in the event of an emergency, shall provide Airline reasonable notice prior
to entering the non-public areas of the Exclusive Use Premises.

                                            ARTICLE 4
                                       USE OF THE AIRPORT

        Section 4.1     Permissible Uses .

        Subject to the terms and provisions of this Agreement, Airline shall be entitled to the use,
in common with other duly authorized users, of the Airport for the following purposes, provided
that nothing herein shall be construed as authorizing the conduct of a separate business by Airline,
but as permitting Airline to perform only such functions as are incidental to the operation of its
Air Transportation Business :

       (a)    The operation of Airline's Air Transportation Business, including all activities
reasonably necessary to such operation.

        (b)     The landing, taking off, flying over, taxiing, pushing, towing, loading, unloading,
delivering fuel to aircraft, repairing, maintaining (provided that Airline shall not perform major
maintenance or repairs of aircraft or equipment on the ramp unless specifically authorized by the
City), conditioning, servicing, parking, storing, and testing of aircraft or other equipment of or
operated by Airline or others, including the right to provide or handle all or part of the operations
or services of such others. For operations handled by Air! ine on behalf of other Air Carriers, Airline
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shall pay the City a nondiscriminatory fee as established by the Director based on the gross
revenues derived by Airline from such hand ling services. Handling services provided by third-
party contractors will be subject to the nondiscriminatory fee, subject to the exception described
in Section 4.5(b).

       (c)      The sale of tickets, documentation of shipments, handling of reservations, and
loading and unloading of persons, property, cargo, baggage, express packages, and mail at the
Airport in the operation of Airline's Air Transportation Business.

         (d)    The hiring, employment, and training at the Airport of personnel in the current or
future employ of Airline, and training of Airline's authorized contractors. Training is to be limited
to that incidental to Airline's Air Transportation Business at the Airport. Flight training and testing
of aircraft and other equipment shall be undertaken by Airline only with the prior written approval
of the Director, and to the extent permitted by, and subject to, the Rules and Regulations.

       (e)     The purchase of Airline's requirements of fuel, lubricants, propellants, personal
property, services, food, beverage, catering services, other passenger supplies, and any other
materials and supplies used by Airline that are incidental to the operation of Airline 's Air
Transportation Business. Nothing herein shall restrict the City from requiring a permit and levying
a charge on any person or company for conducting such commercial operations (e.g., the sale of
food, beverage, or commissary supplies, or providing of services, including to Airline) at the
Airport.

       (f)     The sale, disposal , and exchange of Airline's aircraft, engines, accessories and other
equipment, and materials or supplies, provided that such right shall not be construed as authorizing
the conduct of a separate regular business by Airline, but as permitting Airline to perform only
such functions as are incidental to the operation of its Air Transportation Business at the Airport.

        (g)     The servicing by Airline, or by its suppliers of materials or furnishers of ervices,
of aircraft and other equipment operated by Airline, including the provision of line maintenance
or other materials or supplies, on Exclusive Use Premises or at assigned Gates or other locations
designated by the Director.

        (h)     The installation and operation of static or digital identifying igns, posters, and
graphics and directional signs guiding passengers as needed in Airline's Exclusive Use Premises,
subject to the prior written approval of the Director. Such signs shall be substantially uniform in
size, type, and location with those of other airlines, consistent with the City 's graphic standards
and the Rules and Regulations, and in compliance with all Applicable Laws.

        (i)     The installation, maintenance, and operation of such electronic or electrical devices,
radio, communication, meteorological, and aerial navigation equipment and facilities at uitable
locations on the Airport as may be necessary or convenient in the opinion of Airline for its
operations; provided that: (i) the location and number of such equipment and facilities shall be
subject to the prior written approval of the Director; (ii) the use and location of such equipment
and facilities shall not conflict with other similar equipment and facilities at the Airport; and (iii)
the use and location of such equipment and facilities on the Airport shall be subject to the payment
of standard rental rates established for such use.



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         (j)    The installation, maintenance, and operation of computer data lines, non-revenue
generating wi-fi networks, telephone communications equipment, radio antennas and equipment,
associated cables, associated conduits, and telephone communications switchgear and support
computers at suitable locations on the Airport as may be necessary or convenient in the opinion of
Airline for its operations; provided that: (i) all such equipment (except for the associated cables
and conduits) be clearly tagged as belonging to Airline, to include a contact telephone number; (ii)
the location of such equipment shall be subject to the prior written approval of the Director; (iii)
the use and location of such equipment shall not interfere with the use of other similar equipment
on the Airport; (iv) the u e and location of such equipment, except for cables, on the Airport shall
be only in Exclusive Use Premises or Joint Use Premises assigned to Airline, and for which rentals,
fees , and charges are being timely paid by Airline pursuant to this Agreement; (v) all cables are
installed in conduits, and when such cables are no longer needed, they are promptly removed by
Airline without damage to the space and the conduits are also promptly removed by Airline if so
required by the Director; and (vi) all installation or removal is performed in accordance with the
City's Cabling standards policy, as such policy may be amended from time to time, and any
applicable permitting requirements.

        (k)    The storage and parking of equipment, cargo, and vehicles in connection with
Airline's Air Transportation Business, but only at such locations as specifically designated by the
Director.

       (1)     The maintenance and repair of equipment and vehicles in connection with Airline 's
Air Transportation Business, but only at such locations as specifically designated by the Director.

        (m)    The operation of break rooms for Airline 's employees (and no other persons), and,
to the extent permitted by law and not otherwise restricted by Section 4.3(a)(vi), the serving of
food and beverages in such employee break rooms if provided to such employees for free or if
pursuant to the limited exception in Section 4.3(a)(vi) for vending machines.

       Section 4.2     Ingress and Egress.

        (a)    Subject to the terms and provisions of this Agreement, the following privileges of
ingress and egress with respect to the Airport are hereby granted:

               (i)     For Airline, its agents, employees, contractors, subcontractors, and
       permitted subles ees and assigns, access to the public areas of the Airport and the Airline
       Premise . This right shall extend to Airline 's aircraft, vehicles, machinery, and equipment
       used in its Air Transportation Business.

               (ii)    For Airline's passengers, guests, and invitees, access to areas leased
       exclusively to Airline and to areas provided for the use of Airline 's passengers, guests, and
       invitees in common with those of other Air Carriers and to pub Iic areas and public facilities.
       This right shall extend to vehicles of such passengers, guests , and invitees.

               (iii)   For Airline's suppliers of materials and furnishers of service, access to the
       public areas of the Airport and to areas and facilities leased exclusi vely to Airline and to
       areas and facilities provided for the joint use by Airline or its suppliers of materials and
       furnishers of services. This right shall extend to vehicles, machinery, or equipment of such


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       suppliers and furnishers used in their business of furnishing such supplies and services to
       Airline.

        (b)    The ingress and egress provided for above shall not be used, enjoyed, or extended
to any person, Air Carrier, or vehicle engaging in any activity or performing any act or furnishing
any service for or on behalf of Airline that Airline is not authorized to engage in or perform under
the provisions of this Agreement unless expressly authorized by the Director.

       Section 4.3     Restrictions.

        (a)     Airline or any of its agents, employees, directors, officers, contractors, invitees,
licensees, or representatives shall not do any of the following :

              (i)     Do anything that may interfere with the effectiveness or accessibility of the
       drainage and sewage system, electrical system, air conditioning system, fire protection
       system, sprinkler system, alarm system, fire hydrants, and hoses, if any, installed or located
       on or within the premises of the Airport.

              (ii)    Do anything that may invalidate or conflict with any fire or other casualty
       insurance policies covering the Airport or any part thereof.

               (iii)    Keep or store, at any time, flammable or combustible liquids except in
       storage facilities especially constructed for such purposes in accordance with all Applicable
       Laws, including the Uniform Fire Code and the Uniform Building Code.

               (iv)     Do anything that may be in conflict with the provisions of 14 CFR Part 139,
       Airport Certification, as may be amended from time to time, or jeopardize the operating
       certificate of the Airport.

               (v)     Do anything that may be in conflict with the provisions of 49 CFR Part
       1542, Airport Security, as may be amended from time to time, or the TSA-approved
       security plan for the Airport.

               (vi)   Permit any amusement machine, vending machine, public pay telephone,
       facsimile machine, copy machine, or other machine operated by coins, tokens, or credit
       cards to be installed or maintained in any publicly accessible area without the express
       written determination of the Director. Airline or its nominee may, however, install,
       maintain, and operate vending machines in Airline 's Exclusive Use Premises not accessible
       to the public for the purpose of providing and making available foods , beverages, and
       sundry food items to Airline 's employees only.

               (vii) Provide commercial ground transportation services to any person upon
       payment of any fee or charge. Airline shall not be in violation of this Section 4.3(a)(vii) if
       providing limited ground transportation free of any fee or charge to any passenger as a
       result of irregular operations or to Airline 's employees.




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              (viii) Perform aircraft engine run-ups, except at locations and during time periods
       approved in writing in advance by the Director or in accordance with Airport established
       processes and procedures.

                (ix)   Enter into activities at the Airport that compete with the City in the City's
       development of any Non-Airline Revenue from Airport passengers, tenants, and other
       users . Should Airline engage in non-airline business activities not specifically permitted in
       this Agreement, the City may levy a non-discriminatory fee on such activities.

       Section 4.4     Concession Services Rights Reserved by City.

        (a)    Except as otherwise provided herein, the City reserves the exclusive right to itself,
its agents, and its franchisees to operate alt concession services (including, but not limited to,
food/beverage and news/gift concessions, specialty retail shops and carts, vending machines, pay
telephones, facsimile machines, and other voice and data telecommunications systems, advertising
displays, baggage lockers, and baggage carts) in the Terminal Building and the FIS, including the
Airline Premises, such as holdrooms and loading bridge exterior areas, and to retain the revenue
therefrom; provided, however, that: (i) the City agrees that no concession services shall be located
or operated by the City or its nominees in Airline 's Exclusive Use Premises or on Airline-owned
equipment without Airline's prior consent; and (ii) the City shall not exercise such right in a
manner that will materially impede passenger ingress or egress or Airline's business operations.

        (b)     The City shall operate all concessions and provide uch other services (with
reasonable due consideration to requests made by Airline) for scheduled airline passenger
operations at the Airport as it deems necessary or appropriate. Nothing herein shall limit or
preclude the City from operating whatever concessions or providing whatever services it may
desire at any and all airports and other facilities owned by the City.

        (c)    The distribution , serving or sale of food and/or beverages (including alcoholic
beverages) meant to be consumed aboard Airline's aircraft by Airline or its in-flight catering
provider shall be limited to Airline's passengers while on Airline's aircraft, unless otherwise set
forth in this Agreement or agreed in writing by the Director. The provisions of this section
notwithstanding, all distribution of alcoholic beverages shall comply with all Applicable Laws.

        (d)     Airline shall be allowed to provide water and typical on-board snacks (such as
peanuts, pretzels, etc.) in passenger holdroom at no cost to Airline's passengers in the event of
originating flights with delays greater than two (2) hours, diverted flights , or originating flights
that have returned to the Gate. All such food and/or beverages shall be on-board snacks brought
from an aircraft or otherwise shall be purchased only from the City 's food and beverage
concessionaires operating at the Airport or others that pay permit fees to the City or used from
Airline's provisional flight supplies, provided, however, that in the event the City's food and
beverage concessionaires have closed for the day or are closed due to some other circumstance
and Airline is experiencing delays, diversions or originating flights returning to Gates, Airline may
seek delivery of food and non-alcoholic beverage from non-City sources. Otherwise, distribution
of food and/or beverages at no cost to Airline's passengers by Airline shall be permitted only with
advance written approval of the Director.




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        (e)     Except as allowed herein or approved in writing by the Director, all other serving,
distribution, or sale of food or beverages by Airline at the Airport is prohibited.

       Section 4.5     Ground Handling Services by Airline or Others.

        (a)       Airline may contract with, or receive from, other Air Carriers serving the Airport
or other third-party companies, ground handling services (both above and below the wing services)
for Airline 's aircraft, provided that:

              (i)    Airline shall give the Airport Director written notice of any such proposed
       handling agreement at least ten (10) business days prior to the effective date thereof;

               (ii)    Airline shall obtain any permit, license, or other authorization required by
       the City to perform such duties at the Airport;

               (iii)  Airline shall ensure that its third-party service provider(s) obtains any
       permit, license, or other authorization required by the City to perform such duties at the
       Airport; and

              (iv)     othing in this Section shall be construed to relieve Airline or any such
       handled Air Carrier from its obligations hereunder.

        (b)    Nothing herein shall restrict the City from levying a nondiscriminatory concession
fee for ground handling services on any person or company (including Airline when Airline is
providing these services to other Air Carriers.

       (c)    Airline's insurance, as required in this Agreement, shall provide insurance coverage
for such ground handling services to the extent it i not covered by a ground handling services
company's own insurance.

       Section 4.6     Airport Security.

        Airline understands and agrees that it shall fully indemnify, defend, and hold harmless the
City, and the City Indemnified Parties (as defined in Section 13.2) from and against all penalties,
fines, or demands of any kind (including, but not limited to, costs of investigation, attorney fees ,
court costs, and expert fees) to the extent arising out of Airline ' s acts or omissions resulting in
alleged violations of 49 CFR Part 1542, Airport Security, as may be amended from time to time,
or any successor regulations related to airport security. If Airline, its officers, employees, agent ,
or those persons under Airline ' s control (not including Airline's passengers) shall fail or refuse to
comply with the aforementioned security requirements and such non-compliance results in a
monetary penalty being assessed against the City, Airline shall be responsible for the costs thereof
and shall reimburse the City in the full amount of any such monetary penalty; provided, however,
that Airline shall the right, but without withholding timely payment or reimbursement to the City
thereof, to contest the validity or amount of any such monetary penalty in accordance with Section
13.2(b).




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        Section 4.7     Removal of Disabled Aircraft.

        Upon release of Airline's disabled aircraft by the proper authorities, Airline shall promptly
remove any such disabled aircraft from any part of the Airport (including, without limitation,
runways, taxiways, aprons, and Gate positions) and place any such disabled aircraft in such storage
area as may be designated by the Director. Airline may store such disabled aircraft only for such
length oftime and on such terms and conditions as may be established by the City. If Airline fails
to remove any of its disabled aircraft promptly in accordance with this paragraph, the Director
may, but shall not be obligated to, after delivering reasonable advance notice to Airline, cause the
removal of such disabled aircraft, such removal and associated storage consistent with Applicable
Laws. Airline agrees to reimburse the City for all costs of such removal and storage.

        Section 4.8     Employee Parking Facilities.

        Airline and its Airport employees shall have the right to use the vehicular parking facilities
at the Airport, in common with employees of other airlines, tenants, and Airport-related services.
Use of the employee parking facilities is subject to the payment of such employee parking fees as
established from time to time by the City. Such facilities shall be located in an area designated by
the Director. Airline shall, on request of the Director, provide verification that it is only authorizing
and paying for parking for its on-Airport and/or Airport-based employees in City-designated
employee parking spaces.

        Section 4.9     Restrictions and Reservations.

        Unless explicitly provided otherwise herein, the City specifically reserves and retains all
rights not specifically granted herein, including but not limited to those with respect to licensing
or contracting for concessions, general consumer services, fixed base operators, or other
commercial aeronautical services, and related aviation services at the Airport, including, but not
limited to food, beverage, retail, advertising, and vending, within the Terminal Building, whether
in Airline Premises or public areas of the Airport, and nothing herein shall restrict the City from
requiring a permit and levying a charge on any person or company for conducting business at the
Airport.

                                     ARTICLE 5
                         AIRLINE RENTALS, FEES, AND CHARGES

       In consideration for use of the Airline Premises, facilities , rights, and privileges granted
hereunder and for the undertakings of the City, Airline agrees to pay the City during the Term of
this Agreement, without deduction or set-off, certain rentals, fees , and other charges calculated
according to Article 6 of the Signatory Airline Agreement and the Rates and Fees Schedule.

        Section 5.1     Time of Payment.

       (a)    Airline shall make timely payments to the City of Airline rentals, fees , and charges
in accordance with the following:




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                (i)      Terminal Building Rentals, Apron Area Fees, and Loading Bridge Fees shall
        be due and payable, without deduction or setoff, in monthly installments in advance on or
        before the first day of each month.

                (ii)    Landing Fees, Joint Use Charges, Baggage Handling System Fees, Per Use
        Fees - Gates, Per Use Fees - Ticket Counters, FIS Charges, and RON Parking Fees for
        each month of operations shall be due and payable without deduction or setoff within
        fifteen (15) days after transmittal of an invoice, given that Airline 's monthly statistical
        report as required in Section 7 .1 shall be received by the City within ten (10) days after the
        last day of the month after such month of operations.

               (iii)   Airline shall faithfully collect and promptly remit to the City (without notice
        or demand by the City and in accordance with 14 CFR 158, Passenger Facility Charges, as
        may be amended from time to time) the proceeds of the City's Passenger Facility Charge
        so long as the City has an approved Passenger Facility Charge in effect.

                (iv)    Rentals, fees , and charges not described above shall be due and payable
        within thirty (30) days after transmittal of invoice by the City. The City will provide such
        invoice within thirty (30) days of activity for which charge is generated.

        (b)    The acceptance of any payment made by Airline shall not preclude the City from
verifying the accuracy of Airline 's reporting and computations or from recovering any additional
payment actually due from Airline or preclude Airline from later demonstrating that Airline's
report was inaccurate and that a lesser amount was properly owed (and to recover any such
overpayment).

         (c)    In establishing the rentals, fees , and charges set forth in this Agreement, the City is
anticipating timely payment of such rentals, fees , and charges. Untimely payment of these rentals,
fees , and charges jeopardizes the operation of the Airport. Therefore, in the event that rentals, fees ,
and charges are not paid timely by Airline, the Director is authorized and directed to seek any
necessary legal and administrative remedy to obtain collection of the unpaid rentals, fees , and
charges and to assure timely payment of future rentals, fees, and charges. These remedies shall be
in addition to late fees required herein and may include any of the following:

               (i)     Seeking administrative relief through appropriate federal agencies ,
        including the FAA.

                 (ii)    Equitable and judicial remedies .

                 (iii)   Such other legal and administrative remedies as permitted by law.

      (d)        Failure to send a timely invoice does not relieve Airline from any obligation of
payment.

        Section 5.2      Method of Payment.

        Rentals, fees , and charges shall be paid in United States Dollars by wire, electronic funds
transfer, or check payable to San Antonio International Airport, the City of San Antonio, which


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shall be delivered or mailed, postage prepaid, to City of San Antonio, Aviation Department,
Accounting Section, 457 Sandau Road, San Antonio, TX 78216 or which may be paid by wire
transfers to accounts of the Airport designated in writing by the Director. To arrange payment by
wire or electronic funds transfer, Airline shall contact the Aviation Department's Accounting
Section at (210) 207-7242 for further information.

       Section 5.3     Late Fees on Overdue Payments.

        Without waiving any other right available to the City, in the event of a default in Airline ' s
payment of any rentals, fees , and charges under this Agreement, including Passenger Facility
Charge proceeds, in the event that Airline is delinquent for a period of thirty (30) calendar days or
more from the date when such payment is due to the City, Airline shall pay the City late fees
thereon, from the date such rentals, fees , or charges become payable to the date of payment at the
rate of one and one-half percent (1.5%) per month ; provided, however, that if the maximum rate
then provided by law is less than 1.5% per month , then the rate shall be such maximum legal rate.
The City may, but is not obligated to, provide Airline with a written reminder when invoiced
rentals, fees , or charges have not been received within thirty (30) calendar days of transmittal of
the invoice therefore and prior to assessing late fees in accordance with this Section 5.12 .

       Section 5.4     Performance Guarantee.

        (a)     To guarantee Airline 's faithful performance of all terms and conditions contained
herein, including but not limited to the timely payment of all rentals , fees , and charges, Airline
shall remit to the City, prior to the Effective Date, a performance guarantee ("Performance
Guarantee") in an amount totaling: three (3) months ' of Airline 's estimated Terminal Building
Rentals, Loading Bridge Fees, Joint Use Charges (as determined using activity data for the most
recent six (6) calendar months to determine Airline's obligation u ing the Joint Use Charges
formula, if such data is available, or on any reasonable basis determined by the City in its discretion
including Airline's published schedule as of that date), and Landing Fees (as determined on the
basis of Airline's estimated Landed Weight each year times three-twelfths (3/12) at the actual
Landing Fee rate effective for the Fiscal Year).

        (b)      The Performance Guarantee may be adjusted by the City annually, or more
frequently, if there is a material change to the amount required in this Section 5 .13 from Air! ine.
Such Performance Guarantee shall be in the form of a letter of credit, bond, or other instrument
satisfactory to the City, in a form acceptable to the Director. The Performance Guarantee must
provide that it shall remain in full force and effect for a period extending three (3) months following
termination of this Agreement (and for a period of three (3) months following any holding over by
Airline pursuant to Section 2.2), provided that the City shall release or return the Performance
Guarantee to Airline at the conclusion of such 3-month period (less any amounts it is entitled to
retain hereunder), which obligation shall survive the expiration or termination of this Agreement.

       (c)     In the event the City is required to draw down or collect against Airline 's
Performance Guarantee for any reason, Airline shall , within ten (10) business days after the City's
written demand, take such action as may be necessary to replenish the existing Performance
Guarantee to its original value or to provide a replacement Performance Guarantee from another




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source so that the aggregate of the Performance Guarantee(s) is equal to three (3) months'
estimated rents and landing fees payable by Airline as described above.

        (d)    Upon Airline's election to assume this Agreement under Federal Bankruptcy Rules
and Regulations and the Federal Judgeship Act of 1984 or any successor statute, as such may be
amended, supplemented, or replaced, the City, by written notice to Airline given at any time within
ninety (90) days of the date such event becomes known to the City, may impose or re-impose the
Performance Guarantee requirements on Airline. In such event, Airline shall provide the City with
the required Performance Guarantee within ten (10) days from its receipt of such written notice
and shall thereafter maintain such bond in effect until the expiration or termination of this
Agreement.

        (e)     If Airline shall fail to obtain or keep in force such Performance Guarantee required
hereunder, such failure shall be grounds for immediate termination of this Agreement. The City's
rights under this Article shall be in addition to all other rights and remedies provided to the City
under this Agreement.

        (f)     Airline and the City agree that if Airline provides a Performance Guarantee in the
form of a contract bond or irrevocable letter of credit, such Performance Guarantee provided by
Airline is not 'property of the estate ' for purposes of Section 541 of the United States Bankruptcy
Code (Title 11 U.S .C.), it being understood that any Performance Guarantee is the property of the
third party providing it (subject to the City 's ability to draw against the Performance Guarantee).

       Section 5.5     Passenger Facility Charges.

        (a)     The City reserves the right to assess and collect PFCs subject to the terms and
conditions set forth in 49 U.S.C . § 40117 (the "PFC Act") and the rules and regulations thereunder,
14 C.F.R. Part 158 (the "PFC Regulations") , as may be amended from time to time. Airline will
collect FAA-approved PFCs imposed by the City from all eligible Enplaned Passengers. On or
before the last day of each month, Airline will remit to the City all PFC revenue collected for the
previous month, less any compensation provided for under 14 CFR § l 58.53(a), as may be amended
from time to time, together with all reports required under§ 158.65.

        (b)    If Airline transports passengers from the Airport on Airline's aircraft chartered by
a charter Air Carrier or tour operator issuing passenger tickets other than Airline 's, Airline will
provide the City with a schedule detailing the date and time of the flight and the number of
Enplaned Passengers. Airline agrees to pay the required PFC amount due the City in a timely
manner and to seek reimbursement from the charter Air Carrier or tour operator with no liability
to the City.

         (c)     Airline shall hold the net principal amount of all PF Cs that are collected by Airline
or its agents on behalf of the City pursuant to the PFC Act and the PFC Regulations in trust for the
City. For purposes of this Section, net principal amount shall mean the total principal amount of
all PFCs that are collected by Airline or its agents on behalf of the City, reduced by all amounts
that Airline is permitted to retain pursuant to§ 158.53(a) of the PFC Regulations (such net principal
amount known as "PFC Revenue") . Airline acknowledges that all PFC Revenue collected for the
City neither belongs to nor is owned by Airline except to the extent set forth in applicable Federal



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law and, unless the status of PFC Revenue in the possession of Airline is characterized in a separate
manner under FAA regulations (in which case such characterization shall prevail), that such PFC
Revenue is held in trust by Airline for the exclusive use and benefit of the City. Airline shall not
make any claim in any document or proceeding that, for PFC Revenue collected by Airline on
behalf of the City, the Airline has any legal or equitable interest in such PFC Revenue, except to
the extent Airline is specifically granted such interest by Federal statute or regulation, including
the right of reimbursement from such PFC funds for the Airline's costs of collection.

       (d)    Any late payment of the PFC may be subject to late fees computed at the rate of
one and one-half percent (1.5%) per month or, if less, the highest rate permitted by Applicable
Law, from the due date until paid, to the extent allowed by Applicable Law.

        (e)     Airline acknowledges that the City has given to the United States of America, acting
by and through the FAA, certain assurances under the PFC Act and the PFC Regulations, including
Appendix A thereto (the "PFC Assurances"), and Airline agrees that this Agreement shall be
subordinate and subject to all PFC Assurances. In the event the FAA requires any modification of
this Agreement as a condition precedent to the City 's collection of PFCs or as a means to effect
the City's compliance with the PFC Act, the PFC Regulations, or the PFC Assurances, Airline shall
not withhold its consent to any modification of this Agreement as may reasonably be required for
the City to collect PFCs or to comply with the PFC Act, PFC Regulations, and/or PFC Assurances.

                                           ARTICLE 6
                                          [RESERVED]

                                        ARTICLE 7
                                AIRLINE ACTIVITY REPORTS

       Section 7.1     Required Monthly Activity Reports .

        Airline shall furnish to the Director, on or before the tenth (10th) day of each month, an
accurate verified report detailing its operations for the previous month in accordance with Section
7.1 of the Signatory Airline Agreement. The City reserves the right to periodically audit these
reports to verify the accuracy of the information.

       Section 7.2     Failure to Furnish Report.

        If Airline fails to furnish the City with the report described above, the City reserves the
right to calculate Airline ' s Landing Fee by assuming that the total Landed Weight for Airline
during the preceding month was one hundred twenty-five percent (125 %) of the total Landed
Weight for the most recent month for which such figure is available or other available data. Any
necessary adjustment in such Landing Fee shall be calculated after an accurate report is delivered
to the Director by Airline for the month in question, and resulting surpluses or deficits shall be
applied to Airline ' s Landing Fee for the next succeeding month. An accounting fee of 100 for
each failure to furnish such report by Airline may be charged to Airline and shall be payable by
Airline for the additional services required by the City pursuant to this paragraph in addition to
any late fees charged pursuant to Section 5.12.




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                                           ARTICLE 8
                                          [RESERVED]

                                     ARTICLE 9
                           BOND ORDINA CE SUBORDINATION

       Section 9.1     Subordination to Bond Ordinance.

         (a)    This Agreement and all rights of Airline hereunder are expressly subordinated and
subject to the lien and provisions of any pledge, transfer, hypothecation, or assignment made (at
any time) by the City to secure Airport Bond financing. This Agreement is subject and subordinate
to the terms, covenants, and conditions of the Bond Ordinance authorizing the issuance of Airport
Bonds by the City of San Antonio. The City may amend or modify the Bond Ordinance or make
any change thereto that does not materially adversely affect Airline rights under this Agreement.
Conflicts between this Agreement and the Bond Ordinance shall be resolved in favor of the Bond
Ordinance.

                                ARTICLE 10
                 MAINTENANCE AND OPERATING RESPONSIBILITIES

       Section 10.1 Designation ofTerminal Building Maintenance Responsibilities.

        (a)      In addition to the obligations of Airline and the City set forth in this ARTICLE 10,
the Parties ' responsibilities for maintenance, cleaning, and operation of the Airline Premises and
certain other portions of the Airport are set forth in the Maintenance Schedule presented in Exhibit
K . Airline agrees to perform the obligations set forth in the Maintenance Schedule, which are
assigned to Airline, and the City agrees to perform the obligations set forth in the Maintenance
Schedule, which are assigned to the City.

       Section 10.2    Maintenance Responsib ilities at Airline Premises.

         (a)     Airline shall perform ordinary preventive maintenance and upkeep and repair of all
facilities located in its Exclusive Use Premises at Airline 's sole cost and expense in accordance
with Exhibit K. Airline shall, at all times, preserve and keep the Airport, Airport facilities , and
Airline Premises in an orderly, clean, neat, and sanitary condition, free from trash and debris
resulting from Airline 's operation.

        (b)     Airline shall keep, at its own expense, its Terminal Building and/or cargo aircraft
aprons free of fuel, oil, and other foreign objects and debris resulting from Airline 's operations.
Airline shall operate and maintain, at its own expense, any improvements and/or equipment
installed by Airline for the exclusive use of Airline.

       Section 10.3    Airline-Constructed Improvements.

       (a)      Airline shall make no alterations, additions, improvements, or installations on the
Airline Premises or the Airport without prior written approval from the Director and without
obtaining all applicable permits and in compliance with all Rules and Regulations and Applicable
Laws .


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        (b)     Airline shall cause all improvements and facilities , and additions thereto,
constructed or installed by Airline, either alone or in conjunction with others, and all vehicles and
equipment operated by Airline on the Airport, to be kept and maintained in a safe condition and in
good repair in accordance with uniform standards applicable to all similarly situated Airport
tenants as established from time to time by the Director. Airline shall keep the Exclusive Use
Premises and improvements thereon in a safe, sanitary, and neat condition .

        (c)     Airline covenants and agrees to pay all costs necessary to complete approved
alterations or improvements. The City will not be responsible for any costs relating to such
alterations or improvements whether such alterations or improvements were requested by Airline
or were required by the City in accordance with this Agreement or any other Governmental
Authority or pursuant to Applicable Laws.

       Section 10.4    Additional Requirements for Construction Contracts.

       (a)      In accordance with Section 2252 .909 of the Texas Government Code, Airline shall
include the following requirements in all Construction Contracts :

             (i)      a requirement that the Contractor execute a payment bond that conforms to
       Subchapter I, Chapter 53 , of the Texas Property Code;

               (ii)    a requirement that the Contractor execute a performance bond in an amount
       equal to the amount of the Construction Contract for the protection of the City and
       conditioned on the faithful performance of the Contractor 's work in accordance with the
       plans, specifications, and contract documents ; and

               (iii)   a requirement that the Contractor provide to the City a notice of
       commencement ("Notice of Commencement') consistent with said Section 2252.909 at
       least ninety (90) days before the date construction, alteration, or repair of any Improvement
       or Alteration to the Premises begins. The Notice of Commencement must:

                       (A)     identify the public property where the work will be performed;

                       (B)     describe the work to be performed;

                       (C)     state the total cost of the work to be performed;

                        (D)    include copies of the performance and payment bonds required by
        this Section; and

                       (E)     include a written acknowledgement signed by the Contractor stating
        that copies of the required performance and payment bonds will be provided to all
        subcontractors no later than the fifth day after the date a subcontract is executed.

       (b)     On or before the 10 th day after the date the City receives a Notice of
Commencement, the City may, in its sole discretion, notify Airline that the construction, alteration,
or repair of the Improvement or Alteration may not proceed. A material misrepresentation of
information in a Notice of Commencement is a Class A misdemeanor.


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        Section 10.5    Visual Artists Rights Act.

        Airline shall not install any object in the Terminal Building or commence construction of
any alterations, additions, or improvements that constitutes a work of visual art under the Visual
Artists Rights Act of 1990, as amended (" VARA ") unless and until Airline has provided the City
with either (i) written notification satisfactory to the City that VARA does not apply; or (ii) a
written waiver from the author of a work of visual art, in form and substance reasonably
satisfactory to the City, which identifies specifically the work of visual art and the uses of that
work to which the waiver applies in accordance with 17 U.S.C. § 106A(e)(l).

        Section 10.6    Performance by City Upon Failure of Airline to Maintain.

         In the event Airline fails within thirty (30) days after receipt of written notice from the City
to perform any of its obligations required hereunder, the City may enter the Airline Premises
involved, without such entering causing or constituting a termination of this Agreement or an
interference with the possession of said Airline Premises by Airline, and do all things reasonably
necessary to perform such obligation. Director may charge Airline the City ' s cost of performing
such maintenance or repair plus fifteen percent (15%) for administration. Airline agrees to pay to
the City upon demand such charges in addition to any other amounts payable by Airline hereunder;
provided, however, that if Airline's failure to perform any such obligation endangers the safety of
the public, the employees or property of the City, or other tenants of the Airport and Director so
states in its written notice to Airline, the City may perform such obligation of Airline at any time
after the giving of such notice and charge to Airline the reasonable cost and expense of such
performance including any administrative fees which Airline shall pay as aforesaid.

                                            ARTICLE 11
                                            [RESERVED]

                                            ARTlCLE 12
                                            [RESERVED]

                                      ARTICLE 13
                            INSURANCE AND INDEMNIFICATION

        Section 13 .1   Insurance.

         (a)      By use and occupancy of Airport premises, Airline understands and agrees that it
shall, at its sole expense and in a manner acceptable to the City, purchase and maintain or cause to
be maintained in force the following insurance coverage for itself and its officers, agents,
employees, passengers, guests, patrons, contractors, subcontractors, licensees, subtenants,
invitees, and suppliers. Airline shall maintain in full force and effect the forms of insurance
specified in this Article 13 . All such insurance hereunder shall be maintained with insurance
underwriters with an AM Best rating of A- or better, or its international equivalent.

       (b)     All liability insurance policies shall provide coverage that includes, or has the same
substantive effect as, the following wording:




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              (i)     "The City of San Antonio and its officers, directors, employees, volunteers,
       representatives, agents, and elected and appointed representatives are listed as additional
       insured parties (except with respect to workers ' compensation/employer's liability
       insurance)."

              (ii)   "Airline 's insurance shall be primary insurance and non-contributory
       including a waiver of subrogation with respect to all other available sources."

              (iii)   "This insurance shall not be materially changed, altered, canceled, or non-
       renewed until after thirty (30) days' advance written notice has been given to the City of
       San Antonio except that only ten (10) days ' notice shall be required in the event of
       cancellation due to non-payment of premium."

        (c)     At least ten (l 0) calendar days prior to the Effective Date of this Agreement, Airline
shall furnish the City with evidence of all insurance policies required hereunder. Prior to the
expiration of any then-current policy of insurance, Airline shall deliver to the City evidence
showing that such insurance coverage has been renewed. At least five (5) calendar days prior to
the date of cancellation or reduction of coverage, as received in the written notice from the insurer,
Airline shall deliver to the Director evidence showing reinstatement or other provision for the
required insurance.

        (d)     All such evidence shall be in the form of certificates of insurance reasonably
satisfactory to the Director.

      (e)        The following types and minimum amounts of coverage are required under this
Agreement:

                (i)   Aviation liability insurance, covering bodily injury, personal injury,
       property damage, products/completed operations liability, premise liability, and contractual
       liability, with a liability limit of not less than Five Hundred Million Dollars
       ($500,000,000.00) combined single limit per occurrence, on occurrence form policy. Said
       limit shall be reduced to Two Hundred Fifty Million Dollars ($250,000,000.00) where
       Airline 's maximum seating capacity on the largest aircraft operated at the Airport by Airline
       is thirty (30) or less. With respect to coverage for products/completed operations and
       personal injury, except with respect to passengers, a sub limit of not less than Twenty-Five
       Million Dollars ($25 ,000,000.00) per occurrence, and in the annual aggregate, shall be
       permitted with the approval of the Director. Said aircraft liability shall be applicable to
       owned, non-owned, and hired aircraft.

              (ii)   Automobile liability insurance with a liability limit of not less than Ten
       Million Dollars ($10,000,000.00) for all owned, non-owned, and hired vehicles operated
       by or on behalf of Airline at the Airport, including any additional or replacement vehicles .

             (iii)   Liquor liability insurance for Airline if serving alcoholic beverages in an
       amount not less than Ten Million Dollars ($10,000,000.00) per occurrence.

              (iv)     Employer 's liability insurance in an amount not less than One Million
       Dollars ($1 ,000,000.00) per occurrence.


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                 (v)    Environmental impairment liability insurance in an amount not less than
        Two Million Dollars ($2,000,000.00) per occurrence. In lieu of environmental impairment
        liability insurance, Airline may submit proof of self-insurance by submitting a letter to the
        City attesting to the limit and extent of coverage.

                (vi)   Airline shall likewise maintain workers' compensation insurance or
        evidence of self-insurance, in accordance with the laws of the State of Texas, covering all
        of its employees who may from time to time be at the Airport in such capacity. Airline shall
        require each of its agents, licensees, contractors, subcontractors, and suppliers of the
        Airline Premises to maintain such workers ' compensation insurance covering their
        employees coming on Airport premises in connection with Airline 's operations hereunder.
        The workers' compensation policy(s) required hereunder shall be endorsed to state that the
        workers ' compensation carrier waives its right of subrogation against the City and the City
        Indemnified Parties. Upon request by the Director, Airline shall furnish the Director with
        evidence of such workers' compensation insurance in a form acceptable to the City.

        (f)    The minimum limits of the insurance herein required may become inadequate
during the Term of this Agreement. The City hereby reserves the right to review all coverages and
amounts and request adjustments as necessary in the City 's reasonable discretion.

         (g)     If, at any time, Airline fails to obtain or maintain in force the insurance required
herein, such failure, if not cured within forty-eight (48) hours, shall constitute a default permitting
the City, upon prior reasonable written notice to Airline, to (1) terminate Airline 's use of the space
or Airline's operations or activities in regard to the Airport; and/or (2) with prior written notice and
at its option, in addition to all its other remedies, procure insurance coverage at Airline 's expense
whereupon Airline promptly shall reimburse the City for such expense.

        (h)      If any claim for damages is filed with Airline or if any lawsuit is instituted against
Airline, Airline shall give prompt and timely notice thereof to the Director, provided that claims
and lawsuits subject to such notice are only those that arise out of or are in any way connected
with Airline 's or its officers ', representatives' , agents' , employees ', passengers ', guests ', patrons' ,
contractors ', subcontractors' , licensees ', subtenants' , invitees ' , or suppliers ' use of the Airline
Premises or Airline 's operations or activities in regard to the Airport and that, in any way, directly
or indirectly, contingently or otherwise, affect or might reasonably affect the City, including
without limitation Claims as defined in Section 13.2(a). Notice shall be deemed prompt and timely
if given within thirty (30) calendar days following the date of receipt of a claim or ten (10) calendar
days following the date of service of process of a lawsuit. Accident or property damage claims
against Airline in an amount less than Fifty Thousand Dollars ($50,000.00) shall be excluded from
the requirements of this paragraph unless such claim is also made against the City or a City
Indemnified Party.

        (i)     If any claim for damages is filed with the City or if any lawsuit is instituted against
the City, the City shall give prompt and timely notice thereof to Airline, provided that claims and
lawsuits subject to such notice are only those that arise out of or are in any way connected with
the operation of the Airport by the City and that the City reasonably believes materially affects or
might reasonably materially affect Airline, including without limitation Claims as defined in
Section 13.2(a). Notice shall be deemed prompt and timely if given within thirty (30) calendar


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days following the date ofreceipt of a claim or ten (10) calendar days following the date of service
of process of a lawsuit. Accident or property damage claims in an amount less than Fifty Thousand
Dollars ($50,000.00) shall be excluded from the requirements of this paragraph unless such claim
is also made against Airline or the City is seeking indemnification and/or defense from Airline
pursuant to Section 13 .2.

        (i)     The time limitations set forth above are directory. If the notice required to be given
by these paragraphs is not given within the time limitations set forth herein, then the party giving
the notice shall not be precluded from establishing that the notice actually given was timely under
the circumstances of the particular claim or lawsuit, unless by the failure to give such notice within
the applicable time period, the other party has been prejudiced in its ability to consider such claim
or to respond to, or properly defend, such lawsuit. If the other party is so prejudiced by a late
notice, then the late notice shall not be deemed to be prompt and timely.

       Section 13.2    Indemnification.

        (a)    Airline covenants and agrees to fully indemnify, defend, and hold harmless, the
City and its officers, directors, employees, City-sanctioned volunteers, representatives, agents,
elected and appointed representatives, and subdivisions (the "City Indemnified Parties"),
individually and collectively, from and against any and all costs, claims, liens, damages, losses,
expenses, fees, fines, penalties, proceedings, actions, demands, causes of action, liability and suits
of any kind and nature, including but not limited to, personal or bodily injury, death and property
damage, directly or indirectly arising out of, resulting from or related to Airline 's activities under
this Agreement or its use of the Airport, including any acts or omissions of Airline, and their
officers, volunteers, representatives, agents, employees, contractors, subcontractors, licensees,
subtenants, invitees (excluding Airline's passengers), or suppliers (the "Airline Parties") while in
the exercise of the rights or performance of the duties under this Agreement ("Claims"). The
indemnity provided for in this paragraph shall not apply to any Claims resulting from the
negligence of the City, or a City Indemnified Party, to the extent of and in instances where such
negligence causes personal injury, death, or property damage. IN THE EVENT AIRLINE AND
THE CITY ARE FOUND JOINTLY LIABLE BY A COURT OF COMPETENT JURISDICTION,
LIABILITY SHALL BE APPORTIONED COMPARATIVELY IN ACCORDANCE WITH THE
LAWS FOR THE STATE OF TEXAS , WITHOUT, HOWEVER, WAIVING ANY
GOVERNMENTAL IMMUNITY AVAILABLE TO THE CITY UNDER TEXAS LAW AND
WITHOUT WAIVING ANY DEFENSES OF THE PARTIES UNDER TEXAS LAW.

        (b)     The provisions of this Section 13 .2 are solely for the benefit of the Parties hereto
and not intended to create or grant any rights, contractual or otherwise, to any other person or
entity except the City Indemnified Parties as described herein. Airline shall promptly advise the
City in writing of any Claim against the City or a City Indemnified Party or Airline known to
Airline and shall see to the investigation and defense of such Claim at Airline 's cost, provided,
however, Airline shall not settle any such Claim without obtaining express advance permission
from the City unless such settlement provides for an unconditional release of liability for the City
or any such City Indemnified Party. In defending any such Claim, Airline shall not, without
obtaining express advance permission from the City, raise any defense involving in any way the
jurisdiction of the tribunal over the City; the immunity of the City or a City Indemnified Party; the
governmental nature of the City; or the provision of any statutes relating to suits against the City.


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The City shall have the right, at its option and at its own expense, to participate in such defense
without relieving Airline of any of its obligations under this Article.

                                       ARTICLE 14
                                  COMPLIANCE WITH LAWS

       Section 14.1    Generally.

        (a)     Airline shall, in connection with its rights and obligations hereunder, observe and
comply with and shall cause its employees, officers, agents, subtenants, contractors, and licensees
to observe and comply with, and pay all taxes and obtain all licenses, permits, certificates, and
other authorizations required by, all Applicab le Laws. Airline shall use commercially reasonable
efforts to cause its invitees to comply with and pay all taxes and obtain all licenses, permits,
certificates, and other authorizations required by, all Applicable Laws; provided that Airline does
not waive its right to contest in good faith the validity or application to Airline of any Applicable
Law or Airport Rule and Regulation, including on the basis of federal preemption.

        (b)    Airline shall make, at its own expense, all non-structural improvements, repairs,
and alterations to its Exclusive Use Premises, equipment, and personal property located on the
Airport that are required in order to comply with or conform to Applicable Laws. Airline shall
secure the written approval of the Director before proceeding under this Section 14. l(b), which
approval shall not be unreasonably withheld, conditioned, or delayed.

        (c)     Airline shall not use the Airport or any part thereof, or knowingly permit the same
to be used by any of its employees, officers, agents , subtenants, contractors, invitees, or licensees
for any illegal purposes.

       Section 14.2    Airport Rules and Regulations.

        (a)    Without limiting the foregoing, Airline shall specifically observe and comply and
cause its employees, officers, agents, subtenants, contractors, invitees, and licensees to observe
and comply with all Rules and Regulations, which include without limitation the rules and
regulations adopted in the City's Code of Ordinances, Chapter 3, Airports.

         (b)    The Director is authorized to enforce the Rules and Regulations and promulgate
other rules, regulations , and policies, from time to time, in furtherance of said purposes and/or that
the Director deems are necessary to implement the intent and express terms of this Agreement.
With respect to this Agreement, the obligation of Airline to use its diligent efforts to require such
observance and obedience on the part of its passengers, guests, invitees, and business visitors shall
apply only while such persons are in the Terminal Area and any of Airline 's non-Terminal Area
leaseholds. In the event of any conflict between requirements of Applicable Law and the Rules
and Regulations, the more restrictive requirement shall apply, as long as compliance with a more
restrictive Rule or Regulation does not violate a requirement of any Applicable Law.

        Section 14.3   Americans with Disabilities Act.

       Airline shall comply with all applicable provisions of the Americans with Disabilities Act
of 1990 (42 U.S .C. § 12101), as may be amended from time to time, and federal regulations


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promulgated thereunder that may be made applicable as a result of construction activities
conducted by Airline.

        Section 14.4    Ethics.

        (a)      The Charter of the City of San Antonio and the City of San Antonio Code of Ethics
("Code of Ethics") prohibit a City officer or employee, as those terms are defined in Section 2-52
of the Code of Ethics, from having a direct or indirect financial interest in any contract with the
City. An officer or employee has a "prohibited financial interest" in a contract with the City or in
the sale to the City of land, materials, supplies or service, if any of the following individual(s) or
entities is a party to the contract or sale:

               (i)   a City officer or employee; his or her spouse, sibling, parent, child, or other
        family member within the first degree of consanguinity or affinity;

                (ii)     an entity in which the officer or employee, or his or her parent, child or
        spouse directly or indirectly owns (i) ten ( 10) percent or more of the voting stock or shares
        of the entity, or (ii) ten ( 10) percent or more of the fair market value of the entity; or

               (iii)   an entity in which any individual or entity listed above is (i) a subcontractor
        on a City contract, (ii) a partner or (iii) a parent or subsidiary entity.

        (b)      Pursuant to the subsection above, Airline warrants and certifies, and this Agreement
is made in reliance thereon, that by contracting with the City, Airline does not cause a City
employee or officer to have a prohibited financial interest in the Contract. Airline further warrants
and certifies that it has tendered to the City a Contracts Disclosure Statement in compliance with
the City 's Ethics Code.

        Section 14.5    Furnishing of Services.

        As a condition of the use of Airport services and facilities , Airline shall furnish its services
on a reasonable, and not unjustly discriminatory basis to all users thereof, and it shall charge
reasonable and not unjustly discriminatory prices for each unit or service, provided that Airline
may make reasonable and nondiscriminatory discounts, rebates, or other imilar types of price
reductions to volume purchasers.

        Section 14.6    Affirmative Action.

        As a condition of the use of Airport services and facilities , Airline shall undertake an
affirmative action program to the extent required by FAA regulations, Title 14, Code of Federal
Regulations, Part 152, Subpart E, entitled "Nondiscrimination in Airport Aid Program," or as
otherwise approved by the FAA, to ensure that no person shall on the grounds of race, creed, color,
national origin, sex, or handicap be excluded from participation in any employment activities
covered in such Subpart E. Airline shall not exclude any person on such grounds from participating
in or receiving the services or benefits of any program or activity covered by such Subpart E.
Airline shall require that its covered suborganizations provide assurances to Airline that they
similarly will undertake affirmative action programs and that they will require assurances from



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their suborganizations, to the extent required by Title 14, Code of Federal Regulations, Part 152,
Subpart E, to the same effect.

       Section 14.7    Disadvantaged Business Enterprises.

        As a condition of its use of Airport services and facilities, Airline shall comply with the
applicable requirements of Title 49 of the Code of Federal Regulations, Part 26, and entitled
"Participation by Disadvantaged Business Enterprises in Department of Transportation Financial
Assistance Programs" as this Part may be amended from time to time.

       Section 14.8    Federally Required Provisions.

       Airline acknowledges that the City is required by the FAA under the terms of its Grant
Assurances to include in this Agreement certain required contract provisions, included as Exhibit
L hereto ("Required Federal Provisions") . Airline agrees to comply with the Required Federal
Provisions and, where applicable, include the Required Federal Provisions in each of its
subcontracts without limitation or alteration. Airline acknowledges that a failure to comply with
the Required Federal Provisions constitutes an Event of Default (subject to any applicable notice
and cure periods described herein). Airline further acknow ledges that the FAA may from time to
time amend such required contract provisions and agrees that the City may unilaterally modify the
Required Federal Provisions so lely to the extent such modification is necessary to comply with its
Grant Assurances by providing Airline with prompt notification of such modification.

                                    ARTICLE 15
                             ENVIRONMENTAL PROVISIONS

        Section 15.1   Condition of Airline Premises and General Environmental Obligations of
Airline.

       (a)      At its option, prior to occupying the Airline Premises, Airline may conduct an
environmental audit for the purposes described in Section 15.15 below. Airline shall manage and
conduct all of its activities on or relating to the Airline Premises:

               (i)     in compliance with app licable Environmental Laws and the environmental
       provisions of this Agreement;

              (ii)   in cooperation with the Airport in the Airport's efforts to comply with
       applicable Environmental Laws; and

               (iii)  in adherence with Best Management Practices app licable to Airline 's use of
       the Airline Premises.

        (b)    Airline shall promptly correct any non-compliance by Airline with applicable
Environmental Laws or the environmental provisions of this Agreement, except in the event of an
emergency, in which case, Airline shall take immediate steps to correct any such non-compliance.
Airline shall manage and, to the extent within the control of Airline, secure the Airline Premises
and its occupation or use of the Airline Premises so as to prevent any violation of applicable



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Environmental Laws by any person on the Airline Premises in connection with Airline's use of the
Airline Premises hereunder.

       Section 15.2    Compliance with Environmental Laws.

        Airline shall not cause or allow a Hazardous Substance Release into or onto the Airline
Premises or any other location upon or above the Airport, and shall not allow any such release by
its employees, agents, permittees, contractors, subcontractors, sublessees, or others in Airline' s
control, supervision, or employment.

       Section 15 .3   Hazardous Substance Use on Airline Premises.

        (a)     Airline may store and use Hazardous Substances that are associated with Airline 's
Air Transportation Business on the Airline Premises. Airline shall use reasonable efforts to
minimize Hazardous Substance use on the Airline Premises and identify and use non-hazardous
alternatives in Airline 's operations.

       Section 15 .4   Safety Data Sheets for Hazardous Substances.

        Airline shall maintain Safety Data Sheets ("SDSs") for all Hazardous Substances used on
the Airline Premises by Airline or by its agents , employees, contractors, licensees, invitees, or
sublessees, to the extent required by Environmental Laws. In order to ensure that the SDSs are
available to the City in the event of a Hazardous Substances Release or other emergency, the SDSs
shall be kept current at all times and a copy of the SDSs shall be kept in a place known to and
easily accessible to the City.

       Section 15.5    Storm Water Management System and Wash Water Discharges.

        (a)     Airline must at its sole cost manage storm water associated with the Airline
Premises ("Airline's Storm Water") prior to its discharge into any storm sewer system. Airline
shall not discharge storm water to any storm sewer system without complying with applicable laws
and regulations, including any applicable Environmental Laws and with the City's or Airline's
stormwater permit issued under the Texas Pollution Discharge Elimination System ("TPDES'').

               (i)    Airline acknowledges that the City's TPDES municipal separate storm
       sewer system (MS4) permit and its TPDES industrial multi sector stormwater discharge
       general permit ("Industrial Stormwater Permit") , and any subsequent amendments,
       extensions, or renewals thereto, to the ext nt affecting Airline 's operations at the Airport,
       are incorporated by reference into thi s Agreement. The City shall provide Airline with
       written notice of the City 's MS4 and Industrial Stormwater Permit discharge permit
       requirements (including any modifications thereto) that are applicable to Airline 's
       operations and that Airline shall be obligated to perform from time to time at the Airport
       including, but not limited to : certification of non-stormwater discharges ; implementation
       of "good housekeeping" measures or Best Management Practices; and maintenance of
       necessary records.




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              (ii)   Airline must maintain its own Industrial Stormwater Permit, and may
       prepare its own Storm Water Pollution Prevention Plan ("SWPPP") or subscribe to the
       SWPPP of the City.

              (iii)  Within sixty (60) days of the Effective Date and then annually thereafter as
       provided in Section 15 .20, Airline shall provide information to the City demonstrating
       compliance of Airline's Storm Water management with Environmental Laws.

              (iv)    Airline agrees to participate, to the extent reasonably practical, in any
       reasonable manner requested by the City in any City organized task force or other work
       group established to coordinate stormwater activities at the Airport.

       Section 15 .6    Discharge and Treatment of Industrial Wastewater.

        No industrial wastewater discharge shall be made by Airline onto or into the ground, the
groundwater, surface water, or any City owned conveyance or storage system unless such
discharge meets the requirements of all applicable laws and regulations, including Environmental
Laws. The City shall have the right, but not the duty, in its sole discretion, to review and approve
or disapprove any industrial wastewater management, treatment or discharge system constructed
or modified on the Airline Premises during the term of the Agreement.

       Section 15 .7    Wetlands Prevention.

        Airline shall not create any wetlands under any federal , state, regional or local jurisdiction
on the Airline Premises or the Airport during the term of this Agreement or extension thereof, or
on any adjacent City-owned or non-City owned property. Airline shall also manage the Airline
Premises so that no wetlands are allowed to form on the Airline Premises, or on the Airport as a
result of Airline ' s acts or omissions, and so that Airline' s development and use of the Airline
Premises or the Airport does not cause the formation of wetlands on any adjacent City-owned or
non-City owned property. If the City believes that wetlands are likely to form on the Airline
Premises, or on the Airport as a result of Airline' s acts or omissions, and Airline has not taken
corrective action to prevent the formation of such wetlands resulting from Airline ' s acts or
omissions, the City shall have the right, but not the obligation, to exercise Self Help as provided
in Section 15.19.

        Section 15 .8   Hazardous Substances Releases .

        Airline shall be responsible for all respon e, remediation and restoration of any Hazardous
Substance Release and associated Environmental Costs on or from the Airline Premises, on other
properties, in the air or surface waters and ground water in violation of Environmental Laws, that
results from or occurs in connection with Airline ' s occupancy, possession, or use of the Airline
Premises or the Airport occurring during or continuing after the termination of the Agreement. If
the City has reason to suspect that there has been such a Hazardous Substance Release, there is an
imminent threat of a Hazardous Substance Release, or that Hazardous Substances are being stored,
handled, disposed of or otherwise managed onsite in violation of Environmental Law or the
requirements of this Agreement, then at the City 's request Airline shall, at it expense, demonstrate
(through such tests, professional inspections, samplings, or other methods a may be reasonably
required) that Airline has not caused or permitted any such release of Hazardous Substances in


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excess of quantities or volumes permitted by Environmental Laws. Airline shall provide copies
of reports from any such testing or assessments to the City. Should Airline not provide the
requested demonstration to the City, the City may conduct, or cause to be conducted, such tests,
inspections, samplings and assessments, and Airline shall reimburse the City for all costs of such
actions, no later than forty-five (45) days following demand for reimbursement.

       Section 15.9    Previously Leased Premises.

        In the event of a Hazardous Substance Release in violation of Environmental Law which
occurred prior to the Effective Date is encountered on any portion of the Airline Premises that
Airline also leased as the equivalent of Exclusive Use Premises or Preferential Use Premises under
its prior agreement with the City, Airline shall be deemed to be responsible for all costs incurred
in connection with such contamination, including investigation, removal , remediation, or other
required plan, report, or response action, unless Airline provides clear evidence demonstrating that
another party is fully responsible.

       Section 15 .10 Immediate Response.

       In the event of a Hazardous Substance Release, or a threat of or reasonable suspicion of a
Hazardous Substance Release for which Airline is responsible under this Agreement, Airline shall
immediately undertake and diligently pursue, at Airline's sole expense, all action necessary and
appropriate to investigate, contain, stop, accomplish source control, remove and perform interim
remediation regarding the Hazardous Substance Release, in each case pursuant to and as required
by Environmental Laws.

       Section 15 .11 Corrective Action and Remediation.

        Airline shall promptly undertake, at Airline ' s sole expense, all actions necessary to ensure
that any violation of Environmental Law, any violation of ARTICLE 15 of this Agreement, or any
Hazardous Substance Release by Airline, its officers, directors , employees, agents, contractors,
invitees, and licensees in any way associated with the Airline Premises is completely remediated
to such a condition that a "No Further Action" or "Completion of Cleanup" determination, or an
equivalent determination, not conditioned upon facility or use restrictions is obtained from the
government agency with jurisdiction over the Hazardous Substance Release. In the alternative,
Airline may seek the City ' s prior written approval of remediation to risk-based levels conditioned
upon governmental agency approval and maintenance of facility and use restrictions. The City
may approve such an alternative approach on the condition that the Airline assumes responsibility
for any liability under Environmental Law and any Environmental Costs of the City resulting from
such alternative approach.

       Section 15 .12 Natural Resources Damages Assessment and Restoration.

       Airline shall promptly undertake, at Airline ' s sole expense, all actions necessary to ensure
that any natural resources damage associated with Airline's use of the Airline Premises or the
Airport and the violation of Environmental Laws, the environmental provisions of this Agreement
or any Hazardous Substance Release by Airline or persons under Airline ' s control, supervision, or
employment is investigated, determined, quantified, assessed, and permanently restored and



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compensated for, to the extent legally required by any natural resource trustee with jurisdiction
over the matter.

        Section 15.13 Allocation of Costs.

        Any Environmental Costs incurred by the City for Airline's failure to comply with
Environmental Laws as required herein shall be reimbursed to the City by Airline. Unless
prohibited by law, regulation or judicial/governmental/law enforcement verbal or written order,
the City shall promptly notify Airline of any TCEQ or other governmental proceedings or
investigations reasonably believed by the City to be applicable or potentially applicable to Airline
or the Airline Premises so that Airline has the opportunity to defend against such fines or penalties
as appropriate.

        Section 15.14 Environmental Audits and Environmental Walkthroughs.

        During the term of the Agreement, Airline or the City may decide jointly or unilaterally to
conduct Environmental Audits or Environmental Walkthroughs, as described below, to determine
whether the Airline Premises have been or are currently being operated in compliance with the
Agreement and Environmental Laws. Both the City and Airline shall reasonably conduct such
Environmental Audits or Environmental Walkthroughs in a manner that minimizes operational
disruptions to Airline's operations. The types and purposes of Environmental Audits and
Environmental Walkthroughs are:

       (a)       Initial.

        Prior to occupying the Airline Premi es, Airline and the City shall jointly determine and
agree whether to conduct an Environmental Audit or Environmental Walkthrough to determine if
the Airline Premises are currently in compliance with the Agreement and Environmental Laws. If
the parties cannot agree, then either the Airline or the City may unilaterally determine that an Initial
Environmental Audit or Environmental Walkthrough is necessary, subject to the cost allocation in
Section 15.15 or Section 15.16, as applicable.

        (b)      Transition.

        If Airline is required to occupy a transition space under Section 3.4, or the Airline Premises
is reassigned under Section 3.9, Airline or the City may conduct an Environmental Audit or
Environmental Walkthrough to establish the environmental condition of the Airline Premises, the
temporary transition space, and/or the new Airline Premises space.

       (c)       Special.

        If the City has reason to suspect that there has been a Hazardous Substance Release, there
is an imminent threat of a Hazardous Substance Release, or that Hazardous Substances are being
stored, handled, disposed of or otherwise managed onsite in violation of Environmental Law or
the requirements of thi Agreement, the City may, after written notice outlining those reasons to
Airline, conduct an Environmental Audit or Environmental Walkthrough .

       (d)       Ex it.


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        At the termination of this Agreement, the City and Airline shall jointly determine and agree
whether an Environmental Audit or Environmental Walkthrough is necessary to establish whether
the Airline Premises have been operated in compliance with the Agreement and Environmental
Laws. If the parties cannot agree, then either the Airline or the City may unilaterally decide that
an Exit Environmental Audit or Environmental Walkthrough is necessary, subject to the cost
allocation in Section l5 . l5 or Section 15.16, as applicable. An Exit Audit, if undertaken, shall be
conducted not more than one hundred and twenty (120) days, but not less than sixty (60) days,
prior to the actual termination or transfer date of this Agreement.

       Section 15 .15 Environmental Audits.

        (a)     When Airline and the City decide to conduct a joint Environmental Audit pursuant
to this Agreement, then the time and scope of the audit shall be determined together, a mutually
acceptable environmental consultant shall be agreed upon to conduct the Environmental Audit,
and the consultant shall timely provide a complete copy of the results of the Environmental Audit
to Airline and the City.

        (b)    If an Environmental Audit is conducted unilaterally by the City it shall: provide
Airline with reasonable advance written notice of the commencement date; allow Airline to have
a representative present; provide Airline the opportunity to review the findings ; and shall not
unreasonably disrupt Airline's operations.

       (c)     The City and Airline shall share equally in the cost of a joint Environmental Audit.
The cost of a unilateral Environmental Audit by either Party shall be borne by the Party electing
to perform the work; provided, however, if a Special Environmental Audit or an Exit
Environmental Audit reveals the presence of a substantial violation of Environmental Laws,
defined to mean any violation that would have resulted in mandatory enforcement under the
enforcement policies of the TCEQ or other applicable governmental entity, or a not previously
discovered Hazardous Substance Release caused by the Airline or its employees, agents,
permittees, contractors, subcontractors, sublessees, or others in Airline's control, supervision, or
employment, then Airline shall pay for the cost of such Environmental Audit.

       Section 15 .16 Environmental Walkthrough.

         (a)    When Airline and the City decide to conduct a joint Environmental Walkthrough
pursuant to this Agreement, then it shall be conducted by one or more representatives of the Airline
and the City. The Environmental Walkthrough shall be for the purpose of determining by visual
observation, which may include reviewing non-confidential and non-privileged environmental
records, whether the Airline Premises are in compliance with the Agreement and Environmental
Laws. At least one representative of Airline and one representative of the City that participates in
an Environmental Walkthrough shall be knowledgeable of Environmental Laws. Airline and the
City shall each prepare a separate list of observations believed to show where the Airline Premises
is not in compliance with the Agreement or Environmental Laws. Within ten days after the
completion of the Environmental Walkthrough , the Airline and the City shall exchange copies of
the lists.




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       (b)     If an Environmental Walkthrough is conducted unilaterally by the City it shall:
provide Airline with reasonable advance written notice of the commencement date; allow Airline
to have a representative present; provide Airline the opportunity to review the findings ; and shall
not unreasonably disrupt Airline 's operations.

      (c)    Airline and the City shall each bear its own cost in conducting an Environmental
Walkthrough.

        Section 15 .17 Environmental Access.

       The City reserves the right from time to time, after reasonable notice to Airline (except in
cases of emergencies when notice shall not be required), to inspect, in a manner that minimizes
operational disruptions to Airline's operations, the Airline Premises and Airline ' s operations on
and use of the Airline Premises to: (a) evaluate Airline's management of Hazardous Substances;
(b) conduct subsurface or storrnwater sampling; (c) evaluate compliance with Environmental
Laws; (d) review compliance documentation to facilitate the City 's compliance with
Environmental Laws or implementation of its environmental management system; and (e) perform
Environmental Audits or Environmental Walkthroughs. At the City's request Airline shall make
available for inspection and copying any or all of the non-privileged documents and materials
prepared by or for Airline pursuant to any Environmental Law. The documents may be retained
by the City or submitted to any governmental regulatory agency; provided, such documents and
materials relate to environmental regulatory compliance and pertain to the Airport or the Airline
Premises.

        Section 15 .18 Notices, Review & Approval, and Self-Help.

        (a)      Generally.

        Airline shall promptly notify the City in writing upon becoming aware of: (i) a violation or
alleged violation of any applicable Environmental Laws related to the Airline Premises or Airline's
use of the Airport or of this ARTICLE 15 of the Agreement; and (ii) any Hazardous Substance
Release on, under, from or adjacent to the Airline Premises or the Airport or threat of or reasonable
suspicion of such. In addition, Airline shall notify the City of such (i) or (ii) by calling the Airport's
twenty-four (24) hour/seven (7) days a week Airport Communication Center: (210) 207-3433. If
Airline fails to notify the City of a matter as required in this Section, and if the City does not
otherwise acquire knowledge of the matter, Airline shall be liable for any exacerbation of such
Hazardous Substance Release that could reasonably have been avoided if such notification by
Airline had been provided.

        (b)      Regulatory Notice - Airline.

        If any Environmental Law requires Airline to file any notice or report of a release or
threatened release of Hazardous Substances on, under or about the Airline Premises or the Airport,
Airline shall promptly submit such notice or report to the appropriate governmental agency and
simultaneously provide a copy of such report or notice to the City. In the event that any written
allegation, claim, demand, action or notice is made against Airline regarding Airline's failure or
alleged failure to comply with any Environmental Law, Airline, as soon as practicable, shall notify



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the City in writing and provide same with copies of any such written allegations, claims, demands,
notices or actions so made.

       (c)       Regulatory Notice - City.

      The City will promptly provide written notice to Airline of any notices received by the City
from TCEQ or other regulatory agency regarding Airline ' s environmental compliance obligations.

        (d)      City s Rights ofApproval, Notice, Review and Comment.

        Except in the case of an emergency or a regulatory agency order requiring immediate
action, Airline shall give the City advance notice before beginning any response, remediation, or
restoration action required by this Agreement or applicable Environmental Laws. In the event that
the City disapproves the proposed work and/or the entities and individuals conducting such work,
the City shall notify Airline and provide a basis of such disapproval. The City shall have the right
to approve or disapprove the proposed work and the entities and individuals conducting such work.
Airline shall copy the City, at no cost to the City, on all of such response, remediation , or
restoration action deliverables submitted to the regulatory agencies and shall allow the City a
reasonable period of time based upon the surrounding circumstances to submit comments thereon
to Airline. Within thirty (30) days following completion of any immediate response, remediation
or restoration action required by this Agreement, Airline shall provide the City, at no cost to the
City, with a written report describing, in detail , the work performed.

        (e)      Airlines Split Sampling Notice.

        Airline shall notify the City at least forty-eight (48) hours in advance of any proposed
sampling associated with a Hazardous Substance Release in order to allow the City to be present
or to collect split samples . Airline shall provide the City with copies, at no cost to the City, of any
sampling results and associated chain of custody and quality assurance and quality control
information within ten (10) days of receipt by Air! ine.

      (f)        City's Right to Advise and/or Direct the Immediate Cessation of Operations in an
Emergency.

       The City shall have the right to advise and/or direct Airline to cease all or part of its
operations immediately upon delivery of written notice if the City determines that the Airline 's
operation: (i) is not being undertaken by Airline or Airline ' s Representatives in any material
respect in accordance with Environmental Laws; (ii) constitutes an emergency, meaning an
imminent endangerment to human health , safety, or welfare or the environment; or (iii) resulted in
a Hazardous Substance Release.

        (g)      City's Right of Self Help.

        Upon suspicion that Airline has failed to fulfill its obligations related to a Hazardous
Substance Release, the City shall have the right, upon giving Airline seven (7) days written notice,
stating the obligations in issue, to perform Airline ' s obligations arising under any Environmental
Laws and charge Airline the resulting Environmental Cost, plus any additionally incurred charges
from the date any funds were expended by the City ("Self Help"). Airline agrees to reimburse the


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City, upon demand, any amounts the City may spend pursuant to this ection on behalf of Airline.
The City may not commence performance on behalf of Airline under this section if, within such
notice period, Airline promptly notifies the City, begins, and continually thereafter diligently
pursues to completion the performance of the obligations stated in the City 's notice. Advance
written notice by the City is not required in the event of an emergency or a governmental agency
order requiring immediate action by the City for which advance written cannot reasonably be
given, provided that the City shall provide written notice to Airline as soon as reasonably
practicable.

       (h)       City s Right of Final Approval.

        The Director shall have authority to disapprove an activity of Airline and/or any sub lessee,
on the basis of a risk assessment performed in accordance with Environmental Laws and through
which the City reasonably determines such activity may pose a danger to health, safety or welfare
or otherwise may violate Environmental Laws. The parties understand that Airport premises are
not intended for use involving refining, processing, manufacturing, overhaul, or similar heavy
industrial activities entailing the use, storage, manufacture, or transport of critical volumes of
Hazardous Substances, other than reasonable volumes of such Hazardous Substances as permitted
through this Agreement and reasonably needed to be used for approved fueling, maintenance, and
operations. For purposes of this Agreement, "critical volumes" are those which, in the discretion
and sole judgment of the Director, pose or may pose an unreasonable risk to Airport property, its
occupants, employees or the traveling public.

       Section 15 . 19 Additional Environmental Provisions.

       (a)       Generally.

        Airline shall be fully and primarily responsible to the City for any violation of any
Environmental Laws or non-performance of the duties stated in this Agreement by Airline or its
representatives and Airline shall be fully responsible for the same as if Airline had committed the
violation or breach itself.

       (b)       Annual Certification.

        If requested in writing by the City, Airline shall provide on or before each anniversary of
the Effective Date of this Agreement, a written statement, certified by Airline as true and complete
to the best of its actual knowledge, that during the preceding year with respect to the Airline
Premises and Airline ' s occupation and use of the Airline Premises and the Airport, Airline has
complied with applicable Environmental Laws. If Airline is unable to provide such certification at
the time requested by the City, then Airline shall provide the City with a written statement of the
steps Airline is taking to enable it to provide the City with a certification of compliance.

       (c)       Sustainability.

        The City and Airline shall become familiar with and comply with all Environmental Laws
regarding recycling, green building, water conservation, energy conservation, renewable energy,
and air quality applicable to their respecti ve operations. Airline shall use commercially reasonable
efforts to comply with the City's policies and programs to the extent such policies and programs


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are not inconsistent with the terms and conditions of this Agreement or Environmental Laws.
Airline shall have the opportunity to participate in the development of such policies and programs
and the City shall fully consider for incorporation Airline ' s comments.

       (d)       Noise.

       Airline shall comply with any forma l noise abatement program or policy established by the
Airport in conformance with Applicable Laws and use commercially reasonable efforts to comply
with informal noise abatement programs established by the Airport. The Airline shall notify the
City promptly and may challenge such programs if the Airline believes such formal or informal
noise abatement programs may interfere with safe aircraft operation or if Airline believes such
programs are not in conformance with federal statues, laws, rules and regulations .

        (e)      Air Quality Improvements.

        Airline acknowledges that in order to protect existing Airport operations, to improve air
quality in the region, to meet requirements associated with the expansion of the Airport, and to
otherwise comply with federal and state air quality laws, the City and its tenants may be required
to implement certain changes to operating practices to address any newly regulated air pollutant,
emission or contaminant in accordance with applicable Environmental Laws, including without
limitation such Environmental Laws related to climate change and indoor air quality. In addition,
the City may adopt new Best Management Practices that it will request Airline to voluntarily
comply with, such as Airline's conversion of ground service equipment and support vehicles to
alternative fuels and use of pre-conditioned air and 400 Hz gate power instead of auxiliary power
units ("APUs"). Airline agrees to utilize the pre-conditioned air and 400 Hz gate power provided
on the Loading Bridges unless such equipment is inoperable. Airline will cooperate with the City
to identify cost-effective ways to minimize contributions to climate change.

       (f)       Cumulative Remedies.

        All such remedies of the City with regard to environmental requirements as set forth herein
shall be deemed cumulative in nature and shall survive termination of this Agreement.

       (g)       Survival of Environmental Provisions.

       Unless specifically stated el sewhere herein, the provisions of this Article, including the
representations , warranties, covenants, and indemnities of Airline, are intended to and shall survive
termination of this Agreement.

                                          ARTICLE 16
                                         TERMINATION

        Section 16.1 Termination by City.

        (a)    The City, in addition to any other right of cancellation herein given to it or any other
rights to which it may be entitled by law or equity or otherwise, may cancel this Agreement by
giving Airline written notice, to be served as hereinafter provided, upon or after the happening of
any one or more of the following events (each an "Airline Event of Default'):


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               (i)    Failure by Airline to make timely payment of any Airline rentals, fees , and
        charges due the City under this Agreement, including remittance of Passenger Facility
        Charges in accordance with the PFC Regulations, within ten (10) days of the date such
        payment was due;

                (ii)   Failure to provide copies of insurance policies or maintain required
        insurance coverages as described in this Agreement, after ten ( 10) days ' written notice from
        the City of such failure ;

               (iii)    The filing by Airline of a voluntary petition in bankruptcy or any assignment
        for benefit of creditors of all or any part of Airline's assets;

               (iv)    Any institution of proceedings in bankruptcy against Airline and the
        adjudication of Airline as a bankrupt pursuant to such proceedings;

               (v)     The taking of jurisdiction by a court of competent jurisdiction of Airline or
        its assets pursuant to proceedings brought under the provisions of any federal
        reorganization act;

              (vi)     The appointment of a receiver or trustee of Airline's assets by a court of
        competent jurisdiction or by a voluntary agreement with Airline 's creditors;

               (vii) The default by Airline in the performance of any covenant, obligation, or
        condition herein required to be performed by Airline and the failure of Airline to remedy
        such default for a period of thirty (30) days after receipt from the City of written notice to
        remedy same.



        (b)    Failure by the City to take any authorized action upon an Airline Event of Default
shall not be construed to be or act as a waiver of said default or of any subsequent default of any
of the terms, covenants, and conditions herein contained to be performed, kept, and observed by
Airline.

        (c)     The acceptance of rentals , fees , and charges by the City from Airline for any period
or periods after an Airline Event of Default of any of the terms, covenants, and conditions herein
required to be performed, kept, and observed by Airline shall not be deemed a waiver or estoppel
of any right on the part of the City to cancel this Agreement for failure by Airline to so perform,
keep, or observe any of said terms , covenants, or conditions.

                                      ARTICLE 17
                               ASSIGNMENT AND SUBLETTING

        Section 17.1    Assignment and Subletting.

        (a)    Airline shall not, directly, or indirectly, assign, sell , sublease, or otherwise transfer
thi s Agreement, or any portion of Airline Premises or this Agreement.




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                                     ARTICLE 18
                              MISCELLANEOUS PROVISIONS

       Section 18.1   Acknowledgment.

        The Parties hereto acknowledge that they have thoroughly read this Agreement, including
any exhibits or attachments hereto, and have sought and received whatever competent advice and
counsel was necessary for them to form a full and complete understanding of all rights and
obligations hereunder. The Parties further acknowledge that this Agreement is the result of
extensive negotiations between the parties and shall not be construed against the City by reason of
the preparation of this Agreement by the City.

       Section 18.2   Authority of Director.

        The Director may exercise all rights and obligations of the City under this Agreement,
unless specifically provided otherwise or required by Applicable Law.

       Section 18.3   Capacity to Execute.

       Each of the Parties hereto warrants and represents that the execution and delivery of this
Agreement by its undersigned representative(s) has been duly authorized by all necessary
corporate or municipal action, as applicable.

       Section 18.4   Covenant Against Liens.

      Airline shall not cause nor permit any lien against the Airport, the Airline Premises or any
improvements thereto to arise out of or accrue from any action or use thereof by Airline; provided,
however, that Airline may, in good faith, contest the validity of any alleged lien.

       Section 18.5     otices.

        Any notice required in this Agreement shall be in writing and served personally or sent by
registered or certified mail, postage prepaid, or by courier service such as OHL, FedEx, or UPS .
Any notice mailed pursuant to this paragraph shall be presumed to have been received by the
addressee five (5) business days after deposit of it in the mail, postage prepaid and properly
addressed, or, if sent by courier service, when delivered to or refused by the addressee. Notices
required to be given pursuant to this Agreement shall be addressed to :

       For City:       [Name]
                       [Title]
                       [Address]
                       [Emai I Address]

       For Airline:    [Name]
                       [Title]
                       [Address]
                       [Emai I Address]



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Either Party may change their designated contact for notices under this Agreement at any time
during the Term with written notice to the other Party in accordance with this Section 18.1.

        Section 18.6   Employees of Airline.

        Airline shall require all of its employees and subcontractors or independent contractors
hired by Airline working in view of the public and about the Terminal Building to display
appropriate identification. Airline employees shall obtain identification badges from the City.
Airline shall be responsible for paying the cost of TSA required employee background checks and
badging.

       Section 18.7    Entire Agreement.

       This Agreement, including all exhibits and attachments hereto, constitutes the entire
agreement between the Parties on the subject matter hereof and may not be changed, modified,
discharged, or extended except by written instrument duly executed by the City and Airline. This
Agreement supersedes all prior agreements and understandings, written and oral, expressed, or
implied, between the City and Airline related hereto . Airline agrees that no representations or grant
ofrights or privileges shall be binding upon the City unless expressed in writing in this Agreement.

       Section 18.8    Amendment.

        No amendment, modification, or alteration of the terms of this Agreement shall be binding
unless the same be in writing, dated subsequent to the date hereof and duly executed by the Parties
hereto, except in accordance with the terms herein. The Director is authorized to execute
amendments which do not substantially alter the material terms of this Agreement, provided that
such amendments shall be approved in form and substance by the City Attorney or his or her
designee. All other amendments must be authorized in writing by City Council by passage of an
ordinance thereto .

       Section 18.9    Non-Exclusive Rights .

         othing in this Agreement shall be deemed to grant Airline any exclusive right or privilege
within the meaning of 49 U.S .C. § 40l03(e) or 49 U.S.C. § 40103(a)(4) with respect to activities
on the Airport.

       Section 18.10 Force Majeure.

         Except as provided herein, neither the City nor Airline shall be deemed in violation of this
Agreement if it is prevented from performing any of its obligations hereunder by reason of strikes,
boycotts, labor disputes, embargoes, shortages of material , acts of God, pandemic, epidemic, acts
of the public enemy, acts of superior governmental authority, weather conditions, tides, riots,
rebellion, sabotage, or any other circumstances for which it is not responsible or which is not in its
control ; provided, however, that these provisions shall not excuse Airline from paying Airline
rentals, fees , and charges hereunder.




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       Section 18.11 No Third-Party Beneficiaries.

       Each of the parties has entered into this Agreement solely for its own benefit. Except as
expressly provided herein, this Agreement does not grant to any third person the right to claim
damages or to bring any suit, action, or any other proceeding against either the City or Airline
because of any breach hereof.

       Section 18.12 Governing Law; Venue.

       The laws of the State of Texas shall govern this Agreement and all disputes ansmg
hereunder, with venue in Bexar County, Texas.

       Section 18.13 Headings.

        The headings of the Articles and paragraphs of this Agreement are inserted only as a matter
of convenience and for reference and do not define or limit the scope or intent of any provisions
of this Agreement and shall not be construed to affect in any manner the terms and provisions of
this Agreement or of its interpretation.

       Section 18.14 No Partnership or Agency.

        Nothing herein contained is intended or shall be construed to in any respect create or
establish any relationship other than that of licensor and licensee, and nothing herein shall be
construed to establish any partnership, joint venture, or association or to make Airline the general
representative or agent of the City for any purpose whatsoever.

       Section 18.15 Invalid Provisions.

        In the event any covenant, condition, or provision herein contained is held to be invalid by
a court of competent jurisdiction, the invalidity of any such covenant, condition, or provision shall
in no way affect any other covenant, condition, or provision herein contained, provided the
invalidity of any such covenant, condition, or provision does not materially prejudice either the
City or Airline in its respective rights and obligations contained in the valid covenants, conditions,
and provisions of this Agreement.

       Section 18.16 Nonliability oflndividuals.

       No director, officer, agent, elected official , or employee of either Party shall be charged
personally or held contractually liable by or to the other party under any term or provision of this
Agreement or because of any breach thereof or because of its or their execution or attempted
execution.

       Section 18.17 Noninterference with Airport Operations.

         Airline, by accepting this Agreement, expressly agrees for itself, its successors, and assigns
that it will not make use of its Airline Premises in any manner that might interfere with the landing
and taking off of aircraft at the Airport or otherwise constitute a hazard. In the event the aforesaid
covenant is breached, on reasonable notice to Airline and opportunity to cure, the City reserves


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the right to enter the Airline Premises and cause the abatement of such interference at the expense
of Airline.

        Section 18.18 Avigation Rights.

        The City reserves unto itself, its successors, and assigns for the use and benefit of the
public, a right of flight for the passage of aircraft in the airspace above the surface of the Airport
for navigation or flight in the said airspace for landing on, taking off from , or operating at the
Airport.

        Section 18.19 Height Limitation.

         Airline expressly agrees for itself, its successors and assigns, to restrict the height of
structures, objects of natural growth and other obstructions on the Airline Premises to such a height
so as to comply with Federal Aviation Regulations, Part 77, as such may be amended or superseded
from time to time.

        Section 18.20 Remedies to Be       onexclusive.

        All remedies provided in this Agreement shall be deemed cumulative and additional and
not in lieu of or exclusive of each other or of any other remedy available to the City or Airline at
law or in equity (to the extent not inconsistent with the express provisions hereof) , and the exercise
of any remedy or the existence herein of other remedies or indemnities shall not prevent the
exercise of any other remedy.

        Section 18.21 Right to Audit Books and Records.

         Airline agrees to keep books and records on its operations at the Airport, for a period of at
least four (4) years following the expiration or earlier termination of this Agreement, and the
Director or any other authorized City representative, upon reasonable advance written notice to
Airline, shall have the right to inspect and audit such books and records to ensure compliance with
the prevailing municipal bond disclosure requirements and to determine that the City has received
from Airline all moneys due the City under the terms hereof, including, but not limited to, rentals,
fees , and charges and PFCs (if applicable) payable to the City by Airline. Likewise, Airline shall
have the right to inspect the books and records of the City relating to the provisions hereof.

       Section 18.22 Right to Lease to United States Government.

        During time of war or national emergency, the City shall have the right to lease the Airport
landing area or any part thereof to the United States government and, if any such lease is executed,
the provisions of this Agreement insofar as they are inconsistent with the provisions of the lease
to the Government shall be suspended; however, such su pension shall not extend the Term of this
Agreement. If, as a result of any such lease, the rights or duties of Airline hereunder are materially
affected, then Airline shall receive an equitable rental adjustment.




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       Section 18.23 Subordination.

        (a)       othing contained herein shall unlawfully impair the right of the City to exercise
its governmental or legislative functions . This Agreement is made subject to the Constitution and
laws of the State of Texas and to the Charter of the City of San Antonio, Texas, and to the provisions
of the Airport Improvement Program Grant Agreements applicable to the Airport and its operation.

        (b)     Airline agrees that this Agreement shall be subject and subordinate to the provisions
of any existing or future agreements between the City and the United States of America, relative
to the operation and maintenance of the Airport, the terms and execution of which have been or
may be required as a condition precedent to the expenditure by or reimbursement to the City or
the County of Federal funds for the development of the Airport ("Grant Assurances"). In the
event that this Agreement, either on its own terms or by any other reason, conflicts with or violates
any such Grant Assurances, the City has the right to amend, alter, or otherwise modify the terms
of this Agreement in order to resolve such conflict or violation . Airline further agrees that it shall
not knowingly cause the City to violate any Grant Assurances made by the City to the Federal
Government in connection with the granting of such Federal funds .

        Section 18.24 Successors and Assigns .

       The provisions of this Agreement shall be binding upon and inure to the benefit of the
successors and assigns of the parties hereto.

        Section 18.25 Time of the Essence.

       Time is of the essence in this Agreement.

        Section 18.26 Quiet Enjoyment.

        Upon payment by Airline of the rentals, fees , and charges as herein required and subject to
performance and compliance by Airline of the covenants, conditions, and agreements on the part
of Airline to be performed and complied with hereunder, Airline shall peaceably have and enjoy
the rights, uses, and privileges granted to it herein of the Exclusive Use Premises during the Term,
subject to the provisions hereof and in conformance with Applicable Laws and Rules and
Regulations .




                                        [Signature Page(s) to Follow]




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        IN WITNESS WHEREOF, the parties hereto have subscribed their names the day
  and year first above written.




CITY OF SA        ANTONIO, TEXAS:


Erik Walsh
City Manager


Approved as to form:



City Attorney



AIRLINE:


By:

Title:

Notarv of Airline Signature:



STATEOF _ _ _ _ _ _ _ _ COUNTY OF _ _ _ _ _ __


S I GNED I N BEFORE i\'lE T HIS _ _ _ D AY OF _ _ _ _ _ _ _ 2024




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                                                                                                    I




                                              EXHIBIT A

                                           AIRPORT MAP 1




1 To be inserted as identical exhibit to Exhibit A of the Signatory Airline Agreement.
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                                            EXHIBIT C

                                 EXCLUSIVE USE PREMISES 2




2 Exhibit C is only app licable and to be in erted if the Non-Signatory Airline is leasing Exclusive Use
Premises under this Agreement.
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                                             EXHIBIT D-1

                           TERMINAL BUILDING SPACE EXHIBIT 3




3 To be inserted as identical exhibit to Exhibit D-1 of the Signatory Airline Agreement.



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                                             EXHIBIT D-2

                                        JOINT USE SPACE 4




4 To be inserted as identical exhibit to Exhibit D-2 of the Signatory Airline Agreement.
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                                               EXHIBIT F

                                  RATES AND FEES SCHEDULES




5 To be inserted as identical exhibi t to Exhibi t F of the Signatory Airline Agreement.



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                                              EXHIBITK

                                  MAI TENANCE SCHEDULE 6




6 To be inserted as identical exhibit to Exhibit K of the Signatory Airline Agreement.
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                                               EXHIBIT L

                              REQUIRED FEDERAL PROVISIONS 7




7 To be inserted as identical exhibit to Exhi bit L of the Signatory Airline Agreement.



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